USCA4 Appeal: 23-2194   Doc: 32     Filed: 02/07/2024   Pg: 1 of 344




                                      No. 23-2194

                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT

                                     GENBIOPRO, INC.,
                                                      Plaintiff-Appellant,
                                             v.
                     KRISTINA D. RAYNES, in her official capacity as
            Prosecuting Attorney of Putnam County, AND PATRICK MORRISEY,
              in his official capacity as Attorney General of West Virginia,
                                                      Defendants-Appellees.

                    On Appeal from the United States District Court
                for the Southern District of West Virginia (Huntington),
                      No. 3:23-cv-00058, Hon. Robert C. Chambers

                                  JOINT APPENDIX

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USCA4 Appeal: 23-2194   Doc: 32      Filed: 02/07/2024   Pg: 2 of 344




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USCA4 Appeal: 23-2194        Doc: 32          Filed: 02/07/2024       Pg: 3 of 344




                                        TABLE OF CONTENTS

                                                                                                     Page

        District Court Docket for Case No. 3:23-cv-00058............................... JA1

        Complaint (Jan. 25, 2023), Dkt. No. 1 ............................................... JA18

        Defendant Mark Sorsaia’s Rule 12(b)(1) and Rule 12(b)(6)
             Motion to Dismiss (Feb. 16, 2023), Dkt. No. 17 ........................ JA51

        Memorandum of Law in Support of Defendant
           Mark Sorsaia’s Rule 12(b)(1) and Rule 12(b)(6)
           Motion to Dismiss (Feb. 16, 2023), Dkt. No. 18 ........................ JA55

        Defendant Patrick Morrisey’s Motion to Dismiss
             (Feb. 21, 2023), Dkt. No. 19 ...................................................... JA63

        Memorandum of Law in Support of Defendant Patrick Morrisey’s
           Motion to Dismiss (Feb. 21, 2023), Dkt. No. 20 ........................ JA67

        Memorandum Opinion and Order (May 2, 2023),
           Dkt. No. 54................................................................................. JA95

        Supplemental Briefing Order (May 11, 2023), Dkt. No. 55 ............ JA117

        Transcript of Motion Hearing Held on April 24, 2023
             (May 17, 2023), Dkt. No. 56 .................................................... JA118

        Plaintiff GenBioPro’s Supplemental Brief Regarding
             National Pork Producers Council v. Ross
             (May 19, 2023), Dkt. No. 58 .................................................... JA159

        Defendants’ Supplemental Briefing in Light of
             National Pork Producers Council v. Ross,
             (2023) (May 19, 2023), Dkt. No. 59 ......................................... JA181

        Transcript of Motion Hearing Held on May 23, 2023
             (May 30, 2023), Dkt. No. 62 .................................................... JA198

        Memorandum Opinion and Order (Aug. 24, 2023),
           Dkt. No. 66............................................................................... JA254
USCA4 Appeal: 23-2194      Doc: 32          Filed: 02/07/2024      Pg: 4 of 344




        Plaintiff GenBioPro, Inc.’s Notice of Substitution
             (Sept. 11, 2023), Dkt. No. 68 ................................................... JA290

        Motion to Amend Complaint and Joint Stipulation
             (Oct. 18, 2023), Dkt. No. 73 ..................................................... JA293

        Order Regarding Motion to Amend Complaint and
             Joint Stipulation (Oct. 19, 2023), Dkt. No. 74 ........................ JA298

        First Amended Complaint (Oct. 19, 2023), Dkt. No. 75 .................. JA299

        Joint Stipulation and Joint Motion to Enter Final Judgment
              (Nov. 3, 2023), Dkt. No. 76 ...................................................... JA332

        Order Regarding Joint Stipulation and Joint Motion
             (Nov. 6, 2023), Dkt. No. 77 ...................................................... JA337

        Notice of Appeal (Nov. 9, 2023), Dkt. No. 78 ................................... JA338




                                                      ii
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024       Pg: 5 of 344

                                                                                                  APPEAL,LC−A
                                     United States District Court
                            Southern District of West Virginia (Huntington)
                             CIVIL DOCKET FOR CASE #: 3:23−cv−00058

       GenBioPro, Inc. v. Raynes et al                                 Date Filed: 01/25/2023
       Assigned to: Judge Robert C. Chambers                           Date Terminated: 11/06/2023
       Cause: 28:2201 Constitutionality of State Statute(s)            Jury Demand: None
                                                                       Nature of Suit: 440 Civil Rights: Other
                                                                       Jurisdiction: Federal Question
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                                                              JA1
USCA4 Appeal: 23-2194   Doc: 32        Filed: 02/07/2024        Pg: 6 of 344

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USCA4 Appeal: 23-2194           Doc: 32          Filed: 02/07/2024      Pg: 7 of 344

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USCA4 Appeal: 23-2194       Doc: 32   Filed: 02/07/2024     Pg: 8 of 344

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USCA4 Appeal: 23-2194          Doc: 32   Filed: 02/07/2024     Pg: 9 of 344

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USCA4 Appeal: 23-2194       Doc: 32       Filed: 02/07/2024   Pg: 10 of 344

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USCA4 Appeal: 23-2194       Doc: 32   Filed: 02/07/2024       Pg: 11 of 344

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                                             JA7
USCA4 Appeal: 23-2194      Doc: 32   Filed: 02/07/2024     Pg: 12 of 344

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                                            JA8
USCA4 Appeal: 23-2194         Doc: 32   Filed: 02/07/2024    Pg: 13 of 344

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USCA4 Appeal: 23-2194      Doc: 32   Filed: 02/07/2024    Pg: 14 of 344

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                                                            Julia F. Post
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED
                                                            Kaixin Fan
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Russell D. Jessee
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

             Amicus
             Allison Whelan                     represented by Beth E. Braiterman
             JD, MA                                            (See above for address)
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                            Denise Esposito
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED
                                                            Julia F. Post
                                                            (See above for address)
                                                            LEAD ATTORNEY



                                           JA10
USCA4 Appeal: 23-2194       Doc: 32            Filed: 02/07/2024          Pg: 15 of 344

                                                                      PRO HAC VICE
                                                                      ATTORNEY TO BE NOTICED
                                                                      Kaixin Fan
                                                                      (See above for address)
                                                                      LEAD ATTORNEY
                                                                      PRO HAC VICE
                                                                      ATTORNEY TO BE NOTICED

                                                                      Russell D. Jessee
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED


        Date Filed   #   Docket Text
        01/25/2023    1 COMPLAINT. Filing Fee $402.00. Receipt # AWVSDC−8350600. (Attachments: # 1
                        Proposed Summons as to Mark A. Sorsaia, # 2 Proposed Summons as to Patrick
                        Morrisey, # 3 Civil Cover Sheet) (jsa) .
        01/25/2023    2 ELECTRONIC SUMMONS ISSUED as to Patrick Morrisey, Mark A. Sorsaia, re: 1
                        Complaint. Summons returnable 21 days. Instructions to Counsel: This is your
                        electronic summons. Please print as many copies of the Summons and Complaint as
                        are necessary to effectuate service under Fed. R. Civ. P. 4. See Proof of Service page
                        of this Summons form for filing a return of service if required by Fed. R. Civ. P. 4(l).
                        (Attachment: # 1 summons as to Patrick Morrissey) (jsa).
        01/25/2023    3 STANDING ORDER IN RE: ASSIGNMENT AND REFERRAL OF CIVIL
                        ACTIONS AND MATTERS TO MAGISTRATE JUDGES ENTERED JANUARY 4,
                        2016. Discovery referred to Magistrate Judge Eifert. (cc: counsel of record; any
                        unrepresented party) (jsa)
        01/25/2023    4 NOTICE OF CHANGE OF ATTORNEY INFORMATION by Christina L. Smith
                        updating name and/or firm information on behalf of GenBioPro, Inc. (Smith,
                        Christina)
        01/25/2023    5 STATEMENT OF VISITING ATTORNEY from Daphne O'Connor on behalf of
                        GenBioPro, Inc. Local counsel: Anthony J. Majestro. Fee $50.00. Receipt #
                        AWVSDC−8351204. (Attachment: # 1 WVSB receipt)(Majestro, Anthony)
        01/25/2023    6 STATEMENT OF VISITING ATTORNEY from John Elwood on behalf of
                        GenBioPro, Inc. Local counsel: Anthony J. Majestro. Fee $50.00. Receipt #
                        AWVSDC−8351217. (Attachment: # 1 WVSB receipt)(Majestro, Anthony)
        01/25/2023    7 STATEMENT OF VISITING ATTORNEY from Robert Katerberg on behalf of
                        GenBioPro, Inc. Local counsel: Anthony J. Majestro. Fee $50.00. Receipt #
                        AWVSDC−8351222. (Attachment: # 1 WVSB receipt)(Majestro, Anthony)
        01/25/2023       CASE assigned to Judge Robert C. Chambers. (klc) (Entered: 01/26/2023)
        01/27/2023    8 STATEMENT OF VISITING ATTORNEY from Ariela M. Migdal on behalf of
                        GenBioPro, Inc. Local counsel: Anthony J. Majestro. Fee $50.00. Receipt #
                        AWVSDC−8352878. (Attachment: # 1 WVSB receipt)(Majestro, Anthony)
        01/27/2023    9 STATEMENT OF VISITING ATTORNEY from David C. Frederick on behalf of
                        GenBioPro, Inc. Local counsel: Anthony J. Majestro. Fee $50.00. Receipt #
                        AWVSDC−8352912. (Attachment: # 1 WVSB receipt)(Majestro, Anthony)
        01/27/2023   10 STATEMENT OF VISITING ATTORNEY from Eliana M. Pfeffer on behalf of
                        GenBioPro, Inc. Local counsel: Anthony J. Majestro. Fee $50.00. Receipt #
                        AWVSDC−8352922. (Attachment: # 1 WVSB receipt)(Majestro, Anthony)
        01/27/2023   11 STATEMENT OF VISITING ATTORNEY from Mary Charlotte Carroll on behalf of
                        GenBioPro, Inc. Local counsel: Anthony J. Majestro. Fee $50.00. Receipt #
                        AWVSDC−8352931. (Attachment: # 1 WVSB receipt)(Majestro, Anthony)
        01/29/2023   12 STATEMENT OF VISITING ATTORNEY from Skye Perryman on behalf of
                        GenBioPro, Inc. Local counsel: Anthony J. Majestro. Fee $50.00. Receipt #




                                                        JA11
USCA4 Appeal: 23-2194       Doc: 32             Filed: 02/07/2024          Pg: 16 of 344

                         AWVSDC−8353966. (Attachment: # 1 WVSB receipt)(Majestro, Anthony)
        01/29/2023   13 STATEMENT OF VISITING ATTORNEY from Kristen P. Miller on behalf of
                        GenBioPro, Inc. Local counsel: Anthony J. Majestro. Fee $50.00. Receipt #
                        AWVSDC−8353968. (Attachment: # 1 WVSB receipt)(Majestro, Anthony)
        01/31/2023   14 SUMMONS RETURNED EXECUTED for Patrick Morrisey, re: 1 Complaint. Curtis
                        Capehart, Deputy Attorney General, served on 1/30/2023 pursuant to his agreement to
                        accept service via electronic mail on behalf of Patrick Morrisey, answer due
                        2/21/2023. (Majestro, Anthony) (Modified on 1/31/2023 to add the name of the person
                        served and means of service) (mkw).
        02/01/2023   15 SUMMONS RETURNED EXECUTED for Mark A. Sorsaia, re: 1 Complaint. Katelyn
                        Barr, Legal Assistant, served on 1/31/2023 on behalf of Mark A. Sorsaia, answer due
                        2/21/2023. (Majestro, Anthony) (Modified on 2/1/2023 to add the name of the person
                        served) (mkw).
        02/03/2023   16 DISCLOSURE STATEMENT PURSUANT TO RULE 7.1, Federal Rules of Civil
                        Procedure, by Plaintiff GenBioPro, Inc. (Majestro, Anthony)
        02/16/2023   17 RULE 12(B)(1) AND RULE 12(B)(6) MOTION by Mark A. Sorsaia to Dismiss for
                        Failure to State a Claim, re: 1 Complaint. (jsa)
        02/16/2023   18 MEMORANDUM OF LAW by Mark A. Sorsaia in support of 17 RULE 12(B)(1)
                        AND RULE 12(B)96) MOTION by Mark A. Sorsaia to Dismiss for Failure to State a
                        Claim, re: 1 Complaint. (jsa)
        02/21/2023   19 MOTION by Patrick Morrisey to Dismiss re: 1 Complaint. (Attachments: # 1 Proposed
                        Order)(Capehart, Curtis) (Modified on 2/22/2023 to add link to #1 complaint) (mk).
        02/21/2023   20 MEMORANDUM by Patrick Morrisey in support of 19 MOTION by Patrick Morrisey
                        to Dismiss re: 1 Complaint. (Capehart, Curtis)
        02/28/2023   21 STATEMENT OF VISITING ATTORNEY from Denise M. Harle on behalf of
                        Patrick Morrisey. Local counsel: Curtis R. A. Capehart. Fee $50.00. Receipt #
                        AWVSDC−8373158. (Capehart, Curtis)
        02/28/2023   22 STATEMENT OF VISITING ATTORNEY from Erin M. Hawley on behalf of Patrick
                        Morrisey. Local counsel: Curtis R. A. Capehart. Fee $50.00. Receipt #
                        AWVSDC−8373175. (Capehart, Curtis)
        02/28/2023   23 NOTICE OF APPEARANCE by Jeffrey A. Kimble on behalf of State of Alabama,
                        State of Arkansas, State of Florida, State of Georgia, State of Idaho, State of Indiana,
                        State of Iowa, State of Kansas, State of Kentucky, State of Louisiana, State of
                        Mississippi, State of Missouri, State of Montana, State of Nebraska, State of North
                        Dakota, State of Ohio, State of Oklahoma, State of South Carolina, State of South
                        Dakota, State of Tennessee, State of Texas. (Kimble, Jeffrey)
        02/28/2023   24 MOTION by State of Alabama, State of Arkansas, State of Florida, State of Georgia,
                        State of Idaho, State of Indiana, State of Iowa, State of Kansas, State of Kentucky,
                        State of Louisiana, State of Mississippi, State of Missouri, State of Montana, State of
                        Nebraska, State of North Dakota, State of Ohio, State of Oklahoma, State of South
                        Carolina, State of South Dakota, State of Tennessee, State of Texas for Leave to File
                        Motion of Arkansas, Alabama, Florida, Georgia, Idaho, Indiana, Iowa, Kansas,
                        Kentucky, Louisiana, Mississippi, Missouri, Montana, Nebraska, North Dakota, Ohio,
                        Oklahoma, South Carolina, South Dakota, Tennessee, and Texas for Leave to File an
                        Amicus Brief in Support of the Defendants in this matter, with proposed document
                        attached. (Attachment: # 1 Exhibit)(Kimble, Jeffrey)
        03/01/2023   25 UNOPPOSED MOTION by GenBioPro, Inc. to Extend Deadline to Respond to
                        Defendant Mark A. Sorsaia's 17 MOTION to Dismiss to 3/7/2023. (Attachment: # 1
                        Proposed Order)(Majestro, Anthony) (Modified on 3/1/2023 to add link to #17
                        motion) (mkw).
        03/02/2023   26 ORDER GRANTING PLAINTIFF'S MOTION TO EXTEND DEADLINE TO
                        RESPOND TO DEFENDANT MARK A. SORSAIA MOTION TO DISMISS
                        granting Plaintiff's 25 MOTION to Extend Deadline to Respond to Defendant Mark A.
                        Sorsaia's Motion to Dismiss; Plaintiff shall file its response on 3/7/2023. Signed by




                                                        JA12
USCA4 Appeal: 23-2194       Doc: 32            Filed: 02/07/2024         Pg: 17 of 344

                        Judge Robert C. Chambers on 3/2/2023. (cc: counsel of record who have registered to
                        receive an electronic NEF) (cla)
       03/03/2023   27 UNOPPOSED MOTION by GenBioPro, Inc. to Extend Deadline to Respond to 19
                       MOTION by Patrick Morrisey to Dismiss, re: 1 Complaint to 3/17/2023 and
                       UNOPPOSED MOTION by GenBioPro, Inc. to Exceed Page Limit for its Response.
                       (Attachment: # 1 Proposed Order)(Smith, Christina)
       03/06/2023   28 ORDER GRANTING PLAINTIFF'S UNOPPOSED MOTION TO EXTEND
                       DEADLINE AND PAGE LIMIT TO RESPOND TO DEFENDANT PATRICK
                       MORRISEY'S MOTION TO DISMISS granting the 27 UNOPPOSED MOTION by
                       GenBioPro, Inc. to Extend Deadline to Respond to 19 MOTION by Patrick Morrisey
                       to Dismiss and to Exceed Page Limit for its Response; Plaintiff shall file its Response
                       to Defendant Morrisey's Motion to Dismiss on 3/17/2023. Signed by Judge Robert C.
                       Chambers on 3/6/2023. (cc: counsel of record who have registered to receive an
                       electronic NEF) (jsa)
       03/06/2023   29 ORDER granting the 24 MOTION by State of Alabama, State of Arkansas, State of
                       Florida, State of Georgia, State of Idaho, State of Indiana, State of Iowa, State of
                       Kansas, State of Kentucky, State of Louisiana, State of Mississippi, State of Missouri,
                       State of Montana, State of Nebraska, State of North Dakota, State of Ohio, State of
                       Oklahoma, State of South Carolina, State of South Dakota, State of Tennessee, State of
                       Texas for Leave to File an Amicus Brief in Support of the Defendants; directing the
                       Clerk to file the Amicus Brief. Signed by Judge Robert C. Chambers on 3/6/2023. (cc:
                       counsel of record; any unrepresented parties) (jsa)
       03/06/2023   30 AMICUS BRIEF by State of Alabama, State of Arkansas, State of Florida, State of
                       Georgia, State of Idaho, State of Indiana, State of Iowa, State of Kansas, State of
                       Kentucky, State of Louisiana, State of Mississippi, State of Missouri, State of
                       Montana, State of Nebraska, State of North Dakota, State of Ohio, State of Oklahoma,
                       State of South Carolina, State of South Dakota, State of Tennessee, State of Texas in
                       support of 17 MOTION by Mark A. Sorsaia to Dismiss for Failure to State a Claim
                       and 19 MOTION by Patrick Morrisey to Dismiss 1 Complaint. (jsa)
       03/07/2023   31 OPPOSITION by GenBioPro, Inc. to 17 MOTION by Mark A. Sorsaia to Dismiss.
                       (Smith, Christina) (Modified on 3/8/2023 to remove link to #18 memorandum in
                       support) (mkw).
       03/10/2023   32 STATEMENT OF VISITING ATTORNEY from Dylan L. Jacobs on behalf of State
                       of Arkansas. Local counsel: Jeffrey A. Kimble. Fee $50.00. Receipt
                       #AWVSDC−8373482. (Attachment: # 1 Receipt) (jsa) (Modified on 3/13/2023 to
                       correct the filed date) (Entered: 03/13/2023)
       03/10/2023   33 STATEMENT OF VISITING ATTORNEY from Asher Steinberg on behalf of State
                       of Arkansas. Local counsel: Jeffrey A. Kimble. Fee $50.00. Receipt
                       #AWVSDC−8373444. (Attachment: # 1 Receipt) (jsa) (Modified on 3/13/2023 to
                       correct the filed date) (mkw). (Entered: 03/13/2023)
       03/10/2023   34 STATEMENT OF VISITING ATTORNEY from Nicholas J. Bronni on behalf of
                       State of Arkansas. Local counsel: Jeffrey A. Kimble. Fee $50.00. Receipt
                       #AWVSDC−8373457 (Attachment: # 1 Receipt) (jsa) (Modified on 3/13/2023 to
                       correct the filed date) (mkw). (Entered: 03/13/2023)
       03/17/2023   35 OPPOSITION by GenBioPro, Inc. to 19 MOTION by Patrick Morrisey to Dismiss, re:
                       1 Complaint. (Attachment: # 1 Appendix Statutory Addendum)(Majestro, Anthony)
                       (Modified on 3/20/2023 to remove link to #20 memorandum) (mkw).
       03/20/2023   36 STATEMENT OF VISITING ATTORNEY from Kaixin Fan on behalf of Rachel
                       Rebouche, Lewis Grossman, I. Glenn Cohen, Allison Whelan, Greer Donley, David S.
                       Cohen, Patricia J. Zettler, Peter Barton Hutt. Local counsel: Russell D. Jessee. Fee
                       $50.00. Receipt # AWVSDC−8385797. (Jessee, Russell)
       03/20/2023   37 STATEMENT OF VISITING ATTORNEY from Beth Braiterman on behalf of Rachel
                       Rebouche, Lewis Grossman, I. Glenn Cohen, Allison Whelan, Greer Donley, David S.
                       Cohen, Patricia J. Zettler, Peter Barton Hutt. Local counsel: Russell Jessee. Fee
                       $50.00. Receipt # AWVSDC−8385806. (Jessee, Russell)




                                                       JA13
USCA4 Appeal: 23-2194       Doc: 32            Filed: 02/07/2024         Pg: 18 of 344

        03/20/2023   38 STATEMENT OF VISITING ATTORNEY from Julia F. Post on behalf of Rachel
                        Rebouche, Lewis Grossman, I. Glenn Cohen, Allison Whelan, Greer Donley, David S.
                        Cohen, Patricia J. Zettler, Peter Barton Hutt. Local counsel: Russell D. Jessee. Fee
                        $50.00. Receipt # AWVSDC−8385822. (Jessee, Russell)
        03/20/2023   39 STATEMENT OF VISITING ATTORNEY from Denise Esposito on behalf of Rachel
                        Rebouche, Lewis Grossman, I. Glenn Cohen, Allison Whelan, Greer Donley, David S.
                        Cohen, Patricia J. Zettler, Peter Barton Hutt. Local counsel: Russell D. Jessee. Fee
                        $50.00. Receipt # AWVSDC−8385834. (Jessee, Russell)
        03/20/2023   40 MOTION by David S. Cohen, I. Glenn Cohen, Greer Donley, Lewis Grossman, Peter
                        Barton Hutt, Rachel Rebouche, Allison Whelan, Patricia J. Zettler for Leave to File An
                        Amicus Curiae Brief in Support of Plaintiff's 35 Opposition to Defendants' Motions to
                        Dismiss, with proposed document attached. (Attachment: # 1 Exhibit − Brief)(Jessee,
                        Russell) (Modified on 3/21/2023 to add link to #35 opposition) (mkw).
        03/23/2023   41 UNOPPOSED MOTION by Patrick Morrisey to Extend Deadline for Reply to
                        Plaintiff's 35 Response In Opposition. (Capehart, Curtis) (Modified on 3/24/2023 to
                        remove link to #19 motion and #1 complaint and add link to #35 opposition) (mkw).
        03/24/2023   42 ORDER granting Defendant Patrick Morrisey's 41 UNOPPOSED MOTION to Extend
                        Deadline for Reply in Support of Defendant's Morrisey's Motion to Dismiss; reply due
                        by 3/31/2023. Signed by Judge Robert C. Chambers on 3/24/2023. (cc: counsel of
                        record and any unrepresented parties) (cla)
        03/27/2023   43 ORDER granting 40 MOTION by David S. Cohen, I. Glenn Cohen, Greer Donley,
                        Lewis Grossman, Peter Barton Hutt, Rachel Rebouche, Allison Whelan, Patricia J.
                        Zettler for Leave to File An Amicus Curiae Brief in Support of Plaintiff's Opposition
                        to Defendants' Motions to Dismiss and directing the Clerk to file the Amicus Brief.
                        Signed by Judge Robert C. Chambers on 3/27/2023. (cc: counsel and any
                        unrepresented parties) (mkw)
        03/27/2023   44 BRIEF by David S. Cohen, I. Glenn Cohen, Greer Donley, Lewis Grossman, Peter
                        Barton Hutt, Rachel Rebouche, Allison Whelan, Patricia J. Zettler as Amici Curiae in
                        support of 35 OPPOSITION by GenBioPro, Inc. to Defendants' Motions to Dismiss
                        filed pursuant to the 43 Order. (mkw)
        03/31/2023   45 REPLY by Patrick Morrisey to 35 Response In Opposition. (Capehart, Curtis)
        04/12/2023   46 LETTER−FORM NOTICE by GenBioPro, Inc. in opposition to 17 MOTION by Mark
                        A. Sorsaia to Dismiss for Failure to State a Claim and 19 MOTION by Patrick
                        Morrisey to Dismiss and 45 Reply to Response. (Attachments: # 1 Exhibit A, # 2
                        Exhibit B)(Majestro, Anthony) (Modified on 4/13/2023 to remove link to #18 and #20
                        memorandums) (mkw).
        04/13/2023   47 ORDER setting a hearing concerning the issue of standing for 4/24/2023 at 2:00 PM in
                        Huntington before Judge Robert C. Chambers, re: 17 MOTION by Mark A. Sorsaia to
                        Dismiss for Failure to State a Claim and 19 MOTION by Patrick Morrisey to Dismiss;
                        one hour will be allotted for argument; Counsel arguing the motions will appear in
                        person. Signed by Judge Robert C. Chambers on 4/13/2023. (cc: counsel of record;
                        any unrepresented parties) (jsa)
        04/18/2023   48 MOTION by Mark A. Sorsaia, Patrick Morrisey to Stay This Case Pending the
                        Outcome of Alliance for Hippocratic Medicine v. U. S. Food & Drug Administration,
                        No. 2:22−cv−00223 (N.D. Tex.). (Attachment: # 1 Exhibit A)(Capehart, Curtis)
                        (Modified on 4/18/2023 to add party filer) (mkw).
        04/18/2023   49 MEMORANDUM by Mark A. Sorsaia, Patrick Morrisey in support of 48 MOTION
                        by Mark A. Sorsaia, Patrick Morrisey to Stay This Case Pending the Outcome of
                        Alliance for Hippocratic Medicine v. U. S. Food & Drug Administration, No.
                        2:22−cv−00223 (N.D. Tex.) (Capehart, Curtis) (Modified on 4/18/2023 to add party
                        filer) (mkw).
        04/20/2023   50 OPPOSITION by GenBioPro, Inc. to 48 MOTION by Mark A. Sorsaia, Patrick
                        Morrisey to Stay This Case Pending the Outcome of Alliance for Hippocratic
                        Medicine v. U. S. Food & Drug Administration, No. 2:22−cv−00223 (N.D. Tex.).
                        (Attachments: # 1 Exhibit A − Maryland Comp.) (Majestro, Anthony)




                                                       JA14
USCA4 Appeal: 23-2194       Doc: 32             Filed: 02/07/2024         Pg: 19 of 344


        04/21/2023   51 REPLY by Patrick Morrisey to 50 Memorandum In Opposition. (Attachment: # 1
                        Exhibit A)(Capehart, Curtis)
        04/21/2023   52 ORDER denying Defendants' 48 MOTION for Stay; to facilitate the argument
                        scheduled for 4/24/2023, the Court informs the parties that Plaintiff will present its
                        arguments first. Signed by Judge Robert C. Chambers on 4/21/2023. (cc: counsel of
                        record; any unrepresented parties) (jsa)
        04/24/2023   53 MOTION HEARING held by Judge Robert C. Chambers on 4/24/2023; Court
                        Reporter: Catherine Schutte−Stant. (trj)
        05/02/2023   54 MEMORANDUM OPINION AND ORDER denying in part Defendants' 17 and 19
                        MOTIONS to Dismiss as to their arguments concerning standing; holding in abeyance
                        the remainder of the Motions; directing counsel to appear in person on 5/23/2023 at
                        1:30 p.m. in Huntington to argue the remaining issues raised in the Motions. Signed by
                        Judge Robert C. Chambers on 5/2/2023. (cc: counsel of record; any unrepresented
                        parties) (jsa)
        05/11/2023   55 ORDER in consideration of the Supreme Court's opinion in National Pork Producers
                        Council v. Ross, No. 21468, S. Ct. (2023), directing the parties to file supplemental
                        briefing by Friday, May 19, 2023. Signed by Judge Robert C. Chambers on 5/11/2023.
                        (cc: attys; any unrepresented parties) (mkw)
        05/17/2023   56 TRANSCRIPT OF PROCEEDINGS of Motion Hearing held on 04/24/2023, before
                        Judge Robert C. Chambers. Court Reporter Catherine Schutte−Stant, Telephone
                        number 304−347−3151. Transcript may be viewed at the court public terminal or
                        purchased through the Court Reporter before the deadline for Release of Transcript
                        Restriction. After that date it may be obtained through PACER. Notice of Intent to
                        Redact due 5/30/2023. Redaction Request due 6/7/2023. Redacted Transcript Deadline
                        set for 6/20/2023. Release of Transcript Restriction set for 8/15/2023. (css)
        05/17/2023   57 NOTICE OF FILING OF OFFICIAL TRANSCRIPT for pro se and non−electronic
                        filers re 56 Transcript of Motion Hearing held on 04/24/2023, before Judge Robert C.
                        Chambers. Court Reporter Catherine Schutte−Stant, Telephone number
                        304−347−3151. (klc)
        05/19/2023   58 SUPPLEMENTAL BRIEFING by GenBioPro, Inc. in response to the Court's 55
                        Order. (Majestro, Anthony)
        05/19/2023   59 SUPPLEMENTAL BRIEFING by Patrick Morrisey in response to the Court's 55
                        Order. (Capehart, Curtis)
        05/22/2023   60 NOTICE OF FILING by GenBioPro, Inc. to correct page eleven of its Statutory
                        Addendum attached to its 35 Opposition. (Attachment: # 1 Exhibit A)(Majestro,
                        Anthony)
        05/23/2023   61 MOTION HEARING held by Judge Robert C. Chambers on 5/23/2023; Court
                        Reporter: Kathy Swinhart. (trj)
        05/30/2023   62 TRANSCRIPT OF PROCEEDINGS of Motion Hearing held on May 23, 2023, before
                        Judge Robert C. Chambers. Court Reporter Kathy Swinhart, Telephone number
                        304−528−7583. Transcript may be viewed at the court public terminal or purchased
                        through the Court Reporter before the deadline for Release of Transcript Restriction.
                        After that date it may be obtained through PACER. Notice of Intent to Redact due
                        6/9/2023. Redaction Request due 6/20/2023. Redacted Transcript Deadline set for
                        6/30/2023. Release of Transcript Restriction set for 8/28/2023. (kls)
        06/02/2023   63 NOTICE OF FILING OF OFFICIAL TRANSCRIPT for pro se and non−electronic
                        filers re 62 Transcript of Motion Hearing held on 05/23/2023, before Judge Robert C.
                        Chambers. Court Reporter Kathy Swinhart, Telephone number 304−528−7583. (klc)
        06/07/2023   64 TRANSCRIPT REQUEST by Jennifer Williams for proceedings held on 5/23/2023
                        before Judge Robert C. Chambers. (Attachment: # 1 Envelope) (jsa)
        08/18/2023   65 NOTICE of Supplemental Authority by GenBioPro, Inc. in support of its 58 Response
                        to Court Order. (Attachment: # 1 Exhibit − Alliance for Hippocratic Medicine v. US
                        FDA)(Majestro, Anthony)




                                                        JA15
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024          Pg: 20 of 344


        08/24/2023   66 MEMORANDUM OPINION AND ORDER granting in part and denying in part
                        Defendants' 17 and 19 MOTIONS to Dismiss; Defendants' Motions to Dismiss Count I
                        are DENIED as to the telemedicine restriction, and GRANTED as to the UCPA and
                        other prior restrictions; Defendants' Motions to Dismiss Count II are GRANTED.
                        Signed by Judge Robert C. Chambers on 8/24/2023. (cc: counsel of record; any
                        unrepresented parties) (jsa) (Modified on 8/24/2023 to replace image) (mkw).
        08/24/2023   67 ORDER AND NOTICE: Rule 12(b) Motions − 9/14/2023. Rule 26(f) Meeting −
                        9/25/2023. Last day to file report of Rule 26(f) Meeting − 10/2/2023.
                        Scheduling/status conference at 11:30 AM on 10/16/2023 in Huntington. Entry of
                        Scheduling Order − 10/23/2023. Last Day to make Rule 26(a)(1) disclosures −
                        10/30/2023. Signed by Judge Robert C. Chambers on 8/24/2023. (cc: counsel of
                        record; any unrepresented parties) (jsa)
        08/24/2023       NOTICE OF DOCKET CORRECTION re: 66 MEMORANDUM OPINION AND
                         ORDER. Error: Image contained a typographical error. Correction: Replaced incorrect
                         image with correct image. (mkw)
        09/11/2023   68 NOTICE of Substitution by GenBioPro, Inc. (Majestro, Anthony)
        10/02/2023   69 JOINT MOTION by GenBioPro, Inc., Kris Raynes, Patrick Morrisey for Extension of
                        Time to File Rule 26(f) meeting report to October 10, 2023. (Capehart, Curtis)
        10/03/2023   70 ORDER granting the parties' 69 JOINT MOTION for Extension of Time to File Rule
                        26(f) Meeting Report; directing the parties to file their Rule 26(f) Report by
                        10/10/2023. Signed by Judge Robert C. Chambers on 10/3/2023. (cc: counsel of
                        record; any unrepresented parties) (jsa)
        10/11/2023   71 JOINT MOTION by GenBioPro, Inc., Kris Raynes, Patrick Morrisey for Extension of
                        the Dealing to File the Rule 26(f) Meeting Report to 10/18/2023. (Majestro, Anthony)
                        (Modified on 10/12/2023 to add party filers) (kew).
        10/12/2023   72 ORDER granting the parties' 71 JOINT MOTION for Further Extension for filing of
                        the Rule 26(f) meeting report; extending the filing date to 10/18/2023; further
                        CANCELING the Scheduling Conference on 10/16/2023. Signed by Judge Robert C.
                        Chambers on 10/12/2023. (cc: counsel of record; any unrepresented parties) (skm)
        10/18/2023   73 MOTION by GenBioPro, Inc. to Amend 1 Complaint and JOINT STIPULATION by
                        GenBioPro, Inc., Kris Raynes, Patrick Morrisey; said parties stipulate and consent to
                        the filing of Plaintiff's First Amended Complaint. (Attachments: # 1 Exhibit A − First
                        Amended Complaint, # 2 Exhibit B − Redline of Complaint, # 3 Proposed Order
                        Regarding Motion to Amend Complaint and Joint Stipulation)(Majestro, Anthony)
                        (Modified on 10/19/2023 to add party filers) (mkw).
        10/19/2023   74 ORDER REGARDING MOTION TO AMEND COMPLAINT AND JOINT
                        STIPULATION granting the parties' 73 MOTION to Amend Complaint and Joint
                        Stipulation; deeming Plaintiff's First Amended Complaint to be the operative
                        complaint in this case. Signed by Judge Robert C. Chambers on 10/19/2023. (cc:
                        counsel of record who have registered to receive an electronic NEF) (jsa)
        10/19/2023   75 FIRST AMENDED COMPLAINT by GenBioPro, Inc. against Patrick Morrisey,
                        Kristina Raynes. (jsa)
        11/03/2023   76 JOINT STIPULATION AND JOINT MOTION by GenBioPro, Inc., Kristina Raynes,
                        Patrick Morrisey for a a separate order of judgment on Plaintiff's First Amended
                        Complaint; said parties further stipulate that the Court should enter a separate order of
                        judgment on Plaintiff's 75 First Amended Complaint, as required by Federal Rule of
                        Civil Procedure 58. (Attachment: # 1 Proposed Order)(Majestro, Anthony) (Modified
                        on 11/3/2023 to add party filers and to add link to #75 first amended complaint)
                        (mkw).
        11/06/2023   77 ORDER REGARDING JOINT STIPULATION AND JOINT MOTION granting the
                        parties' 76 JOINT STIPULATION AND JOINT MOTION; dismissing Plaintiff's 75
                        First Amended Complaint, entering judgment in favor of the Defendants, and closing
                        this case. Signed by Judge Robert C. Chambers on 11/6/2023. (cc: counsel of record
                        who have registered to receive an electronic NEF) (skm)




                                                        JA16
USCA4 Appeal: 23-2194      Doc: 32          Filed: 02/07/2024       Pg: 21 of 344




         11/09/2023   78 NOTICE OF APPEAL WITH FEE PAID by GenBioPro, Inc. as to 77 ORDER
                         REGARDING JOINT STIPULATION AND JOINT MOTION and from the 54
                         Memorandum Opinion and Order and 66 Memorandum Opinion and Order
                         incorporated in that Judgment. Filing Fee $505. Receipt # AWVSDC−8533171.
                         (Majestro, Anthony)
         11/09/2023   79 TRANSMITTAL OF NOTICE OF APPEAL TO 4CCA via APPEAL
                         TRANSMITTAL SHEET re: 78 Notice of Appeal to the 4CCA as to 77 ORDER
                         REGARDING JOINT STIPULATION AND JOINT MOTION and from the 54
                         Memorandum Opinion and Order and 66 Memorandum Opinion and Order
                         incorporated in that Judgment. (jsa)
         11/15/2023   80 NOTICE OF APPELLATE CASE OPENING BY 4CCA re: 78 Notice of Appeal to
                         the 4CCA in 4CCA Case No. 23−2194. Case Manager: Kirsten Hancock. (jsa)




                                                    JA17
USCA4 Appeal: 23-2194           Doc: 32         Filed: 02/07/2024        Pg: 22 of 344

              Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 1 of 33 PageID #: 1




                                    IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                            HUNTINGTON DIVISION


          GENBIOPRO, INC.,
                                  Plaintiff,

                           v.
                                                                      Civil Action No. FY
          MARK A. SORSAIA, in his official capacity
          as Prosecuting Attorney of Putnam County
          AND PATRICK MORRISEY, in his official
          capacity as Attorney General of West Virginia,              COMPLAINT
                                  Defendants.



                                                INTRODUCTION

                1.      This case is about a federally approved medication that Congress subjected to a

         substantial and detailed federal regulatory program with which West Virginia law interferes.

         That state law must give way to the comprehensive federal regime Congress enacted and the

         Food and Drug Administration (“FDA”) implemented.

                2.      Plaintiff GenBioPro, Inc. (“GenBioPro”) is a private company that spent almost a

         decade developing a generic version of the drug mifepristone to give patients a safe, effective,

         non-invasive medication option for terminating a pregnancy. Mifepristone is the first drug in a

         two-drug regimen FDA approved that facilitates a medication abortion: (1) mifepristone

         interrupts early pregnancy by blocking the effect of progesterone, a hormone necessary to

         maintain a pregnancy, and (2) misoprostol causes uterine contractions, leading to the contents of

         the uterus being expelled.

                3.      Since 2019, when it received approval from FDA to sell generic mifepristone,

         GenBioPro has marketed and sold approximately 850,000 units of generic mifepristone


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                                                       JA18
USCA4 Appeal: 23-2194            Doc: 32          Filed: 02/07/2024        Pg: 23 of 344

               Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 2 of 33 PageID #: 2




         throughout the United States. Between 2017 and 2020 (a year after GenBioPro began marketing

         its product), the number of medication abortions in the United States increased by 45 percent,

         even as the number of abortions overall has declined significantly since the 1990s.1 Medication

         abortion now accounts for the majority of pregnancy terminations in the United States, despite

         the fact that people can use medication only to terminate early pregnancies.2

                 4.        Medical termination of pregnancy offers patients significant advantages. Patients

         can take the medication at home, at a time of their choosing, and in complete privacy.

         Medication abortions do not require administration of anesthesia; many patients use over-the-

         counter analgesics like Advil to relieve the period-like cramps patients typically experience.3

         Medical termination often costs less than a surgical termination, too.4

                 5.        FDA approved branded mifepristone (“Mifeprex”) for sale in 2000 and, in doing

         so, imposed specific restrictions it determined were necessary to assure the drug’s safe use. For

         example, in that early period FDA required that mifepristone be prescribed by a qualified

         physician, and be dispensed to patients by their physician, rather than at a pharmacy.

         Mifepristone joined the ranks of just fifteen other drugs that FDA had determined to warrant

         special restrictions.


                 1
                  Rachel K. Jones, Marielle Kirstein & Jesse Philbin, Abortion Incidence and Service
         Availability in the United States, 2020, 54 Persps. on Sexual & Reprod. Health 128, 136 (Dec.
         2022).
                 2
                     Id.
                 3
                  Univ. of Cal. S.F. Health (“UCSF”), Aspiration Versus Medication Abortion,
         https://www.ucsfhealth.org/education/aspiration-versus-medication-abortion (last visited Jan. 22,
         2023); Am. College of Obstetricians & Gynecologists, Medication Abortion Up to 70 Days of
         Gestation, 136 Obstetrics & Gynecology e31, e37 (Oct. 2020, reaffirmed 2023), https://www.
         acog.org/clinical/clinical-guidance/practice-bulletin/articles/2020/10/medication-abortion-up-to-
         70-days-of-gestation.
                 4
                  Allison McCann, What It Costs to Get an Abortion Now, N.Y. Times (Sept. 28, 2022),
         https://www.nytimes.com/interactive/2022/09/28/us/abortion-costs-funds.html.

                                                               2



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USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 24 of 344

                 Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 3 of 33 PageID #: 3




                  6.    In 2007, Congress enacted the Food and Drug Administration Amendments Act

         of 2007 (“FDAAA”), Pub. L. No. 110-85, 121 Stat. 823, codifying many of FDA’s risk

         management regulations into law, and authorizing FDA to design and implement risk evaluation

         and mitigation strategies for drugs moving forward.

                  7.    As part of the FDAAA, Congress specified that the 16 drugs FDA had already

         approved with “elements to assure safe use” — including mifepristone — would immediately be

         “deemed to have in effect an approved risk evaluation and mitigation strategy.”5 Id. § 909(b)(1),

         121 Stat. 950-51, reprinted at 21 U.S.C. § 331 note. In other words, Congress approved of how

         FDA regulated medications that previously had been approved with “elements to assure safe

         use.”

                  8.    The FDAAA requires FDA to ensure that any elements to assure safe use of drugs

         subject to a risk evaluation and mitigation strategy “[p]rovid[e] safe access for patients” while

         “assur[ing the drug’s] safe use.” Id. § 505-1(f), 121 Stat. 926, 930 (codified at 21 U.S.C. § 355-

         1(f ) ). Restrictions may “not be unduly burdensome on patient access to the drug” and must

         “minimize the burden on the health care delivery system.” Id. § 505-1(f)(2)(C)-(D), 121 Stat.

         930 (codified at 21 U.S.C. § 355-1(f)(2)(C)-(D)).

                  9.    Since Congress “deemed” mifepristone to have a risk evaluation and mitigation

         strategy in effect in 2007, FDA has regulated mifepristone under the FDAAA’s special

         congressional mandate. As required by statute, FDA regularly reevaluates whether mifepristone

         should remain subject to this strategy and updates the restrictions on the drug in light of its



                  5
                  FDA identified those 16 drugs by name in a list published in the Federal Register.
         Identification of Drug and Biological Products Deemed to Have Risk Evaluation and Mitigation
         Strategies for Purposes of the Food and Drug Administration Amendments Act of 2007, 73 Fed.
         Reg. 16313 (Mar. 27, 2008).

                                                               3



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USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024        Pg: 25 of 344

              Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 4 of 33 PageID #: 4




         assessment of evolving scientific evidence. Most recently, on January 3, 2023, FDA updated the

         REMS elements on mifepristone to enable patients to receive it through certified pharmacies.

                10.     Despite that federal statutory and regulatory regime, which carefully balances

         patient access and safety, West Virginia officials banned mifepristone.

                11.     In September 2022, in the wake of the Supreme Court’s holding in Dobbs v.

         Jackson Women’s Health Organization, 142 S. Ct. 2228 (2022), West Virginia’s Legislature

         enacted the Unborn Child Protection Act (the “Criminal Abortion Ban” or the “Ban”). This law

         prohibits abortion in almost all cases, at any stage of pregnancy. W. Va. Code § 16-2R-1 et seq.;

         id. § 61-2-8. The Criminal Abortion Ban severely constricted the market for mifepristone

         statewide.

                12.     Even before the Ban took effect, West Virginia law restricted the provision of

         mifepristone. See id. §§ 16-2I-2 (requiring a waiting period and counseling before an abortion

         procedure); 30-3-13a(g)(5) (prohibiting providers from prescribing mifepristone via

         telemedicine); see also id. § 30-1-26(b)(9) (providing for a rule banning prescribing mifepristone

         via telemedicine) (collectively “Restrictions”).

                13.     The Ban declares that some of these Restrictions (such as the waiting period and

         counseling requirement) have “no effect” while the Ban is in force. But if a court rules any part

         of the Ban statute unconstitutional, the limitations on abortion the Ban paused will again

         “become immediately effective.” Id. § 16-2R-9 (articles 2F, 2I, 2M, 2O, and 2Q of chapter 16

         and article 42 of chapter 33).6 Once back in effect, these Restrictions will obstruct West Virginia



                6
                  Article 2F contains provisions requiring parental notification before a minor undergoes
         an abortion procedure. W. Va. Code § 16-2F-1 et seq. Article 2I contains counseling and
         waiting period requirements patients must fulfill before obtaining an abortion. Id. § 16-2I-1 et
         seq. Article 2M prohibited providers from performing abortions after 20 weeks of gestation. Id.
         § 16-2M-1 et seq. Article 2O prohibited abortions using the dilation and evacuation method. Id.
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                                                        JA21
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024         Pg: 26 of 344

              Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 5 of 33 PageID #: 5




         residents’ access to mifepristone and stifle GenBioPro’s ability to conduct business in West

         Virginia.

                14.     Other restrictions, such as West Virginia’s prohibitions on providers using

         telemedicine to prescribe mifepristone, are in force. Id. § 30-3-13a(g)(5); see id. § 30-1-

         26(b)(9).

                15.     Federal law preempts West Virginia’s Ban and Restrictions. These laws

         impermissibly restrict patients’ access to mifepristone and GenBioPro’s opportunity and ability

         to market, promote, and sell the medication in the State. In “deem[ing]” mifepristone to be one

         of the few drugs subject to heightened FDA regulation, Congress authorized FDA, and only

         FDA, to impose restrictions on access to mifepristone. Before FDA may impose any restrictions,

         Congress requires the agency to determine that they are necessary for patient safety and will not

         unduly burden patient access. The Ban and Restrictions frustrate and conflict with that

         congressional mandate. West Virginia cannot override FDA’s determinations about the

         appropriate restrictions on a medication that FDA approved for use and Congress subjected to

         this enhanced regulatory regime.

                16.     West Virginia’s Ban and Restrictions also burden the healthcare delivery system

         in violation of the Supremacy Clause of the U.S. Constitution. U.S. Const. art. VI, cl. 2. The

         Ban and Restrictions make it impossible for providers to prescribe and dispense — and in turn,




         § 16-2O-1. Article 2P contains steps providers had to follow if an attempted abortion procedure
         resulted in a live birth. Id. § 16-2P-1. Article 2Q banned abortions sought because of fetal
         disability. Id. § 16-2Q-1. Article 42 of chapter 33 prohibited “partial-birth” abortions, defined
         as “abortion[s] in which the person performing the abortion partially vaginally delivers a living
         fetus before killing the fetus and completing the delivery.” Id. § 33-42-3(3); see id. § 33-42-1 et
         seq.

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                                                        JA22
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024        Pg: 27 of 344

               Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 6 of 33 PageID #: 6




         make it nearly impossible for GenBioPro to market, promote, and sell — mifepristone for its

         indicated use.

                 17.      West Virginia’s Ban and Restrictions also violate the Commerce Clause of the

         U.S. Constitution. U.S. Const. art. I, § 8, cl. 3. Congress determined that mifepristone, a drug

         subject to a REMS, should be subject to FDA’s determinations that balance risks against access.

         Individual state regulation of mifepristone destroys the national common market and conflicts

         with the strong national interest in ensuring access to a federally approved medication to end a

         pregnancy, resulting in the kind of economic fracturing the Framers intended the Clause to

         preclude. A State’s police power does not extend to functionally banning an article of interstate

         commerce — the Constitution leaves that to Congress.

                 18.      This Court should declare West Virginia’s Ban and Restrictions invalid and

         enjoin their enforcement because they adversely affect the sale and use of mifepristone within

         the State.

                                           JURISDICTION AND VENUE

                 19.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

         §§ 1331 and 1343(a)(3) because GenBioPro’s claims present federal questions that arise under

         the laws of the United States, including the Supremacy and Commerce Clauses of the U.S.

         Constitution, Article VI, Clause 2 and Article I, Section 8, Clause 3, 21 U.S.C. § 355-1, and 42

         U.S.C. § 1983.

                 20.      This Court has authority to grant declaratory and injunctive relief under 42 U.S.C.

         § 1983 and the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202.

                 21.      This Court has jurisdiction and equitable power to enjoin actions by state officials

         that are preempted by federal law. See Ex parte Young, 209 U.S. 123, 150-51 (1908).



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USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024          Pg: 28 of 344

               Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 7 of 33 PageID #: 7




                 22.     Venue is proper in this district under 28 U.S.C. § 1391(b) because all Defendants

         maintain an office and conduct official duties in this judicial district and because a substantial

         part of the events giving rise to the claims at issue occurred in this district.

                                                       PARTIES

                 23.     Plaintiff GenBioPro, Inc. is a Nevada corporation headquartered at 651 Lindell

         Road, Suite D1041 (P.O. Box 32011), Las Vegas, Nevada 89103. GenBioPro holds an approved

         abbreviated new drug application for generic mifepristone, No. 091178, and sells the drug

         nationwide. GenBioPro sells only generic mifepristone and misoprostol. Both drugs are used in

         medication abortions, and their sales are the company’s sole source of revenue.

                 24.     Defendant Mark A. Sorsaia is the Prosecuting Attorney for Putnam County, West

         Virginia, and maintains an office at 12093 Winfield Road, Winfield, West Virginia 25213.

         Defendant Sorsaia has authority to prosecute violations of the Criminal Abortion Ban and other

         criminal restrictions on abortion in Putnam County. See W. Va. Code § 7-4-1(a). Defendant

         Sorsaia has been quoted as stating publicly that “[a]s prosecutors we have a clear obligation to

         enforce the laws of our state. I believe if abortion is illegal then no responsible medical provider

         will be doing them.”7 This Complaint is brought against Defendant Sorsaia in his official

         capacity.

                 25.     Defendant Patrick Morrisey is the Attorney General and chief legal officer of

         West Virginia and maintains an office at 1900 Kanawha Boulevard E., Charleston, West Virginia

         25305. As Attorney General and chief legal officer, Defendant Morrisey has responsibility for

         enforcing the laws of West Virginia. Attorney General Morrisey recently signed a public letter


                 7
                 Rachel Pellegrino, West Virginia Lawmakers to Provide Clarity on Roe v. Wade,
         WOWK (July 1, 2022), https://www.wowktv.com/news/local/west-virginia-lawmakers-to-
         provide-clarity-on-roe-v-wade.

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USCA4 Appeal: 23-2194        Doc: 32           Filed: 02/07/2024        Pg: 29 of 344

              Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 8 of 33 PageID #: 8




         calling FDA’s determinations with respect to mifepristone “illegal and dangerous” and evincing

         his intent to stand by state law imposing restrictions on mifepristone notwithstanding FDA’s

         determinations pursuant to its congressional mandate.8 The Attorney General has the authority

         to enforce restrictions on abortion at the request of the Governor. See W. Va. Code § 5-3-1.

         This Complaint is brought against Defendant Morrisey in his official capacity.

                26.     This Court has equitable authority to enjoin these Defendants from enforcing

         unconstitutional state laws. See Ex parte Young, 209 U.S. at 150-51.

                                          FACTUAL ALLEGATIONS

                A.      Congress Authorized FDA To Approve Drugs Like Mifepristone For
                        Distribution And Sale In The United States

                27.     Congress first authorized FDA to regulate food and drugs more than a century ago

         in the Pure Food and Drugs Act, Pub. L. No. 59-384, 34 Stat. 768 (1906) (repealed 1938).

                28.     In 1938, Congress created the modern framework for FDA’s regulation of

         prescription drugs in the Federal Food, Drug, and Cosmetic Act (“FDCA”), Pub. L. No. 75-717,

         52 Stat. 1040 (1938) (codified at 21 U.S.C. § 301 et seq.). The FDCA authorized the agency to

         develop a comprehensive regulatory scheme governing medications sold in the United States and

         to promote the public health by reviewing clinical research promptly and taking appropriate

         action on applications for marketing those drugs. 21 U.S.C. § 393(b)(1). The FDCA prohibited

         a drug manufacturer from distributing a drug until it submitted a new drug application to FDA

         for review, and authorized FDA to reject an application if it determined the drug was unsafe.

         FDCA § 505(a), (d)-(e), 52 Stat. 1040, 1052 (codified at 21 U.S.C. § 355).



                8
                 See Letter from Att’ys Gen., to Robert Califf, Comm’r, U.S. Food & Drug Admin. (Jan.
         13, 2023) (“Letter from Att’ys Gen.”), https://www.alabamaag.gov/Documents/news/Letter
         _from_Ala_Atty_Gen_Steve_Marshall_et_al_to_FDA.pdf.

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                                                       JA25
USCA4 Appeal: 23-2194         Doc: 32             Filed: 02/07/2024       Pg: 30 of 344

              Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 9 of 33 PageID #: 9




                29.     In 1951, Congress amended the FDCA to define a new category of drugs — drugs

         that must be prescribed by a healthcare provider (as opposed to drugs that patients could obtain

         over the counter). Act of Oct. 26, 1951, Pub. L. No. 82-215, 65 Stat. 648. These “prescription”

         drugs included medications that required medical supervision to ensure their safe use. Id.

                30.     In 1962, Congress amended the FDCA to further strengthen FDA’s mandate “[t]o

         protect the public health” and “assure the safety, effectiveness, and reliability of drugs.” Drug

         Amendments of 1962, Pub. L. No. 87-781, pmbl., 76 Stat. 780, 780. Before 1962, Congress

         required FDA to demonstrate that a drug was harmful to deny an application and keep the drug

         from entering interstate commerce; after the amendment, Congress required manufacturers to

         prove to FDA that their products were safe and effective. Once FDA approved a manufacturer’s

         application, it authorized that manufacturer to sell and distribute its product nationwide.

                31.     The 1962 amendments included a provision stating: “Nothing in the amendments

         made by this Act . . . shall be construed as invalidating any provision of State law which would

         be valid in the absence of such amendments unless there is a direct and positive conflict between

         such amendments and such provision of State law.” Id. § 202, 76 Stat. 780, 793. When there is

         such a conflict, state law must yield.

                32.     In the half century since then, Congress has enacted additional statutes and

         amendments enhancing FDA’s mandate to ensure safe and effective drugs are available to

         patients in the United States. E.g., Drug Price Competition and Patent Term Restoration Act of

         1984, Pub. L. No. 98-417, §§ 101(j)(1), 202(e)(1), 98 Stat. 1585, 1603 (Sept. 24, 1984) (codified

         at 21 U.S.C. §§ 271(e)(1), 355(j)(1)) (establishing an expedited approval process for generic

         drugs along with incentives for generic manufacturers to make generic drugs available on the




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                                                        JA26
USCA4 Appeal: 23-2194         Doc: 32              Filed: 02/07/2024       Pg: 31 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 10 of 33 PageID #: 10




         market quickly)9; 21 U.S.C. § 393(b)(1), (2) (enacted in 1997) (requiring FDA to “promptly and

         efficiently review[ ] clinical research and tak[e] appropriate action on the marketing of regulated

         products in a timely manner”); id. § 360bbb(b), (c) (enacted in 1997) (authorizing FDA to

         “[e]xpand[ ] access to unapproved therapies and diagnostics,” by allowing access to

         “investigational drug[s]” under certain circumstances); Food and Drug Administration

         Modernization Act of 1997, Pub. L. No. 105-15, § 101(1), 111 Stat. 2296, 2298 (Nov. 21, 1997),

         reprinted at 21 U.S.C. § 379g note (stating that “prompt approval of safe and effective new

         drugs and other therapies is critical to the improvement of the public health so that patients may

         enjoy the benefits provided by these therapies to treat and prevent illness and disease”); 21

         U.S.C. § 356c(g) (enacted in 2012) (requiring FDA to mitigate and prevent shortages of certain

         drugs), id. § 356c-1 (enacted in 2012) (requiring FDA to report annually to Congress its actions

         to prevent or mitigate drug shortages).

                33.     The FDCA also requires manufacturers to label drugs with adequate instructions

         for their safe use, prescribing information, and the treatment for which that drug is approved (the

         “indication”). 21 U.S.C. §§ 352(f ), 355(a); see also 21 C.F.R. § 201.57(c).

                        1.      For The Past Forty Years, FDA Has Developed And Implemented
                                Strategies For Ensuring The Safety Of Certain Drugs

                34.     While Congress charges FDA with assessing drug safety, FDA’s determination

         that a drug is safe for use for an indication does not mean that the drug is completely risk free.

         All drugs, even over-the-counter drugs, carry some risk. Rather, FDA approves a drug if its

         benefits to patients outweigh those risks. Furthermore, FDA can impose special regulatory



                9
                   See also Andrx Pharms., Inc. v. Biovail Corp. Int’l, 256 F.3d 799, 809 (D.C. Cir. 2001)
         (explaining that the purpose of the 1984 amendments was to “get generic drugs into the hands of
         patients at reasonable prices — fast” (citation omitted)).

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                                                         JA27
USCA4 Appeal: 23-2194          Doc: 32          Filed: 02/07/2024         Pg: 32 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 11 of 33 PageID #: 11




         programs to mitigate a drug’s risks that facilitate regulatory approval of the drug and its

         availability to patients.

                 35.     FDA began developing risk management programs to mitigate drug risks in the

         1980s. One early example is FDA’s risk management program for isotretinoin (then sold as

         “Accutane”), a drug that treats severe acne. After approving Accutane in 1982, FDA determined

         that, if taken by a pregnant person, Accutane could affect fetal development. To minimize the

         risk that a pregnant person might take Accutane, FDA created special package inserts and

         developed educational programs to warn providers and patients.

                 36.     By the 1990s, FDA had promulgated regulations enabling it to approve drugs that

         treat “serious or life-threatening illnesses and that provide meaningful therapeutic benefit to

         patients over existing treatments” subject to certain “restrictions to assure safe use.” See 21

         C.F.R. §§ 314.500, 314.520. These regulations (known as “Subpart H”) limited any restriction

         FDA could impose to those “commensurate with the specific safety concerns presented by the

         drug product.” Id. § 314.520.

                 37.     Under Subpart H, FDA implemented risk management programs with “elements

         to assure safe use” for only 16 drugs and biologics.10 One of those drugs was mifepristone.

                         2.      After Determining That It Was Safe And Effective, FDA Approved
                                 Branded Mifepristone Under Subpart H

                 38.     French pharmaceutical company Roussel Uclaf developed mifepristone in 1980.

         Since its development, more than eighty countries have approved mifepristone’s use in




                 10
                   The 16 drugs and biologics included: abarelix, alosetron, ambrisentan, bosentan,
         clozapine, dofetilide, eculizumab, fentanyl PCA, fentanyl citrate, isotretinoin, lenalidomide,
         mifepristone, natalizumab, the smallpox vaccine, sodium oxybate, and thalidomide.

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                                                         JA28
USCA4 Appeal: 23-2194           Doc: 32            Filed: 02/07/2024        Pg: 33 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 12 of 33 PageID #: 12




         medication abortions.11 The United States joined those ranks in 2000, when FDA approved a

         new drug application for Mifeprex — the brand name for mifepristone as distributed and

         marketed by Danco Laboratories, LLC (“Danco”) — for the medical termination of intrauterine

         pregnancy through 49 days’ gestation.

                39.        In approving Mifeprex for sale, FDA determined that it treats a serious or life-

         threatening condition (i.e., unwanted or unintended pregnancies), and provides a “meaningful

         therapeutic benefit to some patients over surgical abortion.”12 According to FDA, “unwanted

         pregnancy, like a number of illnesses or conditions, can be serious for certain populations or

         under certain circumstances.”13 FDA recognized that, despite being associated with some risks,

         mifepristone conferred important therapeutic benefits and therefore approved Mifeprex subject to

         certain restrictions under Subpart H.

                      3. In The FDAAA, Congress Authorized FDA To Create Risk Evaluation And
                         Mitigation Strategies And Imposed A Strategy On Mifepristone

                40.        In 2007, Congress enacted the FDAAA to require FDA to ensure patient access to

         medications for which there is a potential risk of a serious adverse drug experience. 21 U.S.C.

         § 355-1. The FDAAA functionally codified FDA’s risk management regulations and instructed

         FDA to continue regulating access to particular drugs to ensure that they remain available, and

         that any restrictions do not unduly burden patient access or the healthcare delivery system.




                11
                  U.S. Food & Drug Admin., Questions and Answers on Mifepristone for Medical
         Termination of Pregnancy Through Ten Weeks Gestation (Jan. 4, 2023), https://perma.cc/AB7X-
         64A5.
                12
                     Id.
                13
                 See Letter from Janet Woodcock, Dir., Ctr. for Drug Evaluation & Rsch., U.S. Food &
         Drug Amin., to Donna Harrison, Executive Dir., Am. Ass’n of Pro Life Obstetricians &
         Gynecologists, Gene Rudd, Sr. Vice Pres., Christian Med. & Dental Ass’ns, & Penny Young
         Nance, CEO & Pres., Concerned Women for Am. (Mar. 29, 2016) (“Woodcock Letter”).

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                                                           JA29
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024         Pg: 34 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 13 of 33 PageID #: 13




                41.     To do so, Congress authorized FDA to implement a program called a Risk

         Evaluation and Mitigation Strategy (“REMS”). A REMS represents a determination by FDA

         that when a drug is prescribed or administered in a particular manner, that drug’s benefits

         outweigh the risk of a serious adverse drug experience. See id. § 355-1(a).

                42.     After amending the FDCA with the FDAAA, Congress directed that drugs FDA

         had previously approved with restrictions under Subpart H — including Mifeprex — would be

         “deemed to have in effect” an approved REMS. FDAAA § 909(b)(1), 121 Stat. 950-51.

         Congress thereby codified the restrictions FDA had imposed under Subpart H on this group of

         drugs, including Mifeprex. See id.

                43.     As part of the FDAAA, Congress required those 16 drugs’ sponsors to submit

         new REMS to FDA for the agency’s consideration. Id. The FDAAA authorized FDA to modify,

         or even remove, the REMS for those drugs. E.g., 21 U.S.C. § 355-1(g)(4)(B), (h).

                44.     The FDAAA specifies how FDA must assess whether a REMS is appropriate. It

         requires FDA first to determine whether a REMS is necessary and evaluate “[t]he seriousness of

         any known or potential adverse events that may be related to the drug.” Id. § 355-1(a). If FDA

         concludes the drug poses a risk of an “adverse drug experience” and determines a REMS is

         necessary to ensure that the drug’s benefits outweigh its risks, FDA must design and implement a

         REMS. Id. An adverse drug experience includes “any adverse event associated with the use of a

         drug . . . whether or not” the adverse event is “considered drug related.” Id. § 355-1(b)(1).

                45.     In imposing a REMS, FDA can require drug companies to include medication

         guides or inserts for patients, implement communications plans (which may include sending

         letters to healthcare providers), or dispense the drug in special packaging to ensure patients use

         the drug safely. Id. § 355-1(e).



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                                                         JA30
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024           Pg: 35 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 14 of 33 PageID #: 14




                 46.     The statute authorizes FDA to impose additional REMS elements “necessary to

         assure safe use of the drug” (also referred as “ETASU”). These elements may be imposed only

         if FDA determines the drug is “associated with a serious adverse drug experience” and requires a

         REMS to mitigate that “specific serious risk.” Id. § 355-1(f )(1). A “serious risk” or “serious

         adverse drug experience” includes adverse drug experiences that could result in “inpatient

         hospitalization” or a “substantial disruption of the ability to conduct normal life functions.” Id.

         § 355-1(b)(4), (5).

                 47.     The elements FDA imposes must be “commensurate with the specific serious risk

         listed” on the drug’s label. Id. § 355-1(f )(2)(A). For example, FDA may restrict dispensing of

         the drug to certain settings, like hospitals. Id. § 355-1(f )(1), (3).

                 48.     If FDA determines that it can approve a drug only with a REMS that incorporates

         such additional elements to assure safe use, Congress directs FDA to ensure that these elements

         “[p]rovid[e] safe access for patients to [these] drugs.” Id. § 355-1(f ).

                 49.     In a provision entitled, “Assuring access and minimizing burden,” Congress

         mandates that these elements to assure safe use, considering the drug’s risk, “not be unduly

         burdensome on patient access to the drug,” taking into account three considerations: patients

         with serious or life-threatening conditions, patients with difficulty accessing healthcare (such as

         patients in “rural or medically underserved areas”), and patients with functional limitations. Id.

         § 355-1(f ) (2)(A), (C)(i)-(iii). Congress requires any additional elements or restrictions to be

         compatible with the requirements for similar drugs and compatible with established drug

         distribution systems, “so as to minimize the burden on the health care delivery system.” Id.

         § 355-1(f )(2)(D).




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                                                           JA31
USCA4 Appeal: 23-2194           Doc: 32            Filed: 02/07/2024      Pg: 36 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 15 of 33 PageID #: 15




                50.        In creating a REMS, FDA must seek input from patients and healthcare providers

         in evaluating the restrictions to ensure they are not “unduly burdensome on patient access to the

         drug,” id. § 355-1(f )(5), and minimize the “burden on the health care delivery system,” id.

         § 355-1(f )(2)(D). In other words, Congress mandated that FDA balance two competing values:

         the safety of the drug and patient access to the drug.

                51.        Any person can petition FDA to amend a drug’s REMS by submitting a citizen

         petition pursuant to 21 C.F.R. § 10.30.

                52.        Section 355-1 requires FDA to reassess a drug’s REMS periodically. 21 U.S.C.

         § 355-1(d). After each reassessment, FDA may eliminate a REMS — or a component of a

         REMS — if it determines that the REMS elements are no longer necessary to ensure a

         medication’s benefits outweigh its risks.

                53.        Congress provided that, although either a drug’s manufacturer or FDA can

         propose a modification to a REMS, any such modification requires prior FDA approval. Without

         that approval, the existing REMS remains in effect. Id. § 355-1(g)(1), (h)(1), (h)(2)(A)-(B).

                54.        Of the more than 20,000 prescription drugs FDA has approved for marketing in

         the United States, the agency has subjected only 301 to a REMS.14 FDA has subjected 97 of

         those drugs to additional elements to assure safe use.15




                14
                  U.S. Food & Drug Admin., FDA Risk Evaluation and Mitigation Strategy (REMS)
         Public Dashboard (Jan. 17, 2023), https://fis.fda.gov/sense/app/ca606d81-3f9b-4480-9e47-
         8a8649da6470/sheet/994e7e67-d815-4204-8758-095c2abe2eda/state/analysis.
                15
                     Id.

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                                                         JA32
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024         Pg: 37 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 16 of 33 PageID #: 16




                B.      FDA Determined That Mifepristone Requires A REMS With Additional
                        Elements To Assure Safe Use

                        1.      The Early Mifeprex REMS

                55.     After Congress mandated that Mifeprex be “deemed to have in effect” an

         approved REMS in the FCAAA, in September 2008, Danco submitted a supplemental new drug

         application proposing a REMS for Mifeprex. FDA approved the proposed REMS in June 2011.

                56.     As approved, the 2011 REMS required that only certified physicians prescribe

         Mifeprex; specified that Mifeprex be dispensed only in certain healthcare settings such as clinics

         (known as the “in-person dispensing requirement”) and taken in a provider’s clinic; and required

         Danco to ensure that every doctor prescribing Mifeprex was specially certified.

                57.     In approving these REMS, FDA “determined that a REMS [wa]s necessary” for

         Mifeprex “to ensure the benefits of the drug outweigh[ed] the risks of serious complications by

         requiring prescribers to certify that they [were] qualified to prescribe” the drug, and could

         “assure patient access to appropriate medical facilities to manage any complications.”16

                58.     In 2015, Danco submitted a supplemental new drug application to FDA to revise

         Mifeprex’s label and REMS. FDA approved almost all of Danco’s proposed modifications to

         the label and REMS, including: increasing the gestational age through which Mifeprex is

         indicated from 49 days to 70 days; reducing the number of patient visits to a clinic; and

         expanding those who could be certified to prescribe Mifeprex to include “healthcare providers,”

         rather than just “physicians.”




                16
                  Letter from Ctr. for Drug Evaluation & Rsch., U.S. Food & Drug Admin., to Danco
         Labs., LLC 1 (June 8, 2011), https://www.accessdata.fda.gov/drugsatfda_docs/appletter/
         2011/020687s014ltr.pdf.

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                                                        JA33
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024        Pg: 38 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 17 of 33 PageID #: 17




                59.     FDA determined that the remaining REMS requirements, such as the in-person

         dispensing requirement, “remain[ed] necessary to ensure that the drug’s benefits outweigh its

         risks”17 and to assure Mifeprex’s safe use.18

                        2.      FDA Approved GenBioPro’s Generic Mifepristone

                60.     GenBioPro spent almost a decade bringing a generic version of mifepristone to

         market. On April 11, 2019, FDA approved GenBioPro’s application to manufacture and market

         generic mifepristone within the United States. As required by section 355, GenBioPro’s generic

         mifepristone and Danco’s Mifeprex have substantively identical labels. See 21 U.S.C.

         § 355(j)(2)(A)(v), (j)(4)(G).

                61.      FDA subjected GenBioPro’s generic mifepristone to a REMS pursuant to 21

         U.S.C. § 355-1(i). FDA determined that the branded and generic mifepristone should share a

         single REMS, to be called the “Mifepristone REMS Program.”

                        3.      FDA Halted Enforcement Of, And Reevaluated Part Of, The
                                Mifepristone REMS

                62.     In April 2021, FDA announced it would stop enforcing the in-person dispensing

         requirement of the Mifepristone REMS Program. The agency determined that requiring a patient

         to visit a clinic during the COVID-19 public health emergency could pose serious risks to

         patients and healthcare personnel and that new clinical data demonstrated that the in-person

         dispensing requirement was not necessary to ensure mifepristone remained safe for patients.




                17
                  Letter from Ctr. for Drug Evaluation & Rsch., U.S. Food & Drug Admin., to Danco
         Labs., LLC 2 (Mar. 29, 2016), https://www.accessdata.fda.gov/drugsatfda_docs/appletter/
         2016/020687Orig1s020ltr.pdf.
                18
                  See U.S. Gov’t Accountability Off., GAO-18-292, Food and Drug Administration:
         Information on Mifeprex Labeling Changes and Ongoing Monitoring Efforts 12 (2018).

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USCA4 Appeal: 23-2194          Doc: 32           Filed: 02/07/2024        Pg: 39 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 18 of 33 PageID #: 18




                63.       FDA continued its review of the Mifepristone REMS Program during the

         COVID-19 pandemic. In addition to analyzing newly published scientific literature, FDA

         evaluated safety information submitted to the agency during the COVID-19 public health

         emergency, reports of adverse events related to the drug, the first REMS assessment report for

         the Mifepristone REMS Program, and other information provided by the public. In December

         2021, FDA announced its determination that certain elements of the Mifepristone REMS

         Program remained necessary to assure the drug’s safe use, while other elements would need to be

         modified “to reduce burden on patient access and the health care delivery system and to ensure

         the benefits of [mifepristone] outweigh [its] risks.”19

                64.       After completing that review, FDA instructed Danco and GenBioPro to modify

         the Mifepristone REMS Program by removing the requirement that mifepristone be dispensed

         only in certain healthcare settings and adding a requirement that pharmacies dispensing

         mifepristone be specially certified.

                65.       In December 2021, FDA responded to a Citizen’s Petition from American

         Association of Pro Life Obstetricians and Gynecologists, the Christian Medical Association, and

         Concerned Women for America, rejecting their requests to impose additional burdens on access

         to mifepristone, including (1) limiting mifepristone’s indication to 49 days’ gestation;

         (2) requiring physicians, and not other providers, to prescribe mifepristone; (3) requiring patients

         to make three different office visits to their physicians as part of the REMS; and (4) requiring

         that mifepristone be dispensed only in certain healthcare settings.20



                19
                  U.S. Food & Drug Admin., Questions and Answers on Mifepristone for Medical
         Termination of Pregnancy Through Ten Weeks Gestation (Dec. 16, 2021), https://perma.
         cc/V7RX-ZUAX.
                20
                     See Woodcock Letter, supra note 13, at 5, 9, 13-15, 18-19, 25.

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USCA4 Appeal: 23-2194           Doc: 32         Filed: 02/07/2024        Pg: 40 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 19 of 33 PageID #: 19




                           4.     FDA Updated The Mifepristone REMS Program, Expanding Methods
                                  By Which Patients May Access Mifepristone

                66.        On January 3, 2023, FDA published a new, shared system REMS for mifepristone

         (the “2023 REMS”) covering both Mifeprex and generic mifepristone.21 Consistent with FDA’s

         December 2021 statements, the 2023 REMS no longer limits mifepristone dispensing to certain

         healthcare settings; patients may receive mifepristone by mail or from a specially certified

         pharmacy.

                67.        The 2023 REMS requires patients to sign a Patient Agreement Form before

         receiving a prescription for mifepristone.22 This form includes a section in which patients

         acknowledge having “decided to take “mifepristone and misoprostol to end [their] pregnancy”

         and agreeing to “follow [their] healthcare provider’s advice about when to take each drug and

         what to do in an emergency.”23 The form requires patients to assert that they “understand” that

         they “will take mifepristone” and then “the misoprostol tablets 24 to 48 hours after” taking

         mifepristone.24 FDA determined that these new REMS “continue to ensure the benefits of

         mifepristone for medical abortion outweigh the risks while minimizing the burden imposed by

         the REMS on healthcare providers and patients.”25




                21
                  U.S. Food & Drug Admin., Risk Evaluation and Mitigation Strategy (REMS) Single
         Shared System for Mifepristone 200mg (Jan. 2023), https://www.accessdata.fda.gov/drugsatfda_
         docs/rems/Mifepristone_2023_01_03_REMS_Full.pdf.
                22
                  U.S. Food & Drug Admin., Patient Agreement Form (Jan. 2023), https://www.
         accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2023_01_03_REMS_Full.pdf.
                23
                     Id.
                24
                     Id.
                25
                     Id.

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USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 41 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 20 of 33 PageID #: 20




                 C.     West Virginia Law Restricts Patients’ Access To Mifepristone And Regulates
                        How The Healthcare Delivery System Provides Mifepristone

                 68.    On September 13, 2022, the West Virginia governor signed the “Unborn Child

         Protection Act,” banning abortion at all stages of pregnancy except in limited circumstances. See

         W. Va. Code § 16-2R-1 et seq.; id. § 61-2-8. The law also declared that several provisions of the

         West Virginia Code related to abortion, including the counseling and waiting period

         requirements, would have “no force or effect unless any provision of the . . . Act is judicially

         determined to be unconstitutional.” 2022 W. Va. H.B. 302; see id. § 16-2I-9. If a court

         invalidates any part of the law, those restrictions are reactivated.

                 69.    The Ban states that “[a]n abortion may not be performed or induced or be

         attempted to be performed or induced unless in the reasonable medical judgment of a licensed

         medical professional: (1) The embryo or fetus is nonviable; (2) The pregnancy is ectopic; or

         (3) A medical emergency exists.” Id. § 16-2R-3(a).26 As a result, West Virginians no longer

         have a meaningful choice about whether to carry a pregnancy to term or to terminate using

         medication abortion. Id. §§ 16-2R-3, 16-2R-7.

                 70.    The Ban amends mifepristone’s indication by changing the time for which

         mifepristone is indicated from a period spanning 70 days’ gestation, to no time at all for most

         patients.

                 71.    While the Ban does not punish patients who terminate their pregnancies, it

         subjects certain healthcare providers who perform abortions to loss of their professional license,

         id. § 16-2R-7, and makes it a felony punishable by imprisonment for any other “person” to


                 26
                    The Ban also includes limited exceptions for a pregnancy that is within eight weeks’
         gestation (or, if a minor or incompetent or incapacitated adult, 14 weeks) and is the result of
         sexual assault or incest that the patient has reported to law enforcement. W. Va. Code § 16-2R-
         3(b), (c).

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                                                          JA37
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 42 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 21 of 33 PageID #: 21




         induce an abortion, id. § 61-2-8(a). The Ban imposes criminal penalties on some healthcare

         providers eligible to prescribe mifepristone under the 2023 REMS if they prescribe mifepristone

         to induce an abortion. Id. (defining “licensed medical professional” to exclude certain REMS-

         authorized providers); see id. § 16-2R-2.

                72.     In imposing the Ban, West Virginia officials eliminated access to mifepristone in

         the State in almost all circumstances. Even before the Ban, however, West Virginia regulated

         access to mifepristone in a manner restricting GenBioPro’s ability to distribute its FDA-approved

         product to West Virginians who qualified for access to it in compliance with FDA requirements.

                73.     As part of these Restrictions, West Virginia:

                        (a)   required providers to obtain “informed consent” from patients at least 24

                              hours before having a medication abortion, delaying care when, medically, it

                              should be provided as soon as possible to ensure safety and effectiveness

                              and avoid forcing patients out of the 70-day window in which mifepristone

                              is indicated for use. Id. § 16-2I-2(a). The law enacting the Ban provides

                              that this waiting-period requirement “is of no force or effect unless” a court

                              rules any provision of the Ban (§ 16-2R-1 et seq.) unconstitutional. Id. § 16-

                              2I-9.

                          (b) required providers to communicate specific information to patients that is

                              not part of the Mifepristone REMS Program, including that: “[s]ome

                              suggest that it may be possible to counteract the intended effects of a

                              mifepristone chemical abortion by taking progesterone if the female changes

                              her mind, before taking the second drug,” id. § 16-2I-2(a)(4)(A); and “the

                              father, if his identity can be determined, is liable to assist in the support of



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                                                          JA38
USCA4 Appeal: 23-2194           Doc: 32           Filed: 02/07/2024        Pg: 43 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 22 of 33 PageID #: 22




                                her child,” id. § 16-2I-2(b)(2). The law enacting the Ban provides that this

                                counseling requirement “is of no force or effect unless” a court rules any

                                provision of the Ban (§ 16-2R-1 et seq.) is unconstitutional. Id. § 16-2I-9.

                          (c)   bans providers from using telemedicine to prescribe mifepristone, which

                                means patients must visit a provider in person to obtain a prescription. Id.

                                § 30-3-13a(g)(5) (stating that a “physician or health care provider may not

                                prescribe any drug with the intent of causing an abortion” via telemedicine);

                                see id. § 30-1-26(b)(9).

                74.       These Restrictions, which are in force or would become operative again if any

         portion of the Ban is judicially determined to be unconstitutional, constrict GenBioPro’s ability

         to market its FDA-approved product to West Virginians who need it. The Ban makes such

         commercial opportunities virtually impossible.

                75.       On January 13, 2023, shortly after FDA issued the 2023 REMS, Defendant

         Morrisey, the Attorney General of West Virginia, joined a letter in which a number of state

         attorneys general proclaimed to FDA that they “will not yield” to FDA’s federally based

         authority to approve drugs and to strike the optimal regulatory balance between risk mitigation

         and ensuring patient access because, in their view, the 2023 REMS fail “to protect women’s

         health and safety.” Defendant Morrisey and his co-signers wrote that “[t]o be crystal clear,”

         FDA “ha[s] not negated any of our laws that forbid the remote prescription, administration, and

         use of abortion-inducing drugs” and “[n]othing in the FDA’s recent changes affects” how they

         will enforce those laws.27




                27
                     Letter from Att’ys Gen., supra note 8, at 3.

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                                                           JA39
USCA4 Appeal: 23-2194           Doc: 32           Filed: 02/07/2024      Pg: 44 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 23 of 33 PageID #: 23




                D.         West Virginia’s Abortion Ban And Restrictions Harm GenBioPro And
                           Prevent Patients From Accessing A Federally Approved Medication

                76.        More than eighty countries have approved mifepristone’s use in medication

         abortions, and many patients in the United States use mifepristone.28 In 2020, approximately

         492,210 medication abortions occurred in the United States, up from approximately 339,650 just

         three years earlier.29 The market for mifepristone is strong and sales have grown over time, even

         as the number of total U.S. abortions (including surgical) has declined.30 Medication abortions

         account for more than half of U.S. abortions, despite the fact that FDA approves of

         mifepristone’s use only up to 70 days’ gestation.31




                28
                  U.S. Food & Drug Admin., Questions and Answers on Mifepristone for Medical
         Termination of Pregnancy Through Ten Weeks Gestation (Jan. 4, 2023), https://perma.cc/AB7X-
         64A5.
                29
                     Rachel K. Jones et al., supra note 1, at 135.
                30
                     Id.
                31
                  Id.; Laurel Wamsley, How Medication Abortion Works and What the End of Roe v.
         Wade Could Mean for It, NPR (May 13, 2022), https://www.npr.org/2022/05/13/1098000879/
         abortion-pills-medication-abortion-roe-v-wade.

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                                                          JA40
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024        Pg: 45 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 24 of 33 PageID #: 24




                77.     Although Congress and FDA granted GenBioPro authority to sell mifepristone

         nationwide, West Virginia’s severe abortion Restrictions and Criminal Abortion Ban make it

         impossible for GenBioPro to promote and market its product in West Virginia as it does in other

         states. The State has long had only a single clinic providing abortions.

                78.     Major national pharmacy chains, including Walgreens and CVS, which operate

         stores in Hurricane and Winfield, have indicated publicly that they intend to sell mifepristone

         now that the REMS permits them to do so.32 Providing mifepristone through such pharmacies

         would enable GenBioPro to serve more patients with its product. West Virginia’s Ban and

         Restrictions, however, block GenBioPro from providing mifepristone through these integral

         healthcare distribution mechanisms in West Virginia. HoneyBee Health, which ships

         prescription drugs nationwide, is also prevented by West Virginia’s Ban and Restrictions from

         providing mifepristone to patients in West Virginia.33

                79.     West Virginia’s Criminal Abortion Ban and Restrictions have caused significant,

         ongoing economic injury to GenBioPro in the form of lost sales, customers, and revenue.

         Defendants’ enforcement of the Ban and Restrictions severely constricts GenBioPro’s pool of

         potential customers — including healthcare providers that purchase from GenBioPro and

         certified pharmacies — and impermissibly constrains GenBioPro’s ability to market its product

         in West Virginia.




                32
                   Spencer Kimball & Bertha Coombs, CVS and Walgreens Plan to Sell Abortion Pill
         Mifepristone at Pharmacies After FDA Rule Change, CNBC (Jan. 5, 2023),
         https://www.cnbc.com/2023/01/05/abortion-cvs-and-walgreens-will-sell-mifepristone-in-
         pharmacies.html.
                33
                   Celine Castronuovo, Abortion Pill Access to Ease with First FDA-Certified Pharmacy,
         Bloomberg News (Jan. 3, 2023), https://news.bloomberglaw.com/health-law-and-
         business/abortion-pill-access-to-ease-with-first-fda-certified-pharmacy.

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                                                        JA41
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 46 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 25 of 33 PageID #: 25




                80.     GenBioPro further alleges that, based on the foregoing, healthcare providers in

         West Virginia would prescribe mifepristone to their patients and purchase that mifepristone from

         GenBioPro, and that pharmacies in West Virginia would dispense GenBioPro’s mifepristone to

         their customers, but do not because of the Ban and the Restrictions.

                E.      West Virginia’s Abortion Ban And Other Restrictions Conflict With Federal
                        Law And Regulate Access To Mifepristone, A Function Congress Delegated
                        Exclusively To FDA

                81.     West Virginia’s Ban and abortion Restrictions frustrate and conflict with

         Congress’s determination that FDA must exercise regulatory authority through REMS and

         elements to assure safe use under 21 U.S.C. § 355-1(f) that States are not free to second-guess or

         override. Developing such a REMS requires FDA to first determine that restrictions are

         necessary to ensure that the drug’s benefits outweigh its risks, and then to impose restrictions

         that address the drug’s risks while minimizing the burden on patients’ access to the drug and on

         the healthcare delivery system. See 21 U.S.C. § 355-1(f )(2).

                82.     Section 355-1(f )(2) requires FDA to balance competing obligations, to maximize

         safety while minimizing burden, and to regulate patients’ access to, and the healthcare delivery

         system’s distribution of, mifepristone. The statute delegates to FDA exclusive authority to

         conduct that balancing, deploying its unique expertise in determining whether scientific evidence

         demonstrates that a serious adverse experience is associated with a drug, and how best to

         mitigate that risk while ensuring that its efforts do not unduly burden patient access to the drug.

         FDA’s REMS therefore necessarily establishes both a “floor” and “ceiling” on permissible

         regulation of mifepristone. The elements FDA determined are necessary to ensure

         mifepristone’s safety are the only restrictions that may be imposed on a patient’s access to, and

         the healthcare delivery system’s distribution of, mifepristone. Just as a state may not pass a law

         purporting to remove one of the REMS requirements (such as waiving the requirement of a
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USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024        Pg: 47 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 26 of 33 PageID #: 26




         Patient Agreement Form), it also may not impose any other elements restricting access. Doing

         so would disturb the balancing that Congress required FDA to conduct in regulating access to

         mifepristone via the Mifepristone REMS Program.

                83.     West Virginia’s Ban prevents almost all patients from accessing mifepristone,

         including those who otherwise would be eligible to receive the drug under the 2023 REMS. In

         so doing, it functionally displaces FDA’s judgment in approving mifepristone and imposing a

         REMS. West Virginia’s Ban also prevents the healthcare delivery system from distributing

         mifepristone to patients for whom providers would otherwise prescribe the drug. It burdens both

         the patient’s access to mifepristone and the healthcare delivery system by imposing criminal and

         professional penalties on the prescription and distribution of mifepristone. See W. Va. Code

         § 16-2R-1 et seq.; id. § 61-2-8.

                84.     The State’s laws interfere with and seek to contradict Congress’s directive to FDA

         to determine what elements will assure safe use of a REMS drug without being “unduly

         burdensome on patient access” and “minimiz[ing] the burden on the health care delivery

         system.” 21 U.S.C. § 355-1(f )(2)(C), (D).

                85.     The Ban and Restrictions conflict with FDA’s determinations pursuant to section

         355-1(f )(2). The Ban and Restrictions make it impossible for GenBioPro to market and

         distribute mifepristone in West Virginia in accordance with FDA’s requirements and

         determinations as to the balance Congress mandated between safety-based restrictions and

         patient access to the drug.

                86.     Even if the Ban is invalidated or repealed, the telemedicine ban will be in force

         and the counseling and waiting period requirements would again come into force. Each of these

         Restrictions conflicts with the 2023 REMS and regulates in an arena that Congress left to FDA.



                                                             26



                                                        JA43
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024        Pg: 48 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 27 of 33 PageID #: 27




                87.     West Virginia’s waiting period and counseling requirements, W. Va. Code § 16-

         2I-2, require providers to obtain “informed consent” from patients at least 24 hours before

         prescribing mifepristone and require providers to communicate specific information to patients

         that is not part of the counseling required by the Mifepristone REMS Program. The prescriber

         agreement in the REMS requires only that a physician review the Patient Agreement Form,

         “fully explain[ ]” the “risks of the mifepristone treatment regimen,” answer any “questions the

         patient may have,” and ensure the patient receives and signs the Patient Agreement Form.34

                88.     West Virginia’s telemedicine restrictions, id. § 30-3-13a(g)(5); see id. § 30-1-

         26(b)(9), purport to bar healthcare providers from prescribing any abortion drug via

         telemedicine. The Mifepristone REMS Program does not prohibit providers from using

         telemedicine to prescribe mifepristone. In 2019, several advocacy groups asked FDA to add a

         requirement to the REMS that a provider prescribe mifepristone in person, rather than by

         telemedicine or over the Internet. FDA specifically considered and rejected the proposed

         requirement as unnecessary to ensure mifepristone’s safety. West Virginia’s Restriction

         conflicts with this FDA determination.

                89.     West Virginia’s Ban and Restrictions conflict with mifepristone’s label and

         indication. FDA determined that mifepristone is indicated for use up to 70 days’ gestation, but

         West Virginia law conflicts with that determination by banning use of mifepristone by nearly all

         patients at any stage of pregnancy and limiting mifepristone to emergency use.

                90.     By enacting the FDCA and its amendments, Congress authorized FDA to approve

         drugs in the United States and determine whether a manufacturer can sell its product in interstate



                34
                  U.S. Food & Drug Admin., Patient Agreement Form (Jan. 2023), https://www.
         accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2023_01_03_REMS_Full.pdf.

                                                             27



                                                        JA44
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 49 of 344

               Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 28 of 33 PageID #: 28




         commerce. See, e.g., Act of Oct. 10, 1962, Pub. L. No. 87-781, § 104, 76 Stat. 780, 784; 21

         U.S.C. § 393(b)(1). A state ban like West Virginia’s constitutes a determination on the part of

         state legislators that a manufacturer cannot sell its product in the State, creating a direct conflict

         with federal law. See Act of Oct. 10, 1962, Pub. L. No. 87-781, § 102, 76 Stat. 780, 781.

                 91.    A favorable decision from this Court declaring the laws at issue invalid as applied

         to the sale and distribution of mifepristone and enjoining their enforcement by state officials due

         to their constitutional infirmities will remedy these conflicts and redress GenBioPro’s economic

         injury by enabling West Virginians to access its product. And if this Court rules any part of the

         Ban statute unconstitutional as applied to mifepristone, the entire Ban is invalidated. W. Va.

         Code § 16-2R-9.

         92.     Settled preemption and Commerce Clause principles govern states’ efforts to restrict

         access to an FDA-approved medication. The Supreme Court’s decision in Dobbs did not

         displace Congress’s and FDA’s roles in protecting the public health by deciding whether drugs

         are safe and effective, determining which precautions — if any — are necessary to ensure a

         drug’s safe use, and ensuring safe and effective drugs are available to the public. Dobbs

         addressed only the underlying personal constitutional privacy right as it pertains to abortion; it

         did not speak to federal law regulating a drug maker’s sale and distribution of, or a patient’s

         access to, medication that is FDA-approved for distribution nationwide.

                                               CLAIMS FOR RELIEF

                                                       COUNT I
                            Declaratory and Injunctive Relief — 42 U.S.C. § 1983 —
                          Federal Law Preempts West Virginia’s Ban and Restrictions

                 93.    GenBioPro re-alleges and incorporates by reference each of the preceding

         paragraphs.


                                                               28



                                                          JA45
USCA4 Appeal: 23-2194        Doc: 32           Filed: 02/07/2024         Pg: 50 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 29 of 33 PageID #: 29




                94.     The U.S. Constitution’s Supremacy Clause makes federal laws enacted under the

         authority of the United States the “supreme Law of the Land.” U.S. Const. art. VI, cl. 2. Under

         the Clause, federal law preempts any state regulation to the contrary. See Gade v. Nat’l Solid

         Wastes Mgmt. Ass’n, 505 U.S. 88, 108 (1992).

                95.     West Virginia’s Ban, W. Va. Code §§ 16-2R-1 et seq., 61-2-8, and Restrictions,

         id. §§ 16-2I-2, 16-2I-9, 30-1-26(b)(9), 30-3-13a(g)(5), are preempted by the FDCA as amended,

         21 U.S.C. § 355-1. States may not restrict access to FDA-approved drugs in ways that

         countermand the agency’s specific safety considerations or restrictions.

                96.     West Virginia’s Ban and Restrictions conflict with that mandate, including by

         imposing the burden of criminal penalties on REMS-eligible providers’ prescription of

         mifepristone. The Ban and Restrictions frustrate FDA’s determinations about how mifepristone

         should be regulated and invade an area Congress determined only FDA may occupy. See, e.g.,

         Mut. Pharm. Co. v. Bartlett, 570 U.S. 472, 479-80 (2013); Arizona v. United States, 567 U.S.

         387, 403 (2012); Geier v. Am. Honda Motor Co., 529 U.S. 861, 873 (2000). The Ban and

         Restrictions further stand as an obstacle to FDA’s determination that GenBioPro’s mifepristone

         is safe and effective, and GenBioPro may distribute it to patients pursuant to the REMS.

                97.     Federal law therefore preempts Article 2R, Chapter 16 of the West Virginia Code

         and Section 61-2-8, insofar as these statutes ban patients from using mifepristone in almost all

         instances.

                98.     Federal law preempts West Virginia Code §§ 16-2I-2, 16-2I-9 insofar as it

         requires patients seeking mifepristone to fulfill waiting period and counseling requirements.




                                                             29



                                                       JA46
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 51 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 30 of 33 PageID #: 30




                99.      Federal law preempts West Virginia Code § 30-3-13a(g)(5) insofar as it bans

         prescribing mifepristone via telemedicine and West Virginia Code § 30-1-26(b)(9) insofar as it

         provides for a rule banning prescribing mifepristone via telemedicine.

                100.     Section 1983 of Title 42 of the United States Code provides that “Every person

         who, under color of any statute, ordinance, regulation, custom, or usage, of any State . . . ,

         subjects, or causes to be subjected, any citizen of the United States or other person within the

         jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by the

         Constitution and laws, shall be liable to the party injured in an action at law, suit in equity, or

         other proper proceeding for redress . . . .”

                101.     West Virginia’s Ban and Restrictions conflict with the rights, privileges, or

         immunities secured by FDA approval of mifepristone under Title 21 of the United States Code

         and the REMS to market and distribute its FDA-approved product in West Virginia subject only

         to those regulations and restrictions FDA imposed pursuant to its mandate under the FDCA as

         amended, 21 U.S.C. § 355-1.

                                                        COUNT II
                            Declaratory and Injunctive Relief — 42 U.S.C. § 1983 —
                       West Virginia’s Ban and Restrictions Violate the Commerce Clause

                102.     GenBioPro re-alleges and incorporates by reference each of the preceding

         paragraphs.

                103.     The Commerce Clause grants Congress alone the power to “regulate Commerce

         . . . among the several States.” U.S. Const. art. I, § 8, cl. 3. It prevents a state from taking any

         action that may impede the free flow of trade in the national common market or create an undue

         burden on access to an article of commerce that requires uniform national regulation.




                                                               30



                                                          JA47
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024          Pg: 52 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 31 of 33 PageID #: 31




                104.    The Commerce Clause renders invalid state laws that impose “undue burdens” on

         interstate commerce, including by regulating articles of commerce Congress determined require

         a uniform system of regulation at the national level. South Dakota v. Wayfair, Inc., 138 S. Ct.

         2080, 2091 (2018). The Clause likewise invalidates state laws, such as West Virginia’s Ban and

         Restrictions, that preclude the use of a drug manufactured out of state for use in the State to

         terminate a pregnancy, see Healy v. Beer Inst., 491 U.S. 324, 336 (1989) (laws that, if imposed

         by several states, would have the “practical effect” of regulating commerce outside the state

         violate the Commerce Clause), or of banning an article of commerce, see Schollenberger v.

         Pennsylvania, 171 U.S. 1, 13 (1898).

                105.    Section 1983 of Title 42 of the United States Code provides a remedy for any

         person who suffers deprivation of rights, privileges, and immunities secured by the U.S.

         Constitution, including the Commerce Clause.

                106.    West Virginia’s Ban, W. Va. Code § 16-2R-1 et seq.; id. § 61-2-8, and

         Restrictions, id. §§ 16-2I-2, 16-2I-9, 30-1-26(b)(9), 30-3-13a(g)(5), interfere with the uniform

         regulation of mifepristone, a drug subject to extensive federal regulation at the national level,

         thereby destroying the common market for mifepristone.

                107.    Article 2R, Chapter 16 of the West Virginia Code and § 61-2-8 violate the

         Commerce Clause by, in effect, banning an article of commerce and preventing GenBioPro from

         developing a market for its product, mifepristone, in West Virginia.

                108.    West Virginia Code § 16-2I-2 violates the Commerce Clause by forcing patients

         to fulfill waiting period and counseling requirements before accessing mifepristone. This State

         law disrupts FDA’s federal regulatory scheme and undermines the need for national uniformity

         in the regulation of REMS drugs such as mifepristone.



                                                              31



                                                         JA48
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 53 of 344

             Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 32 of 33 PageID #: 32




                109.    West Virginia Code § 30-3-13a(g)(5) violates the Commerce Clause by

         preventing providers from prescribing mifepristone via telemedicine, meaning that patients are

         required to visit a healthcare professional in person to obtain a prescription. See id. § 30-1-

         26(b)(9). This State law disrupts FDA’s federal regulatory scheme and undermines the need for

         national uniformity in the regulation of mifepristone, as subject to the FDA’s REMS.

                110.    Each of these Restrictions and West Virginia’s Ban constrict the market for

         GenBioPro’s product, excessively burden interstate commerce, and vitiate the national common

         market the Framers envisioned.

                111.    West Virginia’s Ban and Restrictions conflict with the rights, privileges, or

         immunities secured by FDA approval of mifepristone under Title 21 of the United States Code

         and the REMS to market and distribute the drug under applicable federal rules. As such,

         42 U.S.C. § 1983 provides a cause of action and remedy for such violations.

                                              PRAYER FOR RELIEF

                WHEREFORE, Plaintiff respectfully requests that this Court enter an order and judgment

         as follows:

                A.      A declaratory judgment, pursuant to 28 U.S.C. § 2201, that West Virginia Code

                        §§ 16-2R-1 et seq., 16-2I-2, 16-2I-9, 30-1-26(b)(9), 30-3-13a(g)(5), and 61-2-8

                        are invalid and unenforceable because they violate both the Supremacy Clause

                        and the Commerce Clause of the U.S. Constitution;

                B.      Such further relief as permitted under 28 U.S.C. § 2202, including a permanent

                        injunction enjoining Defendants from enforcing the challenged provisions;

                C.      Injunctive relief under this Court’s equitable power to enjoin enforcement of

                        unconstitutional state laws;



                                                              32



                                                         JA49
USCA4 Appeal: 23-2194      Doc: 32           Filed: 02/07/2024         Pg: 54 of 344

            Case 3:23-cv-00058 Document 1 Filed 01/25/23 Page 33 of 33 PageID #: 33




               D.     An order awarding GenBioPro its costs and attorneys’ fees pursuant to 42 U.S.C.

                      § 1988; and

               E.     Such other and further relief as the Court deems just and proper.




          Dated: January 25, 2023                   Respectfully submitted,
                                                    /s/ Anthony J. Majestro
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                                                          33



                                                     JA50
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 55 of 344


                Case 3:23-cv-00058 Document 17 Filed 02/16/23 Page 1 of 4 PageID #: 91




                                               JA51
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 56 of 344


                Case 3:23-cv-00058 Document 17 Filed 02/16/23 Page 2 of 4 PageID #: 92




                                               JA52
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 57 of 344


                Case 3:23-cv-00058 Document 17 Filed 02/16/23 Page 3 of 4 PageID #: 93




                                               JA53
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 58 of 344


                Case 3:23-cv-00058 Document 17 Filed 02/16/23 Page 4 of 4 PageID #: 94




                                               JA54
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 59 of 344


                Case 3:23-cv-00058 Document 18 Filed 02/16/23 Page 1 of 8 PageID #: 95




                                               JA55
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 60 of 344


                Case 3:23-cv-00058 Document 18 Filed 02/16/23 Page 2 of 8 PageID #: 96




                                               JA56
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 61 of 344


                Case 3:23-cv-00058 Document 18 Filed 02/16/23 Page 3 of 8 PageID #: 97




                                               JA57
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 62 of 344


                Case 3:23-cv-00058 Document 18 Filed 02/16/23 Page 4 of 8 PageID #: 98




                                               JA58
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 63 of 344


                Case 3:23-cv-00058 Document 18 Filed 02/16/23 Page 5 of 8 PageID #: 99




                                               JA59
USCA4 Appeal: 23-2194    Doc: 32         Filed: 02/07/2024    Pg: 64 of 344


                Case 3:23-cv-00058 Document 18 Filed 02/16/23 Page 6 of 8 PageID #: 100




                                                JA60
USCA4 Appeal: 23-2194    Doc: 32         Filed: 02/07/2024    Pg: 65 of 344


                Case 3:23-cv-00058 Document 18 Filed 02/16/23 Page 7 of 8 PageID #: 101




                                                JA61
USCA4 Appeal: 23-2194    Doc: 32         Filed: 02/07/2024    Pg: 66 of 344


                Case 3:23-cv-00058 Document 18 Filed 02/16/23 Page 8 of 8 PageID #: 102




                                                JA62
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 67 of 344

           Case 3:23-cv-00058 Document 19 Filed 02/21/23 Page 1 of 3 PageID #: 103




                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                     HUNTINGTON DIVISION

        GENBIOPRO, INC.,

                        Plaintiff,

                        v.                                         Civil Action No. 3:23-cv-00058

        MARK A. SORSAIA, in his official
        capacity, AND PATRICK MORRISEY, in                         Hon. Robert C. Chambers
        his official capacity,

                        Defendants.

                                             MOTION TO DISMISS

               Defendant, Patrick Morrisey, in his official capacity as Attorney General of the State of

       West Virginia, respectfully moves this Court under Fed. R. Civ. P. 12(b) for an order dismissing

       Plaintiff’s complaint. As further explained in the Memorandum in Support of this Motion filed

       contemporaneously herewith, dismissal is proper here because Plaintiff lacks standing, as it has

       not shown an injury in fact or redressability, see Fed. R. Civ. P. 12(b)(1), and Plaintiff fails to state

       claims upon which relief may be granted, see Fed. R. Civ. P. 12(b)(6).

               For these reasons, as laid out in full in the accompanying memorandum in support, the

       Court should dismiss the Complaint.

                                                       Respectfully submitted,

                                                       By counsel,

                                                       PATRICK MORRISEY
                                                       West Virginia Attorney General

                                                       /s/ Curtis R. A. Capehart
                                                       Douglas P. Buffington II (WV Bar # 8157)
                                                        Chief Deputy Attorney General
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                                                        Deputy Attorney General



                                                         JA63
USCA4 Appeal: 23-2194   Doc: 32      Filed: 02/07/2024      Pg: 68 of 344


       Case 3:23-cv-00058 Document 19 Filed 02/21/23 Page 2 of 3 PageID #: 104




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                                       West Virginia State Bar; Statements of Visiting
                                       Attorneys forthcoming)

                                       Counsel for Defendant, Patrick Morrisey, in his
                                       official capacity as Attorney General of the State of
                                       West Virginia

                                       DATE: February 21, 2023




                                           JA64
USCA4 Appeal: 23-2194      Doc: 32          Filed: 02/07/2024      Pg: 69 of 344



          Case 3:23-cv-00058 Document 19 Filed 02/21/23 Page 3 of 3 PageID #: 105




                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  HUNTINGTON DIVISION

       GENBIOPRO, INC.,

                     Plaintiff,

                     v.                                      Civil Action No. 3:23-cv-00058

       MARK A. SORSAIA, in his official
       capacity, AND PATRICK MORRISEY, in                    Hon. Robert C. Chambers
       his official capacity,

                     Defendants.

                                     CERTIFICATE OF SERVICE

             I hereby certify that, on this 21st day of February, I electronically filed the foregoing

      “Motion to Dismiss” with the Clerk of Court and all parties using the CM/ECF System.



                                                  /s/ Curtis R. A. Capehart
                                                  Curtis R. A. Capehart
                                                    Deputy Attorney General




                                                   JA65
USCA4 Appeal: 23-2194        Doc: 32           Filed: 02/07/2024        Pg: 70 of 344


         Case 3:23-cv-00058 Document 19-1 Filed 02/21/23 Page 1 of 1 PageID #: 106




                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   HUNTINGTON DIVISION

       GENBIOPRO, INC.,

                      Plaintiff,

                      v.                                        Civil Action No. 3:23-cv-00058

       MARK A. SORSAIA, in his official
       capacity, AND PATRICK MORRISEY, in                       Hon. Robert C. Chambers
       his official capacity,

                      Defendants.

            [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS

             Defendant, Patrick Morrisey, in his official capacity as Attorney General of the State of

      West Virginia, through counsel, filed a motion to dismiss [ECF No. XX] on February 21, 2023.

      Having considered Defendant’s Memorandum in Support [ECF No. XX], Plaintiff’s Response in

      Opposition [ECF No. XX], and Defendants’ Reply [ECF No. XX], the Court concludes both that

      Plaintiff lacks standing to bring its claims, and, even if it had standing, its counts fail to state a

      claim upon which relief can be granted. See Fed. R. Civ. P. 12(b)(1), (6). Accordingly, the Court

      GRANTS Defendant’s motion and ORDERS that the complaint [ECF No. 1] be dismissed.



                                                                    ORDERED:___________, 2023
                                                                    /s/________________________
                                                                    United States District Judge




                                                       JA66
USCA4 Appeal: 23-2194         Doc: 32   Filed: 02/07/2024      Pg: 71 of 344



            Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 1 of 28 PageID #: 107




                              IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                      HUNTINGTON DIVISION

          GENBIOPRO, INC.,



                         Plaintiff,



                         v.                                 Civil Action No. 3:23-cv-00058



          MARK A. SORSAIA, in his official

          capacity, AND PATRICK MORRISEY, in                Hon. Robert C. Chambers

          his official capacity,



                         Defendants.


                         MEMORANDUM IN SUPPORT OF MOTION TO DISMISS




                                              JA67
USCA4 Appeal: 23-2194                   Doc: 32                    Filed: 02/07/2024                      Pg: 72 of 344

                Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 2 of 28 PageID #: 108




                                                              TABLE OF CONTENTS

         Table of Authorities ........................................................................................................................ ii

         Introduction ..................................................................................................................................... 1

         Facts ............................................................................................................................................. 1

                    A.         The Federal Food, Drug, and Cosmetic Act ........................................................... 1

                    B.         The West Virginia Legislature’s efforts to protect unborn life............................... 3

         Legal Standard ................................................................................................................................ 5

         Argument ........................................................................................................................................ 5

         I.         GBP lacks standing. ............................................................................................................ 6

         II.        Congress did not delegate the ability to set nationwide abortion policy or displace
                    state laws regulating medical practice. ............................................................................... 8

                    A.         FDA does not have the authority to set national abortion policy. .......................... 8

                    B.         FDA’s approval of mifepristone plus a REMS does not preempt state law. ........ 10

                               1.          Compliance with both federal and state law is not impossible. ................ 11

                               2.          The Unborn Child Protection Act does not conflict with federal law. ..... 12

                               3.          West Virginia’s other challenged laws do not conflict with federal
                                           law. ............................................................................................................ 16

         III.       GBP’s Commerce Clause claim fails. ............................................................................... 17

         Conclusion .................................................................................................................................... 20




                                                                                   i



                                                                               JA68
USCA4 Appeal: 23-2194                 Doc: 32                   Filed: 02/07/2024                   Pg: 73 of 344

              Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 3 of 28 PageID #: 109




                                                          TABLE OF AUTHORITIES

         Cases

         Anderson v. Eby,
            998 F.2d 858 (10th Cir. 1993) ................................................................................................ 17

         Arizona v. United States,
             567 U.S. 387 (2012) ................................................................................................................ 11

         Ashcroft v. Iqbal,
            556 U.S. 662 (2009) .................................................................................................................. 5

         AT&T Co. v. Central Office Telephone, Inc.,
           524 U.S. 214 (1998) ................................................................................................................ 11

         Bell Atlantic Corp. v. Twombly,
             550 U.S. 544 (2007) .................................................................................................................. 5

         Brown-Forman Distillers Corp. v. New York State Liquor Authority,
            476 U.S. 573 (1986) ................................................................................................................ 17

         California v. Texas,
            141 S. Ct. 2104 (2021) .............................................................................................................. 8

         California v. Zook,
            336 U.S. 725 (1949) ................................................................................................................ 20

         Colon Health Centers of America, LLC v. Hazel,
            813 F.3d 145 (4th Cir. 2016) ............................................................................................. 18, 19

         Dobbs v. Jackson Women’s Health Organization,
            142 S. Ct. 2228 (2022) .............................................................................................. 1, 3, 15, 18

         Doe v. Obama,
            631 F.3d 157 (2011) .................................................................................................................. 7

         Food & Drug Administration v. Brown & Williamson Tobacco Corp.,
            529 U.S. 120 (2000) ................................................................................................................ 10

         FW/PBS, Inc. v. Dallas,
           493 U.S. 215 (1990) .................................................................................................................. 7

         Geier v. American Honda Motor Co.,
            120 S. Ct. 1913 (2000) ............................................................................................................ 11

         Gonzales v. Oregon,
            546 U.S. 243 (2006) ................................................................................................................ 16


                                                                              ii



                                                                           JA69
USCA4 Appeal: 23-2194                 Doc: 32                   Filed: 02/07/2024                  Pg: 74 of 344

              Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 4 of 28 PageID #: 110




         Johnson v. County of Horry, S.C.,
            360 Fed.Appx 466 (4th Cir. 2010) ........................................................................................... 19

         Jones v. Rath Packing Co.,
            430 U.S. 519 (1977) .......................................................................................................... 15, 16

         Kansas v. Garcia,
            140 S. Ct. 791 (2020) .............................................................................................................. 11

         Kowalski v. Tesmer,
           543 U.S. 125 (2004) .................................................................................................................. 7

         Lujan v. Defenders of Wildlife,
            504 U.S. 555 (1992) .............................................................................................................. 7, 8

         McBurney v. Young,
           667 F.3d 454 (4th Cir. 2012) ................................................................................................... 18

         Merck Sharp & Dohme Corporation v. Albrecht,
            139 S. Ct. 1668 (2019) ............................................................................................................ 11

         Napper v. United States,
            374 F. Supp. 3d 583 (S.D. W. Va. 2019) .................................................................................. 5

         Pic-A-State PA, Inc. v. Pennsylvania.,
             42 F.3d 175 (3d Cir. 1994)...................................................................................................... 20

         Pike v. Bruce Church, Inc.,
            397 U.S. 137 (1970) ................................................................................................................ 18

         Planned Parenthood of Southeastern Pennsylvania v. Casey,
            505 U.S. 833 (1992) ............................................................................................................ 9, 15

         PLIVA, Inc. v. Mensing,
            564 U.S. 604, 625 (2011) .................................................................................................. 11, 12

         Richmond, Fredericksburg & Potomac Railroad Co. v. United States,
            945 F.2d 765 (4th Cir. 1991) ..................................................................................................... 5

         Riegel v. Medtronic, Inc.,
            552 U.S. 312 (2008) ................................................................................................................ 16

         Sandlands C & D LLC v. County of Horry,
            737 F.3d 45 (4th Cir. 2013) ..................................................................................................... 18

         South Dakota v. Wayfair, Inc.,
            138 S. Ct. 2080 (2018) ............................................................................................................ 18



                                                                            iii



                                                                           JA70
USCA4 Appeal: 23-2194                  Doc: 32                   Filed: 02/07/2024                    Pg: 75 of 344

              Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 5 of 28 PageID #: 111




         Spokeo, Inc. v. Robins,
            578 U.S. 330, 338 (2016) .......................................................................................................... 7

         Steel Co. v. Citizens for a Better Environment,
             523 U.S. 83 (1998) .................................................................................................................... 5

         Tennessee Wine & Spirits Retailers Association v. Thomas,
            139 S. Ct. 2449 (2019) ............................................................................................................ 20

         Utility Air Regulatory Group v. Environmental Protection Agency,
             573 U.S. 302 (2014) ............................................................................................................ 9, 10

         Washington v. Glucksberg,
           521 U.S. 702 (1997) ................................................................................................................ 13

         West Virginia v. Environmental Protection Agency,
            142 S. Ct. 2587 (2022) ........................................................................................................ 9, 10

         Wyeth v. Levine,
            555 U.S. 555 (2009) ......................................................................................................... passim

         Zogenix, Inc. v. Patrick,
            2014 WL 1454696 (D. Mass. Apr. 15, 2014) ......................................................................... 13

         Statutes

         18 U.S.C. § 1461 ................................................................................................................. 8, 17, 20

         18 U.S.C. § 1462 ................................................................................................................. 8, 17, 20

         21 U.S.C. § 355-1 ................................................................................................................. 2, 9, 10

         21 U.S.C. § 393 ......................................................................................................................... 6, 12

         W. VA. CODE § 9-2-11 .................................................................................................................... 3

         W. VA. CODE § 16-2F-3–8 .............................................................................................................. 3

         W. VA. CODE § 16-2I-1–9 ................................................................................................. 3, 4, 8, 16

         W. VA. CODE § 16-2M-2–6............................................................................................................. 3

         W. VA. CODE § 16-2O-1 ................................................................................................................. 3

         W. VA. CODE § 16-2P-1 .................................................................................................................. 3

         W. VA. CODE § 16-2Q-1 ................................................................................................................. 3

         W. VA. CODE § 16-2R-1–9 ............................................................................................................. 4

                                                                               iv



                                                                             JA71
USCA4 Appeal: 23-2194                  Doc: 32                    Filed: 02/07/2024                    Pg: 76 of 344

              Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 6 of 28 PageID #: 112




         W. VA. CODE § 30-1-26 ............................................................................................................ 4, 16

         W. VA. CODE § 30-3-13a ................................................................................................................ 4

         W. VA. CODE § 61-2-30 .................................................................................................................. 3

         W. VA. CODE § 61-2-8 ................................................................................................................ 3, 4

         Other Authorities

         FDA, Q&A on Mifeprex, https://tinyurl.com/4jtfrjm8 .................................................................. 17

         Rules

         Fed. R. Civ. P. 12 ............................................................................................................................ 5

         Constitutional Provisions

         U.S. CONST. art. VI, cl. 2 .............................................................................................................. 10

         Legislative Materials

         Women’s Health Protection Act of 2021, H.R.3755, 117th Cong. (2021) .............................. 10, 15




                                                                                v



                                                                              JA72
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 77 of 344

             Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 7 of 28 PageID #: 113




                                                  INTRODUCTION

                Plaintiff GenBioPro, a pharmaceutical company that manufacturers the chemical abortion

         drug mifepristone,1 makes the sweeping claim that the Food and Drug Administration’s (“FDA”)

         approval of the drug and its imposition of additional safety requirements somehow preempts any

         state law that results in some impact on the drug’s use or sale, including every state law regulating

         abortion, and that any such law is invalid under the dormant Commerce Clause. GenBioPro’s

         (“GBP”) claims turn on the peculiar argument that Congress gave a federal agency the power to

         mandate nationwide abortion access vis-à-vis an administrative review process focused on patient

         safety and effectiveness as well as an obscure and rarely used provision in the Federal Food Drug

         and Cosmetic Act (“FDCA”). To be clear, nothing in the text of the FDCA suggests that Congress

         authorized FDA to exercise such extraordinary power to displace states in addressing matters of

         health care practice and prescriptive authority, let alone over the social and political issue that is

         abortion. Also, it more than strains belief to suggest that the U.S. Supreme Court in Dobbs failed

         to recognize the FDCA’s alleged import when it held that the people of the states may enact laws

         protecting unborn life “at every stage of development.” Dobbs v. Jackson Women’s Health Org.,

         142 S. Ct. 2228, 2284 (2022). In reality, FDA has long existed as gatekeeper setting a federal floor

         on which complementary state legislation may build. This Court should dismiss this lawsuit.

                                                       FACTS

                A.      The Federal Food, Drug, and Cosmetic Act

                In 1906, Congress passed the Federal Food and Drugs Act to “supplement[]” “state

         regulation” of adulterated and misbranded drugs. Wyeth v. Levine, 555 U.S. 555, 566 (2009). In

         1938, Congress enacted the FDCA which, as amended, requires a manufacturer to show its drug


         1
           The Complaint states that GenBioPro also manufactures misoprostol, which is the second drug
         in a 2-drug series with mifepristone used to cause a chemical abortion.
                                                           1



                                                         JA73
USCA4 Appeal: 23-2194           Doc: 32           Filed: 02/07/2024         Pg: 78 of 344

               Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 8 of 28 PageID #: 114




         is “safe for use under the conditions prescribed, recommended, or suggested in the proposed

         labeling before it [can] distribute the drug.” Id. at 567 (cleaned up). Through many iterations and

         amendments to the FDCA, “Congress took care to preserve” parallel state laws protecting the

         public health. Id. The 1962 amendments, in particular, included an express saving clause,

         providing that “a provision of state law would only be invalidated upon a ‘direct and positive

         conflict’ with the FDCA.” Id.

                   In 2007, Congress amended the FDCA to subject medications that present “serious safety

         concerns” to additional restrictions. Pub. L. No. 110-85, 121 Stat. 823 (2007). That amendment

         directed FDA to adopt a new “drug safety program,” known as the “Risk Evaluation and Mitigation

         Strategy” (REMS), when necessary to ensure a drug’s benefits outweigh its risks. 21 U.S.C. § 355-

         1. And for “drugs with known serious risks,” that are “associated with a serious adverse”

         experience, the REMS must include “elements to assure safe usage” (“ETASUs”). Id. § 355-1(e)-

         (f). Because of serious safety concerns and documented adverse experiences, FDA established

         both REMS and ETASUs for mifepristone. Compl. ¶ 54, ECF No. 1 (only 97 of more than 20,000

         FDA-approved prescription drugs were concerning enough for ETASUs).

                   In 2016, FDA revised the REMS for mifepristone to increase the gestational age limit,

         change the dosage and route of administration, reduce the number of required in-person office

         visits, allow non-physicians to prescribe and administer the drug, and eliminate the requirement

         for prescribers to report nonfatal adverse events. Then, in 2021, FDA revised the REMS again,

         allowing prescribers to dispense mifepristone by mail or mail-order pharmacy.2




         2
             These various decisions relative to mifepristone are the subject of ongoing litigation elsewhere.
                                                            2



                                                          JA74
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024        Pg: 79 of 344

             Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 9 of 28 PageID #: 115




                B.      The West Virginia Legislature’s efforts to protect unborn life

                Like most states, West Virginia long had a statute protecting unborn life and prohibiting

         abortion, which here included an exception for abortions “done in good faith, with the intention of

         saving the life of such woman or child.” W. VA. CODE § 61-2-8. This statute protected unborn life

         until the Supreme Court issued Roe v. Wade in 1973.

                Thereafter, the West Virginia Legislature (the “Legislature”) continued to do what it could

         to protect unborn life and maternal health, as well as related medical practice, over the coming

         decades, enacting numerous statutes in the 20th century.3 Since 2000, the Legislature enacted yet

         more statutes,4 including 2017’s amendment to § 30-3-13a(g)(5) limiting telemedicine prescribing

         authority for drugs to cause an abortion, effectively requiring in-person examination to determine

         gestational age and detect ectopic pregnancies.

                In June 2022, the Supreme Court overturned Roe v. Wade and held that abortion is an issue

         the Constitution entrusts to “the people and their elected representatives.” Dobbs, 142 S. Ct. at

         2284. As a result, the Court returned the issue to “the citizens of each State,” holding that States

         may protect their “legitimate interests” in protecting unborn life, maternal health, and protecting

         the integrity of the medical profession. Id.

                In a special session in September 2022, the Legislature largely replaced its previous

         abortion regulations with the Unborn Child Protection Act. W. VA. CODE §§ 16-2R-1–9 (the


         3
           See, e.g., W. VA. CODE § 16-2F-3–8 (parental notification and reporting requirements adopted
         in 1984); § 9-2-11 (enacted in 1993, prohibited state funds from paying for abortions); § 33-42-8
         (enacted in 1998, subjected the doctors who performed partial-birth abortions to criminal
         penalties).
         4
           See, e.g., W. VA. CODE §§ 16-2I-1–8 (enacted in 2003, required informed-consent); § 61-2-30
         (enacted in 2005, the Unborn Victims of Violence Act, making “a pregnant woman” and her
         child “separate and distinct victims” of crimes); § 16-2M-2–6 (a pain-capable law enacted in
         2015); §16-2O-1 (enacted in 2016, prohibited dismemberment abortions); § 16-2P-1 (enacted in
         2020, required medical care for a baby born-alive via abortion); §16-2Q-1 (prohibited abortions
         based on disability discrimination, enacted in 2022).
                                                           3



                                                        JA75
USCA4 Appeal: 23-2194           Doc: 32          Filed: 02/07/2024          Pg: 80 of 344

             Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 10 of 28 PageID #: 116




         “UCPA” or the “Act”).5 That statute made abortions unlawful except (1) when, “in the reasonable

         medical judgment of a licensed medical professional,” the child is not viable, the pregnancy is

         ectopic, or there is a medical emergency; or (2) in cases of rape or incest before 8 weeks, or 14

         weeks for a minor. Id. § 16-2R-3(a)–(c). The Act defines “abortion” to exclude miscarriages,

         stillbirths, and in vitro fertilization. Id. Any “licensed medical professional” as defined in the Act6

         who violates §16-2R-3 shall have their license revoked. Id. § 16-2R-7.

                In the same bill, West Virginia amended its pre-Roe criminal statute to clarify that non-

         licensed medical professionals are prohibited from performing abortions. Id. § 61-2-8. That bill

         also required health care boards to adopt implementing rules regarding “[a] prohibition of

         prescribing or dispensing an abortifacient” relative to telemedicine. Id. § 30-1-26(b)(9).7

                On January 25, 2023, GBP filed this Complaint, asking the Court to declare the UCPA

         unconstitutional, along with: (1) the criminal prohibition on non-licensed medical professionals

         providing abortions, id. § 61-2-8; (2) the telemedicine prescribing authority limitations regarding

         abortifacients and related directive regarding health care board rules, id. §§ 30-1-26(b)(9), 30-3-

         13a(g)(5); and (3) two of the dormant provisions requiring informed consent and patient

         counseling, id. §§ 16-2I-2, 16-2I-9, under the Supremacy and Commerce Clauses of the United

         States Constitution.




         5
           The Unborn Child Protection Act provides that most prior abortion regulations are “of no force
         or effect” unless any part of the Act was declared unconstitutional. 2022 W. Va. H.B. 302
         (making inoperative § 16-2F-1–9) (parental notification and reporting requirements), e.g., § 16-
         2I-1–9 (informed consent).
         6
           Those licensed under Chapter 30, Articles 3 (Medical Practice Act) and 14 (Osteopathic
         Physicians and Surgeons).
         7
           The Legislature had previously limited telehealth prescribing authority in this area in 2019,
         adding language directing that “A physician or health care provider may not prescribe any drug
         with the intent of causing an abortion.” W. VA. CODE §30-3-13a(g)(5).
                                                           4



                                                          JA76
USCA4 Appeal: 23-2194           Doc: 32           Filed: 02/07/2024         Pg: 81 of 344

            Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 11 of 28 PageID #: 117




                                                LEGAL STANDARD

                 Under Fed. R. Civ. P. 12(b)(1), a complaint must be dismissed when the court lacks

         subject-matter jurisdiction, Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998), as when

         the facts are undisputed and “the moving party is entitled to prevail as a matter of law,” Napper v.

         United States, 374 F. Supp. 3d 583, 587 (S.D. W. Va. 2019). Proving jurisdiction is GBP’s burden.

         Richmond, Fredericksburg & Potomac R.R. Co. v. United States, 945 F.2d 765, 768 (4th Cir. 1991).

                 Under Fed. R. Civ. P. 12(b)(6), a complaint states a claim if it contains “sufficient factual

         matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal,

         556 U.S. 662, 678 (2009) (cleaned up). The factual allegations must “raise a right to relief above

         the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007). The Court need not

         “accept as true a legal conclusion couched as a factual allegation.” Id. at 555.

                                                     ARGUMENT

                 GBP requests that this Court declare unconstitutional multiple acts of the Legislature on

         proper matters of state regulation because, in essence, these laws get in the way of GBP marketing

         and selling as many chemical abortion drugs as possible everywhere. GBP clothes such financially

         motivated claims in theories of preemption and the “Dormant” Commerce Clause. But both of

         those theories would require this Court to determine that Congress delegated authority—not just

         as to judgments of medication safety and efficacy—but to set national policy on the regulation of

         medical practice and abortion as a coincidence of safety and efficacy determinations That claim

         fails the straight-face test.

                 First, GBP fails to meet the most basic Article III requirement of injury in fact. It does not

         even allege that it has ever sold its chemical abortion drug in West Virginia. That admission is

         fatal to Article III jurisdiction and forecloses all of GBP’s claims.



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                                                          JA77
USCA4 Appeal: 23-2194           Doc: 32            Filed: 02/07/2024        Pg: 82 of 344

              Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 12 of 28 PageID #: 118




                   Second, under separation of powers principles, the major questions doctrine, and, indeed,

         ordinary statutory interpretation principles, GBP must point to clear congressional authorization

         empowering the FDA to mandate matters of medical practice, including nationwide abortion. But

         it cannot. Congress did not silently cede this vast area of historically state regulation to the FDA.

         Hillsborough Cnty. v. Automated Med. Laboratories, 471 U.S. 707, 719 (1985) (regulating “health

         and safety matters is primarily, and historically, a matter of local concern”). Dobbs unequivocally

         reaffirms this in the abortion context.

                   GBP’s preemption claims doubly fail because Plaintiff has failed to establish any federal

         policy supporting its claimed right to “promote and market” abortion drugs nationwide. GBP

         argues that the FDA created national abortion access and removed states’ ability to regulate

         abortion simply by approving one drug. That is a specious interpretation of the FDCA, which itself.

         is notably silent on the issue of abortion, and GBP fails to show that the FDCA has ever been

         interpreted to require nationwide access to any drug.8 Congress defines the FDA’s purpose much

         more narrowly “ensuring that … drugs are safe and effective.” 21 U.S.C. § 393(b)(2)(B). GBP

         cannot show any conflict with federal law or policy; its preemption claims must fail.

                   Third, GBP’s Commerce Clause claims fail because a minor decrease in a pharmaceutical

         company’s bottom line in West Virginia does not outweigh the State’s legitimate interests in

         protecting its most vulnerable lives. This Court should dismiss the Complaint.

             I.    GBP lacks standing.

                   To ensure an Article III case or controversy, a plaintiff must show the “irreducible

         constitutional minimum of standing,” which “contains three elements”: (1) “an injury in fact, (2)

         that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be



         8
             Indeed, other federal laws prohibit the mailing of abortion drugs.
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                                                          JA78
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 83 of 344

            Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 13 of 28 PageID #: 119




         redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 n.7 (2016).

         “[S]tanding cannot be inferred argumentatively from averments in the pleadings”; a plaintiff must

         allege facts “essential to show jurisdiction.” FW/PBS, Inc. v. Dallas, 493 U.S. 215, 231 (1990).

                GBP fails to allege an injury in fact. An injury in fact must be “concrete and particularized”

         and “actual or imminent, not conjectural or hypothetical.” Spokeo, 578 U.S. at 339 (cleaned up).

         Most of GBP’s alleged harms—those regarding patient access, Compl. ¶¶ 15, 73(a)–(c), 83, and

         provider options, id. ¶ 16—are not particularized because they do not affect Plaintiff “in a personal

         and individual way.” Spokeo, 578 U.S. at 339; Kowalski v. Tesmer, 543 U.S. 125, 129 (2004)

         (party must assert its own rights and interests).

                GBP’s other allegations are conjectural and hypothetical. Nowhere does GBP allege that it

         has ever sold chemical abortion drugs in West Virginia, nor does it allege any specific plan to do

         so. Rather, it claims the challenged laws have hurt its “opportunity and ability to market, promote,

         and sell” its drugs, Compl. ¶ 15; accord ¶¶ 77, 85, which, in turn, restricts its “pool of potential

         customers,” thus costing it “lost sales, customers, and revenue,” id. ¶ 79 (emphasis added). But

         Plaintiff’s “‘some day’ intentions—without any description of concrete plans, or indeed even any

         specification of when the some day will be—do not support a finding of the ‘actual or imminent’

         injury that our cases require.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 564 (1992). See also Doe

         v. Obama, 631 F.3d 157, 162 (2011) (parents “actively considering adopting” human embryos did

         not satisfy Lujan’s requirement that injuries “proceed with a high degree of immediacy”).

                GBP also fails to show redressability. First, it is much “more difficult to show standing”

         when one’s “asserted injury arises from … allegedly unlawful regulation of someone else” because

         redressability then hinges on that third party’s response. Lujan, 504 U.S. at 562. In such a case,

         the plaintiff must “adduce facts showing that those choices have been or will be made in such



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                                                         JA79
USCA4 Appeal: 23-2194           Doc: 32          Filed: 02/07/2024        Pg: 84 of 344

            Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 14 of 28 PageID #: 120




         manner as to … permit redressability of injury.” Id. Here, the challenged laws address licensed

         medical professionals, not drug manufacturers like GBP. And GBP has not sufficiently alleged

         that, even if the challenged laws were overturned, its product would necessarily benefit.

                   Second, a favorable decision by this Court will not redress GBP’s injuries because their

         business model to ship drugs into West Virginia is illegal under federal law. See 18 U.S.C. §§

         1461, 1462 (criminalizing using the mail and common carriers to move abortion drugs across state

         lines).

                   Third, GBP cannot possibly show redressability for W. VA. CODE §§ 16-2I-2 and 16-2I-9.

         As GBP notes, those provisions are not operative now and become operative only if part of the

         UCPA is held unconstitutional. Compl. ¶ 68. But GBP’s UCPA claims fail, see infra Sections II

         and III, leaving Plaintiff no standing to challenge §§ 16-2I-2 and 16-2I-9. California v. Texas, 141

         S. Ct. 2104, 2116 (2021) (unenforceable statutory provision is incapable of meeting the

         redressability requirement).

          II.      Congress did not delegate the ability to set nationwide abortion policy or displace
                   state laws regulating medical practice.

                   A.     FDA does not have the authority to set national abortion policy.

                GBP claims that the FDCA “delegates to FDA exclusive authority” to balance the competing

         interests on abortion—one of the most consequential social and moral issues of our day—and

         mandate nationwide abortion access. Compl. ¶ 82. GBP believes Congress gave FDA the authority

         to unilaterally decide that chemical abortion should be legal in all 50 States and that FDA has

         exercised that authority by approving mifepristone.

                   That is a breathtaking assertion of federal agency power. It is blackletter law that FDA—

         like any other federal agency—has only the power given it by Congress. Thus, before this Court

         need even address GBP’s preemption claim, it must first confront a more fundamental question of


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                                                         JA80
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024         Pg: 85 of 344

            Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 15 of 28 PageID #: 121




         agency power: “whether Congress in fact meant to confer the power the agency has asserted.” West

         Virginia v. Env’t Prot. Agency, 142 S. Ct. 2587, 2607–08 (2022). Nothing in the text of the FDCA

         suggests that Congress accorded FDA the unilateral—and indeed, “exclusive” power, to use

         GBP’s word—to set national abortion policy. Under ordinary principles of statutory interpretation,

         that contention fails; the FDCA’s text does not so much as mention abortion. Nor does it direct

         FDA to consider the legitimate and important state interests in protecting unborn life, maternal

         health, and the integrity of the medical profession—interests that the Supreme Court in Dobbs

         returned to elected representatives. This conclusion is reinforced by separation-of-powers

         principles, which compel reviewing courts to find “clear congressional authorization” for

         expansive assertions of agency authority, such as here. Id.

                Under the major questions doctrine, “courts expect Congress to speak clearly if it wishes

         to assign to an agency decisions of vast economic and political significance.” Util. Air Regul. Grp.

         v. Env’t Prot. Agency, 573 U.S. 302, 324 (2014) (cleaned up); see also West Virginia, 142 S. Ct.

         at 2609 (courts must “presume that Congress intends to make major policy decisions itself, not

         leave those decisions to agencies”) (cleaned up). Terminating a pregnancy is an issue with

         “profound moral and spiritual implications … even [at] its earliest stage.” Planned Parenthood of

         Se. Penn. v. Casey, 505 U.S. 833, 850 (1992). “[T]his is a major questions case.” West Virginia,

         142 S. Ct. at 2610. Accordingly, GBP must more than a “plausible textual basis” for its claim that

         Congress yielded nationwide abortion policy to the FDA. Id. at 2609. It must (but cannot) proffer

         “clear congressional authorization.” Id.

                The only statutory support GBP offers is the REMS provision, 21 U.S.C. § 355-1. But that

         provision merely requires FDA to ensure that the additional safety requirements that FDA itself

         imposes on drugs with known serious risks associated with adverse reactions are not “unduly



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                                                        JA81
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 86 of 344

            Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 16 of 28 PageID #: 122




         burdensome on patient access to the drug.” Id. § 355-1(f)(2)(C). In no way does that provision give

         FDA “clear congressional authorization” to overrule the policy judgment of states on a different

         question: whether they will allow abortions and, if so, when and how. It would be strange indeed

         for such an “extraordinary grant[] of regulatory authority” to be accomplished through such a

         “subtle device” like the REMS requirement. See West Virginia, 142 S. Ct. at 2609 (cleaned up).

                Further, the FDCA has long been understood to set a federal floor on the approval of drugs,

         allowing complementary state regulations. See Wyeth, 555 U.S. at 555. Plaintiffs therefore “claim[]

         to discover in a long-extant statute an unheralded power” representing a “transformative expansion

         in [FDA’s] regulatory authority.” UARG, 573 U. S. at 324. This “newfound power” to regulate

         abortion hidden “in the vague language of an ancillary provision” of the FDCA, would allow FDA

         “to adopt a regulatory program that Congress ha[s] conspicuously and repeatedly declined to enact

         itself,” West Virginia, 142 S. Ct. at 2610; see Women’s Health Protection Act of 2021, H.R.3755,

         117th Cong. (2021) (failed to pass). As the Supreme Court said in another FDA case, “Congress

         could not have intended to delegate” such a sweeping and consequential authority “in so cryptic a

         fashion.” Food & Drug Admin. v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 160 (2000).

         Such is the case here, and GBP’s claims fail as a matter of law.

                B.      FDA’s approval of mifepristone plus a REMS does not preempt state law.

                Even if Congress had given FDA the authority to mandate abortion nationwide (it did not),

         GBP’s preemption claim fails as a matter of law. GBP argues that FDA’s approval of mifepristone

         coupled with the imposition of additional REMS restrictions placed on drugs with elevated risks

         somehow preempts the ability of the people in every state, including West Virginia, to address

         abortion anew as permitted under Dobbs.

                The Supremacy Clause makes federal law “the supreme Law of the Land.” U.S. CONST.

         art. VI, cl. 2. Yet a preemption analysis starts with the assumption that “the historic police powers
                                                          10



                                                         JA82
USCA4 Appeal: 23-2194          Doc: 32             Filed: 02/07/2024          Pg: 87 of 344

            Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 17 of 28 PageID #: 123




         of the States are not [to be] superseded unless that was the clear and manifest purpose of Congress.”

         Arizona v. United States, 567 U.S. 387, 400 (2012) (cleaned up). This is especially true when

         Congress legislates “in a field which the States have traditionally occupied,” such as public health

         and safety regulations. Wyeth, 555 U.S. at 565.

                 GBP does not pretend that any law expressly grants FDA preemption authority over West

         Virginia’s ability to protect life or health or regulate the practice of medicine, so it is left only with

         disfavored “implied preemption.” See Kansas v. Garcia, 140 S. Ct. 791, 807–08 (2020) (Thomas,

         J., concurring). There are three kinds of implied preemption: (1) field preemption, inferred from a

         “pervasive” framework of regulation; (2) impossibility preemption where “compliance with both

         federal and state regulations is a physical impossibility”; and (3) obstacle preemption where “the

         challenged state law stands as an obstacle to the accomplishment and execution of the full purposes

         and objectives of Congress.” Arizona, 567 U.S. at 399 (cleaned up). GBP cannot show field

         preemption, gesturing instead towards impossibility and obstacle preemption. Both theories fail.

                         1.   Compliance with both federal and state law is not impossible.

                 Under impossibility preemption, federal law preempts state law only when state law

         “directly conflict[s]” with federal law. AT&T Co. v. Cent. Off. Tel., Inc., 524 U.S. 214, 227 (1998).

         Or, put differently, when the “state law penalizes what federal law requires.” Geier v. Am. Honda

         Motor Co., 120 S. Ct. 1913, 1921 (2000). This “is a demanding” standard to meet. Wyeth, 555 U.S.

         at 573. The “possibility of impossibility [is] not enough.” PLIVA, Inc. v. Mensing, 564 U.S. 604,

         625, n. 8 (2011) (emphasis added) (cleaned up). Rather, the Court must see “clear evidence” of

         impossibility, Merck Sharp & Dohme Corp. v. Albrecht, 139 S. Ct. 1668, 1678 (2019), and will

         not find “impossibility where the laws of one sovereign permit an activity that the laws of the other

         sovereign restrict or even prohibit.” Id.



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                                                           JA83
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024       Pg: 88 of 344

              Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 18 of 28 PageID #: 124




                 GBP argues that it cannot comply with both West Virginia’s challenged laws and the

         mifepristone REMS.9 Compl. ¶ 85. This is untrue. For a finding of impossibility preemption, state

         law must command something that federal law forbids or forbid something that federal law

         commands. Mensing, 564 U.S. at 620. Nothing in West Virginia law prevents GBP from

         complying with mifepristone’s REMS requirements. In fact, West Virginia law does not require

         GBP to do anything or prevent it from marketing or selling mifepristone. This reveals GBP’s real

         complaint: it believes West Virginia law negatively impacts its “opportunity and ability to market,

         promote, and sell the [chemical abortion drug] in the State,” Compl. ¶ 15, and that is an

         impossibility-preemption nonstarter. While GBP may desire to sell lots of mifepristone in West

         Virginia, the company is under no federal requirement to do so—or to sell any— and its claim of

         impossibility preemption fails as a matter of law.10

                        2. The Unborn Child Protection Act does not conflict with federal law.

                 GBP next contends that the UCPA’s provisions “frustrate and conflict” with federal law,

         namely its purported “authority to sell mifepristone nationwide.” Compl. ¶ 15. Yet Congress has

         clearly stated FDA’s purpose: to “protect the public health by ensuring that … drugs are safe and

         effective.” 21 U.S.C. § 393(b)(2)(B).

                 The UCPA does not second-guess FDA’s determinations as to the safety or efficacy of

         mifepristone. Rather, the FDCA does something else entirely: it protects unborn human life. The

         Legislature’s determination that unborn human life is worthy of protection has nothing to do with

         the safety or efficacy of any drug, including mifepristone. The UCPA is no more about

         mifepristone than it is about scalpels. Indeed, mifepristone may still be used in West Virginia to



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           To the extent GBP focuses on specific restrictions under West Virginia law, i.e, the telehealth
         and dormant counseling and informed consent provisions, those laws do not directly conflict
         with any REMS, either.
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                                                        JA84
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 89 of 344

              Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 19 of 28 PageID #: 125




         treat Cushing syndrome or cancer and to complete a miscarriage. That the law does not prevent

         mifepristone from being used as an abortifacient in the few situations exempt from the general

         prohibition on abortions conclusively demonstrates that the Legislature was concerned with saving

         unborn lives, not assessing the safety of any drug.

                 GBP’s claim that FDA approval requires nationwide drug access would work a

         fundamental change in the FDCA. That statute has never been interpreted to require national

         access. Thus, FDA has never required pharmaceutical companies to sell approved drugs or placed

         price caps on approved products to ensure access. Indeed, were GBP correct that the mere approval

         of a drug forces states to allow the use of the drug despite a state’s authority to prohibit criminal

         conduct, FDA approval of a euthanasia drug would preempt state laws forbidding the practice. But

         see Washington v. Glucksberg, 521 U.S. 702, 719–26 (1997) (upholding ban on assisted suicide).11

                 Perhaps recognizing that FDA’s mere approval of a drug has never been understood to

         mandate nationwide access, GBP next suggests there is something special about REMS. According

         to Plaintiff, FDA’s additional imposition of REMS safety requirements “establishes both a ‘floor’

         and ‘ceiling’ on permissible regulation of mifepristone” and thus preempts West Virginia law. See

         ibid. at ¶ 82, ¶¶ 87–90. GBP thus makes the counterintuitive argument that the graver the danger

         from a drug (reflected in greater protective requirements from FDA), the more certain it is that

         states have no place to take any action that could impact that drug. That argument fails for several

         reasons.




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           Zogenix, Inc. v. Patrick, 2014 WL 1454696 (D. Mass. Apr. 15, 2014) is not to the contrary. In
         completely banning Zohydro ER, Massachusetts was not concerned with the underlying conduct
         – pain management – but with FDA’s safety determination, banning the drug due to concerns it
         would “lead to opioid addiction and overdose fatalities.” 2014 WL 1454696, at *1. And, again,
         West Virginia law does nothing to ban mifepristone.

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                                                         JA85
USCA4 Appeal: 23-2194         Doc: 32               Filed: 02/07/2024    Pg: 90 of 344

            Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 20 of 28 PageID #: 126




                First, it defies belief to suggest that the FDA’s imposition of additional safeguards on

         objectively more dangerous drugs would somehow displace the states’ traditional authority to

         regulate for health and safety, regulate the state-licensed practice of medicine, and implement

         criminal law.

                Second, such an interpretation runs headlong into the “touchstone” of preemption analysis:

         “the purpose of Congress.” Wyeth, 555 U.S. at 565. GBP’s reading cannot be drawn from historical

         context or statutory language, and the statute itself is silent on abortion. And through many FDCA

         amendments, “Congress took care to preserve” parallel state laws protecting the public health,

         expressly providing that “a provision of state law would only be invalidated upon a ‘direct and

         positive conflict’ with the FDCA.” Wyeth, 555 U.S. at 567 (emphasis added). Such direct and

         positive conflict is simply absent here.

                Third, GBP rests its novel interpretation of FDA’s “determinations as to the balance

         Congress mandated between safety-based restrictions and patient access to the drug.” Compl. ¶

         85. But that statutory directive is plainly tasking FDA with ensuring that its own restrictions do

         not unduly limit access to inherently dangerous drugs; the text does not suggest these dangerous

         drugs must be uniformly accessible for all purposes or that states may not impose regulation based

         on interests the FDA did not consider. In fact, the Wyeth Court rejected a similar argument—that

         the “precise balancing of risks and benefits” required by the FDCA left “no room for different

         state-law judgments.” 555 U.S. at 575. That argument, according to the Court, “relie[d] on an

         untenable interpretation of congressional intent and an overbroad view of an agency’s power to

         pre-empt state law.” Id. at 573.

                The same is manifest here in GBP’s Complaint. Its arguments about balancing drives home

         the point that Congress did not delegate the authority to regulate abortion to the FDA. Were



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                                                          JA86
USCA4 Appeal: 23-2194           Doc: 32          Filed: 02/07/2024         Pg: 91 of 344

            Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 21 of 28 PageID #: 127




         Congress in fact to delegate to an agency the authority to decide nationwide abortion policy or

         otherwise displace traditional state issues, it would have at a minimum included the relevant

         factors. Yet none of the REMS factors say anything about considering interests in protecting

         unborn life – an undeniable part of any abortion decision. See Casey, 505 U.S. at 866–67. Nor do

         the REMS factors say anything about other important interests like “the elimination of particularly

         gruesome or barbaric medical procedures; the preservation of the integrity of the medical

         profession; the mitigation of fetal pain; and the prevention of discrimination on the basis of race,

         sex, or disability.” Dobbs, 142 S. Ct. at 2284.

                 At the end of the day, GBP can identify no federal law or policy mandating nationwide

         abortion access up to ten weeks gestational age (or any other time frame) that is frustrated by West

         Virginia law. Not a page of the voluminous briefing in Dobbs nor any one of the Court’s many

         separate opinions flagged that there might be a national 10-week protection for chemical abortions

         either. In fact, Congress specifically declined to enact such a law following the Supreme Court’s

         decision in Dobbs. H.R.3755, 117th Cong. (2021). And federal law points the opposite direction,

         by limiting access to abortion drugs, not promoting it. See 18 U.S.C. §§ 1461, 1462 (shipping

         abortifacients is illegal).

                 Were there any doubt as to whether Congress might have delegated the authority to

         mandate nationwide access (and there is not), it would be foreclosed by the presumption against

         preemption. Where, as here, the area involves matters of historically local concern, the Court

         “start[s] with the assumption that the historic police powers of the States were not to be superseded

         by the Federal Act unless that was the clear and manifest purpose of Congress.’” Jones v. Rath

         Packing Co., 430 U.S. 519, 525 (1977). It is impossible to find that it was the “clear and manifest

         purpose of Congress” in enacting the FDCA to “supersede[ ]” the States’ “historic police power”



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                                                           JA87
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024         Pg: 92 of 344

           Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 22 of 28 PageID #: 128




         to protect the health and safety of its citizens, regulate the practice of medicine, and implement

         criminal law. Wyeth, 555 U.S. at 565. This Court should dismiss the preemption challenge to the

         UCPA.

                        3. West Virginia’s other challenged laws do not conflict with federal law.

                 Plaintiff also seeks to invalidate as preempted West Virginia’s determination that certain

         drugs should only be prescribed during in-person visits and not via telemedicine, W. VA. CODE §§

         30-1-26(b)(9), 30-3-13a(g)(5), as well as two dormant provisions of law requiring informed

         consent and patient counseling, id. §§ 16-2I-2, 16-2I-9.

                 The presumption against preemption applies with full force here, too. West Virginia retains

         the police power to regulate how drugs may be prescribed and dispensed by medical professionals.

         See Gonzales v. Oregon, 546 U.S. 243, 270–71 (2006). This presumption ensures that “the federal-

         state balance,” will not “be disturbed unintentionally by Congress.” Jones, 430 U.S. At 525. And

         as explained above, Congress has long recognized the complementary nature of additional state

         regulations, enacting a specific savings clause. It could have explicitly preempted state laws

         governing pharmaceuticals—as it did with medical devices—but “did not do so.” Riegel v.

         Medtronic, Inc., 552 U.S. 312, 327 (2008). Congress’s refusal to do so, coupled with long-time

         state regulations, is powerful evidence that it did not intend FDA’s oversight role to replace state

         legislation. See Wyeth, 555 U.S. at 574.

                 Indeed, FDA has never pretended the FDCA preempts state regulation of chemical abortion

         procedures. Just the opposite. Mifepristone’s current REMS says certain healthcare providers may

         prescribe the drug, but that state law will govern whether non-physicians may do so: “Some states

         allow healthcare providers other than physicians to prescribe medications. Healthcare providers




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                                                        JA88
USCA4 Appeal: 23-2194         Doc: 32             Filed: 02/07/2024         Pg: 93 of 344

              Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 23 of 28 PageID #: 129




         should check their individual state laws.” FDA, Q&A on Mifeprex, https://tinyurl.com/4jtfrjm8.

         This is an express acknowledgement that providers must comply with state law.12

                 In any event, the challenged laws complement rather than frustrate the purpose of the

         REMS. With respect to mifepristone, in-person appointments allow a physician to safely care for

         a pregnant mother by determining gestational age and for any other purpose, such as diagnosing

         an ectopic pregnancy. There is no conflict between the REMS and these modest regulations—

         regulations that are not even focused on mifepristone—or the patient counseling and informed

         consent provisions, certainly not one “strong enough to overcome the presumption that state and

         local regulation of health and safety matters can constitutionally coexist with federal regulation.”

         Hillsborough Cnty., 471 U.S. at 716.

                 Finally, as noted above, it is especially unlikely that a state prescription law preventing the

         prescription of abortifacients via telemedicine care violates any congressional objective given that

         Congress has prohibited the transmission of such drugs via the mails. See 18 U.S.C. §§ 1461, 1462.

         Given these laws, there is no basis for concluding that West Virginia’s limitation on prescribing

         authority in such circumstances undermine any federal purpose.

         III.    GBP’s Commerce Clause claim fails.

                 GBP argues that West Virginia’s challenged laws violate the dormant aspect of the

         Commerce Clause. Compl. ¶ 17. Federal courts have “a two-tiered approach to” Dormant

         Commerce Clause challenges. Brown-Forman Distillers Corp. v. N.Y. State Liquor Auth., 476 U.S.

         573, 578 (1986). “First, state regulations may not discriminate against interstate commerce; and



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            REMS are not even “agency regulation[s] with the force of law [that] can pre-empt conflicting
         state requirements,” Wyeth, 555 U.S. at 576, because they are not adopted under the
         Administrative Procedures Act. See Anderson v. Eby, 998 F.2d 858, 863 (10th Cir. 1993) (“to
         have the force of law, at a minimum” a regulation must be “adopted according to the procedures
         embodied in the Administrative Procedures Act”).
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                                                          JA89
USCA4 Appeal: 23-2194          Doc: 32             Filed: 02/07/2024       Pg: 94 of 344

            Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 24 of 28 PageID #: 130




         second, States may not impose undue burdens on interstate commerce.” South Dakota v. Wayfair,

         Inc., 138 S. Ct. 2080, 2091 (2018). There is no reasonable argument that West Virginia’s abortion

         law discriminates against interstate commerce—either “facially, in its practical effect, or in its

         purpose.” McBurney v. Young, 667 F.3d 454, 468 (4th Cir. 2012). Beyond that, GBP’s claim that

         West Virginia’s law unduly burdens interstate commerce, see Compl. ¶ 104, fails for two reasons.

                 First, the challenged laws survive because they do not unduly burden interstate commerce

         under Pike v. Bruce Church, Inc., 397 U.S. 137, 142 (1970). “Where the statute regulates even-

         handedly to effectuate a legitimate local public interest, and its effects on interstate commerce are

         only incidental, it will be upheld unless the burden imposed on such commerce is clearly excessive

         in relation to the putative local benefits.” Id.

                 Pike is a deferential test, with federal courts “recognizing [their] own institutional

         limitations” and “giving due deference to [the legislature] whose primary responsibility it is to

         judge the benefits and burdens” of state legislation. Colon Health Centers of Am., LLC v. Hazel,

         813 F.3d 145, 156 (4th Cir. 2016). Federal courts are doubly cautious when considering healthcare

         legislation because that field “is infamously complicated, with patients, providers, insurers,

         government, and many others all attempting to come to terms over a particular service touching

         physical wellbeing and sometimes even life itself.” Id. at 159–60 (emphasis added).

                 Legitimate interests. The court need not search far for legitimate state interests “because

         the Supreme Court has already done so.” Sandlands C & D LLC v. Cnty. of Horry, 737 F.3d 45,

         53 (4th Cir. 2013). West Virginia’s important interests include: preserving unborn life and

         mitigating fetal pain, protecting a mother’s health and safety, eliminating “gruesome or barbaric

         medical procedures,” maintaining the medical profession’s integrity, and preventing

         “discrimination on the basis of race, sex, or disability.” Dobbs, 142 S. Ct. at 2284.



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                                                            JA90
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 95 of 344

            Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 25 of 28 PageID #: 131




                Incidental burden. GBP again claims that the challenged laws “preclude” the use of

         mifepristone and “ban[] an article of commerce.” Compl. ¶ 104. Not so. West Virginia law

         regulates only primary conduct—that of aborting an unborn child—and leaves mifepristone

         untouched for other purposes, such as treating cancer or Cushing disease, as well as for any legal

         abortion within one of the Act’s exceptions, including medical emergencies, rape, and incest. GBP

         is more honest where it describes the burden as “preventing GenBioPro from developing a market

         for its product.” Compl. ¶ 107. However, the challenged laws do not “prevent” GBP from any

         commercial activity of GBP, including the marketing, sale, or distribution of its products; rather,

         these statutes target several aspects of regulating abortion as explained throughout this brief. But

         any incidental business development challenges in West Virginia resulting from these statutes do

         not impose a significant burden on interstate commerce. Johnson v. Cnty. of Horry, S.C., 360

         Fed.Appx 466, 472 n.7 (4th Cir. 2010) (shrinking the market for one or two highly specialized

         companies imposes no “significant practical burden upon interstate trade”).

                The burden does not clearly outweigh benefits. Given that West Virginia’s laws advance

         legitimate state interests and impose only an incidental burden on interstate commerce, GBP bears

         the burden of proving that the burden imposed is “clearly excessive” relative to the benefits. Hazel,

         813 F.3d at 155. This it cannot do. The incidental effect on interstate commerce does not remotely

         outweigh the many interests protected by West Virginia’s challenged laws. Consider, for example,

         just one: the interest in preserving human life. It is within the Legislature’s prerogative to

         determine that the most vulnerable human lives among us are incalculably important and worth

         protecting—and the preservation of life cannot be matched by other interests, be they public or

         private.




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                                                         JA91
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024        Pg: 96 of 344

           Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 26 of 28 PageID #: 132




                Second, “Dormant Commerce Clause restrictions apply only when Congress has not

         exercised its Commerce Clause power to regulate the matter at issue.” Tenn. Wine & Spirits

         Retailers Ass’n v. Thomas, 139 S. Ct. 2449, 2465 (2019). Here, Congress has used that power to

         regulate the issue of abortifacients in interstate commerce, specifically making it illegal to send

         such materials in the mails. See 18 U.S.C. §§ 1461–1462. Thus, normal Dormant Commerce

         Clause restrictions are not apropos in the first place. To the contrary, because “Congress has

         proscribed [this] interstate commerce,” a state law may “discriminate or burden that commerce”

         so long as it does not conflict with Congress’s objectives. Pic-A-State PA, Inc. v. Pennsylvania.,

         42 F.3d 175, 179 (3d Cir. 1994) (citing California v. Zook, 336 U.S. 725, 733 (1949)). West

         Virginia’s challenged laws, though, neither discriminate nor truly burden commerce as explained

         above. Even if they did, such consequences would complement Congress’s own handiwork and,

         thus, fail to violate the Commerce Clause. For this and the other reasons above, GenBioPro’s

         Commerce Clause claims should be dismissed.

                                                  CONCLUSION

                For the reasons set forth herein, Defendant Patrick Morrisey, in his official capacity as

         the Attorney General of the State of West Virginia, requests his Motion to Dismiss this matter be

         granted.




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                                                        JA92
USCA4 Appeal: 23-2194   Doc: 32        Filed: 02/07/2024       Pg: 97 of 344

         Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 27 of 28 PageID #: 133




                                          Respectfully submitted,

                                          By counsel,

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                                          West Virginia




                                            21



                                             JA93
USCA4 Appeal: 23-2194        Doc: 32          Filed: 02/07/2024        Pg: 98 of 344

           Case 3:23-cv-00058 Document 20 Filed 02/21/23 Page 28 of 28 PageID #: 134




                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                     HUNTINGTON DIVISION

          GENBIOPRO, INC.,

                        Plaintiff,

                        v.                                      Civil Action No. 3:23-cv-00058

          MARK A. SORSAIA, in his official
          capacity, AND PATRICK MORRISEY, in                    Hon. Robert C. Chambers
          his official capacity,

                        Defendants.

                                        CERTIFICATE OF SERVICE

                I hereby certify that, on this 21st day of February, I electronically filed the foregoing

         “Memorandum in Support of Motion to Dismiss” with the Clerk of Court and all parties using the

         CM/ECF System.



                                                     /s/ Curtis R. A. Capehart
                                                     Curtis R. A. Capehart
                                                       Deputy Attorney General




                                                       22



                                                      JA94
USCA4 Appeal: 23-2194        Doc: 32              Filed: 02/07/2024   Pg: 99 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 1 of 22 PageID #: 713




                           IN THE UNITED STATES DISTRICT COURT FOR
                           THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                         HUNTINGTON DIVISION


       GENBIOPRO, INC.,

                                     Plaintiff,

       v.                                                    CIVIL ACTION NO. 3:23-0058

       MARK A. SORSAIA, in his official capacity
       as Prosecuting Attorney of Putnam County and
       PATRICK MORRISEY, in his official capacity
       as Attorney General of West Virginia,

                                     Defendants.




                                MEMORANDUM OPINION AND ORDER
               Pending before the Court is Defendant Mark A. Sorsaia’s Rule 12(b)(1) and Rule 12(b)(6)

       Motion to Dismiss for Failure to State a Claim (ECF No. 17) and Defendant Patrick Morrisey’s

       Motion to Dismiss (ECF No. 19). For the following reasons, the Motions are DENIED as to their

       arguments concerning standing. The Court holds in abeyance the remainder of the Motions.



                                              I. BACKGROUND

               Plaintiff GenBioPro, Inc. (“GenBioPro”) is the only United States manufacturer of generic

       mifepristone. Pl.’s Opp’n to Def. Morrisey’s Mot. to Dismiss at 1, ECF No. 35. Mifepristone is a

       Food and Drug Administration (“FDA”) approved and regulated medication which is commonly

       prescribed as step one in a two-step medication abortion regimen. Compl. ¶ 2, ECF No. 1.

       Mifepristone and misoprostol—the other medication abortion drug—are Plaintiff’s “sole source




                                                        JA95
USCA4 Appeal: 23-2194         Doc: 32             Filed: 02/07/2024          Pg: 100 of 344

             Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 2 of 22 PageID #: 714




         of revenue.” Id. ¶ 23. Mifepristone has been approved for nationwide use and sale by the FDA,

         and GenBioPro sells the drug throughout a national market. Id. ¶ 77.

                On June 24, 2022, the Supreme Court decided Dobbs v. Jackson Women’s Health

         Organization, reversing Roe v. Wade 1 and “return[ing] the issue of abortion to the people and their

         elected representatives.” 142 S. Ct. 2228, 2279 (2022). Following this grant of authority, West

         Virginia passed the Unborn Child Protection Act (“UCPA”) in September 2022.

         W. Va. Code § 16-2R-1 et seq. The act of performing, inducing, or attempting to perform or induce

         an abortion is now illegal in the state, subject to a limited series of exceptions. 2

         W. Va. Code § 16-2R-3. This expressly includes abortions performed or induced via “medicine”

         or “drug.” W. Va. Code § 16-2R-2. The UCPA defines the prohibited “attempt to perform or induce

         an abortion” as “an act or the omission of an act that, under the circumstances as the person so

         acting or omitting to act believes them to be, constitutes a substantial step in a course of conduct

         intended to culminate in an abortion.” Id. If a licensed medical professional “knowingly and

         willfully performs, induces, or attempts to perform or induce an abortion” with the intent to violate

         the UCPA, “the licensing board shall revoke medical professional's license.” W. Va. Code § 16-




         1
           410 U.S. 113 (1973).
         2
           Under the UCPA, “[a]n abortion may not be performed or induced or be attempted to be
         performed or induced unless in the reasonable medical judgment of a licensed medical
         professional: (1) The embryo or fetus is nonviable; (2) The pregnancy is ectopic; or (3) A medical
         emergency exists.” W. Va. Code § 16-2R-3(a). This prohibition does not apply “to an adult within
         the first 8 weeks of pregnancy if the pregnancy is the result of sexual assault . . . or incest” and the
         patient has taken steps to report the assault or incest to law enforcement. W. Va. Code § 16-2R-
         3(b). Likewise, the prohibition does not apply to “a minor or an incompetent or incapacitated adult
         within the first 14 weeks of pregnancy if the pregnancy is the result of sexual assault … or incest”
         and either the patient has taken steps to report the assault or incest to law enforcement or has
         received medical treatment for the same. W. Va. Code § 16-2R-3(c).




                                                          JA96
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 101 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 3 of 22 PageID #: 715




         2R-7. If a formerly licensed medical professional or any other person “knowingly and willfully

         performs, induces, or attempts to perform or induce an abortion,” they are guilty of a felony and

         subject to imprisonment for “not less than three nor more than 10 years.” W. Va. Code

         § 61-2-8(a), (b).

                Prior to the decision in Dobbs and the passage of the UCPA, West Virginia had provisions

         in place which Plaintiff asserts greatly limited the prescription and sale of mifepristone. Compl. ¶¶

         87-88. These restrictions required a waiting period and counseling before obtaining an abortion.

         W. Va. Code § 16-2I-2. The UCPA provides that this restriction has “no effect” while the UCPA

         is in force but would “become immediately effective” again should the UCPA “be judicially

         determined to be unconstitutional.” W. Va. Code § 16-2R-9. Further pre-UCPA provisions

         continue to prohibit providers from prescribing medication abortion drugs via telemedicine.

         W. Va. Code §§ 30-3-13a(g)(5); 30-1-26(b)(9).

                In contrast, the FDA has continually eased restrictions on access to mifepristone. The FDA

         is tasked with promulgating regulations concerning the approval of prescription medications for

         sale under the Food, Drug, and Cosmetic Act (“FDCA”). 21 U.S.C. § 393(b)(1). Under regulations

         known as “Subpart H,” the FDA approves drugs which treat “serious or life-threatening illnesses

         and that provide meaningful therapeutic benefit to patients over existing treatments” subject to

         “restrictions to assure safe use.” 21 C.F.R. §§ 314.500, 314.520; Compl. ¶ 36. According to the

         Complaint, in 2000, Danco Laboratories, LLC’s Mifeprex—name-brand mifepristone—was

         approved under the Subpart H regulatory scheme, which imposed certain restrictions on

         prescription and administration of the drug to assure safe use. Compl. ¶¶ 38-39. In 2007, Congress

         enacted the Food and Drug Administration Amendments Act (“FDAAA”), requiring that drugs

         formerly approved under Subpart H be re-approved under a new regulatory scheme, entitled the




                                                         JA97
USCA4 Appeal: 23-2194        Doc: 32           Filed: 02/07/2024       Pg: 102 of 344

             Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 4 of 22 PageID #: 716




         Risk Evaluation and Mitigation Strategy (“REMS”). See 21 U.S.C. §§ 355-1(a), (g)(4)(B), (h);

         Compl. ¶ 41. If the FDA determines that a drug may cause an “adverse drug experience,” then the

         agency must design and implement a REMS. § 355-1(a), (b)(1). However, any restrictions imposed

         under the regulatory scheme must “not be unduly burdensome on patient access to the drug.”

         § 355-1(f)(2)(C). The FDA must reassess a drug’s REMS periodically. § 355-1(d).

                Following the passage of the FDAAA and the implementation of the REMS schema, the

         manufacturer of Mifeprex proposed a REMS for their product to the FDA. Compl. ¶ 55. The FDA

         approved the proposed REMS in 2011. Id. The 2011 REMS 3 required that Mifeprex only be

         prescribed by certified physicians, dispensed in certain healthcare facilities, and taken in the

         provider’s clinic. Id. ¶ 56. In 2016, the FDA revised the Mifeprex REMS, 4 increasing the

         gestational age through which the drug is indicated, expanding those who could be certified to

         prescribe Mifeprex from “physicians” to “healthcare providers,” and reducing the number of

         required patient visits to their healthcare providers. Id. ¶ 58. In April 2019, the FDA approved

         GenBioPro’s generic version of mifepristone, subject to the same REMS as Mifeprex. 5




         3
           U.S. Food & Drug Admin., NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg, Risk
         Evaluation       and       Mitigation      Strategy (REMS)       (June       2011),
         https://www.fda.gov/media/164648/download.
         4
           U.S. Food & Drug Admin., NDA 020687 MIFEPREX (mifepristone) Tablets, 200 mg, Risk
         Evaluation       and       Mitigation      Strategy (REMS)       (Mar.       2016),
         https://www.fda.gov/media/164649/download.
         5
           U.S. Food & Drug Admin., Mifepristone Tablets, 200 mg, Risk Evaluation and Mitigation
         Strategy (REMS) Single Shared System for Mifepristone 200mg (Apr. 2019),
         https://www.fda.gov/media/164650/download.




                                                      JA98
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 103 of 344

             Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 5 of 22 PageID #: 717




         Id. ¶¶ 60-61. On January 3, 2023, 6 the FDA promulgated a new REMS 7 for mifepristone which

         no longer limits dispensation of the drug to healthcare settings, thereby allowing patients to receive

         the medication either by mail or from certified pharmacies. Id. ¶ 66.

                Plaintiff filed suit in this Court on January 25, 2023, alleging that the UCPA and prior

         restrictions violate the Supremacy and Commerce Clauses by limiting the sale of mifepristone in

         West Virginia. Prosecuting Attorney of Putnam County Mark Sorsaia and Attorney General of

         West Virginia Patrick Morrisey were named as defendants in their official capacities. Both

         Defendants have filed motions to dismiss. ECF Nos. 17 & 19. Each Defendant disputes

         GenBioPro’s standing, as well as Plaintiff’s interpretation of the Supremacy and Commerce

         Clauses. The Court heard oral argument on the issue of standing on April 24, 2023, and that issue

         is now ripe for adjudication.



                                              II. LEGAL STANDARD

                Article III of the United States Constitution limits the jurisdiction of federal courts to

         “cases” and “controversies.” U.S. Const. art. III, § 2. The Supreme Court has interpreted this as a




         6
           The Court notes that while the REMS was most recently updated in March 2023 “to add space
         to allow for additional contact information on the forms” and “correct a typographical error,” the
         last significant modification was in January 2023. See Update History, Mifepristone, Shared
         System           REMS,             U.S.         Food          &           Drug          Admin.,,
         https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=
         390 (last accessed Apr. 27, 2023).
         7
           U.S. Food & Drug Admin., Mifepristone Tablets, 200 mg, Risk Evaluation and Mitigation
         Strategy (REMS) Single Shared System for Mifepristone 200mg (Mar. 2023),
         https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2023_03_23_REMS_Full.p
         df [hereinafter 2023 REMS].




                                                         JA99
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 104 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 6 of 22 PageID #: 718




         requirement that plaintiffs demonstrate an “irreducible minimum” to establish standing: (1) an

         injury in fact, (2) which is fairly traceable to the allegedly offensive conduct, and (3) which is

         likely to be redressed by a favorable decision from the court. Lujan v. Defs. of Wildlife, 504 U.S.

         555, 560-61 (1992). “[E]ach element [of standing] must be supported in the same way as any other

         matter on which the plaintiff bears the burden of proof, i.e., with the manner and degree of evidence

         required at the successive stages of the litigation.” Id. at 561. “A defendant may challenge standing

         at the motion-to-dismiss stage in one of two ways: facially or factually.” Wikimedia Foundation v.

         Nat’l Sec. Agency, 857 F.3d 193, 208 (4th Cir. 2017) (quoting Beck v. McDonald, 848 F.3d 262,

         270 (4th Cir. 2017)) (internal brackets omitted).

                A “facial” challenge questions whether the allegations in the complaint are sufficient to

         sustain the court's jurisdiction. Thigpen v. United States, 800 F.2d 393, 401 n.15 (4th Cir. 1986),

         rejected on other grounds, Sheridan v. United States, 487 U.S. 392 (1988). If a “facial” challenge

         is made, the court must accept the allegations in the complaint as true and decide if the complaint

         is sufficient to confer subject matter jurisdiction. Id. On the other hand, a “factual” challenge

         contests the truthfulness of the factual allegations in the complaint upon which subject matter

         jurisdiction is based. In this situation, a “district court is to regard the pleadings’ allegations as

         mere evidence on the issue and may consider evidence outside the pleadings without converting

         the proceeding to one for summary judgment.” Richmond, Fredericksburg & Potomac R.R. Co. v.

         United States, 945 F.2d 765, 768 (4th Cir. 1991) (citing Adams v. Bain, 697 F.2d 1213, 1219 (4th

         Cir. 1982); Trentacosta v. Frontier Pac. Aircraft Indus., 813 F.2d 1553, 1558 (9th Cir. 1987)).

                To survive a motion to dismiss, a complaint must contain “a short and plain statement of

         the claim showing [the plaintiff] is entitled to relief.” Fed. R. Civ. P. 8(a)(2). While the facts

         alleged in the complaint need not be probable, the statement must contain “enough facts to state a




                                                        JA100
USCA4 Appeal: 23-2194          Doc: 32             Filed: 02/07/2024          Pg: 105 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 7 of 22 PageID #: 719




         claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

         A claim has facial plausibility when “the plaintiff pleads factual content that allows the court to

         draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

         Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). In considering the plausibility of a plaintiff’s

         claim, the Court accepts all well-pleaded factual allegations in the complaint as true. Id. Still,

         “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

         statements, do not suffice.” Id. (citation omitted).

                 Determining whether a complaint states a plausible claim is a “context-specific task that

         requires the reviewing court to draw on its judicial experience and common sense.” Id. at 679. If

         the court finds from its analysis that “the well-pleaded facts do not permit the court to infer more

         than the mere possibility of misconduct, the complaint has alleged—but it has not ‘show[n]’—

         ‘that the pleader is entitled to relief.’” Id. (quoting, in part, Fed. R. Civ. P. 8(a)(2)). Nonetheless, a

         plaintiff need not show that success is probable to withstand a motion to dismiss. Twombly,

         550 U.S. at 556 (“[A] well-pleaded complaint may proceed even if it strikes a savvy judge that

         actual proof of those facts is improbable, and that a recovery is very remote and unlikely.”).



                                                   III. DISCUSSION

             In his Memorandum of Law in Support of his Motion to Dismiss, Defendant Morrisey argues

         that Plaintiff GenBioPro lacks Article III standing to pursue its claims, contesting GenBioPro’s

         asserted injury in fact and the alleged redressability of that injury. See Mem. in Supp. of Mot. to

         Dismiss at 6-8, ECF No. 20. Defendant Sorsaia has raised similar arguments in his Motion to

         Dismiss, and additionally asserts that the injury GenBioPro has raised cannot be traced to his




                                                          JA101
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 106 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 8 of 22 PageID #: 720




         actions. Mem. of Law in Supp. of Def. Sorsaia’s Mot. to Dismiss at 3-4, ECF No. 18. For the

         following reasons, the Court DENIES both Motions as to standing.


            A. Injury in Fact


            Injuries in fact must be “concrete and particularized” and “actual or imminent” rather than

         “conjectural or hypothetical.” Lujan, 504 U.S. at 560. For an injury to be “particularized” it “must

         affect the plaintiff in a personal and individual way.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339

         (2016). The Supreme Court has also characterized this requirement as not “undifferentiated,”

         United States v. Richardson, 418 U.S. 166, 177 (1974) and “distinct,” Whitmore v. Arkansas, 495

         U.S. 149, 155 (1990). For an injury to be “concrete” it must be “de facto,” or “real” rather than

         “abstract”—though not necessarily “tangible.” Spokeo, 578 U.S. at 340; see Friends of the Earth

         v. Laidlaw Environmental Servs., Inc., 528 U.S. 167, 181-84 (2000) (involving recreational and

         aesthetic injuries). In contrast, an injury is not “actual or imminent” when it relies upon so-called

         “some day” intentions which are too indefinite to confer standing. Lujan, 504 U.S. at 564; Doe v.

         Obama, 631 F.3d 157, 162-63 (4th Cir. 2011).

                Defendant Morrisey argues that GenBioPro’s alleged injury is neither particularized nor

         concrete, as GenBioPro does not allege “that it has ever sold [medication] abortion drugs in West

         Virginia, nor does it allege any specific plan to do so.” Def. Morrisey’s Mem. in Supp. of Mot. to

         Dismiss at 7. Rather, GenBioPro alleges an injury premised upon its lessened “opportunity and

         ability to market, promote, and sell” its product within the state, leading to “lost sales, customers,

         and revenue.” Compl. ¶¶ 15, 79. Defendant Morrisey argues this is insufficient, likening

         GenBioPro’s asserted injuries to the insufficient “some day” intentions in Lujan. Def. Morrisey’s

         Mem. in Supp. of Mot. to Dismiss at 7. In Response, GenBioPro argues that its injuries are




                                                        JA102
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 107 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 9 of 22 PageID #: 721




         appropriately alleged economic harm, as well as credibly threatened enforcement of the UCPA

         against itself or its vendees. Pl.’s Opp’n to Def. Morrisey’s Mot. to Dismiss at 3-5. The Court will

         first consider the parties’ arguments as to the alleged economic injury.

                “[F]inancial harm is a classic and paradigmatic form of injury in fact.” Air Evac EMS, Inc.

         v. Cheatham, 910 F.3d 751, 760 (4th Cir. 2018) (quoting Cottrell v. Alcon Labs., 874 F.3d 154,

         163 (3d Cir. 2017)); see also Adkins v. Rumsfeld, 464 F.3d 456, 465 (4th Cir. 2006), cert. denied,

         127 S. Ct. 2972 (2007) (finding an injury which “allegedly inflicts a direct economic harm upon

         [the plaintiff] is concrete and not hypothetical.”). “[W]here a plaintiff alleges financial harm,

         standing is often assumed without discussion.” Cottrell, 874 F.3d at 163 (internal quotation

         omitted). “Any monetary loss suffered by the plaintiff satisfies the injury-in-fact element; even a

         small financial loss suffices.” Id. (quoting Carter v. HealthPort Techs., LLC, 822 F.3d 47, 55 (2d

         Cir. 2016)). Applying this principal, the Supreme Court has found that physicians who performed

         abortions had standing to challenge restrictions on Medicaid payment for abortions, as fewer

         reimbursed abortions would lead to a loss in physician revenue. Singleton v. Wulff, 428 U.S. 106,

         113 (1976); see also Reprod. Health Servs. v. Strange, 3 F.4th 1240, 1251-52 (11th Cir. 2021)

         (finding physicians had standing to challenge restrictions on minor patients where less abortions

         on minors would lead to loss of revenue).

                Both the Fourth Circuit and the Supreme Court have found that lost business opportunities

         are a form of economic injury. Md. Shall Issue, Inc. v. Hogan, 971 F.3d 199, 211 (4th Cir. 2020)

         (citing Craig v. Boren, 429 U.S. 190, 194 (1976)). In Hogan, the Fourth Circuit found that a

         firearms store had standing to challenge a state handgun license requirement, due to the business’s

         allegations of lost sales. Id. In turn, Craig held that a beer vendor had standing to challenge a law

         limiting the sale of beer to adolescent men, where the vendor could either "heed the statutory




                                                        JA103
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 108 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 10 of 22 PageID #: 722




         discrimination, thereby incurring a direct economic injury through the constriction of her buyers'

         market” or suffer potential “sanctions and perhaps loss of license.” 429 U.S. at 194. GenBioPro

         reasons that it has suffered direct economic harm due to its loss of business opportunities to sell

         mifepristone within West Virginia, and therefore, it is akin to the handgun and beer vendor

         challenging laws limiting the sale of those goods. Pl.’s Opp’n. to Def. Morrisey’s Mot. to Dismiss

         at 3.

                 Defendants do not dispute GenBioPro’s business interest in selling mifepristone generally.

         Rather, they argue that because GenBioPro’s complaint does not allege the company has ever sold

         in West Virginia prior to the passage of the UCPA, its claim that it wishes to enter the market now

         is purely speculative. Reply in Supp. of Mot. to Dismiss at 2-3, ECF No. 45. The Court interprets

         this as a facial challenge as to whether the allegations in the complaint are sufficient to sustain the

         court's jurisdiction. See Thigpen, 800 F.2d at 401 n.15. Defendant Morrisey emphasizes that the

         plaintiffs in Hogan and Craig had past sales in the market they argued was now restricted by

         statute. Reply in Supp. of Mot. to Dismiss at 2-3. At oral argument, Plaintiff underscored that other

         courts have found injuries based on market constriction where plaintiffs were not already operating

         in the targeted market, citing Ezell v. City of Chicago, 651 F.3d 684 (7th Cir. 2011), and 303

         Creative LLC v. Elenis, 6 F.4th 1160 (10th Cir. 2021). Upon consideration, the Court agrees that

         there is no per se requirement to show past sales in order to demonstrate economic injury caused

         by statutes which constrict potential markets. See Ezell, 651 F.3d at 692, 696 (granting a national

         firing range vendor standing to challenge state firing range restrictions where they merely

         expressed a desire to open a firing range in Chicago); 303 Creative, 6 F.4th at 1172 (“Although

         Appellants have not yet offered wedding website services” their past general website services and

         intent to offer wedding websites demonstrated standing to challenge statutory restrictions). Absent




                                                         JA104
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024         Pg: 109 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 11 of 22 PageID #: 723




         any such per se requirement of past presence in the market, the Court applies “its judicial

         experience and common sense” to determine whether the Complaint plausibly alleges an intent to

         sell in West Virginia which has been constricted by the challenged statutes. See Iqbal, 556 U.S. at

         679.

                GenBioPro is a well-established manufacturer of a nationally distributed and federally

         approved product. Compl. ¶ 2. The company’s only revenue producing products are medication

         abortion drugs. Id. ¶ 23. Plaintiff attests that it spent nearly a decade working to attain FDA

         approval for its generic mifepristone. Id. ¶¶ 2, 60. GenBioPro’s FDA approval allows it to sell

         mifepristone nationwide. Id. ¶ 77. Since Plaintiff received approval from the FDA to sell generic

         mifepristone, it has sold approximately 850,000 units of the drug. Id. ¶ 3. Accordingly, Plaintiff

         has demonstrated how any constriction of the market for mifepristone would affect it in a

         particularized manner. See Spokeo, 578 U.S. at 339 (discussing particularization of injuries).

                Furthermore, the Complaint provides evidence of the growing market for mifepristone,

         which now accounts for more than half of abortions in the United States. Id. ¶ 76. Plaintiff asserts

         that several nationwide pharmacy chains—some of which have locations in Putnam County—have

         evinced a desire to sell mifepristone but are prevented from doing so by West Virginia’s statutes

         and Defendants’ threatened legal action. Id. ¶¶ 75, 78, 80. While mifepristone is approved by the

         FDA for medication abortion up to ten weeks gestation, West Virginia’s UCPA limits “medicine”

         abortion to an extremely narrow set of circumstances. See id. ¶ 83; W. Va. Code § 16-2R-3. The

         prior restrictions on prescription of mifepristone via telemedicine likewise conflict with the REMS.

         See Compl. ¶¶ 66, 86, 88; W. Va. Code §§ 30-3-13a(g)(5); 30-1-26(b)(9). The Court concludes

         that there is nothing “conjectural or hypothetical” about GenBioPro’s affirmations that it would be

         selling its product to a wider market in West Virginia were it not for the UCPA and prior




                                                       JA105
USCA4 Appeal: 23-2194          Doc: 32                Filed: 02/07/2024     Pg: 110 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 12 of 22 PageID #: 724




         restrictions. See Spokeo, 578 U.S. at 339. Accordingly, the Court finds that GenBioPro’s

         Complaint plausibly alleges a sufficiently concrete intent to access the market in West Virginia,

         which arguably is stymied by the UCPA and prior restrictions.

                 GenBioPro has plausibly asserted a sufficiently concrete and particularized injury in fact.

         As the Court has found that GenBioPro has plausibly alleged injury in fact based on economic

         harms, it need not determine whether the UCPA’s provisions are sufficiently vague to subject

         Plaintiff to potential criminal liability.


             B. Redressability


             It is insufficient to show merely that Plaintiff has been injured; that injury must be traceable to

         Defendants and redressable by the relief requested from the Court. Lujan, 504 U.S. at 560-61.

         Here, the relief requested by GenBioPro is a declaratory judgment that both the UCPA and the

         prior restrictions are invalid under the Constitution. Compl. at 32. Defendants have argued that

         Plaintiff’s injury would not be redressed by this relief, as (1) redressability is impermissibly

         dependent on the third-party action of “medical professionals,” and (2) the Comstock Act bars

         relief. Def. Morrisey’s Mem. in Supp. of Mot. to Dismiss at 7-8. Further, Defendant Morrisey

         asserts that the alleged injuries caused by the pre-UCPA restrictions on dispensation of

         mifepristone cannot be redressable, as those restrictions are not currently operative. Id. at 8. In

         rebuttal, Plaintiff reiterates that if this Court were to find West Virginia’s statutes to be

         unconstitutional, then the statutory restrictions on the market for their products would be eased.

         Pl.’s Opp’n. to Def. Morrisey’s Mot. to Dismiss at 5-7.

             In determining whether standing exists, “[t]he relevant inquiry is whether … the plaintiff has

         shown an injury to himself that is likely to be redressed by a favorable decision.” Simon v. E. Ky.




                                                           JA106
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 111 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 13 of 22 PageID #: 725




         Welfare Rights Org., 426 U.S. 26, 38 (1976). However, redressability does not require that the

         injury be completely ameliorated. See Massachusetts v. EPA, 549 U.S. 497, 526 (2007).


             a. Alleged Dependence on Third-Party Action


             Defendant Morrisey argues that Plaintiff’s injury is not redressable by the relief requested, as

         invalidation of the statutes does not necessarily entail that “medical professionals” will prescribe

         or purchase mifepristone from GenBioPro. Therefore, he argues the relief requested is

         impermissibly dependent on third-party action. Def. Morrisey’s Mem. in Supp. of Mot. to Dismiss

         at 7-8.

             The Court disagrees. None of the cases in which doctors, contraceptive providers, or other

         vendors were found by the Supreme Court to have standing found that relief was impermissibly

         premised on third-party customer sales. See, e.g., Singleton, 428 U.S. at 113 (finding that doctors

         providing abortion care had standing where they would suffer economic loss due to restrictions on

         abortion); Carey v. Population Servs. Int'l, 431 U.S. 678, 682–84 (1977) (finding contraceptive

         vendor had standing to challenge restriction on contraceptive sales); Craig, 429 U.S. at 194

         (finding beer vendor had standing to challenge restriction on beer customers). Just as the Supreme

         Court has in the past assumed that people will continue to seek beer, contraceptives, and abortion,

         the Court finds here that it is reasonable to assume pharmacies and doctors will continue to

         prescribe and purchase abortion medication. This inference is supported by the fact that medication

         abortion is the most common form of abortion in the United States. Compl. ¶ 76. Furthermore, the

         Complaint alleges that pharmacies with locations in West Virginia have stated they would sell

         mifepristone, absent the statutory restrictions. Id. ¶ 78. At the motion to dismiss stage, the Court

         accepts these factual allegations as true. See Iqbal, 556 U.S. at 678.




                                                        JA107
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 112 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 14 of 22 PageID #: 726




            Simply put, the Court finds the argument that no medical practitioner or pharmacy in the state

         of West Virginia would ever prescribe or sell mifepristone to be facially implausible. More

         abstractly, the underlying injury asserted by Plaintiff is constriction of the market it sells within,

         and the relief requested would redress that market constriction—even if every “medical

         professional” in the state declined to buy from Plaintiff, it would still have an increased opportunity

         to “market its product in West Virginia.” See Compl. ¶ 77. Accordingly, the Court rejects

         Defendant Morrisey’s argument.


            b. The Comstock Act


            Next, Defendant Morrisey argues that even if the Court were to grant the relief requested,

         Plaintiff’s business would still be illegal under the Comstock Act, thereby negating redressability.

         Def. Morrisey’s Mem. in Supp. of Mot. to Dismiss at 7-8. The Court finds that this argument is

         without merit.

            The Comstock Act of 1873 declares that “[e]very article or thing designed, adapted, or intended

         for producing abortion,” as well as “[e]very article, instrument, substance, drug, medicine, or thing

         which is advertised or described in a manner calculated to lead another to use or apply it for

         producing abortion,” is “nonmailable matter” that the United States Postal Service (“USPS”) may

         not lawfully deliver. 18 U.S.C. § 1461. While the plain language of the statute arguably

         encompasses GenBioPro’s business model, the Comstock Act is currently understood to apply

         only to use of the mails in an illegal manner. Courts have held this consistently since 1915. See

         Bours v. United States, 229 F. 960 (7th Cir. 1915); Davis v. United States, 62 F.2d 473 (6th Cir.

         1933); United States v. One Package, 86 F.2d 737 (2d Cir. 1936); Consumers Union of United

         States, Inc. v. Walker, 145 F.2d 33 (D.C. Cir. 1944). The Department of Justice’s current




                                                         JA108
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 113 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 15 of 22 PageID #: 727




         enforcement interpretation concurs. Dept. of Justice, Application of the Comstock Act to the

         Mailing of Prescription Drugs that Can Be Used for Abortions, Mem. Op. for the Gen. Couns.

         USPS (Dec. 23, 2022).

            While Defendant Morrisey has obliquely threatened legal action against pharmacies willing to

         distribute mifepristone in West Virginia, he does not have the authority to enforce federal law. See

         Compl. ¶ 75. To reiterate, the entity with that enforcement authority—the Department of Justice—

         has stated that it will not enforce the Comstock Act against legal vendors of mifepristone. Dept.

         of Justice, Application of the Comstock Act to the Mailing of Prescription Drugs that Can Be Used

         for Abortions, Mem. Op. for the Gen. Couns. USPS (Dec. 23, 2022). Accordingly, this Court

         declines to find that a widely abrogated 19th century statute which the federal government will not

         enforce bars redressability here.

            c. Redressability as to the Prior Restrictions


            Finally, Defendant Morrisey argues that Plaintiff cannot challenge provisions which are not

         currently in effect, i.e., the restrictions on prescription of mifepristone extant prior to the passage

         of the UCPA. Def. Morrisey’s Mem. in Supp. of Mot. to Dismiss at 8. In support, Defendant

         Morrisey cites California v. Texas for the proposition that “[t]o find standing … to attack an

         unenforceable statutory provision would allow a federal court to issue what would amount to ‘an

         advisory opinion without the possibility of any judicial relief.’” 141 S. Ct. 2104, 2116 (2021)

         (internal citation omitted). Plaintiff’s Response emphasizes that California v. Texas dealt with a

         “toothless law” that had “no means of enforcement,” while the provisions here would spring back

         into effect were the Court to declare the UPCA unconstitutional. Pl.’s Opp’n. to Def. Morrisey’s

         Mot. to Dismiss at 7.




                                                         JA109
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 114 of 344

             Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 16 of 22 PageID #: 728




             The Court agrees with Plaintiff. The prior provisions were superseded by the UCPA, 8 which

         suspends their enforceability so long as the UCPA is in effect. W. Va. Code § 16-2R-9. However,

         the UCPA includes a provision that should it be found unconstitutional the older provisions would

         once again become enforceable. Id. Had GenBioPro challenged the prior provisions without

         challenging the UCPA, it may not have had standing. But as Plaintiff has challenged the UCPA, it

         also may challenge the provisions which would spring back into enforceability if this Court were

         to find the UCPA unconstitutional. Of course, if the Court were to find that the statute is

         constitutional, it would not consider GenBioPro’s challenges to the other provisions.

             Accordingly, the Court finds that GenBioPro’s economic injuries are traceable to the statutes

         complained of and would be redressed by the relief requested from the Court.

             C. Traceability as to Defendant Sorsaia


             While the Court has found GenBioPro has standing as to Defendant Morrisey, “the standing

         inquiry must be evaluated separately as to each defendant.” Disability Rights S.C. v. McMaster,

         24 F.4th 893, 901-02 (4th Cir. 2022) (citing Bostic v. Schaefer, 760 F.3d 352, 370–71 (4th Cir.

         2014)).

             As discussed above, “traceability” is one the three “irreducible” prongs of Article III standing.

         Lujan, 504 U.S. at 560-61. A plaintiff's injury satisfies the traceability element of standing when

         there is “a causal connection between the injury and the [defendant's] conduct complained of by

         the plaintiff.” Air Evac, 910 F.3d at 760 (internal quotation marks omitted). “While the defendant's



         8
           The Court notes that West Virginia Code § 30-3-13a(g)(5) and § 30-1-26(b)(9) remain in
         effect. Accordingly, the analysis in this section is directed only towards GenBioPro’s challenge
         as to West Virginia Code § 16-2I-2.




                                                        JA110
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024          Pg: 115 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 17 of 22 PageID #: 729




         conduct need not be the last link in the causal chain, the plaintiff must be able to demonstrate that

         the alleged harm was caused by the defendant, as opposed to the ‘independent action of some third

         party not before the court.’” Id. at 760 (quoting Frank Krasner Enters., Ltd. v. Montgomery Cnty.,

         401 F.3d 230, 234 (4th Cir. 2005)). Further, “an injury resulting from the application or threatened

         application of an unlawful enactment remains fairly traceable to such application.” Fed. Election

         Comm’n. v. Cruz, 142 S. Ct. 1638, 1647 (2022).

             Defendant Sorsaia argues that GenBioPro lacks standing as to him as a defendant, as the injury

         Plaintiff complains of cannot be traced to his actions or inaction. Mem. of Law in Supp. of Def.

         Sorsaia’s Mot. to Dismiss at 4. The Fourth Circuit addressed a similar argument in Disability

         Rights South Carolina v. McMaster. 24 F.4th at 901-02. In McMaster, the Appeals Court held that

         mere public endorsement of a statute by a state official was insufficient to demonstrate traceability,

         where the defendant governor did not have the authority to enforce the statute. Id. Rather,

         McMaster held that “[t]o establish standing, ‘[a] plaintiff who challenges a statute must

         demonstrate a realistic danger of sustaining a direct injury as a result of the statute's operation or

         enforcement.’” Id. at 902 (quoting Babbitt v. United Farm Workers Nat'l Union, 442 U.S. 289,

         298 (1979)). In other words, “[a] controversy exists not because the state official is himself a source

         of injury but because the official represents the state whose statute is being challenged as the source

         of injury.” Mobil Oil Corp. v. Atty. Gen. of Va., 940 F.2d 73, 76 n.2 (4th Cir. 1991) (quoting Wilson

         v. Stocker, 819 F.2d 943, 947 (10th Cir. 1987)). But “[w]hen a defendant has no role in enforcing

         the law at issue, it follows that the plaintiff's injury allegedly caused by that law is not traceable to

         the defendant.” McMaster, 24 F.4th at 901-02.

             The Court has found that the source of GenBioPro’s alleged injury is the UCPA and prior

         restrictions on abortion in the state. As the Prosecuting Attorney of Putnam County, Defendant




                                                          JA111
USCA4 Appeal: 23-2194         Doc: 32             Filed: 02/07/2024          Pg: 116 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 18 of 22 PageID #: 730




         Sorsaia is charged with enforcing the UCPA’s criminal penalties, and the Complaint plausibly

         asserts that he has indicated that he will enforce the UCPA. W. Va. Code § 7-4-1(a); Compl. ¶ 24.

         GenBioPro has alleged an intent to distribute its product within the state and to specific pharmacies

         within the county. Compl. ¶ 78. Unlike the governor in McMaster, therefore, the statute challenged

         as the source of GenBioPro’s alleged injury within Putnam County is traceable to the enforcement

         authority of Defendant Sorsaia.

             Accordingly, Defendant Sorsaia’s Motion is DENIED as to the issue of standing.

             D. Third-Party Standing


             GenBioPro argues that it may assert the rights of third parties to whom it wishes to sell

         mifepristone within West Virginia. Pl.’s Opp’n to Def. Morrisey’s Mot. to Dismiss at 7-8; Pl.’s

         Opp’n to Def. Sorsaia’s Mot. to Dismiss at 12-14. Defendant Morrisey counters that “in order to

         assert the interests of a third party, a vendor plaintiff must first satisfy the requirements of Article

         III standing itself.” Reply in Supp. of Mot. to Dismiss at 3 (citing Hogan, 971 F.3d at 214-15).

         While the Court agrees with Defendant Morrisey’s interpretation of Hogan and related cases, it

         has already found that Plaintiff has satisfied the requirements of Article III standing as to itself,

         above. While Plaintiff raised the same argument as to Defendant Sorsaia, he neglected to file a

         Reply. Therefore, the Court will consider whether Plaintiff has met the requirements to assert third-

         party standing on behalf of its vendees.

             A “plaintiff generally must assert his own legal rights and interests, and cannot rest his claim

         to relief on the legal rights or interests of third parties.” Warth v. Seldin, 422 U.S. 490, 499 (1975);

         see Hogan, 971 F.3d at 214. This rule is meant to ensure that parties appearing before the court

         have “the appropriate incentive to challenge (or not challenge) governmental action and to do so




                                                         JA112
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024         Pg: 117 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 19 of 22 PageID #: 731




         with the necessary zeal and appropriate presentation.” Kowalski v. Tesmer, 543 U.S. 125, 129

         (2004). And yet, the Supreme Court has found circumstances in which plaintiffs may have standing

         to assert the rights of others. See id. at 129-30.

             One widely recognized ground for third-party standing is the vendor-vendee relationship,

         where the vendor independently has established its own standing. See Craig, 429 U.S. at 195 (“As

         a vendor with standing to challenge the lawfulness of [the relevant statutes], appellant [] is entitled

         to assert those concomitant rights of third parties that would be ‘diluted or adversely affected’

         should her constitutional challenge fail and the statutes remain in force.”). “[V]endors and those

         in like positions have been uniformly permitted to resist efforts at restricting their operations by

         acting as advocates of the rights of third parties who seek access to their market or function.” Id.;

         see also Carey, 431 U.S. at 682–84 (granting third-party standing to a nationwide mail-order

         contraceptive vendor to challenge a state prohibition on contraceptive sales by asserting vendee

         right to privacy); Eisenstadt v. Baird, 405 U.S. 438, 443-446 (1972) (granting third-party standing

         to plaintiff prosecuted for illegal distribution of contraceptives to assert equal protection rights of

         unmarried persons denied access to contraceptives). “Courts have invariably found that a vendor

         has a sufficiently close relationship with its customers when a challenged statute prevents that

         entity from transacting business with them.” Hogan, 971 F.3d at 216 (citing Craig, 429 U.S. at

         192–97; Lepelletier v. F.D.I.C., 164 F.3d 37, 43–44 (D.C. Cir. 1999)). Furthermore, the Fourth

         Circuit has held that “a vendor has third-party standing to pursue claims on behalf of its customers,

         regardless of whether a vendor's customers are hindered in bringing their own claims.” Id. at 216

         (collecting cases).

             Here, GenBioPro is a vendor of mifepristone. Compl. ¶ 3. Under the current REMS, its

         customers include certified healthcare providers and pharmacies nationwide. See id. ¶¶ 66, 71;




                                                          JA113
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 118 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 20 of 22 PageID #: 732




         2023 REMS. Plaintiff has plausibly alleged an intention to sell to this group of vendees in West

         Virginia. See id. ¶¶ 78-79. The Court has held above that GenBioPro has plausibly alleged that the

         UCPA restricts its sales to these vendees in the state and that this restriction is sufficient to

         constitute an economic injury in fact. Accordingly, the Court holds that GenBioPro may assert the

         third-party rights of the certified healthcare providers and pharmacies who seek access to its market

         but are prevented by the UCPA from transacting business with GenBioPro.

            GenBioPro wishes to assert its customers’ interests in not being subjected to criminal penalties

         due to West Virginia’s enforcement of allegedly unconstitutional statutory provisions. Pl.’s Opp’n

         to Def. Morrisey’s Mot. to Dismiss at 7-8; Pl.’s Opp’n to Def. Sorsaia’s Mot. to Dismiss at 6-8,

         13. Where no criminal enforcement action has been initiated, “a plaintiff satisfies the injury-in-

         fact requirement where he alleges ‘an intention to engage in a course of conduct arguably affected

         with a constitutional interest, but proscribed by a statute, and there exists a credible threat of

         prosecution thereunder.’” Susan B. Anthony List v. Dreihaus, 573 U.S. 149, 159 (2014) (quoting

         Babbitt, 442 U.S. at 298). Where such a credible threat of enforcement exists, plaintiffs “should

         not be required to await and undergo a criminal prosecution as the sole means of seeking relief.”

         Babbitt, 442 U.S. at 298. However, where the government has “disavowed enforcement,” there is

         no credible threat of prosecution. See Susan B. Anthony List, 573 U.S. at 163; Holder v.

         Humanitarian Law Project, 561 U.S. 1, 16 (2010) (emphasizing that the government did not

         disavow future enforcement of the challenged statute).

            GenBioPro has alleged that West Virginia’s limitations on the sale of mifepristone violate the

         Supremacy and Commerce Clauses of the Constitution. Compl. at 28-32. The Court finds this

         sufficient to satisfy the alleged “intention to engage in a course of conduct arguably affected with

         a constitutional interest.” See Susan B. Anthony List, 573 U.S. at 159. While the Court has declined




                                                        JA114
USCA4 Appeal: 23-2194        Doc: 32           Filed: 02/07/2024         Pg: 119 of 344

            Case 3:23-cv-00058 Document 54 Filed 05/02/23 Page 21 of 22 PageID #: 733




         to determine whether GenBioPro itself could be subject to criminal liability pursuant to the UCPA,

         it is more than arguable that at least some of the pharmacies and medical personnel who could

         distribute mifepristone under the 2023 REMS also could be prosecuted for that distribution under

         West Virginia law. GenBioPro’s vendees include non-physicians and pharmacies, who can be

         certified to distribute mifepristone under the current REMS. See Compl. ¶¶ 58, 71; 2023 REMS.

         The Complaint alleges that national pharmacy chains with locations in Putnam County, West

         Virginia have expressed a desire to sell mifepristone. Id. ¶ 78. Accordingly, as County Prosecutor

         for Putnam County and Attorney General of West Virginia, Defendants could prosecute

         GenBioPro’s customers under § 61-2-8(a). Further, rather than “disavowing enforcement,” both

         Defendants have affirmatively expressed that they will enforce the relevant criminal provisions.

         Id. ¶¶ 24, 75.

             At oral argument, Defendant Sorsaia underscored that West Virginia’s criminal penalties for

         performing illegal abortions do not apply to “licensed medical professionals,” who he implied are

         the majority of GenBioPro’s customers. “Licensed medical professionals” who would violate the

         UCPA by prescribing mifepristone for abortion care outside of the limited exceptions would only

         be subject to licensure revocation, rather than criminal prosecution. W. Va. Code § 16-2R-7. The

         UCPA defines “licensed medical professional” as a person licensed under either West Virginia

         Code § 30-3-1 et seq. or § 30-14-1 et seq., which govern licensure of the practice of medicine,

         surgery, podiatry, and osteopathic medicine or surgery for physicians and physicians’ assistants.

         Therefore, registered professional nurses and nurse practitioners are not “licensed medical

         professionals” for the purposes of the UCPA, as they are subject to different statutory schemes

         under West Virginia Code § 30-7-1, et seq. and § 30-7A-1, et seq. Nor would pharmacists or

         pharmacies be considered “licensed medical professionals,” as they are governed by West Virginia




                                                      JA115
USCA4 Appeal: 23-2194   Doc: 32   Filed: 02/07/2024   Pg: 120 of 344




                                       JA116
USCA4 Appeal: 23-2194       Doc: 32             Filed: 02/07/2024     Pg: 121 of 344


           Case 3:23-cv-00058 Document 55 Filed 05/11/23 Page 1 of 1 PageID #: 735




                         IN THE UNITED STATES DISTRICT COURT FOR
                         THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                       HUNTINGTON DIVISION


      GENBIOPRO, INC.,

                                   Plaintiff,

      v.                                                   CIVIL ACTION NO. 3:23-0058

      MARK A. SORSAIA, in his official capacity
      as Prosecuting Attorney of Putnam County and
      PATRICK MORRISEY, in his official capacity
      as Attorney General of West Virginia,

                                   Defendants.


                                                    ORDER

             In consideration of the Supreme Court’s opinion in National Pork Producers Council v.

      Ross, No. 21–468, — S. Ct. — (2023), the Court DIRECTS the parties to file supplemental

      briefing by Friday, May 19, 2023. The Court DIRECTS the Clerk to send a copy of this Order to

      counsel of record and any unrepresented parties.


                                                    ENTER:          May 11, 2023




                                                    ROBERT C. CHAMBERS
                                                    UNITED STATES DISTRICT JUDGE




                                                     JA117
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 122 of 344

          Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 1 of 41 PageID #: 736   1




          1                   IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
          2                            HUNTINGTON DIVISION

          3     ________________________________x

          4     GENBIOPRO, INC.,                 : CIVIL ACTION NUMBER
                                                 : 3:23-cv-00058
          5                    Plaintiff,        :
                     -vs-                        :
          6                                      :
                MARK A. SORSAIA, in his official :
          7     capacity as Prosecuting Attorney :
                of Putnam County and             :
          8     PATRICK MORRISEY, in his         :
                official capacity as Attorney    :
          9     General of West Virginia,        :
                                                 :
         10                    Defendants.       :
                ________________________________x
         11

         12                              MOTION HEARING
                            BEFORE THE HONORABLE ROBERT C. CHAMBERS,
         13                       UNITED STATES DISTRICT JUDGE
                                     MONDAY, APRIL 24, 2023
         14

         15

         16

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         18

         19

         20

         21

         22            Proceedings recorded by mechanical stenography,
                transcript produced by computer.
         23                ______________________________________
                              CATHERINE SCHUTTE-STANT, RDR, CRR
         24                    Federal Official Court Reporter
                                 300 Virginia Street, East
         25                         Charleston, WV 25301


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                                             JA118
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 123 of 344

          Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 2 of 41 PageID #: 737   2




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          4

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          8

          9

         10     For the Defendant               JENNIFER SCRAGG KARR, ESQUIRE
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         12

         13

         14

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         18

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                                             JA119
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024    Pg: 124 of 344

          Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 3 of 41 PageID #: 738        3
                                       GenBioPro v Sorsaia, et. Al.



          1             (The following proceedings were held before the

          2     Honorable Robert C. Chambers, United States District Judge,

          3     in the case of GenBioPro, Inc., versus Mark A. Sorsaia, in

          4     his capacity as Prosecuting Attorney of Putnam County, et.

          5     al., on April 24, 2023, at Huntington, West Virginia,

          6     beginning at 2:02 p.m.)

          7                  COURT SECURITY OFFICER:        All rise.

          8                  THE COURT:   Good afternoon.

          9             Before we start the proceeding, I'm advised that we

         10     have a number of individuals who are participating by

         11     listening by telephone, so I want to instruct them that they

         12     are reminded that there is a general prohibition against any

         13     sort of recording or rebroadcasting of court proceedings.            A

         14     violation of that prohibition could result in sanctions.             So

         15     please make sure that you abide by that requirement.

         16             I'm also advised they've already been instructed to

         17     mute their devices, so hopefully that will continue

         18     throughout.

         19             So I appreciate counsel quickly making themselves

         20     available for this hearing after the Court contacted you.

         21             I've done an order which explains that I'm limiting

         22     this hearing to a discussion of the standing issues

         23     presented by the plaintiff's complaint.

         24             Obviously, it's a necessary part of the Court's

         25     deliberation over the pending motions to determine that


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                                             JA120
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024     Pg: 125 of 344

          Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 4 of 41 PageID #: 739   4
                                       GenBioPro v Sorsaia, et. Al.



          1     there is adequate standing as to both of the defendants, and

          2     it's a threshold requirement.        So I felt it appropriate to

          3     have a separate -- and hopefully successfully quickly

          4     resolving this one way or the other in doing this as a first

          5     step.    And consequently, I asked plaintiffs to be prepared

          6     to first outline, since plaintiff has the burden of

          7     establishing standing, the basis in the Complaint for

          8     standing, and then to respond to the arguments that you've

          9     seen raised by the defendant.

         10             So who is presenting on behalf of the plaintiff?

         11                  MR. MAJESTRO:     Your Honor, Anthony Majestro for

         12     the plaintiff.      I would like to introduce David Fredrick

         13     from Kellogg Hansen in Washington, D.C., who will be

         14     handling the argument for the plaintiffs.

         15                  THE COURT:   All right.        Thank you.

         16             Welcome, Mr. Frederick.

         17                  MR. FREDERICK:    Your Honor, is it all right that I

         18     speak from here?

         19                  THE COURT:   It is.    I'm going to ask all of you to

         20     use the microphones whenever possible.           The acoustics in

         21     this courtroom aren't particularly good, and the court

         22     reporter is using a recording and -- using headphones to

         23     hear through the system, and so it is necessary for you to

         24     use the microphones.

         25             With that, go ahead.


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                                              JA121
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 126 of 344

          Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 5 of 41 PageID #: 740      5
                                       GenBioPro v Sorsaia, et. Al.



          1                  MR. FREDERICK:    Thank you, Your Honor.

          2             David Frederick for plaintiff, GenBioPro.

          3             We brought this case to challenge West Virginia's

          4     Criminal Abortion Ban and associated restrictions under two

          5     theories.     The Ban is preempted by the Food and Drug

          6     Administration Amendments Act of 2007, the FDAAA, and the

          7     associated FDA rules and statutes, and it breaches the

          8     Commerce Clause of the U.S. Constitution.

          9             The Ban seeks to override the FDA's approval of

         10     mifepristone for its indicated use in the early termination

         11     of pregnancy.

         12             You've directed us to address standing.         And that's

         13     what I'd like to focus on in my presentation today.

         14             The tests for standing is three-fold:         injury in fact,

         15     sufficient causal connection for the injury; and the conduct

         16     complained of; and the likelihood that the injury will be

         17     redressed by a favorable decision.

         18             Now, I want to address the pleading standard for

         19     standing because we are here on a motion to dismiss.            And

         20     the Supreme Court said in the Susan B. Anthony case the test

         21     for standing and the pleading requirements for standing

         22     depend on the level at which the challenge is being made.

         23             Because we are at the motion to dismiss stage, the

         24     normal pleadings' standard for a motion to dismiss apply,

         25     which means that we are charged with pleading plausibly that


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                                              JA122
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 127 of 344

          Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 6 of 41 PageID #: 741   6
                                       GenBioPro v Sorsaia, et. Al.



          1     we have standing.

          2             Now, we understand and appreciate, Your Honor, that at

          3     summary judgment we will be called upon to present proof

          4     that would support the allegations made in the Complaint.

          5     And we are prepared to do so.        And if asked by the Court, I

          6     can outline some of those proofs that we would expect to be

          7     presenting.

          8             But for purposes of this argument, we believe we have

          9     plausibly pleaded standing, because we plausibly pleaded

         10     that we are injured by the state's ban, that it is causally

         11     connected to the statements made by the attorney general and

         12     the Putnam prosecutor, and that a favorable decision by you

         13     declaring the state's ban and associated restrictions to be

         14     unconstitutional under the Supremacy Clause and the dormant

         15     Commerce Clause would redress the harm that we suffer.

         16             So with that, let me just start by saying that the

         17     generic form of mifepristone is GenBioPro's principal

         18     product, and it sells throughout the United States, as we

         19     pleaded in the Complaint.       We seek to sell in West

         20     Virginia -- or seek to have distributed for sale because

         21     GenBioPro is not a direct seller -- but through pharmacies,

         22     telemedicine providers, mail health, pharmacies, et cetera,

         23     and other distributors; and is precluded by doing so by the

         24     statute enacted by the West Virginia legislature.

         25             So the very first point is economic harm.


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                                             JA123
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 128 of 344

          Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 7 of 41 PageID #: 742     7
                                       GenBioPro v Sorsaia, et. Al.



          1             The Fourth Circuit has called this, quote, the

          2     paradigmatic form of an injury to confer standing.            That's

          3     the Maryland Shall Issue case decided by the Fourth Circuit

          4     in 2020, and it quotes a decision out of this court, Air

          5     Evac EMS.     That was a case involving interplay with health

          6     providers.

          7             Now, the attorney general admits that the Ban causes

          8     harm to GenBioPro's, quote, bottom line.          And that ought to

          9     be enough at the pleading stage for us plausibly to show

         10     economic injury, that one concession there.

         11             As the Fourth Circuit held in Maryland Shall Issue,

         12     even a small amount of loss of money is ordinarily an

         13     injury.    And like a gun owner in Maryland Shall Issue and

         14     the beer vendor in the Supreme Court case of Craig versus

         15     Boren, GenBioPro has lost business opportunities as a result

         16     of West Virginia's unconstitutional laws.

         17                  THE COURT:   Here's the rub -- and this is what I

         18     think the defendant points to -- GenBioPro does not allege

         19     in the Complaint that they've had any past sales.

         20             As I understand it, you've been in the business since

         21     about 2019?

         22                  MR. FREDERICK:    That's correct.

         23                  THE COURT:   And so -- and you say that it's a

         24     nationwide business.      Fair enough.      But you didn't allege

         25     that you were already selling or already even taking steps


                        Catherine Schutte-Stant, RDR, CRR (304) 347-3151



                                              JA124
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 129 of 344

          Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 8 of 41 PageID #: 743    8
                                       GenBioPro v Sorsaia, et. Al.



          1     to certify doctors or pharmacies under the more recent REMS.

          2             So when I looked at these cases, frankly, the first

          3     thing that occurred to me is that these other plaintiffs who

          4     you -- in the cases you noted were established as already

          5     doing business and already had direct sales to their

          6     customers in the states where they brought the cases and

          7     were asserting standing.

          8             And defendant argues that you've only stated a

          9     generalized intention to do business in West Virginia

         10     and/or other states, but you haven't actually done business

         11     in West Virginia.

         12             So do these cases not require something more than just

         13     an intention to engage in the business at some point?

         14                  MR. FREDERICK:    They do not.     There is not a

         15     single case on point that they have cited that requires past

         16     sales.

         17                  THE COURT:   Are there any cases that you've come

         18     across where a similarly situated plaintiff sought standing

         19     based on economic harm where they didn't already have past

         20     sales or an existing customer relationship within the

         21     targeted state?

         22                  MR. FREDERICK:    Yes.   The Fourth Circuit cited a

         23     case out of the Seventh Circuit called Ezell.           And if I --

         24     it's called Ezell versus the City of Chicago.           That was a

         25     case involving firing range practice areas.


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                                              JA125
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024    Pg: 130 of 344

          Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 9 of 41 PageID #: 744          9
                                       GenBioPro v Sorsaia, et. Al.



          1             The company was one that said in the reported decision,

          2     we sell throughout the United States, and we have intent to

          3     create a firing range in the City of Chicago.           Because of

          4     the ordinance passed by the City of Chicago, the firing

          5     range facility operator was not able to provide a firing

          6     range facility.     It obviously had not done any business in

          7     the City of Chicago.      It wanted to do business.           And but for

          8     the existence of the ordinance banning the firing range

          9     facility, it would have been permitted to do so.

         10             The Seventh Circuit said there is standing to bring the

         11     challenge under the Constitution.           That was a Second

         12     Amendment case.

         13             But the Seventh Circuit said that there was standing

         14     because there was economic harm due to the loss of

         15     prospective sales.      That case was cited with approval in

         16     Maryland Shall Issue.      Maryland Shall Issue was a case

         17     involving those sales at the time to young people who didn't

         18     have the license that was required by the state.              So these

         19     were all prospective sales that were being complained of.

         20                  THE COURT:   But they were already in the state,

         21     doing business and making sales?

         22                  MR. FREDERICK:    Yes, Your Honor.       And if -- I

         23     would say it's not a pleading requirement.            Because the

         24     pleading requirement is that there be a loss potential for

         25     sales.


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                                              JA126
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 131 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 10 of 41 PageID #: 745     10
                                       GenBioPro v Sorsaia, et. Al.



         1              We can establish evidence, if put to the proof, that

         2      there have been past sales by GenBioPro of mifepristone in

         3      West Virginia.      We didn't think it was necessary to plead

         4      that.

         5              We would urge you to not require us to go through the

         6      mechanics of amending the Complaint.          We can provide

         7      evidence of that, if necessary, at cross-motions for summary

         8      judgment.

         9                   THE COURT:     I wish you had said that when you saw

        10      their initial attack -- and I don't -- by saying I wish you

        11      had, I'm not criticizing you, I just think if you -- I think

        12      it's really clear if you would have alleged that you were

        13      already conducting transactions -- and I'm not saying you're

        14      wrong.    I'm still pondering all this.        And I understand your

        15      position and why you would take the position that you don't

        16      need to allege nor even have had past sales.

        17                   MR. FREDERICK:      There is also a Tenth Circuit case

        18      called 303 Creative.        And in that case, the website designer

        19      had not yet started to make websites that would be -- that

        20      would implicate questions about same-sex marriage.             There

        21      was only a prospective creation of the website there.

        22              And let me explain to you exactly why it shouldn't

        23      matter in this particular case.

        24              West Virginia enacted its Criminal Abortion Ban in

        25      September of 2022.      To our knowledge, people complied with


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                                               JA127
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 132 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 11 of 41 PageID #: 746    11
                                      GenBioPro v Sorsaia, et. Al.



         1      that and have not had any sales in that time period.

         2              In January of 2023, the FDA promulgated new risk

         3      mitigation strategies.        These are REMS.

         4                   THE COURT:     Right.

         5                   MR. FREDERICK:      That is the name for them.     And

         6      these REMS provided for telemedicine, for mail order

         7      provision of mifepristone.         And so the direct collision

         8      occurred.    And so if you would suppose that there had been

         9      an abortion ban throughout this entire period, it would be

        10      odd to think that the plaintiff can only get standing by

        11      showing violation of the law through sales that would be in

        12      conflict with the state law.

        13              GenBioPro is a law-abiding company and is seeking

        14      through legal means to come up with the appropriate answer.

        15              And so if you think about the logic of their position,

        16      it actually doesn't make sense, because it would mean that a

        17      state could act unconstitutionally to constrict an

        18      out-of-state distributor's products.          And then if the

        19      federal government changed the rules that would have enabled

        20      that product to be distributed for sale in a state, under

        21      their theory of standing, there is no standing because there

        22      was no prior sale.

        23              And so I think that if you think about it from a

        24      logical perspective, it can't be a pleading standard.

        25              If you look at Craig versus Boren, Maryland Shall


                        Catherine Schutte-Stant, RDR, CRR (304) 347-3151



                                               JA128
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 133 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 12 of 41 PageID #: 747    12
                                      GenBioPro v Sorsaia, et. Al.



         1      Issue, the Ezell case, there was no -- there was no prior

         2      sale to the target audience.         It can't be a pleading

         3      requirement.

         4              But if you think that we need to provide evidence to

         5      that effect, we can show some evidence of past sales in

         6      prior periods.

         7              So if that's the only issue that's hanging you up about

         8      standing, I hope I've adequately --

         9                   THE COURT:     Well, I appreciate -- and you have

        10      responded to my questions, but I'm not going to say that's

        11      the only issue hanging me up.

        12              I reserve the right to review all of this and make a

        13      ruling based upon all of it.         But you've certainly explained

        14      your injury in fact theory.         And I understand when I looked

        15      at these cases, one of the things that occurred to me,

        16      especially in the context of the defendants' argument, was

        17      that even though you had been in the business in 2019 -- and

        18      I understand that the recent REMS changed the landscape

        19      considerably, and would have expanded the possibility of

        20      business -- as you've acknowledged, it's a pleading stage

        21      standard.    But the Court can't just accept a conclusory

        22      statement that we have standing because we have an injury in

        23      fact.    You have to demonstrate, plausibly allege what that

        24      is.     And I appreciate your answering those questions for me

        25      here today.


                        Catherine Schutte-Stant, RDR, CRR (304) 347-3151



                                               JA129
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 134 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 13 of 41 PageID #: 748     13
                                      GenBioPro v Sorsaia, et. Al.



         1                   MR. FREDERICK:      All right.   And I can point you to

         2      the paragraphs of the Complaint that we think adequately --

         3                   THE COURT:     Why don't we do that, just to make

         4      sure we are on the same page as we go through this.

         5                   MR. FREDERICK:      Sure.   So paragraph 3 pleads that

         6      the company provides medication abortion, and that is a form

         7      of ending pregnancy that is used now in more than half of

         8      all instances in the United States.

         9              Paragraph 11 explains that the Ban constricts the

        10      market for mifepristone.

        11              Paragraph 74 explains that the West Virginia sales Ban

        12      constricts West Virginia sales.

        13              Paragraphs 78 through 80 explain how pharmacies, both

        14      brick and mortar pharmacies like Walgreens and CVS, and a

        15      mail order pharmacy known as HoneyBee, would provide

        16      mifepristone to persons here in the state.

        17              And paragraph 110 alleges that there's a constriction

        18      of the market.

        19              We think those -- we easily satisfy plausibility.

        20                   THE COURT:     Right.   And, as I recall, you

        21      explicitly alleged in one of those paragraphs that the big

        22      pharmacies had publicly stated an intention at some point to

        23      distribute the drugs.

        24              Is that correct?

        25                   MR. FREDERICK:      That's correct.


                        Catherine Schutte-Stant, RDR, CRR (304) 347-3151



                                               JA130
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 135 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 14 of 41 PageID #: 749   14
                                      GenBioPro v Sorsaia, et. Al.



         1                   THE COURT:     And I guess that since -- maybe not so

         2      clear, as I understand it, and -- but it's not part of the

         3      pleadings -- one or more of these pharmacies have now

         4      indicated some hesitation about getting into the

         5      distribution of mifepristone in those states where attorney

         6      generals have said that there should -- that the Ban should

         7      prohibit it.

         8                   MR. FREDERICK:      That brings me to third-party

         9      enforcement, because the attorney general here has signed

        10      one of those letters that threaten Walgreens, one of the

        11      pharmacies that said it would comply with the 2023 REMS to

        12      provide mifepristone in its pharmacy.

        13              And in the February 1 letter that the attorney general

        14      cosigned with the Attorney General of Kansas, threatened

        15      Walgreens with a civil RICO action.

        16              And that threat, we think, brings four square in the

        17      third-party enforcement doctrine of standing.

        18                   THE COURT:     Before we get to that, let's cover the

        19      other bases.

        20              You've acknowledged injury in fact, traceability, and

        21      redressability.     So let's not get into the local prosecutor

        22      and the pre-enforcement issue raised there.

        23              Tell me what your response is to the defendants'

        24      arguments about traceability and redressability with respect

        25      to your injury in fact based standing as a -- for economic


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                                               JA131
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 136 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 15 of 41 PageID #: 750   15
                                      GenBioPro v Sorsaia, et. Al.



         1      loss.

         2                   MR. FREDERICK:    Sure.   Let me start with

         3      traceability.

         4              Both of the defendants have the authority to enforce

         5      the law in West Virginia, and neither have disavowed an

         6      enforcement intent relating to the Ban.

         7              Under the Susan B. Anthony case, that is sufficient for

         8      justiciability in terms of traceability where the government

         9      has not disavowed enforcement of the unconstitutional law.

        10              We cite other cases in our opposition briefs at 7 and

        11      4, that I think well explained the principal here.

        12              The defendants' commitment to enforcing an

        13      unconstitutional law is causing West Virginians not to

        14      purchase or prescribe GenBioPro's product.           And that's

        15      sufficient for traceability.

        16              The 303 Creative case is on point for this, where the

        17      Court said an injury in fact is fairly traceable to a

        18      defendant if the defendant is charged with the

        19      responsibility to enforce the statute.

        20              And in the Fourth Circuit, the Libertarian Party case

        21      says that traceability only requires the defendants have,

        22      quote, "some part" in causing plaintiff's harm.

        23              Now, as the sequence that you described, which will

        24      play itself out in pleading and, in fact, the statements of

        25      enforcement by the defendants have chilled the market for


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                                              JA132
USCA4 Appeal: 23-2194    Doc: 32         Filed: 02/07/2024   Pg: 137 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 16 of 41 PageID #: 751     16
                                      GenBioPro v Sorsaia, et. Al.



         1      GenBioPro's product.       That's sufficient to show the

         2      traceability necessary for standing purposes to challenge

         3      the unconstitutionality.

         4                  THE COURT:     I take it that the enforcement you're

         5      talking about, primarily, is enforcement of the so-called

         6      Unborn Child Act, the Ban -- abortion prohibition, the most

         7      recent of the acts by the state legislature.           And as I read

         8      it, it certainly greatly restricts when any abortion can be

         9      performed within the state.        It requires, of course, that it

        10      be by a medical provider.        And that in combination with the

        11      earlier statute, which literally criminalizes an illegal

        12      abortion, you're really talking about enforcement, both in

        13      terms of exposure to a criminal charge, as well as exposure

        14      to a licensing revocation or suspension with regard to any

        15      doctor or pharmacy.

        16                  MR. FREDERICK:      That's correct.      And even

        17      GenBioPro itself, even though it is an out-of-state

        18      distributor of mifepristone, falls within an overly broad

        19      and vague definition of an attempt to perform or induce an

        20      abortion.    The definition under state code 16-2R-2 says that

        21      abortion means -- that an attempt to perform or induce means

        22      an act that constitutes a substantial step in the course of

        23      conduct intended to culminate in an abortion.

        24                  THE COURT:     Almost a state Comstock Act.

        25                  MR. FREDERICK:      Well, it was -- you know, we can


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                                              JA133
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 138 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 17 of 41 PageID #: 752    17
                                      GenBioPro v Sorsaia, et. Al.



         1      talk about the Comstock Act in due course, but I just want

         2      to start with the definition, which actually leads directly

         3      one to think that it could conceivably encompass through its

         4      vagueness a company like GenBioPro.

         5              So I think that for these reasons, the traceability

         6      goes right back to the statute and goes right back to the

         7      activities that GenBioPro is seeking through its

         8      distribution of mifepristone in West Virginia.

         9              Now, as to redressability, we've asked for declaratory

        10      judgment that the law is unconstitutional.           The pharmacies

        11      that we cited in our Complaint said that in those states

        12      where it is not illegal, they would distribute the product

        13      in their pharmacies.      We think that's sufficient for

        14      redressability.

        15              The laws that have been enforced by the defendants have

        16      caused the injury from preventing the sale of the product in

        17      the state.    So we think we meet each of the elements of

        18      standing just as a direct entity by GenBioPro itself.

        19              We think it also satisfies third-party standing,

        20      because the providers that you mentioned who face the harm

        21      and risk of possible enforcement against them are within the

        22      zone protectable by a vendor.

        23              Craig versus Boren established that principle almost 50

        24      years ago when the gentleman who wanted to buy 3.2 beer

        25      underage eventually got older than the age prescribed by the


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                                             JA134
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 139 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 18 of 41 PageID #: 753   18
                                      GenBioPro v Sorsaia, et. Al.



         1      statute, but the Supreme Court said that the seller of the

         2      3.2 beer was able to assert third-party standing on behalf

         3      of those whose equal protection rights were being bridged by

         4      the Oklahoma statute there.

         5              So we think that there is adequate grounds for both the

         6      third-party standing, the threat of enforcement provides

         7      adequate standing, and the ability of the vendor here in a

         8      better position actually because of hindrances, the cost of

         9      litigation, the expense, the difficulty of litigation for

        10      individuals, to say nothing of, you know, the concerns with

        11      making our product available for sale in the state, I think

        12      adequately satisfies all of the relevant standing

        13      requirements.

        14                   THE COURT:     And then with respect to threat of

        15      enforcement as a basis to hold in the county prosecutor, it

        16      is because the county prosecutor could seek criminal

        17      enforcement against your customers, but you argue, even

        18      against GenBioPro?

        19                   MR. FREDERICK:      Well, that -- I'm not inviting

        20      that, Your Honor.

        21                   THE COURT:     Right.

        22                   MR. FREDERICK:      I'm saying that the vagueness of

        23      the statute raises the specter of that, and that is

        24      sufficient for standing.

        25              The fact that there are Walgreens stores and pharmacies


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                                               JA135
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 140 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 19 of 41 PageID #: 754      19
                                      GenBioPro v Sorsaia, et. Al.



         1      in the Putnam County area that are potentially subject to

         2      prosecution is sufficient for the threat of enforcement

         3      aspect of standing.        And -- and it is a real thing, based on

         4      the circumstances that I've laid out, that we can make it a

         5      full or factual presentation at summary judgment if the

         6      Court views the pleading plausible now is sufficient, which

         7      we think that the Court should.

         8                   THE COURT:     All right.    Thank you.

         9                   MR. FREDERICK:      I've got nothing further on

        10      standing, unless there are questions that you have.              I'd

        11      like to save some time for rebuttal, if I might.

        12                   THE COURT:     Oh, you will.     That's fine.

        13              All right.

        14                   MR. CAPEHART:     Thank you, Your Honor.

        15              I just want to make sure everyone can hear.            Is the

        16      microphone picking up well?

        17              (Pause.)

        18                   THE COURT:     I'm sorry.    Go ahead.

        19                   MR. CAPEHART:     Not a problem, Your Honor.

        20              First of all, I just want to take a moment to clarify a

        21      couple of things, and especially about how the Unborn Child

        22      Protection Act works, especially following some of the

        23      concerns about the definition of abortion, because I'm not

        24      sure -- I'm not reading it maybe the way that counsel is

        25      over here.


                        Catherine Schutte-Stant, RDR, CRR (304) 347-3151



                                               JA136
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024     Pg: 141 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 20 of 41 PageID #: 755   20
                                      GenBioPro v Sorsaia, et. Al.



         1              Looking at it, an abortion means the use of any

         2      instrument, medicine, drug, or any other substance or device

         3      with the intent to terminate a pregnancy of a patient known

         4      to be pregnant, and with an intent to cause the death and

         5      expulsion or removal of an embryo or fetus.

         6              It also goes on to clarify what the definition does not

         7      mean.    I'm not sure I've seen anything from there that leads

         8      me to believe that anyone would ever try to look at the

         9      manufacturer of an abortion drug and the shipment or sale of

        10      that abortion drug in West Virginia as somehow something to

        11      be controlled or to be looked at as an abortion.

        12                   THE COURT:     It wouldn't be the use of the

        13      medicine?

        14                   MR. CAPEHART:     The use of the medicine would be,

        15      but the manufacturer, absolutely not.

        16                   THE COURT:     Well, okay.       I mean, here, you're

        17      talking about the manufacture and distribution through the

        18      sale.

        19                   MR. CAPEHART:     Correct.

        20                   THE COURT:     I take it that at this point neither

        21      the attorney general nor the prosecutor have announced any

        22      policy response to that argument and disavowed any

        23      possibility of bringing a criminal prosecution against the

        24      maker of the drug.     And I say that in the context, frankly,

        25      of you raising the Comstock Act as a possible violation.


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                                               JA137
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024     Pg: 142 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 21 of 41 PageID #: 756      21
                                      GenBioPro v Sorsaia, et. Al.



         1      It's federal law.     It's not enforceable by you guys, but

         2      you've raised that as a possible consequence of the

         3      manufacturer's decision to produce or to manufacture and

         4      sell in the state, and thereby transport over interstate

         5      commerce.

         6              So it really -- I appreciate what you're saying, but

         7      I -- I don't think I could find that as a persuasive

         8      declaration that there is no exposure to criminal

         9      prosecution.

        10                   MR. CAPEHART:   Well, and I appreciate the

        11      opportunity here on the record to clarify some of these

        12      things, because I think there has been a bit of a

        13      misapprehension as to exactly what the purpose of the

        14      statute is.    And I can't speak to what a prosecuting

        15      attorney would do as the principal prosecuting arm of the

        16      state government vis-a-vis the criminal code, 61-2-8.

        17      That's the prosecutor's decision.           I'll let the prosecutor's

        18      office speak to that.

        19              But in terms of our read of what the Unborn Child

        20      Protection Act was about, it's all about the regulation of

        21      the practice of abortion, and also of the practice of

        22      medicine as it relates thereto.        It's limiting only that

        23      practice to those persons identified within the statute as

        24      being capable of performing legal abortions that may

        25      continue and may happen within the bounds of the Unborn


                        Catherine Schutte-Stant, RDR, CRR (304) 347-3151



                                             JA138
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 143 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 22 of 41 PageID #: 757   22
                                      GenBioPro v Sorsaia, et. Al.



         1      Child Protection Act, which there certainly are some.

         2                   THE COURT:     Even if that is the case, does that

         3      really change the Court's analysis?           The plaintiffs have

         4      asserted that they have third-party standing on behalf of

         5      their putative customers, and those are the people that are

         6      clearly exposed to criminal prosecution if they use the

         7      plaintiff's product to perform an abortion.

         8                   MR. CAPEHART:     Not to step on the prosecutor's

         9      toes, but my reading of the criminal statute of 61-2-8 is to

        10      clarify that those persons who are not identified within the

        11      Unborn Child Protection Act as being permitted to perform

        12      abortions are creating -- excuse me -- are performing a

        13      criminal act to induce or perform an abortion.

        14              That clarifies that only those persons identified in

        15      the Unborn Child Protection Act may ever be the group of

        16      persons who could conduct a legal abortion.           Anyone else,

        17      potentially, is subject to criminal prosecution.

        18                   THE COURT:     Well, maybe I'm missing something

        19      here.

        20              So the state's criminal statute criminalizes abortions

        21      performed other than those that are narrowly permitted under

        22      the statute.

        23                   MR. CAPEHART:     Correct.

        24                   THE COURT:     So the plaintiffs are arguing that

        25      that narrow permission for abortion under the West Virginia


                        Catherine Schutte-Stant, RDR, CRR (304) 347-3151



                                               JA139
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 144 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 23 of 41 PageID #: 758     23
                                         GenBioPro v Sorsaia, et. Al.



         1      statute, and particularly the most recent one, effectively

         2      limits when their product can be used by a medical provider

         3      in West Virginia to perform an abortion.            And so I -- it's

         4      clear to me then that the doctors and/or pharmacies who

         5      use -- who purchase and use mifepristone in a way that's

         6      outside of the West Virginia statute are clearly subject to

         7      criminal prosecution.

         8              What am I missing?

         9                   MR. CAPEHART:      You're saying that if someone were

        10      to perform a purely elective abortion, which the Unborn

        11      Child Protection Act does not permit, that would be an act

        12      outside of the law, that those are no longer legal in West

        13      Virginia.

        14                   THE COURT:     Right.

        15                   MR. CAPEHART:      And anyone who wants to perform one

        16      of those violates the Unborn Child Protection Act, and then

        17      similarly would be subject to some kind of criminal

        18      prosecution.        But that's about the practice of abortion.

        19              That's not about this manufacturer or their product or

        20      how someone utilizes their product.           Their product is

        21      utilized perfectly legally.          And as I read it, I don't see

        22      how use of their product subjects them to liability any more

        23      than the use of the Louisville Slugger crime subjects --

        24                   THE COURT:     Well, I believe the whole point of

        25      their lawsuit is that under the Commerce Clause and the


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                                               JA140
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 145 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 24 of 41 PageID #: 759   24
                                       GenBioPro v Sorsaia, et. Al.



         1      Supremacy Clause the statute you're defending constricts

         2      when their products can be used.        And so I don't think

         3      we're -- maybe we are just not connecting with each other.

         4              But it seems pretty clear to me that their claims are

         5      that because of the restrictive market for their product

         6      created by West Virginia's strict abortion laws violates --

         7      results in a violation of the Commerce Clause and the

         8      Supremacy Clause.

         9              We're going to argue later, obviously, about whether it

        10      does and all that, but those are the two claims that they've

        11      raised, and very clearly they're arguing -- they're claiming

        12      that you have constricted the market for their product and

        13      that's caused them economic injury, and so they have

        14      standing to bring the claims because of their own economic

        15      injury.    And, obviously, bringing -- a vendor can bring

        16      claims under the Commerce or Supremacy Clause where they

        17      most likely are here.

        18              And so, I mean, maybe I'm missing something that you're

        19      saying and I'm just not able to hear it right.

        20              But pretty clearly, it seems to me, they have claimed

        21      injury in fact to bring these claims based upon those

        22      circumstances.      And the threat of prosecution arises because

        23      the attorney general and/or the county prosecutor can

        24      prosecute their customers for criminal violations for the

        25      use of their product in performing an abortion that's


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                                             JA141
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 146 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 25 of 41 PageID #: 760    25
                                      GenBioPro v Sorsaia, et. Al.



         1      outside of the restrictions that the state has imposed.

         2                   MR. CAPEHART:     I guess we just never looked at

         3      that, subjecting them to any kind of criminality.

         4                   THE COURT:     Well, there's two things to think

         5      about here.     One is that -- whether they have standing or

         6      not is not dependent upon the cause of action they raise.

         7              Clearly, the Court says that standing is determined

         8      based -- it is a constitutional requirement that has to be

         9      met in order to consider a party -- a party who can properly

        10      raise whatever claims they might have.           And so they don't

        11      have to have standing just based upon -- they don't have to

        12      prove their economic injury results from a Commerce Clause

        13      or a Supremacy Clause violation.

        14              Standing is determined, whether they have a sufficient

        15      interest to be recognized by a court as a proper party to

        16      bring whatever claims they have.

        17              And so here, that's obviously what they are claiming,

        18      that they have an economic loss.

        19              And I don't think you all dispute the economic loss, or

        20      do you?    I mean, is that what you're saying now?

        21                   MR. CAPEHART:     No.   I think to the extent that --

        22      that one would state that there may be fewer abortions after

        23      the passing of the statute as compared to before, it's

        24      entirely possible.     I don't know that.        I haven't seen any

        25      data on that.


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                                               JA142
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 147 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 26 of 41 PageID #: 761    26
                                      GenBioPro v Sorsaia, et. Al.



         1                   THE COURT:     Well, irrespective of -- irrespective

         2      of how many abortions are performed, whether it's up or

         3      down, their claim is that their product will not be able to

         4      be used to the, I guess, sort of the full extent that it's

         5      designed to be used, because of the restrictions the state

         6      imposes.

         7              So that's their injury in fact is the economic loss

         8      from not being able to market and sell their product as

         9      extensively as they otherwise could, given the FDA approval.

        10                   MR. CAPEHART:     Well, and I guess on that point,

        11      Your Honor, we still believe that that's a bit of a

        12      speculative argument in the first place.           And it's -- I

        13      appreciate some of the clarifications that counsel provided.

        14              I don't know that we ever read any of those paragraphs

        15      of the Complaint to assert that there was affirmatively any

        16      sale in West Virginia.

        17                   THE COURT:     Well, I agree.    It's kind of where we

        18      started.    They did not allege that they have had any past

        19      sales.

        20              Now, they say that they have, and they could, but we

        21      are not to that point.

        22              Based purely upon their pleading, they did not claim

        23      that they had already had sales.          I don't think they even

        24      claimed -- in West Virginia -- I don't think they even

        25      claimed that they had any sort of a contractual or similar


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                                               JA143
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 148 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 27 of 41 PageID #: 762         27
                                      GenBioPro v Sorsaia, et. Al.



         1      relationship with any doctor or pharmacy.

         2              But what they have clearly alleged is that they have

         3      been in the business of making this generic for three years,

         4      and they have sold it widely across the United States.               And

         5      they have even claimed that specifically under the latest

         6      REMS -- R-E-M-S -- they could have, and they could

         7      distribute through a pharmacy, and that they specifically

         8      alleged one or more of these big chains announced that they

         9      were going to distribute the drug.

        10              And so I agree they haven't alleged what I examined Mr.

        11      Frederick about, past sales, or even a current existing

        12      operation of sales within the state, but they've alleged

        13      something different.

        14              And so the question is is that enough?

        15                   MR. CAPEHART:   And we have, obviously, taken the

        16      position, Your Honor, that, no, it's not.

        17              The fact that a market participant can come to a market

        18      that it's never been a part of and allege that its share of

        19      the market or its customer base in a market that it's never

        20      been present in has been somehow constricted, even though

        21      they've never had a share of that market, seems like a

        22      bridge too far.     Especially, you know, as we've been saying,

        23      I see no reason to believe that there actually have been

        24      sales.

        25              In fact, it would be a bit of a concern, perhaps,


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                                             JA144
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 149 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 28 of 41 PageID #: 763    28
                                      GenBioPro v Sorsaia, et. Al.



         1      because the manufacturer BioPro lacks the manufacturer's

         2      license required by the Board of Pharmacy to send their

         3      materials into West Virginia.          That's wholly lacking.    So

         4      that would be a violation of West Virginia law.

         5              I don't know that that's --

         6                   THE COURT:     I don't mind telling you, when I went

         7      through all this and at that point decided that I wanted to

         8      have a hearing on it to get full argument out here, one of

         9      my concerns about the injury in fact allegations of the

        10      plaintiff is whether or not it fell somehow on that side of

        11      the continuum towards like Lujan and those cases, where the

        12      Court talked about people -- plaintiffs can't just sort of

        13      speculate that they are going to do something that would

        14      give them standing.

        15              And the Court has been, I guess, fairly clear and

        16      consistent that generalized grievances argue that you can't

        17      just come in and say, well, I'm one of the many people who

        18      object to this.     I don't like this policy.

        19              That's not enough to give standing.        Taxpayers don't

        20      automatically have standing to challenge every spending

        21      decision.

        22              And so here, my dilemma was looking at, you know, sort

        23      of the continuum of conduct that might fall within the

        24      economic loss line.        Have they crossed that threshold from

        25      being sort of speculative and generalized intent to do


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                                               JA145
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 150 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 29 of 41 PageID #: 764   29
                                         GenBioPro v Sorsaia, et. Al.



         1      something, like conduct sales, or -- or do they meet the

         2      test because of what they've done.

         3              And, you know, I'm not going to -- I'm not going to

         4      decide this sitting up here on the bench today.            I never

         5      feel comfortable doing that.         But, to be honest with you,

         6      because I want you to be able to respond, the closer we've

         7      gotten to this hearing, the more inclined I am to conclude

         8      that there is injury in fact; that they don't have to have

         9      that level of contact and sales within the state that they

        10      might have to have for some other purpose; for instance, to

        11      be conducting business for personal jurisdiction or

        12      something like that.

        13              Here, this company has been making this generic for

        14      three years.        They've alleged that they sell it nationwide.

        15              Clearly, under the REMS, they've got a new sort of

        16      class of customers in that pharmacies can deal with this

        17      directly.    And they've also got, under the FDA approvals, an

        18      increased sort of possibility of business because doctors

        19      could do it through telemedicine and other things like that.

        20              And so, you know, those don't seem -- it doesn't seem

        21      that GenBioPro is just some pharmaceutical company that

        22      wants to get into the business and is coming to West

        23      Virginia to challenge restrictive laws.

        24              They are in the business.       And it sounds like they've

        25      been performing business activities consistent with their


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                                               JA146
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 151 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 30 of 41 PageID #: 765   30
                                         GenBioPro v Sorsaia, et. Al.



         1      claims.    And the claims are not simply conclusory; they're

         2      plausible claims that pharmacies located throughout West

         3      Virginia, including Putnam County, have indicated an

         4      intention -- or at least they had at the time of the suit --

         5      to be involved in the distribution, and that this is a drug

         6      that is becoming more widely-accepted, and is now, as I

         7      think they allege -- and I think I probably read this

         8      somewhere in the papers, too -- it is the predominant form

         9      of medical abortions.        That using a -- this drug is more

        10      common than not when it comes to performing a lawful

        11      abortion.

        12              So all of that seems to me to start tipping in the

        13      balance much more towards the plaintiff and a finding that

        14      this is not a generalized grievance, this is not a

        15      speculative economic loss, that this is something pretty

        16      direct.

        17                   MR. CAPEHART:      I think our position has always

        18      been that it looks speculative and somewhat remote.            And

        19      given the fact, as you said, they received generic approval

        20      in 2019 from FDA, yet have never -- as far as we know from

        21      the pleadings or from some other records -- had any access

        22      to West Virginia or availed themselves of it.

        23              So they've been doing it for four years and never been

        24      here before.        Now they're here, still with zero contacts,

        25      from everything that we can see.          That looks very, very


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                                               JA147
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 152 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 31 of 41 PageID #: 766      31
                                         GenBioPro v Sorsaia, et. Al.



         1      speculative.        And if that there is some sort of intent

         2      desire, hardened goal to be into the West Virginia market,

         3      when that's never been present before or evident in many

         4      ways, again, by the fact that they do not have the single

         5      manufacturer's license that every manufacturer is required

         6      to have when sending their drug products to West Virginia,

         7      that's a pretty easy get.           And lacking even that after four

         8      months of litigation doesn't speak to me as though someone

         9      who is really trying to get into the market.

        10                   THE COURT:     All right.     I appreciate that.

        11              Thank you.

        12              What else do you want to say?

        13              Well, let me ask you this -- I didn't want to interrupt

        14      you.

        15              Mr. Frederick cited a couple cases, a Seventh Circuit

        16      case, and then another one, where there were not direct

        17      sales in the targeted state at or before the time of the

        18      lawsuit being filed.        So --

        19                   MR. CAPEHART:      I'm afraid I don't have absolute

        20      command of those right in front of my mind, Your Honor.

        21      But, if I recall correctly, it's still involved with an

        22      outright total ban of the some type of activity I think was

        23      the --

        24                   THE COURT:     The gun range case?

        25                   MR. CAPEHART:      The firing range case, yes.     Which


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                                               JA148
USCA4 Appeal: 23-2194    Doc: 32         Filed: 02/07/2024   Pg: 153 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 32 of 41 PageID #: 767    32
                                      GenBioPro v Sorsaia, et. Al.



         1      is obviously not the case here.         There is nothing in West

         2      Virginia law that serves as any impediment to a drug

         3      manufacturer coming in, marketing and selling it, except the

         4      licensure through the boards of pharmacy and whatnot.

         5                  THE COURT:     In the Maryland Shall Issue case and

         6      in the Craig v Boren, these were businesses that had a whole

         7      lot more sales going on than just the sales that were

         8      affected by the state's restrictions that were being

         9      challenged.

        10                  MR. CAPEHART:     And they were active in the

        11      marketplace prior to the change in code, which is obviously

        12      not the case here.

        13                  THE COURT:     Okay.    Anything else you want to bring

        14      up on traceability or redressability with respect to

        15      GenBioPro standing?

        16                  MR. CAPEHART:     No.   I think we've touched on a lot

        17      of the things that I was going to try and get into, Your

        18      Honor.

        19                  THE COURT:     Do you want to address separately

        20      third-party standing?

        21                  MR. CAPEHART:     In terms of redressability?       In

        22      terms of --

        23                  THE COURT:     Well, with any of these things, I

        24      guess.    I mean, as I understand the law, if a party has

        25      standing, they may also seek third-party standing where they


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                                              JA149
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 154 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 33 of 41 PageID #: 768     33
                                      GenBioPro v Sorsaia, et. Al.



         1      stand in the shoes of some other personal entity and be able

         2      to bring -- they would have standing to bring claims

         3      consistent with what those claims would be here.

         4              And GenBioPro is arguing that it has third-party

         5      standing on behalf of pharmacies and doctors that would

         6      otherwise -- it would be their customers if these

         7      restrictions were found to be -- determined to be

         8      unconstitutional.

         9                   MR. CAPEHART:   Well, and I think in regard to

        10      pharmacies, again, as I was saying earlier, I don't see how

        11      pharmacies are implicated by the statutes that are being

        12      challenged.    It's about the practice of medicine, and also

        13      about the criminality of the act of performing an illegal

        14      abortion under state law.

        15              The pharmacies don't deal with that.         They are simply

        16      in the process -- they exist to dispense medications per

        17      prescriptions by doctors, which is something that a

        18      pharmacy -- and, obviously, talking about mifepristone --

        19      one would have to be properly trained and have the proper

        20      certification under the REMS so that they could dispense it

        21      in the first place.

        22              And I may be wrong, but I'm not sure that there is

        23      actually one in West Virginia.        I think HoneyBee is a

        24      mail-order pharmacy that is outside West Virginia that wants

        25      to ship them here.     But I don't believe there is a physical


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                                             JA150
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 155 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 34 of 41 PageID #: 769           34
                                         GenBioPro v Sorsaia, et. Al.



         1      pharmacy in West Virginia that has been certified by

         2      GenBioPro to dispense their medications.

         3              Again, we don't see how pharmacies are directly

         4      implicated or regulated by any of the statutes in play.                The

         5      physicians are, but the physicians are through the practice

         6      of medicine.        That's wholly bound to the state to decide.

         7      That's made that pretty clear.

         8                   THE COURT:     All right.    Okay.    Anything else?

         9                   MR. CAPEHART:      Not at this time.

        10                   THE COURT:     All right.

        11                   MS. SCRAGG KARR:      Thank you, Your Honor.

        12              Jennifer Scragg Karr, representing Mark Sorsaia, the

        13      prosecuting attorney.

        14                   THE COURT:     Tell me his name again.        I have met

        15      him and I've heard his name for years, but -- well, I've

        16      read it for years.       I don't hear it very often.

        17                   MS. SCRAGG KARR:      It is Sorsaia.

        18                   THE COURT:     Sorsaia, all right.         All right, thank

        19      you.

        20                   MS. SCRAGG KARR:      And so I will just discuss why

        21      you should dismiss this claim against Mark Sorsaia.              And

        22      that is because, as the prosecuting attorney, he is only in

        23      the business of prosecuting crimes.           And this plaintiff

        24      doesn't have a stake in the controversy of prosecuting

        25      crimes, because when you look at what is a crime under our


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                                               JA151
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 156 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 35 of 41 PageID #: 770   35
                                      GenBioPro v Sorsaia, et. Al.



         1      new state law, the legislature enacted the Chapter 16,

         2      Section 2R.    And when you look at that, the only thing that

         3      is an actual crime, when it comes to abortion, is under

         4      61-2-8.

         5              And when you read the criminal statute, it actually

         6      exempts a licensed medical professional, and it exempts a

         7      pregnant female who is having --

         8              So as it relates to this plaintiff, the plaintiff would

         9      be dispensing a pill pursuant to a licensed medical

        10      professional requesting it, giving a prescription, and the

        11      pharmacist filling it.        So because the doctor and the

        12      pharmacist are licensed medical professionals, we as a

        13      prosecutor could not prosecute them for a crime.

        14                   THE COURT:     But if they -- if, in all of those

        15      circumstances, they were a licensed medical provider, they

        16      got the drug from a licensed pharmacy that was manufactured

        17      by the plaintiff, if they performed an abortion using that

        18      drug, and that abortion was outside the restrictions that

        19      the State of West Virginia imposed in both of these Acts,

        20      but, in particular, the more recent more restrictive Act,

        21      they would be subject -- that provider would be subject to

        22      prosecution for a crime.

        23                   MS. SCRAGG KARR:      No, because they are exempt.

        24      Under the statute, it says, any person other than a licensed

        25      medical professional, as defined in 16-2R-2 -- which talks


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                                               JA152
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 157 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 36 of 41 PageID #: 771         36
                                      GenBioPro v Sorsaia, et. Al.



         1      about how they have to be licensed in West Virginia -- who

         2      would then do a -- knowingly and willfully perform, induce,

         3      or attempt to perform an abortion.

         4              So it's any person other than that licensed medical

         5      professional.

         6              So I think in this case what the plaintiff is probably

         7      looking at is the medical professional would be at -- have

         8      the potential to have their license revoked if they

         9      prescribed this pill in violation of the code section.

        10                   THE COURT:     But you think that's the only penalty

        11      that a licensed provider would be subject to if they

        12      performed an abortion at 18 weeks, using mifepristone?               And

        13      I know that's outside of the time they said.

        14                  MS. SCRAGG KARR:        That's correct.   That's how I

        15      read the statute.     So by having that licensed medical -- the

        16      medical license would prevent them from being prosecuted.

        17                   THE COURT:     Okay.    Thank you.

        18              (An off-the-record discussion was held between the

        19      Court and law clerk.)

        20                   THE COURT:     All right.    And my clerk is reminding

        21      me that the penalty section provides that on the first

        22      instance of a violation, they can be sanctioned on their

        23      license, but if they did it again, a second one, they'd be

        24      subject to criminal penalties.

        25                   MS. SCRAGG KARR:       Well, actually what it says at


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                                               JA153
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024   Pg: 158 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 37 of 41 PageID #: 772   37
                                      GenBioPro v Sorsaia, et. Al.



         1      subsection (b) of that 61-2-8, and that says, a person who

         2      was formerly a licensed medical professional.

         3              Then -- and so, still again, they would be a person who

         4      no longer was a licensed medical professional.            So

         5      regardless of how many abortions the medical professional

         6      would have authorized or conducted, it wouldn't matter under

         7      that code section.

         8              I think what maybe your law clerk is thinking is once

         9      they would perform an illegal abortion or have one

        10      performed, then they would lose their license through a

        11      procedure of the code, and then once they lost that, if they

        12      did another one, they could be prosecuted.           That would be

        13      true.    They would no longer be a medical professional.

        14                   THE COURT:     All right.    Thank you for clarifying

        15      that.

        16              All right, anything else?

        17                   MS. SCRAGG KARR:      No, Your Honor.

        18                   THE COURT:     I'll give you've a few minutes for

        19      rebuttal.

        20                   MR. FREDERICK:      Let me start with the prosecutor,

        21      because the prosecutor has not disavowed an intent to

        22      enforce the statute.        And that failure to disavow is

        23      particularly critical for pharmacies, which are not exempt

        24      from the statute, or nurse practitioners, who are not exempt

        25      from the statute, and who, under the FDA guidance, are able


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                                               JA154
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 159 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 38 of 41 PageID #: 773   38
                                      GenBioPro v Sorsaia, et. Al.



         1      to provide mifepristone to pregnant women.

         2              And so however much today's argument might focus on

         3      doctors, it doesn't address an issue that goes to standing

         4      under the third-party doctrine, under pre-enforcement

         5      challenges, which they don't acknowledge.

         6              We are allowed to bring a pre-enforcement challenge to

         7      the law under the Susan B. Anthony case.          And by the plain

         8      terms of the state statute, it encompasses people that are

         9      protected by the FDA 2023 REMS.

        10              The Ban includes criminal penalties for pharmacies at

        11      61-2-8, which we cited in our opposition to the prosecutor's

        12      motion at 11, pharmacists are not licensed medical

        13      professionals within the meaning of the statute.             And

        14      because they face criminal penalties, I think that the

        15      prosecutor really, respectfully, has to stay in the case.

        16      There is not a way to avoid that, given past statements

        17      about intending to enforce the statute as it is written.

        18              With respect to the attorney general, I'm perplexed by

        19      the argument made today, frankly, because what the attorney

        20      general seems to be saying is that we can -- we can go after

        21      all the people who create the market for mifepristone, the

        22      doctors, the pharmacists, the nurse practitioners and

        23      everybody else, and it doesn't matter that it constricts

        24      your economic losses.      Somehow the maker of the drug and the

        25      distributor in the state of the drug doesn't have standing


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                                             JA155
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024    Pg: 160 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 39 of 41 PageID #: 774       39
                                      GenBioPro v Sorsaia, et. Al.



         1      to say the state law is unconstitutional.

         2              That doesn't make any sense.

         3              And the fact that the Ezell case is pretty much on

         4      point -- and let me give you the citation.            It is 62 F.3d at

         5      692, Your Honor -- says that the firing range facility

         6      operator intended to create a facility in Chicago.              It

         7      didn't have one at the time.         It was doing them throughout

         8      the nation.

         9              So it simply can't be the case that someone seeking to

        10      do business in a location but for a constitutional

        11      prohibition lacks standing in order to challenge the

        12      unconstitutionality of the statute.

        13              I'm happy to address any of the other issues, but I

        14      don't think there is a serious argument here today that we

        15      lack standing to challenge the West Virginia statute.

        16              And I look forward to the Court's decision and the

        17      opportunity to litigate the merits further.

        18                   THE COURT:     All right.    Thank you.

        19              So you can take your seat.

        20              Here's my plan.     I would decide this within the next

        21      few days.     I'll get started today.         And within the next

        22      several days, I'll make a decision.           And if I think I can

        23      get an opinion written on it within a few more days, like

        24      the next week or 10 days, you'll just hear -- you'll get all

        25      that at once, one way or the other.


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                                               JA156
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024    Pg: 161 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 40 of 41 PageID #: 775   40
                                      GenBioPro v Sorsaia, et. Al.



         1              If I think it's going to take me much longer than that,

         2      for some reason, then I might short-order just saying that

         3      we have found or not found standing and an opinion will

         4      follow.

         5              A lot of it just depends on what else comes into the

         6      Court that I've got to address between now and then, but my

         7      plan would be to decide this pretty quickly.

         8              If I decide there is standing, then what I would hope

         9      to do is -- if I cannot get too distracted by other cases --

        10      to spend enough time on the other issues that are raised in

        11      the motion to dismiss, so that I can have a meaningful

        12      argument session with you again.        And I'm really hoping I

        13      can do that within the next month.

        14              My plan would be to try to -- if I can get up to speed

        15      on it -- bring you in some time in the middle, latter part

        16      of May and let you do oral argument on the remaining issues.

        17      And then be prepared to submit it and try to get it decided

        18      as quickly as I can at that point.          Okay?

        19              As much as I can do.    All right.

        20              Thank you all for your appearance today and your

        21      argument.    I appreciate it.

        22              (Proceedings concluded at 2:55 p.m.)

        23

        24

        25


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                                             JA157
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 162 of 344

         Case 3:23-cv-00058 Document 56 Filed 05/17/23 Page 41 of 41 PageID #: 776   41




         1                          CERTIFICATE OF OFFICIAL REPORTER

         2              I, Catherine Schutte-Stant, Federal Official Realtime

         3      Court Reporter, in and for the United States District Court

         4      for the Southern District of West Virginia, do hereby

         5      certify that, pursuant to Section 753, Title 28, United

         6      States Code, the foregoing is a true and correct transcript

         7      of the stenographically reported proceedings held in the

         8      above-entitled matter and that the transcript page format is

         9      in conformance with the regulations of the Judicial

        10      Conference of the United States.

        11

        12                s/Catherine Schutte-Stant, RDR, CRR

        13                  ________________________________       May 17, 2023

        14                 Catherine Schutte-Stant, RDR, CRR
                           Federal Official Court Reporter
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                                             JA158
USCA4 Appeal: 23-2194      Doc: 32            Filed: 02/07/2024     Pg: 163 of 344

             Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 1 of 22 PageID #: 779




                                   IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                           HUNTINGTON DIVISION


           GENBIOPRO, INC.,
                                Plaintiff,

                          v.
                                                                  Civil Action No.: 3:23-cv-00058
           MARK A. SORSAIA, in his official capacity                 (Hon. Robert C. Chambers)
           as Prosecuting Attorney of Putnam County
           AND PATRICK MORRISEY, in his official
           capacity as Attorney General of West Virginia,
                                Defendants.



                   PLAINTIFF GENBIOPRO’S SUPPLEMENTAL BRIEF REGARDING
                          NATIONAL PORK PRODUCERS COUNCIL v. ROSS




                                                    JA159
USCA4 Appeal: 23-2194                 Doc: 32                    Filed: 02/07/2024                    Pg: 164 of 344

                Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 2 of 22 PageID #: 780




                                                            TABLE OF CONTENTS

                                                                                                                                                Page

          TABLE OF CONTENTS ................................................................................................................ i

          TABLE OF AUTHORITIES .......................................................................................................... ii

          INTRODUCTION ...........................................................................................................................1

          ARGUMENT ...................................................................................................................................2

          I.        AS SIX JUSTICES AGREED IN NATIONAL PORK, A LAW THAT
                    UNDULY BURDENS INTERSTATE COMMERCE, SUCH AS WEST
                    VIRGINIA’S, VIOLATES THE COMMERCE CLAUSE ................................................ 2

                    A.         A Six-Justice Majority Voted To Retain Pike’s Balancing Test And
                               Confirmed That The Test Applies To Statutes Like West Virginia’s .................... 4

                    B.         National Pork Confirms That West Virginia’s Ban And Restrictions
                               Violate The Commerce Clause ............................................................................... 7

                               1.         National Pork Confirmed That Laws Burdening A Market
                                          Requiring National Uniformity, As Congress Established For
                                          REMS Drugs, Violate The Commerce Clause ........................................... 7

                               2.         West Virginia’s Laws Ban Mifepristone And Thereby Impose
                                          A Severe Burden On Interstate Commerce ............................................... 11

                               3.         West Virginia’s Laws Impose Derivative Harms That Are
                                          Cognizable Burdens Under Pike—Including Harm to Health
                                          And Safety ................................................................................................ 12

          II.       NATIONAL PORK LIMITS EXTRATERRITORIAL REGULATION CLAIMS TO
                    PRICING STATUTES...................................................................................................... 14

          CONCLUSION..............................................................................................................................15




                                                                                i



                                                                           JA160
USCA4 Appeal: 23-2194                 Doc: 32                   Filed: 02/07/2024                  Pg: 165 of 344

              Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 3 of 22 PageID #: 781




                                                       TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

         CASES

         Association for Accessible Meds. v. Frosh,
                887 F.3d 664 (4th Cir. 2018) .............................................................................................. 8

         Bibb v. Navajo Freight Lines, Inc.,
                 359 U.S. 520 (1959) .......................................................................................................... 12

         Cavel Int’l, Inc. v. Madigan,
                500 F.3d 551 (7th Cir. 2007) ............................................................................................ 11

         CTS Corp. v. Dynamics Corp.,
               481 U.S. 69 (1987) .............................................................................................................. 8

         Dennis v. Higgins,
                498 U.S. 439 (1991) ............................................................................................................ 2

         Department of Revenue of Ky. v. Davis,
               553 U.S. 328 (2008) ........................................................................................................ 5, 7

         Dobbs v. Jackson Women’s Health Org.,
               142 S. Ct. 2228, 2243 (2022) ........................................................................................... 10

         Exxon Corp. v. Governor of Md.,
               437 U.S. 117 (1978) ............................................................................................................ 8

         General Motors Corp. v. Tracy,
               519 U.S. 278 (1997) .................................................................................................... 1, 5, 8

         Healy v. Beer Inst.,
                491 U.S. 324 (1989) .......................................................................................................... 15

         H. P. Hood & Sons, Inc. v. Du Mond,
                336 U.S. 525 (1949) .......................................................................................................... 14

         Hughes v. Oklahoma,
               441 U.S. 322 (1979) .................................................................................................... 10, 14

         Kassel v. Consolidated Freightways Corp.,
                450 U.S. 662 (1981) .......................................................................................................... 12

         National Pork Producers Council v. Ross,

                   No. 21–468, — S. Ct. —, 2023 WL 3356528 (U.S. May 11, 2023) ........................... passim



                                                                            ii



                                                                         JA161
USCA4 Appeal: 23-2194                  Doc: 32                    Filed: 02/07/2024                     Pg: 166 of 344

               Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 4 of 22 PageID #: 782




                     6 F.4th 1021 (9th Cir. 2021) ......................................................................................... 9, 15

          Pike v. Bruce Church, Inc.,
                  397 U.S. 137 (1970) .................................................................................................... 1, 2, 4

          Raymond Motor Transp., Inc. v. Rice,
               434 U.S. 429 (1978) .......................................................................................................... 12

          Schollenberger v. Pennsylvania,
                 171 U.S. 1 (1898) .......................................................................................................... 4, 11

          United Haulers Ass’n, Inc. v. Oneida-Herkimer Solid Waste Mgmt. Auth.,
                 550 U.S. 330 (2007) ............................................................................................................ 7

          Yamaha Motor Corp., U.S.A. v. Jim’s Motorcycle, Inc.,
               401 F.3d 560 (4th Cir. 2005) .......................................................................................... 3, 8

          STATUTES

          Food and Drug Administration Amendments Act of 2007,
                Pub. L. No. 110-85, 121 Stat. 823 ...................................................................................... 3

                     § 505-1(f), 121 Stat. at 930-31 ............................................................................................ 9

                     § 505-1(f )(2)(D)(ii), 121 Stat. at 930................................................................................ 14

                     § 505-1(f )(5)(B)(ii), 121 Stat. at 931 .................................................................................. 3

                     § 505-1(f )(5)(B)(iii), 121 Stat. at 931 ................................................................................. 3

          21 U.S.C. § 355-1(a)(1)(A)-(E) .................................................................................................... 14

          21 U.S.C. § 355-1(f ) ....................................................................................................................... 9

          21 U.S.C. § 355-1(f )(2)(C) ................................................................................................... 4, 9, 10

          21 U.S.C. § 355-1(f)(2)(C)(i)........................................................................................................ 14

          21 U.S.C. § 355-1(f )(2)(D) ............................................................................................... 3, 8, 9, 10

          W. Va. Code § 16-2I-2 ................................................................................................................... 1

          W. Va. Code § 16-2R-1 et seq. ....................................................................................................... 1

          W. Va. Code § 30-1-26(b)(9) .......................................................................................................... 1

          W. Va. Code § 30-3-13a(g)(5) ........................................................................................................ 2

          W. Va. Code § 61-2-8 ..................................................................................................................... 1


                                                                                iii



                                                                            JA162
USCA4 Appeal: 23-2194               Doc: 32                 Filed: 02/07/2024                 Pg: 167 of 344

              Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 5 of 22 PageID #: 783




          OTHER AUTHORITIES

          Brief for Fed. Appellants, Alliance for Hippocratic Med. v. FDA,
                  No. 23-10362 (5th Cir. Apr. 26, 2023), Dkt. 222 ............................................................. 13

          Letter from Patrizia A. Cavazzoni, Dir., U.S. Food & Drug Admin., Ctr. for
                  Drug Evaluation & Rsch., to Donna J. Harrison, Exec. Dir., Am. Ass’n of
                  Pro-Life Obstetricians & Gynecologists, & Quentin L. Van Meter, President,
                  Am. Coll. of Pediatricians at 6 (Dec. 16, 2021), https://www.regulations.gov/
                  document/FDA-2019-P-1534-0016 .................................................................................... 3

          U.S. Food & Drug Admin., 2011 Mifeprex (Mifepristone) REMS,
                 https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2011-06-08_
                 Full.pdf (last visited May 19, 2023).................................................................................. 10




                                                                        iv



                                                                     JA163
USCA4 Appeal: 23-2194            Doc: 32          Filed: 02/07/2024          Pg: 168 of 344

             Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 6 of 22 PageID #: 784




                                                   INTRODUCTION

                  The Supreme Court’s decision in National Pork Producers Council v. Ross reaffirmed

          the Court’s 50-year-old balancing test for dormant Commerce Clause claims: when a

          nondiscriminatory state law places a burden on interstate commerce that clearly exceeds its local

          benefits, that law violates the Commerce Clause. No. 21–468, — S. Ct. — , 2023 WL 3356528,

          at *18 (U.S. May 11, 2023) (Roberts, C.J., concurring in part and dissenting in part); id. at *17

          (Sotomayor, J., concurring in part). A six-Justice majority held courts should apply this undue

          burden test, first articulated in Pike v. Bruce Church, Inc., 397 U.S. 137, 142 (1970), even when

          doing so requires them to “weigh disparate burdens and benefits,” such as asserted moral

          interests and interference with interstate commerce. National Pork, 2023 WL 3356528, at *17

          (Sotomayor, J., concurring in part); see id. at *19 (Roberts, C.J., concurring in part and

          dissenting in part).

                  The same majority agreed that Pike’s balancing test applies not just when traditional

          instrumentalities of commerce, like trains, are at issue, but whenever a state statute interferes

          with interstate commerce. Id. at *17 (Sotomayor, J., concurring in part); id. at *19 (Roberts,

          C.J., concurring in part and dissenting in part). The burdens on interstate commerce are

          particularly salient in “area[s] presenting a strong interest in ‘national uniformity.’ ” Id. at *20

          (Roberts, C.J., concurring in part and dissenting in part) (quoting General Motors Corp. v. Tracy,

          519 U.S. 278, 298 n.12 (1997); see id. at *17 (Sotomayor, J., concurring in part) (same).

                  Under the framework affirmed in National Pork, West Virginia’s Unborn Child

          Protection Act, W. Va. Code § 16-2R-1 et seq., and associated penalties, id. § 61-2-8

          (collectively, the “Criminal Abortion Ban” or “Ban”), and abortion restrictions1 violate the


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                  W. Va. Code §§ 16-2I-2 (requiring waiting period and counseling before an abortion
          procedure), 30-1-26(b)(9) (prohibiting providers from prescribing mifepristone via

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                                                          JA164
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 169 of 344

               Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 7 of 22 PageID #: 785




          Commerce Clause. These laws impose a severe burden on interstate commerce by functionally

          banning an article of commerce—mifepristone. The laws impede the flow of commerce into and

          around West Virginia, disrupting the market for a drug that Congress subjected to nationally

          uniform federal regulation. And the laws impose “derivative harms” cognizable under the

          Commerce Clause by depriving West Virginians of access to an essential healthcare product.

          National Pork, 2023 WL 3356528, at *20 (Roberts, C.J., concurring in part and dissenting in

          part). These direct burdens on interstate commerce and derivative harms outweigh the State’s

          alleged interest in passing the Ban and Restrictions.

                                                    ARGUMENT

          I.      AS SIX JUSTICES AGREED IN NATIONAL PORK, A LAW THAT UNDULY
                  BURDENS INTERSTATE COMMERCE, SUCH AS WEST VIRGINIA’S,
                  VIOLATES THE COMMERCE CLAUSE

                  The Commerce Clause “confer[s] a ‘right’ to engage in interstate trade free from

          restrictive state regulation.” Dennis v. Higgins, 498 U.S. 439, 448 (1991). In National Pork, a

          majority of the Supreme Court reaffirmed the rule, set forth in Pike, that when the “burden

          imposed on [interstate] commerce” by a state law “is clearly excessive in relation to the putative

          local benefits,” the law violates the Commerce Clause. National Pork, 2023 WL 3356528, at

          *16 (Sotomayor, J., concurring in part) (quoting Pike, 397 U.S. at 142); see id. (rejecting any

          “fundamental reworking” of the Pike “doctrine”); id. at *18 (Roberts, C.J., concurring in part and

          dissenting in part) (“Today’s majority does not pull the plug [on Pike’s balancing test].”).

                  All Justices recognized that the Court has invalidated laws under the Commerce Clause

          in cases implicating the “arteries” and “instrumentalities” of commerce, such as interstate

          transportation. Id. at *11 n.2 (majority opinion.); id. at *17 (Sotomayor, J., concurring in part);


          telemedicine), 30-3-13a(g)(5) (providing for rule banning prescribing mifepristone via
          telemedicine) (collectively, the “Restrictions”).

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                                                         JA165
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024          Pg: 170 of 344

             Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 8 of 22 PageID #: 786




          id. at *18-19 (Roberts, C.J., concurring in part and dissenting in part). A six-Justice majority

          confirmed that a state law regulating products other than the traditional instrumentalities of

          commerce, such as the cantaloupe packaging at issue in Pike, may likewise violate the

          Commerce Clause if the burdens the law places on interstate commerce clearly exceed its local

          benefits. Id. at *17 (Sotomayor, J., concurring in part); id. at *19 (Roberts, C.J., concurring in

          part and dissenting in part). A state law may fail Pike’s balancing test, too, when it interferes in

          an arena requiring nationally uniform regulation at the federal level. Id. at *20 (Roberts, C.J.,

          concurring in part and dissenting in part); id. at *17 (Sotomayor, J., concurring in part).

                 West Virginia’s Ban and Restrictions fail this test. First, they regulate “in an area where

          there is a compelling need for national uniformity,” Yamaha Motor Corp., U.S.A. v. Jim’s

          Motorcycle, Inc., 401 F.3d 560, 572 (4th Cir. 2005): the “health care delivery system” for drugs

          subject to a Risk Evaluation and Mitigation Strategy (“REMS”), 21 U.S.C. § 355-1(f)(2)(D).

          Congress subjected this small subset of drugs to the comprehensive postmarket regulatory

          regime it established in the Food and Drug Administration Amendments Act of 2007

          (“FDAAA”), Pub. L. No. 110-85, 121 Stat. 823, which requires the drugs to move through

          interstate commerce. See, e.g., id. § 505-1(f )(2)(D)(ii), 121 Stat. at 930 (requiring that any

          restrictions “be designed to be compatible with established distribution, procurement, and

          dispensing systems for drugs”); id. § 505-1(f )(5)(B)(ii), (iii), 121 Stat. at 931 (requiring that any

          restrictions not “unduly burden[ ] . . . patient access to the drug” and “minimize the burden on the

          health care delivery system”). This regime dictates in detail how such drugs move through

          interstate commerce, from packaging to distribution to dispensing. See Compl. ¶¶ 48-50; see

          also Plaintiff ’s Opposition to Defendant Patrick Morrisey’s Motion to Dismiss at 23-24 (Mar.

          17, 2023) (“Opp. to Morrisey MTD”), Dkt. 35; Letter from Patrizia A. Cavazzoni, Dir., U.S.




                                                            3



                                                          JA166
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 171 of 344

             Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 9 of 22 PageID #: 787




          Food & Drug Admin., Ctr. for Drug Evaluation & Rsch., to Donna J. Harrison, Exec. Dir., Am.

          Ass’n of Pro-Life Obstetricians & Gynecologists, & Quentin L. Van Meter, President, Am. Coll.

          of Pediatricians at 6 (Dec. 16, 2021) (explaining FDA’s determination that allowing mifepristone

          to be dispensed by mail “will render the REMS less burdensome to healthcare providers and

          patients”), https://www.regulations.gov/document/FDA-2019-P-1534-0016.

                 Second, West Virginia’s laws do not incidentally regulate interstate commerce in this

          arena; they impose a total ban by forbidding mifepristone in almost all circumstances for its

          indicated use. Courts have long recognized that product bans work a severe burden on interstate

          commerce. See Schollenberger v. Pennsylvania, 171 U.S. 1, 12 (1898). Finally, besides

          burdening “integral healthcare distribution mechanisms,” such as drug manufacturers,

          nationwide pharmacies, and online pharmacies, Compl. ¶ 78, the Ban and Restrictions inflict

          serious “derivative harms,” National Pork, 2023 WL 3356528, at *20 (Roberts, C.J., concurring

          in part and dissenting in part), depriving patients of access to FDA-approved, lifesaving

          healthcare that Congress prioritized for “patient access” nationwide, 21 U.S.C. § 355-1(f )(2)(C).

          GenBioPro alleges these harms to interstate commerce and derivative harms. See Compl. ¶¶ 1,

          15-17, 39, 78-79, 104, 106-110.

                 A.      A Six-Justice Majority Voted To Retain Pike’s Balancing Test And
                         Confirmed That The Test Applies To Statutes Like West Virginia’s

                 When a state “statute regulates even-handedly to effectuate a legitimate local public

          interest,” the Pike balancing test asks judges to determine whether the “burden” the law imposes

          on interstate commerce “is clearly excessive” in relation to the law’s “putative local benefits.”

          National Pork, 2023 WL 3356528, at *16 (Sotomayor, J., concurring in part) (quoting Pike, 397

          U.S. at 142). If the law’s burden outweighs its benefits, the law violates the Commerce Clause.




                                                           4



                                                        JA167
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024          Pg: 172 of 344

             Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 10 of 22 PageID #: 788




                 On May 11, 2023, the Supreme Court unanimously reaffirmed that Pike’s balancing of

          the burden on interstate commerce in relation to local benefits remains the operative test for

          evaluating whether a state law violates the Commerce Clause.2 Six Justices would apply Pike to

          cases like this one, where the law does not discriminate in pricing and requires the court to

          balance burdens on interstate commerce and noneconomic interests. Chief Justice Roberts,

          writing for four Justices, stated that the Pike analysis “reflects the basic concern of our

          Commerce Clause jurisprudence that there be ‘free private trade in the national marketplace.’ ”

          Id. at *18 (Roberts, C.J., concurring in part and dissenting in part, joined by Alito, Kavanaugh &

          and Jackson, JJ.) (quoting Tracy, 519 U.S. at 287). He emphasized that Pike protects “a national

          ‘common market’ ” and that courts can readily apply its framework, as they have for 50 years.

          Id. at *18-19 (quoting Hunt v. Washington State Apple Advert. Comm’n, 432 U.S. 333, 350

          (1977)).

                 Justice Sotomayor, joined by Justice Kagan, echoed Chief Justice Roberts’s confidence in

          judges’ ability to conduct Pike balancing, including when they must balance “economic burdens

          against noneconomic benefits.” Id. at *17 (Sotomayor, J., concurring in part and holding that

          judges are “up to the task that Pike prescribes”). She observed that “courts generally are able to

          weigh disparate burdens and benefits against each other, and . . . they are called on to do so in




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                    All Justices analyzed the pork producers’ claim under Pike; they disagreed only on the
          outcome of the undue burden test (or whether the Court could conduct the test at all) on the facts
          alleged in the operative complaint. Justice Gorsuch, writing in Part IV.A for the majority,
          acknowledged that “even nondiscriminatory burdens” a statute places on interstate commerce
          may fail under Pike. National Pork, 2023 WL 3356528, at *11 (majority opinion) (quoting
          Department of Revenue of Ky. v. Davis, 553 U.S. 328, 353 (2008)). But Justices Gorsuch,
          Thomas, and Barrett would hold that Pike’s balancing is “a task no court is equipped to
          undertake” when “[t]he competing goods are incommensurable,” as with moral and health
          interests (animal welfare) versus dollars and cents (burden on pork producers). Id. at *13.
          Theirs is the minority view.

                                                            5



                                                         JA168
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024         Pg: 173 of 344

             Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 11 of 22 PageID #: 789




          other areas of the law with some frequency.” Id. But applying that test, these two Justices

          concluded that the pork producers’ Commerce Clause claim foundered because they “fail[ed] to

          allege a substantial burden on interstate commerce”—“a threshold requirement” of Pike. Id. at

          *16.

                  Chief Justice Roberts and Justices Alito, Kagan, Sotomayor, Kavanaugh, and Jackson

          thus make up a majority of the Court holding that the Pike framework governs Commerce Clause

          challenges to laws that do not discriminate against out-of-state commerce, including those

          requiring judges to balance burdens on commerce with states’ asserted noneconomic interests.

          This six-Justice majority reaffirmed the Court’s long history of balancing disparate burdens and

          benefits in cases that implicate constitutional rights. See id. at *19 (Roberts, C.J., concurring in

          part and dissenting in part) (discussing cases). For example, Chief Justice Roberts explained that

          the Court has weighed “the purpose to keep the streets clean and of good appearance” against the

          “the constitutional protection of the freedom of speech and press,” Schneider v. New Jersey

          (Town of Irvington), 308 U.S. 147, 162 (1939), and an individual’s Fourth Amendment interests

          in “privacy and security” against society’s interests in surgically removing a bullet from a

          suspect’s chest for evidentiary purposes, Winston v. Lee, 470 U.S. 753, 760 (1985); see National

          Pork, 2023 WL 3356528, at *19 (Roberts, C.J., concurring in part and dissenting in part). As the

          Chief Justice explained, “sometimes there is no avoiding the need to weigh seemingly

          incommensurable values.” National Pork, 2023 WL 3356528, at *19 (Roberts, C.J., concurring

          in part and dissenting in part).

                  The same six-Justice majority agreed that a state law need not discriminate against out-

          of-state companies or burden traditional “arteries of commerce,” like trucks and trains, to violate

          the Commerce Clause. Id. at *17 (Sotomayor, J., concurring in part); see id. at *19 (Roberts,




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                                                         JA169
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024          Pg: 174 of 344

             Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 12 of 22 PageID #: 790




          C.J., concurring in part and dissenting in part) (“As a majority of the Court agrees, Pike extends

          beyond laws either concerning discrimination or governing interstate transportation.”). Both

          opinions composing the majority cited Edgar v. MITE Corp., 457 U.S. 624, 643-46 (1982), in

          which the Court held that an Illinois law requiring state approval for shareholder tender offers

          placed a “substantial” burden on interstate commerce that outweighed the state’s asserted

          interests in protecting securities holders. National Pork, 2023 WL 3356528, at *19 (Roberts,

          C.J., concurring in part and dissenting in part); see id. at *17 (Sotomayor, J., concurring in part).

          This approach reaffirmed precedent “leav[ing] the courtroom door open to plaintiffs invoking the

          rule in Pike, that even nondiscriminatory burdens on commerce may be struck down on a

          showing that those burdens clearly outweigh the benefits of a state or local practice.”

          Department of Revenue of Ky. v. Davis, 553 U.S. 328, 353 (2008); see also United Haulers

          Ass’n, Inc. v. Oneida-Herkimer Solid Waste Mgmt. Auth., 550 U.S. 330, 346 (2007) (plurality

          opinion) (Pike applies to “a nondiscriminatory statute like this one”).

                 B.      National Pork Confirms That West Virginia’s Ban And Restrictions Violate
                         The Commerce Clause

                 The Ban and Restrictions fail Pike’s balancing test for three reasons: (1) they intrude on

          an area in which Congress requires nationally uniform regulation; (2) they functionally ban a

          product for its indicated use; and (3) they inflict “derivative harms” by imperiling the health and

          safety of pregnant West Virginians and the national market for medications. That result is even

          clearer after National Pork.

                         1.      National Pork Confirmed That Laws Burdening A Market Requiring
                                 National Uniformity, As Congress Established For REMS Drugs,
                                 Violate The Commerce Clause

                 All members of the Supreme Court held in National Pork that state laws may conflict

          with the Commerce Clause if they impose an excessive burden in an area requiring “national



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                                                         JA170
USCA4 Appeal: 23-2194           Doc: 32           Filed: 02/07/2024         Pg: 175 of 344

             Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 13 of 22 PageID #: 791




          uniformity.” National Pork, 2023 WL 3356528, at *20 (Roberts, C.J., concurring in part and

          dissenting in part) (quoting Tracy, 519 U.S. at 298 n.12); id. at *11 n.2 (majority opinion)

          (recognizing that the Commerce Clause can invalidate state regulation “when a lack of national

          uniformity would impede the flow of interstate goods”). If a statute serves a legitimate local

          interest, courts must balance that interest against the inherent burden created by regulating “in an

          area where there is a compelling need for national uniformity.” Yamaha, 401 F.3d at 572. A

          state law thus may fail Pike’s balancing test when it “adversely affect[s] interstate commerce by

          subjecting activities to inconsistent regulations.” CTS Corp. v. Dynamics Corp., 481 U.S. 69, 88

          (1987).

                    West Virginia’s laws burden “interstate commerce involving prescription drugs” subject

          to federal postmarket restrictions. Association for Accessible Meds. v. Frosh, 887 F.3d 664, 669-

          70 (4th Cir. 2018) (cited in National Pork, 2023 WL 3356528, at *9 (majority opinion)). The

          Ban and Restrictions impose “burden[s] on the health care delivery system” for these drugs in

          contravention of Congress’s mandate to reduce such burdens. See 21 U.S.C. § 355-1(f )(2)(D).

          They thereby cause “economic harms to the interstate market” that have “market-wide

          consequences.” National Pork, 2023 WL 3356528, at *19-20 (Roberts, C.J., concurring in part

          and dissenting in part).

                    West Virginia’s Ban and Restrictions go far beyond regulating the cantaloupe at issue in

          Pike or the sows in National Pork. They burden a market that Congress designated for national

          uniformity in regulation, bringing them into the heartland of the Commerce Clause. By

          regulating how mifepristone may be provided, dispensed, and prescribed, West Virginia’s laws

          affect the very “flow” of commerce for mifepristone. Id. at *11 n.2 (majority opinion) (quoting,

          with emphasis, Exxon Corp. v. Governor of Md., 437 U.S. 117, 128 (1978)).




                                                            8



                                                         JA171
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024          Pg: 176 of 344

            Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 14 of 22 PageID #: 792




                In National Pork, the negative effects on commerce the producers identified focused

         primarily on the fact that California’s law would require out-of-state pork producers to comply in

         order to maintain their business because of the interconnected nature of the national pork market,

         “mak[ing] pork production more expensive nationwide.” National Pork Producers Council v.

         Ross, 6 F.4th 1021, 1033 (9th Cir. 2021), aff’d, No. 21-468, 2023 WL 3356528 (U.S. May 11,

         2023). But as the district court found, and the Supreme Court affirmed, the producers “fail[ed]

         to make a plausible allegation that the pork production industry is of such national concern that it

         is analogous to taxation or interstate travel, where uniform rules are crucial.” Id. at 1031. The

         key burden, in other words, was “the cost of compliance” with the statute. Id. at 1033. That is

         not true here. Drugs like mifepristone that treat serious medical conditions, and that FDA and

         Congress approved for distribution nationwide, are matters of national importance. Preventing

         patients from accessing those drugs threatens their lives and wellbeing, not just their

         pocketbooks.

                Congress specifically required uniform federal regulation that is not “unduly burdensome

         on patient access” to REMS medications. 21 U.S.C. § 355-1(f )(2)(C). It required such

         regulation to “minimize the burden” on a key instrumentality of interstate commerce: “the health

         care delivery system.” Id. § 355-1(f )(2)(D). In the 2007 amendments to the Federal Food, Drug,

         and Cosmetic Act, Congress mandated that FDA alone may control how drugs subject to

         postmarket restrictions move through the interstate market from manufacturer to patient. See

         generally FDAAA § 505-1(f), 121 Stat. at 930-31 (codified at 21 U.S.C. § 355-1(f )); Opp. to

         Morrisey MTD at 10-11 & n.7.

                Congress required FDA to work with drug sponsors like GenBioPro to develop and

         implement REMS incorporating drugs’ distribution schemes. The first REMS governing




                                                          9



                                                        JA172
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 177 of 344

            Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 15 of 22 PageID #: 793




          Mifeprex (branded mifepristone) included regulations governing how the manufacturer should

          distribute the drug, including to whom it could be shipped, as has every REMS since. See U.S.

          Food & Drug Admin., 2011 Mifeprex (Mifepristone) REMS, https://www.accessdata.fda.gov/

          drugsatfda_docs/rems/Mifeprex_2011-06-08_Full.pdf (last visited May 19, 2023). FDA can

          impose only restrictions that comply with Congress’s directive “to minimize the burden on the

          health care delivery system,” taking into account compatibility with “established distribution,

          procurement, and dispensing system for drugs,” and those restrictions must not be “unduly

          burdensome on patient access to the drug.” 21 U.S.C. § 355-1(f )(2)(C), (D). In requiring REMS

          drugs to be accessible via “the health care delivery system,” Congress expressed its intent that

          these drugs be available in, and flow through, channels of interstate commerce. West Virginia’s

          Ban and Restrictions contravene that intent by burdening the flow of mifepristone into and

          around the State.

                 Because Congress mandated a uniform system of regulation that minimizes the burden on

          the nationwide “health care delivery system” for REMS drugs, including mifepristone,

          GenBioPro’s Commerce Clause claim is stronger than that of the plaintiffs in National Pork.

          The “people’s . . . elected representatives” (Congress) have spoken. Dobbs v. Jackson Women’s

          Health Org., 142 S. Ct. 2228, 2243 (2022). They provided in the FDAAA that REMS drugs

          must be accessible to patients and regulation must minimize burdens on the interstate “health

          care delivery system” for these drugs. See 21 U.S.C. § 355-1(f)(2)(D), (5)(A)(ii), (5)(B)(iii).

          States regulating REMS drugs in different ways, creating multiple markets with different rules

          and restrictions deviating from FDA’s considered judgment about safe use and access, is the very

          “economic Balkanization” the Framers ratified the Commerce Clause to prevent. Hughes v.

          Oklahoma, 441 U.S. 322, 325-26 (1979).




                                                          10



                                                        JA173
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 178 of 344

            Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 16 of 22 PageID #: 794




                        2.      West Virginia’s Laws Ban Mifepristone And Thereby Impose A
                                Severe Burden On Interstate Commerce

                A complete product ban imposes a particularly severe burden on interstate commerce, as

         the Supreme Court recognized more than a century ago. Schollenberger, 171 U.S. at 12. The

         Ban and Restrictions violate the Commerce Clause for this reason, too. In the years since

         Schollenberger¸ some courts have allowed states to prohibit importation of nonessential goods

         like foie gras, shark fins, or, as Justice Gorsuch highlighted, horsemeat. E.g., Cavel Int’l, Inc. v.

         Madigan, 500 F.3d 551 (7th Cir. 2007) (horsemeat); see National Pork, 2023 WL 3356528, at

         *15 (majority opinion) (identifying fireworks, horsemeat, and plastic bags as consumer products

         states may ban).

                These limited exceptions to Schollenberger have three things in common: (1) the

         products involved are not necessities (never FDA-approved drugs that address serious medical

         conditions), (2) they often cause severe harms or offer little public benefit, and (3) Congress did

         not subject these items to an integrated, and inherently national, system (here, for delivery of

         drugs and provision of medical services), much less limit “burdens” on that system. Horsemeat

         and shark fins fit those three criteria. Mifepristone fits none. No court has upheld a state ban of

         an FDA-approved medication essential for healthcare.

                West Virginia’s Ban is, in fact, a “Ban.” The Putnam Prosecuting Attorney admits as

         much. See Defendant Mark Sorsaia’s Rule 12(b)(1) and Rule 12(b)(6) Motion to Dismiss at 2

         (Feb. 16, 2023), Dkt. 17. The Attorney General (“WVAG”) responds to GenBioPro’s allegations

         by denying that West Virginia has “banned mifepristone at all.” Reply in Support of Motion to

         Dismiss at 10 (Mar. 31, 2023) (“WVAG Reply”), Dkt. 45. He cites the fact that West Virginia

         does not attempt to regulate “off-label” use of mifepristone for conditions other than its FDA

         indication of termination of early abortion, and points to the Ban’s limited exceptions. Id.



                                                          11



                                                        JA174
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024           Pg: 179 of 344

             Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 17 of 22 PageID #: 795




          Whether these exceptions allow mifepristone to be sold and used in practice, and whether the

          possibility of off-label use saves the Ban from being a ban, are issues appropriately addressed on

          summary judgment. Hypothetical availability of “off-label” use does not mitigate the severe

          burden on its sales of mifepristone for its indicated use, or on the interstate commerce

          instrumentalities (pharmacies, telehealth) that deliver the drug.

                          3.      West Virginia’s Laws Impose Derivative Harms That Are Cognizable
                                  Burdens Under Pike—Including Harm to Health And Safety

                   National Pork also undercuts the WVAG’s unsupported assertion that courts applying

          Pike’s balancing test cannot consider “noncommercial burdens allegedly imposed on third

          parties,” such as the burden GenBioPro alleges the Ban imposes on “West Virginians’ right to

          access lifesaving, safe, and necessary healthcare.” WVAG Reply at 10-11. Six Justices squarely

          rejected that argument in National Pork. As the Chief Justice explained, the “derivative harms”

          the Court has “long considered in this context” are cognizable burdens, “even if those burdens

          may be difficult to quantify.” National Pork, 2023 WL 3356528, at *20 (Roberts, C.J.,

          concurring in part and dissenting in part) (citing Kassel v. Consolidated Freightways Corp., 450

          U.S. 662, 674 (1981) (plurality opinion), and Raymond Motor Transp., Inc. v. Rice, 434 U.S.

          429, 445 & n.21 (1978)).

                   Courts applying Pike routinely consider a challenged law’s effect on third parties and the

          public. See, e.g., Kassel, 450 U.S. at 674 (noting the significance of the fact that the challenged

          “law may aggravate . . . the problem of highway accidents” in describing the burden on interstate

          commerce); Bibb v. Navajo Freight Lines, Inc., 359 U.S. 520, 527-28 (1959) (invalidating state

          regulation that caused derivative harms, including physical danger, delays, and significant labor

          time).




                                                           12



                                                         JA175
USCA4 Appeal: 23-2194         Doc: 32             Filed: 02/07/2024         Pg: 180 of 344

             Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 18 of 22 PageID #: 796




                 Here, West Virginia’s laws bring about “derivative harms” to pregnant West Virginians

          by depriving them of essential medicine. National Pork, 2023 WL 3356528, at *20 (Roberts,

          C.J., concurring in part and dissenting in part). That deprivation endangers West Virginians’

          health and their lives: according to FDA and the U.S. Department of Health and Human

          Services (“HHS”), “pregnancy itself entails a significantly higher risk of serious adverse events

          [than medication abortion], including a death rate 14 times higher than that associated with legal

          abortion.” Brief for Fed. Appellants at 42, Alliance for Hippocratic Med. v. FDA, No. 23-10362

          (5th Cir. Apr. 26, 2023), Dkt. 222. Such harms are a cognizable component of the Commerce

          Clause analysis. National Pork, 2023 WL 3356528, at *21 (Roberts, C.J., concurring in part and

          dissenting in part) (listing “worse health outcomes,” the spread of pathogens, and “consequential

          threats to animal welfare” among the relevant alleged harms) (brackets omitted).

                 The Ban and Restrictions functionally prevent West Virginians from accessing

          mifepristone for its indicated use, even though Congress tasked FDA with ensuring all

          Americans could access this drug for medication abortion. See Opp. to Morrisey MTD at 8-9;

          Brief of Food and Drug Law and Health Law Scholars as Amici Curiae in Support of Plaintiff ’s

          Opposition to Defendants’ Motions to Dismiss at 8 & n.6 (Mar. 27, 2023), Dkt. 44 (“Congress

          was well aware that the ‘deemed to have in effect’ language [in the FDAAA] would sweep

          mifepristone into this new statutory scheme [and subject the drug to a REMS].”).

                   Aside from the harms the Ban and Restrictions cause pregnant people in West Virginia,

          these laws (and others like them) upend the national market for drugs. Manufacturers will

          hesitate to invest in developing drugs that they anticipate requiring a REMS when those drugs

          implicate salient political issues, based on concerns that states could close the doors of their

          markets. See Opp. to Morrisey MTD at 25; Compl. ¶ 17. The Commerce Clause ensures that




                                                           13



                                                         JA176
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024          Pg: 181 of 344

                Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 19 of 22 PageID #: 797




          anyone who wants to manufacture a product in the United States “be encouraged to produce by

          the certainty that he will have free access to every market in the Nation.” National Pork, 2023

          WL 3356528, at *18 (Roberts, C.J., concurring in part and dissenting in part) (quoting H. P.

          Hood & Sons, Inc. v. Du Mond, 336 U.S. 525, 539 (1949)). States regulating REMS drugs in

          different ways, creating separate markets, is the kind of economic fracturing the Framers ratified

          the Commerce Clause to prevent. See Hughes, 441 U.S. at 325-26.

                   West Virginia’s interest in “unborn lives”—the only state interest mentioned in the

          statute, W. Va. Code § 16-2R-1—cannot overcome the burdens its Ban works on the interstate

          “health care delivery system” for mifepristone and on “access” to necessary healthcare for

          pregnant patients. See pp. 8-10, supra. Moreover, the REMS statute specifically requires the

          Secretary of HHS to consider the “seriousness” of patients’ “conditions” and the “expected

          benefit” to them in developing regulations on REMS drugs, thereby prioritizing the health of the

          patient in providing access to these medications. 21 U.S.C. § 355-1(a)(1)(A)-(E); accord id.

          § 355-1(f)(2)(C)(i) (requiring FDA, in imposing elements to assure safe use that are not “unduly

          burdensome on patient access to the drug,” to consider, among other factors, “patients with

          serious or life-threatening . . . conditions”). The State’s asserted interest cannot eclipse this

          congressional mandate. And it cannot outweigh Congress’s judgment that mifepristone must be

          accessible via interstate commerce. See pp. 9-10, supra.

          II.      NATIONAL PORK LIMITS EXTRATERRITORIAL REGULATION CLAIMS
                   TO PRICING STATUTES

                   The plaintiffs in National Pork advanced an extraterritorial regulation theory premised on

          the idea that California’s pork rules impermissibly regulated out-of-state activities because the

          interconnected nature of the pork industry forces even non-California hog farmers to comply

          with California’s law. See National Pork, 2023 WL 3356528, at *6 (majority opinion); see also



                                                            14



                                                          JA177
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 182 of 344

            Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 20 of 22 PageID #: 798




          National Pork, 6 F.4th at 1028. The Supreme Court unanimously rejected this argument and

          limited dormant Commerce Clause claims premised on extraterritorial regulation to statutes that

          discriminate against interstate commerce by tying in-state prices to out-of-state prices. National

          Pork, 2023 WL 3356528, at *9 (majority opinion). The Justices clarified that extraterritorial

          regulation claims based on Healy v. Beer Institute, 491 U.S. 324 (1989), and related cases must

          involve some element of “purposeful discrimination against out-of-state economic interests”

          linked to prices. National Pork, 2023 WL 3356528, at *8 (majority opinion).

                 West Virginia’s Ban and Restrictions are not price control or price affirmation statutes.

          GenBioPro therefore will not advance extraterritorial-regulation arguments.

                                                  CONCLUSION

                 The Supreme Court’s decision in National Pork strengthens GenBioPro’s Commerce

          Clause claim premised on the undue burden West Virginia’s laws impose on interstate commerce

          and the nationwide healthcare delivery system. For the foregoing reasons and those in

          GenBioPro’s Opposition to the Attorney General’s Motion to Dismiss, the Court should deny

          Defendants’ motions to dismiss.

           Dated: May 19, 2023                         Respectfully submitted,

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                                                          15



                                                        JA178
USCA4 Appeal: 23-2194    Doc: 32            Filed: 02/07/2024        Pg: 183 of 344

             Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 21 of 22 PageID #: 799




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                                                     16



                                                  JA179
USCA4 Appeal: 23-2194        Doc: 32           Filed: 02/07/2024         Pg: 184 of 344

            Case 3:23-cv-00058 Document 58 Filed 05/19/23 Page 22 of 22 PageID #: 800




                                    IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                            HUNTINGTON DIVISION


           GENBIOPRO, INC.,
                                 Plaintiff,

                           v.
                                                                      Civil Action No.: 3:23-cv-00058
           MARK A. SORSAIA, in his official capacity                     (Hon. Robert C. Chambers)
           as Prosecuting Attorney of Putnam County
           AND PATRICK MORRISEY, in his official
           capacity as Attorney General of West Virginia,
                                 Defendants.



                                          CERTIFICATE OF SERVICE

                 I, the undersigned, counsel for Plaintiff, GenBioPro, Inc., do hereby certify that on May

          19, 2023, I electronically filed and served the foregoing PLAINTIFF GENBIOPRO’S

          SUPPLEMENTAL BRIEF REGARDING NATIONAL PORK PRODUCERS COUNCIL

          v. ROSS with the Clerk of the Court and all parties using the CM/ECF system.

                                                         Respectfully submitted,
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                                                      JA180
USCA4 Appeal: 23-2194   Doc: 32       Filed: 02/07/2024   Pg: 185 of 344

          Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 1 of 17 PageID #: 801




                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               HUNTINGTON DIVISION


        GENBIOPRO, INC.,
                   Plaintiff,
                       v.                           Civil Action No. 3:23-cv-00058
        MARK A. SORSAIA, in his official
        capacity, AND PATRICK MORRISEY,
        in his official capacity,

                                                    Hon. Robert C. Chambers
                   Defendants.



        DEFENDANTS’ SUPPLEMENTAL BRIEFING IN LIGHT OF NATIONAL PORK
                        PRODUCERS COUNCIL V. ROSS,
                          NO. 21-468, — S. CT. — (2023)




                                           JA181
USCA4 Appeal: 23-2194             Doc: 32                  Filed: 02/07/2024                 Pg: 186 of 344

               Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 2 of 17 PageID #: 802




                                                       TABLE OF CONTENTS

         TABLE OF AUTHORITIES .......................................................................................... ii

         INTRODUCTION .......................................................................................................... 1

         ARGUMENT .................................................................................................................. 1

         I.       The Commerce Clause does not prohibit extraterritorial regulation by a
                  State absent purposeful discrimination against out-of-state economic
                  interests. .............................................................................................................. 2

         II.      The Commerce Clause does not prohibit a State from banning an article
                  of commerce. ........................................................................................................ 2

         III.     The challenged laws do not violate the Pike balancing test. ............................ 3

                  A.        GenBioPro impermissibly asks this Court to engage in
                            “freewheeling” balancing of the challenged laws’ “costs” and
                            “benefits.” .................................................................................................. 5

                  B.        Even if Pike applied, the challenged laws pass muster under the
                            version of the Pike balancing test articulated in Part IV.C of
                            Justice Gorsuch’s opinion......................................................................... 7

                  C.        The challenged laws also pass muster under the version of the Pike
                            balancing test articulated in Chief Justice Roberts’s dissent. ............... 8

         CONCLUSION............................................................................................................. 11

         CERTIFICATE OF SERVICE ..................................................................................... 14




                                                                         i



                                                                     JA182
USCA4 Appeal: 23-2194             Doc: 32                Filed: 02/07/2024               Pg: 187 of 344

             Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 3 of 17 PageID #: 803




                                                    TABLE OF AUTHORITIES



         Cases

         Dobbs v. Jackson Women’s Health Organization,
           142 S. Ct. 2228 (2022) .............................................................................................. 6

         Exxon Corporation v. Governor of Maryland,
           437 U.S. 117 (1978) .................................................................................................. 4

         National Pork Producers Council v. Ross,
           __ S. Ct. __, No. 21-468, 2023 WL 3356528 (U.S. May 11, 2023) ................. passim

         Pike v. Bruce Church, Inc.,
            397 U.S. 137 (1970) .................................................................................................. 2

         Schollenberger v. Pennsylvania,
            171 U.S. 1 (1898) ...................................................................................................... 2

         Statutes

         W. Va. Code § 16-2I-2 .............................................................................................. 8, 10

         W. Va. Code § 16-2R-3 ......................................................................................... 3, 7, 10

         W. Va. Code § 30-3-13a ............................................................................................ 3, 10




                                                                      ii



                                                                  JA183
USCA4 Appeal: 23-2194      Doc: 32         Filed: 02/07/2024     Pg: 188 of 344

            Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 4 of 17 PageID #: 804




                                           INTRODUCTION

               GenBioPro’s Commerce Clause claim1 boils down to this: the challenged laws

         negatively affect its bottom line because it cannot market its products within West

         Virginia. The Supreme Court’s decision in National Pork Producers Council v. Ross,

         __ S. Ct. __, No. 21-468, 2023 WL 3356528 (U.S. May 11, 2023), clarifies that

         allegation does not present a Commerce Clause problem.

               In National Pork Producers, the Court addressed a California statute that

         banned “the in-state sale of certain pork products derived from breeding pigs confined

         in stalls so small they cannot lie down, stand up, or turn around.” Id. at *4. The Pork

         Producers challenged that law, “arguing that the law unconstitutionally interferes

         with their preferred way of doing business in violation of th[e] Court’s dormant

         Commerce Clause precedents.” Id. “Both the district court and court of appeals

         dismissed the producers’ complaint for failing to state a claim.” Id. The Supreme

         Court affirmed, explaining that “[c]ompanies that choose to sell products in various

         States must normally comply with the laws of those various States.” Id. at *5. For the

         same reason, GenBioPro must comply with the laws of West Virginia if it wishes to

         market its product there, and its dormant Commerce Claim should be dismissed.

                                             ARGUMENT

               GenBioPro argued in its opposition to Defendant Morrisey’s motion to dismiss

         that the challenged laws “violate the [Commerce] Clause by imposing an undue


         1 GenBioPro also asserts a preemption claim under the Supremacy Clause. National

         Pork Producers does not address preemption and therefore, has no impact on that
         claim, which was fully addressed in Defendant Morrisey’s opening brief and reply in
         support of his motion to dismiss.
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                                                 JA184
USCA4 Appeal: 23-2194          Doc: 32         Filed: 02/07/2024      Pg: 189 of 344

                 Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 5 of 17 PageID #: 805




              burden on interstate commerce, by regulating extraterritorially, and by functionally

              banning an article of commerce.” Pl.’s Opp’n 23, ECF No. 35. Each of these arguments

              fails under National Pork Producers.

         I.      The Commerce Clause does not prohibit extraterritorial regulation by a State
                 absent purposeful discrimination against out-of-state economic interests.

                    GenBioPro argues that the challenged laws violate the Commerce Clause

              because they “have the ‘practical effect’ of regulating extraterritorially.” Pl.’s Opp’n

              26. In National Pork Producers, the Supreme Court unanimously disavowed an

              “‘almost per se’ rule against laws with extraterritorial effects.” Nat’l Pork Producers

              Council v. Ross, No. 21-468, 2023 WL 3356528, at *15 n.4 (U.S. May 11, 2023). If

              extraterritoriality has any relevance to the Commerce Clause at all, it is a non-

              dispositive factor that may be considered as part of the balancing test of Pike v. Bruce

              Church, Inc., 397 U.S. 137 (1970). Compare Nat’l Pork Producers, 2023 WL 3356528,

              at *12–13 (plurality) (holding that a plaintiff cannot allege a claim under Pike absent

              evidence of discrimination, regardless of extraterritorial effects), with id. at 21

              (Roberts, C.J., concurring in part and dissenting in part) (arguing that

              extraterritorial effects are relevant but not dispositive under Pike). Therefore,

              GenBioPro’s independent extraterritoriality claim must fail as a matter of law.

        II.      The Commerce Clause does not prohibit a State from banning an article of
                 commerce.

                    Relying on a single case from 1898, GenBioPro argues that the challenged laws

              violate the Commerce Clause because they ban an article of commerce. Pl.’s Opp’n 27

              (citing Schollenberger v. Pennsylvania, 171 U.S. 1, 12 (1898)). But the plurality

              opinion in National Pork Producers criticizes the dissent’s proposed rule because it

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                                                     JA185
USCA4 Appeal: 23-2194      Doc: 32         Filed: 02/07/2024      Pg: 190 of 344

               Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 6 of 17 PageID #: 806




           could “require any consumer good available for sale in one State to be made available

           in every State.” Nat’l Pork Producers, 2023 WL 3356528, at *15 (plurality). The

           plurality does not even mention Schollenberger and cites State laws banning ordinary

           consumer goods “ranging from fireworks . . . to single-use plastic grocery bags.” Id.

           Critically, the dissent responds not by citing some per se rule against banning

           particular articles of commerce, but by explaining that the dissent’s proposed rule

           applies only where a challenged law requires “compliance even by producers who do

           not wish to sell in the regulated market.” Id. at *21 (Roberts, C.J., concurring in part

           and dissenting in part). None of the other Justices so much as mention a rule against

           States banning articles of commerce within their own borders.

                  Regardless, the challenged laws do not ban mifepristone within West Virginia’s

           borders, but instead allow for the use of mifepristone for exceptional circumstances

           when an abortion can be performed legally, such as “within the first 8 weeks of

           pregnancy if the pregnancy is the result of sexual assault,” W. Va. Code § 16-2R-3(b),

           so long as the doctor does not prescribe mifepristone by telemedicine, id. § 30-3-

           13a(g)(5). Thus, GenBioPro’s argument that the challenged laws violate the

           Commerce Clause by banning an article of commerce fails as a matter of law.

        III.   The challenged laws do not violate the Pike balancing test.

                  Finally, GenBioPro argues that the challenged laws unduly burden interstate

           commerce under Pike. Pl.’s Opp’n 23. The Justices in National Pork Producers appear

           to disagree about whether Pike remains good law and, if it does, how it should be

           applied. A majority of the Court “agree[d] that heartland Pike cases seek to smoke

           out purposeful discrimination in state laws (as illuminated by those laws’ practical
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                                                  JA186
USCA4 Appeal: 23-2194       Doc: 32          Filed: 02/07/2024       Pg: 191 of 344

            Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 7 of 17 PageID #: 807




         effects) or seek to protect the instrumentalities of interstate transportation.” Nat’l

         Pork Producers, 2023 WL 3356528, at *15 n.4. And a majority of the Court held that

         Pike does not cover laws like the California statute at issue in National Pork

         Producers. Id.

                A three-Justice plurality of the Court rejected the idea that Pike “authoriz[es]

         judges to strike down duly enacted state laws regulating the in-state sale of ordinary

         consumer goods (like pork) based on nothing more than their own assessment of the

         relevant law’s ‘costs’ and ‘benefits.’” Id. at *12 (plurality).

                A different four-Justice plurality posited that Pike requires a plaintiff to plead

         “facts leading, ‘either logically or as a practical matter, to [the] conclusion that the

         State [was] discriminating against interstate commerce.’” Id. at *13 (plurality)

         (quoting Exxon Corp. v. Governor of Md., 437 U.S. 117, 125 (1978)). Because the

         National Pork Producers failed to “plead facts ‘plausibly’ suggesting a substantial

         harm to interstate commerce,” Pike balancing did not apply. Id. at *14; accord id. at

         *17 (Sotomayor, J., concurring in part).

                The four partially dissenting Justices opined that “Pike extends beyond laws

         either concerning discrimination or governing interstate transportation.” Id. at *19

         (Roberts, C.J., concurring in part and dissenting in part). Two partially concurring

         Justices agreed but adopted a higher standard for alleging a substantial harm to

         interstate commerce. Id. at *17 (Sotomayor, J., concurring in part). And one Justice

         stated that while she agrees with two other Justices that balancing the benefits and

         burdens of a law is not a judicial endeavor, she “would permit petitioners to proceed



                                                      4



                                                    JA187
USCA4 Appeal: 23-2194       Doc: 32        Filed: 02/07/2024      Pg: 192 of 344

            Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 8 of 17 PageID #: 808




         with their Pike claim”—like the partially dissenting Justices—if “the burdens and

         benefits were capable of judicial balancing.” Id. at *18 (Barrett, J., concurring).

                Justice Gorsuch claimed that “[a] majority [of the Court] rejects any effort to

         expand Pike’s domain” outside its “heartland” of “smok[ing] out purposeful

         discrimination” and “protect[ing] the instrumentalities of interstate transportation.”

         Id. at *15 n.4 (plurality). Yet the Chief Justice asserted that “a majority of the Court

         agrees” that “Pike extends beyond laws either concerning discrimination or governing

         interstate transportation.” Id. at *19 (Roberts, C.J., dissenting in part and concurring

         in part). And Justice Kavanaugh seems to think that Justice Gorsuch’s opinion

         controls “for purposes of the Court’s judgment as to the plaintiffs’ Pike claim,” id. at

         *22 (Kavanaugh, J., concurring in part and dissenting in part), but that the Chief

         Justice’s opinion “reflects the majority view” on “whether to retain the Pike balancing

         test,” id. at *24 n.3.

                Fortunately, this Court need not discern which opinion controls to resolve this

         case because GenBioPro’s Commerce Clause claims fail under all three formulations

         of Pike.

                A.     GenBioPro impermissibly asks this Court to engage in “freewheeling”
                       balancing of the challenged laws’ “costs” and “benefits.”

                GenBioPro asks this Court to balance the State’s interest in “protecting unborn

         lives” against “the burden on West Virginians’ right to access lifesaving, safe, and

         necessary healthcare.” Pl.’s Opp’n 25. This is precisely the sort of balancing that a

         majority of the Court rejected in Dobbs and that a three-Justice plurality of the Court

         rejects in National Pork Producers. In Dobbs, the Court held that courts must not


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                                                  JA188
USCA4 Appeal: 23-2194      Doc: 32          Filed: 02/07/2024      Pg: 193 of 344

            Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 9 of 17 PageID #: 809




         engage in “freewheeling judicial policymaking” under the Fourteenth Amendment (or

         the Constitution generally) to “weigh th[e] [important policy] arguments” concerning

         “how abortion may be regulated to the States,” and that the issue of abortion should

         be left to “the people and their elected representatives.” Dobbs v. Jackson Women’s

         Health Org., 142 S. Ct. 2228, 2242, 2248, 2259 (2022).

               In National Pork Producers, the three-Justice plurality reaffirmed that courts

         also may not exercise “freewheeling power” to “strike down duly enacted state laws .

         . . based on nothing more than their own assessment of the relevant law’s ‘costs’ and

         ‘benefits’” under the Commerce Clause. 2023 WL 3356528, at *12 (plurality). As in

         Dobbs, the National Pork Producers plurality explains that “[i]n a functioning

         democracy, policy choices like these usually belong to the people and their elected

         representatives” who are “entitled to weigh the relevant ‘political and economic’ costs

         and benefits for themselves . . . and ‘try novel social and economic experiments’ if they

         wish.” Id. at *13 (internal citations omitted).

               Regardless, “noneconomic interests,” such as the “putative harms” to West

         Virginia women seeking abortions, are not “freestanding harms cognizable under the

         dormant Commerce Clause.” Id. at *15. As explained below, see infra Parts III.B and

         III.C, the only economic harm that GenBioPro alleges is damage to its own bottom

         line. But that is precisely the sort of weighing of “economic costs (to some) against

         noneconomic benefits (to others)” that the plurality says is “insusceptible to

         resolution by reference to any juridical principle.” Id. at *12. Consequently,




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                                                  JA189
USCA4 Appeal: 23-2194      Doc: 32         Filed: 02/07/2024      Pg: 194 of 344

           Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 10 of 17 PageID #: 810




         GenBioPro has failed to plead a claim under the three-Justice plurality’s formulation

         of Pike.

               B.     Even if Pike applied, the challenged laws pass muster under the version
                      of the Pike balancing test articulated in Part IV.C of Justice Gorsuch’s
                      opinion.

               Pike balancing does not apply here because GenBioPro does not allege a

         burden in interstate commerce, let alone a substantial one. A four-Justice plurality

         in National Pork Producers held that “Pike requires a plaintiff to plead facts plausibly

         showing that a challenged law imposes ‘substantial burdens’ on interstate commerce

         before a court may assess the law’s competing benefits or weigh the two sides against

         each other.” Id. at *13. If, as the plurality held, the National Pork Producers’

         complaint “fail[ed] to clear even that bar,” id., then GenBioPro’s complaint is plainly

         insufficient to state a Commerce Clause claim because it alleges no burden on

         interstate commerce at all.

               The plurality further held that Pike requires a plaintiff “to plead facts leading,

         ‘either logically or as a practical matter, to [the] conclusion that the State [was]

         discriminating against interstate commerce.’” Id. at *13 (plurality) (quoting Exxon

         Corp., 437 U.S. at 125). Relying on Exxon Corp., the plurality explained that a

         “change [in] the market structure” resulting from the law is insufficient absent

         discrimination.

               Even if the Pike balancing test applied, GenBioPro has failed to meet it.

         Nothing in GenBioPro’s complaint alleges discrimination against interstate

         commerce. West Virginia seeks to prevent all abortions except in very limited

         circumstances, W. Va. Code § 16-2R-3(a), regardless of where the abortion-inducing
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                                                  JA190
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024        Pg: 195 of 344

            Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 11 of 17 PageID #: 811




         drug is produced or whether an abortion-inducing drug (as opposed to a surgical

         procedure) is used at all. And for those abortions that fall under the statute’s

         exceptions, West Virginia’s telemedicine requirements have no relation to whether

         the abortion-inducing drug was produced out-of-state. See id. §30-3-13a(g)(5).2

                Instead, GenBioPro alleges that the challenged laws “prevent[] GenBioPro

         from developing a market for its product, mifepristone, in West Virginia” and “force[s]

         [West Virginia] patients to fulfill waiting period and counseling requirements before

         accessing mifepristone.” Compl. ¶¶ 107, 108, ECF No. 1. In other words, GenBioPro

         merely alleges a burden on its own sales within West Virginia and on consumers

         within West Virginia. But the plurality is clear that “no one thinks that costs

         ultimately borne by in-state consumers thanks to a law they adopted counts as a

         cognizable harm under [the Court’s] dormant Commerce Clause precedents.” Nat’l

         Pork Producers, 2023 WL 3356528, at *14. Therefore, GenBioPro has failed to state

         a claim under the four-Justice plurality’s formulation of Pike.

                C.      The challenged laws also pass muster under the version of the Pike
                        balancing test articulated in Chief Justice Roberts’s dissent.

                The four partially dissenting Justices opined that Pike concerns economic

         harms to the interstate market. Id. at *19 (Roberts, C.J., concurring in part and

         dissenting in part). The alleged harms must be broad, “market-wide consequences;”

         mere “compliance costs” are insufficient for a Commerce Clause violation. Id.

         (emphasis by the Court). Critically, these harms must be economic; noneconomic



         2 This also holds true for the informed consent provisions challenged by GenBioPro, which are

         currently ineffective. See W. Va. Code § 16-2I-2.

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                                                        JA191
USCA4 Appeal: 23-2194      Doc: 32          Filed: 02/07/2024      Pg: 196 of 344

           Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 12 of 17 PageID #: 812




         harms are not relevant to the Commerce Clause. Id. at *20. “[S]weeping

         extraterritorial effects” are relevant, but not dispositive, under Pike. Id. at *21.

               GenBioPro fails to allege facts sufficient to meet even the dissent’s lower bar.

         GenBioPro has alleged no harms, economic or otherwise, outside of West Virginia.

         The National Pork Producers dissent relied on “compliance even by producers who do

         not wish to sell in the regulated market,” “industry-wide harms,” and “pervasive

         changes to the pork production industry nationwide” to argue that the California law

         violated the Commerce Clause. Id. at *21–22.

               In contrast, GenBioPro clearly wishes to market its product in West Virginia,

         Compl. ¶ 107, and it alleges no harms to the abortion industry (or abortion patients)

         outside West Virginia. Nor does GenBioPro allege any changes to its own business

         model as a result of the challenged laws. In its opposition to Defendant Morrisey’s

         motion to dismiss, GenBioPro argues that “manufacturers will face increased

         regulatory costs and unresolvable complexity with deleterious effects throughout the

         national healthcare delivery system and the pharmaceutical market.” Pl.’s Opp’n 25.

         In support of this argument, GenBioPro cites paragraph 17 of its complaint. Id. But

         paragraph 17 merely restates GenBioPro’s preemption argument that the Challenged

         Laws conflict with FDA regulations. Compl. ¶ 17. Nowhere in the complaint does

         GenBioPro allege the type of “industry-wide harm” that the National Pork Producers

         dissent would require.

               The challenged laws do not require GenBioPro to change its chemical formula,

         its production methods, or even the conditions of its workers. In fact, the challenged



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                                                  JA192
USCA4 Appeal: 23-2194      Doc: 32         Filed: 02/07/2024      Pg: 197 of 344

           Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 13 of 17 PageID #: 813




         laws do not regulate GenBioPro or its competitors at all; the laws regulate abortion

         providers, not manufacturers of products that may be used to perform an abortion.

         See W. Va. Code §§ 16-2R-3(a) (“An abortion may not be performed or induced . . .

         unless in the reasonable medical judgment of a licensed medical professional . . . .”

         (emphasis added); 16-2R-3(g) (“An abortion performed or induced . . . shall be

         performed by a licensed medical professional who has West Virginia hospital

         privileges.” (emphasis added)); 16-2I-2(a) (requiring that informed consent

         information be given to the abortion patient “by the physician or the licensed medical

         professional to whom the responsibility has been delegated by the physician who is

         to perform the abortion” (emphasis added)); 30-3-13a(g)(5) (providing that “[a]

         physician or health care provider may not prescribe any drug with the intent of

         causing an abortion” over telemedicine (emphasis added)). Nor do the challenged laws

         regulate manufacturers indirectly by requiring providers to only prescribe drugs from

         manufacturers who follow certain constraints. Therefore, GenBioPro has failed to

         state a claim under the dissent’s formulation of Pike.

                                            *      *      *

               A majority of the Supreme Court held in National Pork Producers that

         “‘extreme caution’ is warranted before a court deploys [its] implied authority” under

         the dormant Commerce Clause. Nat’l Pork Producers, 2023 WL 3356528, at *16

         (quoting General Motors Corp. v. Tracy, 519 U.S. 278, 310 (1997)). The Court further

         explained that “[p]reventing state officials from enforcing a democratically adopted

         state law in the name of the dormant Commerce Clause is a matter of ‘extreme



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                                                 JA193
USCA4 Appeal: 23-2194      Doc: 32         Filed: 02/07/2024      Pg: 198 of 344

           Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 14 of 17 PageID #: 814




         delicacy,’ something courts should do only ‘where the infraction is clear.’” Id. (quoting

         Conway v. Taylor’s Executor, 1 Black 603, 634 (1862)). Here, GenBioPro has alleged

         nothing more than harm to its own bottom line because it claims it can no longer

         market its product in West Virginia. That allegation does not present a dormant

         Commerce Clause problem under any understanding of the Court’s decision.

                                             CONCLUSION

               For the foregoing reasons, this Court should grant Defendant Morrisey’s

         motion to dismiss for failure to state a claim under the Commerce Clause.




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                                                  JA194
USCA4 Appeal: 23-2194    Doc: 32       Filed: 02/07/2024     Pg: 199 of 344

           Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 15 of 17 PageID #: 815




                                            Respectfully submitted,

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                                              12



                                             JA195
USCA4 Appeal: 23-2194   Doc: 32        Filed: 02/07/2024    Pg: 200 of 344

          Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 16 of 17 PageID #: 816




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                                            JA196
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024      Pg: 201 of 344

            Case 3:23-cv-00058 Document 59 Filed 05/19/23 Page 17 of 17 PageID #: 817




                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                       HUNTINGTON DIVISION


           GENBIOPRO, INC.,
                        Plaintiff,
                          v.                                Civil Action No. 3:23-cv-00058
           MARK A. SORSAIA, in his official
           capacity, AND PATRICK MORRISEY,
           in his official capacity,                        Hon. Robert C. Chambers


                        Defendants.
                                       CERTIFICATE OF SERVICE

                I hereby certify that, on this 19th day of May, 2023, I electronically filed the

          foregoing Supplemental Brief with the Clerk of Court and all parties using the

          CM/ECF System.

                                                         /s/ Curtis R. A. Capehart
                                                         Curtis R. A. Capehart
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                                                 JA197
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024    Pg: 202 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 1 of 56 PageID #: 842


                         IN THE UNITED STATES DISTRICT COURT FOR THE

                   SOUTHERN DISTRICT OF WEST VIRGINIA, HUNTINGTON DIVISION

                        BEFORE THE HONORABLE ROBERT C. CHAMBERS, JUDGE

                                             ---o0o---

             GENBIOPRO, INC.,
                                    Plaintiff,
             vs.                                             No. 3:23-cv-00058

             MARK A. SORSAIA, in his official
             capacity as Prosecuting
             Attorney of Putnam County, and
             PATRICK MORRISEY, in his official
             capacity as Attorney General of
             West Virginia,
                                Defendants.
                                              /


                             REPORTER'S TRANSCRIPT OF PROCEEDINGS

                                          MOTION HEARING

                               TUESDAY, MAY 23, 2023, 1:30 P.M.

                                             ---o0o---

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                             (Appearances continued next page...)

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                       Proceedings reported by mechanical stenography,
                    transcript produced by computer-aided transcription.



                                              JA198
USCA4 Appeal: 23-2194      Doc: 32        Filed: 02/07/2024    Pg: 203 of 344

             Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 2 of 56 PageID #: 843



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                                                JA199
USCA4 Appeal: 23-2194       Doc: 32        Filed: 02/07/2024   Pg: 204 of 344

             Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 3 of 56 PageID #: 844
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         1                              HUNTINGTON, WEST VIRGINIA

         2                        TUESDAY, MAY 23, 2023, 1:23 P.M.

         3                                      ---o0o---

         4                 THE COURT:    Good afternoon.

         5                 MR. MAJESTRO:    Good afternoon, Your Honor.

         6                 MR. FREDERICK:    Good afternoon, Your Honor.

         7                 THE COURT:    All right.    We're here today for the Court

         8      to hear arguments on the remaining issues and motion to

         9      dismiss.    So who is going to be presenting on the defense

        10      side?

        11                 MS. HAWLEY:    Your Honor, Erin Hawley for West

        12      Virginia.

        13                 THE COURT:    All right.    Are you ready?

        14                 MS. HAWLEY:    Yes, ma'am -- or yes, sir.

        15                 THE COURT:    All right.    Go ahead.

        16                 MS. HAWLEY:    Sorry.

        17                 May it please the Court.      Erin Hawley for defendant

        18      West Virginia.

        19                 GenBioPro makes the counterintuitive argument that the

        20      FDA's imposition of additional safeguards on especially

        21      dangerous drugs means that states cannot also help regulate

        22      the safety of those drugs, even though the Supreme Court has

        23      called this an area of historical and especially local

        24      concern.    This means that the graver the risk from a drug,

        25      drugs like opioids and chemical abortion, the less states can



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                                                JA200
USCA4 Appeal: 23-2194      Doc: 32        Filed: 02/07/2024    Pg: 205 of 344

             Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 4 of 56 PageID #: 845
                                                                                             2


         1      do to protect their citizens.

         2                GenBioPro's three preemption claims fail.             First each

         3      of them fails to overcome the presumption against preemption.

         4      Congress does cavalierly preempt state law particularly where,

         5      as we discussed, states have traditionally regulated.

         6                As for field preemption, Your Honor, under Fourth

         7      Circuit precedent, field preemption is not available, whereas

         8      here there is an express preemption clause -- or, excuse me --

         9      an express savings clause.

        10                I'm sorry, Your Honor.

        11                In addition, Your Honor, field preemption is

        12      impossible in this case to rebut because it cannot rebut the

        13      presumption against preemption as the Supreme Court found in

        14      Wyeth.    In that case, also involving the FDCA, also involving

        15      regulation of the pharmaceutical market, the Court noted that

        16      this is precisely an area of historic state concern, and,

        17      therefore, field preemption was impossible.           In fact, Wyeth is

        18      a case didn't even argue for field preemption.

        19                With respect to conflict preemption, there are two

        20      sorts of preemption that GenBioPro alleges.           First, GenBioPro

        21      speaks about impossibility preemption.          But impossibility

        22      preemption, Your Honor, applies when it is literally

        23      impossible, not possibly impossible, but literally impossible

        24      to comply with both federal and state law.           This applies in a

        25      situation like PLIVA or like Bartlett, where it was impossible



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                                                JA201
USCA4 Appeal: 23-2194      Doc: 32        Filed: 02/07/2024     Pg: 206 of 344

             Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 5 of 56 PageID #: 846
                                                                                          3


         1      for the drug manufacturer to comply with FDA's label while

         2      having a contrary state label.        The requirements did not

         3      overlap; they contradicted.        It was physically impossible for

         4      the drug manufacturers to do that.

         5                That is not the case here.          I'm aware of no case, and

         6      I don't believe plaintiffs cite one, Your Honor, where a court

         7      has found impossibility preemption in a situation like this,

         8      where the different regulations, the different statutes act on

         9      different entities.

        10                THE COURT:    Act on different --

        11                MS. HAWLEY:    Different entities.

        12                So the FDA here, of course, regulates drug

        13      manufacturers, the drug sponsors.         In contrast, West Virginia

        14      is regulating abortion, and it acts on abortion providers, so

        15      completely different entities.        I think there is no logical

        16      way to say that it is impossible for GenBioPro to comply with

        17      both federal and state law.

        18                So that leaves us, Your Honor, with the third bucket

        19      of preemption, and that's the sort of purpose preemption or

        20      the idea that West Virginia's laws here frustrate the purpose

        21      of Congress in the FDCA.       Again, we have that clear

        22      presumption against preemption.         In fact, it applies with

        23      special force in this area.        As the Supreme Court has noted,

        24      even Justice Stevens acknowledged that when you're looking at

        25      this sort of preemption, we want to be careful to tailor our



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                                                JA202
USCA4 Appeal: 23-2194      Doc: 32        Filed: 02/07/2024    Pg: 207 of 344

             Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 6 of 56 PageID #: 847
                                                                                          4


         1      preemption analysis to the text of the statutes rather than to

         2      do a deep dive into purpose.

         3                Here, we don't have to dive very far for purpose at

         4      all.   The FDCA plainly says that its purpose is to protect the

         5      safety of consumers as well as to make sure that drugs are

         6      efficacious.     So --

         7                THE COURT:     Well, but in the additional act, the

         8      agency was charged with addressing accessibility, too, which

         9      admittedly is different from the FDA review undertaken before.

        10                MS. HAWLEY:    I think that's a great point, Your Honor,

        11      and GenBioPro's brief points out that it is relying

        12      exclusively, as you suggest, on the 2007 amendments, the REMS

        13      statute which is codified at Section 355-1.           But when you look

        14      closely at that statute, Your Honor, the very title is

        15      355-1(f), and it says that the REMS provision is allowed to

        16      assure safe access, which GenBioPro focuses on, but it leaves

        17      off the second part of that title, which is the drugs that

        18      would not otherwise be available.

        19                So I think when you look at Section 355-1, what you

        20      see is that this provision, too, is all about approval.             The

        21      FDA is approving drugs that are especially dangerous.             The FDA

        22      cannot use this section unless it finds that these drugs have

        23      severe and known consequences, severe adverse events like

        24      hospitalization and death, so we're talking about a narrow

        25      category of drugs that are particularly dangerous.              And in



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                                                JA203
USCA4 Appeal: 23-2194      Doc: 32        Filed: 02/07/2024    Pg: 208 of 344

             Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 7 of 56 PageID #: 848
                                                                                           5


         1      that narrow category, the FDCA -- these amendments instruct

         2      the FDA to look at patient access, but only in terms of its

         3      own regulations on that access.

         4                So if you look at Section 355-1(f)(2), it says

         5      assuring access and minimizing burden.          That's something that

         6      GenBioPro highlights, but then it goes on "such elements to

         7      assure safe use under paragraph (1)," so referring back to

         8      those REMS provisions.       So I think it's clear from the

         9      structure, as well as the text of 355-1, what Congress did in

        10      those amendments is to say, when you have these really

        11      dangerous drugs, we're going to put additional restrictions on

        12      them.    We realize some people might need them, so, FDA, don't

        13      go overboard, don't put restrictions on that aren't necessary.

        14      We still want people to get them.         But it in no way suggested

        15      that complimentary state regulations would be preempted.                That

        16      would be contrary to the entire history of the FDCA.

        17                As my esteemed colleague on the other side argued

        18      successfully in the Wyeth v. Levine case, the FDCA has long

        19      set a federal floor.       It has never been interpreted to set a

        20      federal ceiling.      The Supreme Court in Wyeth called that sort

        21      of an astounding idea, that the FDCA might do that.             And

        22      especially coupled with the presumption against preemption, I

        23      don't think you can get that access purpose out of

        24      Section 355.

        25                THE COURT:    Isn't it significant that at the time



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                                                JA204
USCA4 Appeal: 23-2194      Doc: 32        Filed: 02/07/2024     Pg: 209 of 344

             Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 8 of 56 PageID #: 849
                                                                                          6


         1      Congress passed this act, that abortion was a constitutionally

         2      protected right, and so in every state there was already the

         3      availability of abortion?       And isn't the clearing

         4      accessibility as one of three things that the agency has to

         5      look at, doesn't that give it significance for the discussion

         6      we're having today?

         7                MS. HAWLEY:    I don't think so, Your Honor, especially

         8      when we look at the congressional history here.

         9                The 2007 amendments were a reaction to the Vioxx

        10      controversy.     The Vioxx controversy involved a very popular

        11      drug that turned out to be quite dangerous.            It increased risk

        12      of stroke and heart disease, essentially about doubled it.              So

        13      Congress -- the public was upset about this.            In the 2007

        14      amendments, Congress strengthened the FDA's authority make

        15      sure drugs are safe.

        16                But that statute, Your Honor, was passed, signed by

        17      the first President Bush.       It passed the House overwhelmingly,

        18      400 and some to a handful, and it passed the Senate by

        19      unanimous consent.      I don't think you can read from that a

        20      congressional direction that abortion should be available

        21      everywhere.

        22                THE COURT:    Okay.   So in Wyeth, we know that the Court

        23      focused on the fact that, at common law, there were remedies

        24      for defective products, and the Court found that that was not

        25      preempted by the terms of the FDA.            And all that focus was on



                   KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                                JA205
USCA4 Appeal: 23-2194      Doc: 32        Filed: 02/07/2024    Pg: 210 of 344

             Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 9 of 56 PageID #: 850
                                                                                          7


         1      labeling, and it seems to me the cases that have come up since

         2      generally have been cases involving labeling more than

         3      anything else.

         4                So does the State claim that its abortion ban here is

         5      based upon its determination that this is not a safe drug?

         6                MS. HAWLEY:    No, Your Honor.

         7                The State here is not taking issue -- it's the subject

         8      of other litigation --

         9                THE COURT:    Okay.   So it does seem to me, then,

        10      there's a pretty good argument that with regard to safety and

        11      efficacy, the FDA decision is preempted; that that is what the

        12      agency is charged with doing.        There's a long history of this

        13      agency being responsible for making determinations about

        14      pharmaceuticals, what's approved, what's not approved, I mean,

        15      for a hundred years, I guess more now.

        16                So at least are those things not preempted?

        17                MS. HAWLEY:    So I think that's correct, Your Honor,

        18      but how the Supreme Court in Wyeth and in PLIVA and Bartlett

        19      as well, found this to operate is that the FDCA has always

        20      operated with complimentary state regulation.

        21                Since it was passed in 1906, Congress has worked to

        22      ensure state regulation and even state tort laws --

        23                THE COURT:    Well, I think I agree with that.         And it

        24      seemed to me in Wyeth, the Court in particular reviewed the

        25      FDA requirements for when you can change labels and so



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                                                JA206
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 211 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 10 of 56 PageID #: 851
                                                                                        8


         1    forth --

         2               MS. HAWLEY:   Yes.

         3               THE COURT:    -- and found because there is a

         4    mechanism --

         5               MS. HAWLEY:   Yes.

         6               THE COURT:    -- within the statute itself to allow for

         7    a label change as the drug is used and more information is

         8    gathered and so forth.

         9               So here there is no claim by the State that this drug

        10    is not as safe or not as effective as the FDA determined.               Why

        11    is it not then in conflict with the FDA's determination that

        12    this is a drug that ought to be accessible throughout the

        13    healthcare industry in the country?

        14               MS. HAWLEY:   So I think a couple of things there, Your

        15    Honor.

        16               So I don't think it -- again, if we focus on Section

        17    355-1, I don't think that gets us to an access mandate.             I

        18    think when we're talking about Section 355, what Congress is

        19    saying is that these are dangerous drugs.          They're like Vioxx,

        20    they're like opioids, and we want them to have additional

        21    restrictions.

        22               THE COURT:    And that's what the FDA was charged with

        23    determining.

        24               MS. HAWLEY:   Yes, Your Honor.

        25               THE COURT:    So you keep coming back to that as though



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                              JA207
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 212 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 11 of 56 PageID #: 852
                                                                                       9


         1    the State is somehow complimenting, adding to the FDA's

         2    decision about what is safe or effective, but that's not the

         3    purpose of this statutory bar on using the drug.

         4              MS. HAWLEY:    So I think that actually helps the State

         5    here, Your Honor.

         6              If you look at -- and, again, we're talking about the

         7    bucket here of purpose preemption cases, and so there's --

         8              THE COURT:    I'm sorry.    Of what?

         9              MS. HAWLEY:    Of purpose preemption, where it

        10    frustrates the purpose.

        11              THE COURT:    Right.

        12              MS. HAWLEY:    And so there's a series of three cases

        13    from the Supreme Court that I think really illustrate why what

        14    West Virginia had done here is not preempted.

        15              The first one of those is Virginia Uranium mining.            In

        16    that case, Congress had, of course, regulated extensively in

        17    the field of mining; it had regulated for health and safety.

        18    And what Virginia was allowed to do is say we're not going to

        19    allow mining.     We realize that the federal regulations speak

        20    to what is permissible with milling, what is permissible with

        21    tailing, but the Supreme Court said Virginia was operating in

        22    a different purpose, Your Honor, and so the different purpose

        23    is key here.

        24              It's important to note that West Virginia does have a

        25    different purpose.      It's not disagreeing with safety and



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                               JA208
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 213 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 12 of 56 PageID #: 853
                                                                                      10


         1    efficacy.    It's saying instead West Virginia citizens have

         2    determined that life is worthy of protection no matter how

         3    small.

         4              If you look at the Harris case, this is the meat

         5    packing case, and what the Supreme Court said in that case

         6    was, California, you can't interfere with slaughter standards,

         7    you can't say stuff about non-ambulatory pigs, but what you

         8    can do is you can disallow horses from being slaughtered

         9    entirely.

        10              Similarly in a case called PG&E, this involved nuclear

        11    regulation, nuclear safety, again an area in which Congress is

        12    heavily invested, a heavily regulated area.          And the Supreme

        13    Court in PG&E said Congress could institute a moratorium on

        14    building.    Even though Congress heavily regulated the design

        15    and safety, California could say, no, we're not going to build

        16    because that determination was an economic one.

        17              Similarly here, West Virginia's determination is one

        18    about unborn life, about maternal health.          It's different than

        19    FDA safety and efficacy.       And for that reason, Your Honor, I

        20    think that this case fits squarely within that line of cases

        21    that say when a state regulates for a different purpose, it is

        22    entitled to do so, and it would be an affront to state

        23    sovereignty to read congressional -- the FDCA or the 2007

        24    amendments to take away those validly enacted state laws.

        25              So, Your Honor, to talk -- we've talked about field



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                                             JA209
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 214 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 13 of 56 PageID #: 854
                                                                                       11


         1    preemption.    We've talked about how express savings clauses,

         2    as we find in the FDCA, are incompatible with field.            We've

         3    talked about --

         4              THE REPORTER:    I'm sorry, incompatible with field?

         5              MS. HAWLEY:    Field preemption, yes, ma'am.         I will

         6    speak more slowly.

         7              So we've got the conflict impossibility preemption.

         8    We just talked about purpose preemption.

         9              And to look again at the text of Section 355-1, what

        10    that text says is that such elements, the elements for the

        11    REMS under paragraph (1) are not to be unduly burdensome.               So,

        12    again, we're talking about what FDA can do, not about what

        13    states can do under their complimentary authority.

        14              In fact, in Wyeth, the Supreme Court said that to find

        15    that the FDCA was both a ceiling and floor would be an

        16    untenable interpretation of congressional intent and an

        17    overbroad view of agency power to preempt.

        18              Again, we talked about the different purposes here,

        19    and how the West Virginia law being aimed at unborn life is

        20    something that is completely different from the FDA's

        21    prerogative, as Your Honor noted, in determining whether

        22    something is safe and effective.        I would note, Your Honor,

        23    that that also distinguishes the Zogenix case from the

        24    District of Massachusetts.       In that case, Massachusetts had

        25    determined that a particular opioid was unsafe.           It had



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA210
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 215 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 14 of 56 PageID #: 855
                                                                                      12


         1    directly disagreed with the FDA's safety determination.

         2              Here, West Virginia is doing something completely

         3    different.     What West Virginia is doing is saying we think --

         4    that we want to protect unborn life and maternal health in

         5    this way.    We're not disagreeing that mifepristone does what

         6    it says, we're not disagreeing in this lawsuit about its

         7    safety, but we're still entitled to protect life under the

         8    State's health and safety authority.

         9              In addition, Your Honor, I think the presumption

        10    against preemption is particularly powerful here.              My friends

        11    on the other side try to say that the presumption against

        12    preemption doesn't apply because this is an area of

        13    pharmaceuticals in which the federal government has long

        14    regulated.     That is for sure true, the federal government has

        15    long regulated in the pharmaceutical field, but, again, Wyeth

        16    firmly forecloses GenBioPro's argument.

        17              At footnote 3, Wyeth says rejecting an argument -- it

        18    rejects the argument that the presence of federal regulation

        19    means that there is not an inherent state authority to

        20    regulate for health and safety.        It says that that

        21    misunderstands the argument.        It says that the presumption

        22    against preemption is built upon the idea that Congress

        23    respects states in our federal system, and as a result -- and

        24    this is a quote -- the presumption "does not rely on the

        25    absence of federal regulation."



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA211
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 216 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 15 of 56 PageID #: 856
                                                                                         13


         1              So Wyeth clearly said in this precise context that the

         2    presumption against preemption applies because states have

         3    historically regulated on health and safety matters.             Indeed,

         4    there's nothing really more local than health and safety

         5    matters like the West Virginia statute at issue here.

         6              With respect to the Commerce Clause claim, Your Honor,

         7    when we look at that claim, GenBioPro has conceded under the

         8    Pork Producers case their extraterritorial argument doesn't --

         9    doesn't work.     So that's putting to one side.        GenBioPro also

        10    argues that the West Virginia laws here are an abortion ban.

        11    That's incorrect factually and also irrelevant legally.

        12              As a factual matter, Your Honor, as we discussed, the

        13    purpose here is not to ban mifepristone.          The statute that

        14    passed the West Virginia Legislature says nothing about

        15    mifepristone or about any other drug at all.           What it does is

        16    it says that, in West Virginia, subject to certain exceptions

        17    like emergency situations, incest, rape, those sorts of

        18    things, that providers are not allowed to perform abortions

        19    and take the unborn life of a child.          So it does not operate

        20    at all in the -- on mifepristone, is not an abortion -- or,

        21    excuse me -- is not a ban on mifepristone.          Instead, it

        22    regulates abortion --

        23              THE COURT:    Well, the plaintiff characterizes it as a

        24    functional ban because the restrictions so great.              I mean, I

        25    think you noted them, there are very limited exceptions of the



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA212
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 217 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 16 of 56 PageID #: 857
                                                                                        14


         1    West Virginia Act.      So is that not a functional ban?

         2              MS. HAWLEY:    So I think two things, Your Honor.         A, it

         3    has nothing to do with mifepristone any more than it has to do

         4    with scalpels or masks or other things that might be used in

         5    an abortion.    What West Virginia law is concerned about is

         6    with preventing the primary conduct of abortion, not with any

         7    particular drug.     So I think it's incorrect to call this a ban

         8    on mifepristone.     That is just not accurate.

         9              Your Honor's correct that there are limited

        10    exceptions, but the availability of limited exceptions does

        11    mean that this is not a ban even on all abortions.

        12              THE COURT:    I think you all argued in your briefing

        13    that there was still the possible use of mifepristone in West

        14    Virginia as an off-label use, but it strikes me that that's

        15    really kind of immaterial to all of this.

        16              The preemption argument is premised upon what the FDA

        17    has said is an allowable use and circumstances for its use

        18    consistent with the label essentially, and so it doesn't seem

        19    to me being able to use it off-label somehow alleviates what

        20    would otherwise be -- perhaps as they've argued, stand as an

        21    obstacle to the federal accessibility decision.

        22              MS. HAWLEY:    So I think, Your Honor, that that

        23    actually highlights why the purposes are different here.                The

        24    fact that the West Virginia law does have exceptions -- it has

        25    exceptions for saving the life of the mother, for medical



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA213
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024    Pg: 218 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 17 of 56 PageID #: 858
                                                                                      15


         1    emergencies, for fetal abnormalities that are quite severe,

         2    for rape and for incest.       And in all of those situations, West

         3    Virginia allows mifepristone to be used if it's medically

         4    appropriate.    So I think these exceptions show affirmatively

         5    that West Virginia is not questioning the safety or efficacy.

         6              THE COURT:    You know, as a sort of -- this is almost

         7    like a footnote to our discussion, but as my law clerks and I

         8    have gone through this, we know that West Virginia passed an

         9    earlier act.    It is in essence suspended pending --

        10              MS. HAWLEY:    Yes, Your Honor.

        11              THE COURT:    -- determinations as to whether or not

        12    this act is constitutional.       And if this act is deemed to be

        13    unconstitutional, then these prior provisions go in.

        14              But as we've looked at it, it seems to us that the

        15    restriction on telemedicine, using telemedicine for this

        16    purpose, for this type of prescription, it is not sidelined by

        17    the current statute and that it might still be in effect.

        18              Is that your understanding?         Or have you thought about

        19    this aspect of it?      Am I being clear about what I'm trying to

        20    say?

        21              MS. HAWLEY:    Yes, Your Honor.

        22              I think that's correct in the instances in which the

        23    exception would apply.      I think there would still be the

        24    requirement under West Virginia law for an in-person visit,

        25    and this, again, highlights how West Virginia law aids and



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA214
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 219 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 18 of 56 PageID #: 859
                                                                                      16


         1    comes alongside federal law.

         2              Without an in-person visit, a physician is not able to

         3    diagnose ectopic pregnancy, which could cost a woman her life,

         4    is not able to diagnose gestational age, and these sorts of

         5    in-person visits were once required by the FDA.           Under the

         6    FDCA structure, they've clearly allowed states to supplement

         7    or compliment these.      So I think this is an example of how

         8    West Virginia's laws, not UCPA, but the other laws are

         9    complimenting FDA's purpose, ultimate purpose in making sure

        10    that consumers are safe.

        11              THE COURT:    But it does seem that upholding the

        12    telemedicine restriction would pose an obstacle to the federal

        13    determination by the FDA that a telemedicine visit is

        14    sufficient to allow for this -- for a prescription.

        15              MS. HAWLEY:    I don't think so, Your Honor.

        16              If you look back through the history of FDCA

        17    litigation, there are countless examples, like with the

        18    practice of law, where courts have allowed -- they found that

        19    the province, the regulation of medicine is something that is

        20    especially -- delegated especially to the province of state

        21    legislatures.

        22              So, for example, even during the Roe regime, we had

        23    all sorts of things like informed consent, we had waiting

        24    periods, we had those sorts of restrictions on abortion even

        25    when there was a fundamental right to it under Supreme Court



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA215
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024    Pg: 220 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 19 of 56 PageID #: 860
                                                                                         17


         1    law.   The states were allowed to do that because it

         2    complimented FDA's safety and efficacy guidelines.              It's not

         3    contrary to it, but built upon it.

         4              Again, this goes back to the federal floor or the

         5    federal ceiling, and the Supreme Court was really clear in

         6    Wyeth that the FDCA sets a federal floor.

         7              And I think as hard as you try, especially when

         8    coupled with the presumption against preemption, you just

         9    cannot get a right to access out of Section 355-1.

        10              And to think just a bit about what that might mean in

        11    this and future cases, if REMS provisions mean that there's a

        12    right of access, that presumably would mean that GenBioPro

        13    must sell its drugs in every state.           There's not a lot of

        14    evidence that it sold it here at all.

        15              THE COURT:    I don't know why it means that.          It seems

        16    to me that one could easily say that's a matter for the

        17    private marketplace to determine.         What the preemption would

        18    do is say states can't prohibit, which is pretty different

        19    than saying that preemption compels a producer to be in a

        20    market.

        21              I agree, I don't think any court has ever said that.

        22    What we're talking about, though, is whether the state can

        23    prevent entry into the market.

        24              MS. HAWLEY:    But the core right of access, I think, is

        25    the same thing.      As various commentators, even proabortion



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA216
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 221 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 20 of 56 PageID #: 861
                                                                                      18


         1    commentators have noted, that when -- or at least to have

         2    access at a reasonable price, you know, the FDA has never said

         3    that these particular drugs need to be available at a price

         4    that most women can afford.       But yet that would be directly

         5    tied to access as well, I believe, Your Honor.

         6               In addition, if we think about Section 355-1, and if

         7    we're going to carve out from that provision a right of access

         8    that's unique to REMS, as my colleagues on the other side say,

         9    they tried to say it's state tort law, and that makes sense in

        10    this case because their client GenBioPro only has one drug, it

        11    only manufactures mifepristone.        However, Your Honor, I don't

        12    think it's possible to say there is both a right to access and

        13    state tort law still exists.

        14               Wyeth is clear -- I understand why the other side does

        15    this.     Wyeth is clear that Congress viewed state tort law as a

        16    compliment.     Otherwise there is absolutely no remedy for

        17    individuals who are harmed by these admittedly dangerous

        18    drugs.

        19               But I don't think you can have your cake and eat it,

        20    too.    I don't think you could say, states, you can't regulate

        21    notwithstanding the presumption of preemption, but we're also

        22    going to allow state tort law because we need some remedy when

        23    women or others are grievously injured.          And the other side,

        24    I'm not sure how they can say that one exists and not the

        25    other, Your Honor.



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA217
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 222 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 21 of 56 PageID #: 862
                                                                                        19


         1              THE COURT:    All right.

         2              MS. HAWLEY:    So to come back to the Commerce Clause,

         3    there is no extraterritoriality after Pork Producers.

         4              GenBioPro also talks, Your Honor, about a ban.           As

         5    we've talked about it, I don't think it's a ban on

         6    mifepristone at least.      Even if it's a functional ban on

         7    abortion, again we have serious exceptions in the statute, but

         8    it is not a ban on mifepristone.

         9              In addition, as I mentioned before, I think even that

        10    fact, if it were true, would be legally irrelevant.            Justice

        11    Gorsuch's opinion notes that all sorts of things are banned.

        12    Fireworks are banned.      Shark fins are banned.       Horse meat, as

        13    we've already talked about, is banned.          And the fact that it

        14    is unavailable in a particular state does not trigger the

        15    dormant Commerce Clause.

        16              As I believe Justice Roberts pointed out, if that were

        17    the case, that would mean that if something were available in

        18    one state, it would have to be available in every other state,

        19    which is an untenable interpretation of the dormant Commerce

        20    Clause.   So there is not a per se rule against bans, so that

        21    doesn't work either.

        22              So we're left with Pike balancing.        My friends on the

        23    other side note that Justice Roberts' opinion controls.             I'm

        24    not sure that that is correct.        But, at a minimum, what we can

        25    get from Pork Producers is that five justices clearly found



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA218
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 223 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 22 of 56 PageID #: 863
                                                                                        20


         1    that the allegations in that case did not rise to the level of

         2    a dormant Commerce Clause violation.

         3              That is a case in which California went out of its way

         4    to change the way pork producers in every pork-producing state

         5    produced hogs intentionally.        Chief Justice Roberts notes that

         6    this would have imposed $368 million worth of compliance costs

         7    on pork producers.      Contrast it to this case, Your Honor,

         8    where we have no allegations of interstate effects, no

         9    allegations of interstate economic effects at all.             If Pork

        10    Producers failed the dormant Commerce Clause, Pike balancing,

        11    so too does this case.

        12              And just to respond to a couple of things my friends

        13    on the other side note, they talk about derivative harms to

        14    women in West Virginia.       In the Pork Producers case, the Court

        15    notes that no one thinks that harms from in-state --

        16    derivative harms to in-state persons who voted for that

        17    particular provision are a dormant Commerce Clause harm.                That

        18    is because they're intrastate, not interstate.

        19              Chief Justice Roberts, who in my colleagues' opinion

        20    think is controlling, says that before you get to Pike

        21    balancing, you have to first find that there are economic

        22    interstate harms.     These simply don't exist here.           They're not

        23    even really alleged.

        24              My friends point to paragraph 17, but that paragraph

        25    does not point to interstate economic harms, Your Honor.                So,



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA219
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 224 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 23 of 56 PageID #: 864
                                                                                      21


         1    here, we don't even get to balancing the economic harm of

         2    GenBioPro to these other derivative harms.          As the Chief

         3    Justice said, when we're talking about the dormant Commerce

         4    Clause, we're talking about interstate, and we're talking

         5    about economic, neither of which are present here.

         6              Is there anything else I can do to convince you, Your

         7    Honor, that --

         8              THE COURT:    Well, your argument is well.       Do you want

         9    to address the major questions claim as well?           Or if there is

        10    more you want to say on the Commerce Clause, go ahead.             I

        11    don't like to interrupt lawyers when they're giving their

        12    presentation.

        13              MS. HAWLEY:    No.   No, absolutely, Your Honor.

        14              So with respect to the major questions doctrine, I

        15    really think it comes into play particularly when we're

        16    talking about that third preemption bucket, that purpose

        17    preemption bucket.      And if the FDCA, the 2007 amendments are

        18    interpreted as you said -- and they were passed when Roe was

        19    the law of the land, when abortion was legal.           If they're

        20    interpreted to require nationwide abortion access up until

        21    10 weeks gestational age, there is no question that that is a

        22    significant, moral, economic, political question.

        23              There is hardly any --

        24              THE COURT:    I don't doubt the significance or the

        25    importance of the question, but when you compare it to the



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA220
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 225 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 24 of 56 PageID #: 865
                                                                                      22


         1    tobacco case and the other cases, the EPA case in West

         2    Virginia, it strikes me it's really not even in the same

         3    ballpark.

         4              In those cases, you had major regulatory programs

         5    built upon long-standing statutes that had not been applied or

         6    interpreted that way or comprehensive regulation of some

         7    important topic.      And while this is an important topic, all

         8    the plaintiffs are arguing here is not that there is a

         9    minimum -- or not that there are limits on abortion laws

        10    generally but, rather, with respect to an abortion law that

        11    conflicts with the federal approval of mifepristone, those

        12    state laws have to yield.

        13              And that's really different, it seems to me, than some

        14    comprehensive regulation of abortion as a result of FDA

        15    decisions.     It looks to me like there is really no comparison

        16    between the scope of the regulatory action undertaken in those

        17    major question cases versus here where it's important, but

        18    pretty narrow, even in the context of the abortion debate.

        19              MS. HAWLEY:    But it's not narrow in its effect, Your

        20    Honor.    To think about -- you know, we're talking about bans

        21    and not bans.     The functional effect of FDA's decision here,

        22    if interpreted the way GenBioPro does, is to require

        23    nationwide abortion access up until 10 weeks of age.

        24              As the states' amicus brief points out, the FDA, of

        25    course, also regulates scalpels and other sorts of medical



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA221
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 226 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 25 of 56 PageID #: 866
                                                                                      23


         1    equipment that is involved in abortion.          But in order for the

         2    FDA to have that sort of authority, A, Congress would have to

         3    give it to them, and, B, Congress would have to have it.

         4              Do we think Congress has the ability to pass a

         5    nationwide abortion law requiring access in each and every

         6    state up until 10 weeks of gestational age?          I think that's a

         7    really difficult question, Your Honor.

         8              THE COURT:    Well, I guess I'm troubled by

         9    characterizing this as being, you know, some sort of

        10    congressional act broadly requiring abortion to be available.

        11    It is always -- in this case, it is limited to the approved

        12    drug that has gone through this process.          And I guess it

        13    strikes me as kind of ironic that you're arguing that

        14    interpreting the FDA statute as guaranteeing access up to

        15    10 weeks through the use of this drug for termination across

        16    the board, that that is the functional equivalent of

        17    legalizing abortion everywhere.        Well, I don't think it is.

        18              But it seems to me it's kind of ironic that you're

        19    claiming that -- you object to their characterization of the

        20    mifepristone limitation as the functionally equivalent --

        21              MS. HAWLEY:    Your Honor, I was playing on that, that

        22    framework.    That's -- yes, Your Honor.        So I think here a

        23    couple of things.

        24              First, even if you think the major questions doctrine

        25    doesn't apply here, I think Wyeth is clear that the



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA222
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 227 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 26 of 56 PageID #: 867
                                                                                      24


         1    presumption against preemption does, and that still requires a

         2    clear statement.

         3              I don't think that when you look at Section 355-1, we

         4    get a clear statement that Congress meant access, particularly

         5    when that means -- and I don't think there is -- if GenBioPro

         6    is correct, Your Honor, that means that every state's law that

         7    prohibits abortion before 10 weeks must fall.           That's what

         8    preemption does.      So, again, we can quibble and laugh about

         9    the semantics, but that means abortion will be legal up until

        10    10 weeks in every single state.

        11              I think we have to ask whether Congress has the power

        12    to do that.     Under City of Burney I think that's a very open

        13    question.    Then we have to ask did Congress give that

        14    authority to the FDA?      If we're talking about the authority to

        15    mandate nationwide abortion access, then we are very much in

        16    the major -- or, excuse me -- the nondelegation doctrine

        17    question.

        18              If Congress is giving an agency the authority to

        19    determine life and death, it has done so in the 2007

        20    amendments without any guidance, Your Honor.           There is no

        21    indication that the FDCA is allowed to even consider the

        22    unborn life or the other moral implications that even Casey

        23    acknowledged exist from the very earliest stages of pregnancy.

        24              So I think, you know, A, does Congress have this

        25    power?    Probably not.    Did it delegate it to the FDA?



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA223
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 228 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 27 of 56 PageID #: 868
                                                                                      25


         1    Probably not.     And if it did, then we have a nondelegation

         2    problem because, even under Gundy, there's simply nothing

         3    approaching an intelligible principle.

         4              Even putting all of that aside, Your Honor, we come

         5    back to the presumption against preemption, and it would

         6    require a clear statement in order to find that Congress meant

         7    the 2007 amendments to require access, you know, broad access

         8    to opioids, broad access to chemical abortion drugs, even

         9    though that means nationwide abortion, and I don't think when

        10    you look at Section 355 and you look at that test, and when it

        11    says such elements under section (1), I don't think it's

        12    talking about complimentary state regulations.

        13              THE COURT:    All right.    Thank you.

        14              MS. HAWLEY:    Thank you, Your Honor.

        15              THE COURT:    All right.    For plaintiff?

        16              MR. FREDERICK:    Thank you, Your Honor.       May it please

        17    the Court.    David Frederick for plaintiff GenBioPro.

        18              Congressional intent is the touchstone of preemption

        19    under the Supremacy Clause.       The Supreme Court has said that

        20    over and over, we do not decide cases on the basis of

        21    presumptions.     We look at the words Congress enacted, and we

        22    determine whether or not what states are seeking to do

        23    conflicts with the words that Congress enacted.

        24              Here, the defendants hardly say anything about the

        25    2007 act that is at issue here, 355-1.          They cite it once for



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA224
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 229 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 28 of 56 PageID #: 869
                                                                                       26


         1    a passing reference in their reply brief.          They hardly address

         2    the statutory construction arguments we have advanced at all.

         3    And today counsel offers a very interesting theory that, when

         4    you boil it down, doesn't add up.         Because the theory that the

         5    State advances now is that notwithstanding that Congress knew

         6    mifepristone was one of 16 drugs that had been approved by the

         7    FDA under Subpart H when it enacted the 2007 act, and

         8    notwithstanding that Congress then told FDA for those drugs,

         9    go back to the sponsors, the makers of the drug and get

        10    updated risk management strategies for them, and the FDA did

        11    that.

        12              Now, when Congress is giving specific directions to

        13    the FDA under a very comprehensive statute, it is really

        14    incumbent upon courts to evaluate what are the words that

        15    Congress enacted, and what are the implications.           And what

        16    we're getting today is essentially an argument that you have

        17    to rely on a presumption against preemption in order to save a

        18    state statute that runs directly counter to Congress's words.

        19              The words in the statute ensuring access most

        20    assuredly do not allow the State to not ensure access, and

        21    that's what the functional abortion ban does here.             Counsel

        22    argues, well, there are these little exceptions here and

        23    there.    But the point of the FDA's approval of mifepristone

        24    was to engage in the early termination of pregnancy by those

        25    patients who sought to do that.



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA225
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 230 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 29 of 56 PageID #: 870
                                                                                       27


         1              THE COURT:    If I look to the statute to discern what

         2    legislative intent was at the time, what's the significance of

         3    the fact that, at the time, there was a constitutional right

         4    to abortion that Congress could not control?           It was not the

         5    author, it was a constitutional right.          And so at the time

         6    this act passed, there was a right in every state to an

         7    abortion.    And accessibility in that context doesn't mean

         8    guaranteeing that that right persists if the Court later

         9    determines that there is no such right, which is what's

        10    happened.

        11              MR. FREDERICK:    I think that the key language in the

        12    decision in the Dobbs decision, Your Honor, is returning the

        13    question of abortion to their elected representatives.             The

        14    elected representatives here was Congress.          When Congress

        15    enacted the REMS program in the 2007 act, it did so knowing

        16    that mifepristone affected the abortion right.

        17              THE COURT:    I understand that.      I think what concerns

        18    me greatly about that statement is that we know at the time

        19    Congress understood the current law to guarantee a right to

        20    abortion in every state.       So it's hard to read into that 2007

        21    act an intent by Congress, in adding accessibility language to

        22    the statute, to be in effect legislatively guaranteeing that

        23    right that was determined by the Court to be a constitutional

        24    right.

        25              MR. FREDERICK:    And I think if you go back to first



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA226
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 231 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 30 of 56 PageID #: 871
                                                                                      28


         1    principles, Your Honor, when the Court decided Roe, there was

         2    no medication abortion.       There have been obvious technological

         3    developments in the provision of medication since Roe versus

         4    Wade was decided.     But the core question for you is, when

         5    Congress made its enactment, and it had a clear intent and

         6    effect on mifepristone, is that to be accorded the kind of

         7    respect under the Supremacy Clause that is required where a

         8    state law has a conflict, imposes a conflict with a provision

         9    of a federal statute entrusting a federal agency with making

        10    the access and safety determinations necessary for the

        11    provision of that medication?

        12               And that, to me, is a fairly straightforward question

        13    that has not really been joined by the other side in this

        14    case.     Because if you look at all the different things that

        15    Congress told the FDA to do, to come up with rules for

        16    mitigating strategies, and if in a certain limited class there

        17    needed to be additional elements for safe use, to enact those

        18    as well, there are a very small number of drugs for which that

        19    is true.    Mifepristone happens to be one of them.

        20               Now, my colleague argues that somehow because there

        21    are additional elements, that that somehow adds to the

        22    availability of the states to jump in and offer additional

        23    restrictions.     To the contrary, I think it argues the

        24    opposite.

        25               Because if you look through 355-1 where it has



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA227
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 232 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 31 of 56 PageID #: 872
                                                                                      29


         1    monitoring, evaluation, periodic updating, there is no

         2    indication in the statute that Congress intended for 50 states

         3    to come up with their own rules regarding FDA-approved

         4    medications and force the FDA to somehow keep track of them.

         5              My friend says there's no effect on the system, but in

         6    the very first paragraph of 355-1, there is the admonition by

         7    Congress to ensure access without undue burdens to the system.

         8    The system here is the healthcare delivery system.

         9              And it has both preemption consequences and

        10    overlapping Commerce Clause consequences because medications

        11    made out of state is affecting interstate commerce.            Health

        12    insurance is part of the system.        It is generally driven by

        13    national carriers.      Regional and national medical providers,

        14    part of the healthcare system.        And so all of these elements

        15    are affected, and the question is whether the functional ban

        16    that is conceded today of this drug is interfering with that

        17    healthcare system.

        18              We submitted and we alleged in the complaint, in

        19    paragraph 16 and 17 -- they've ignored 16 as alleging that the

        20    system is affected adversely by what the State is seeking to

        21    do here, and I would note that there is not really any

        22    limiting principle to their argument.         So under their

        23    position, all 50 states can override an FDA expert judgment

        24    about the additional elements for safe use that would ensure

        25    access, and that would be okay under their scenario simply



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA228
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 233 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 32 of 56 PageID #: 873
                                                                                       30


         1    because Congress didn't use the words "pregnancy termination"

         2    in the 2007 act.      Well, Congress didn't use the words "polio"

         3    or "small pox" or "acne" in the 2007 act either.           But under

         4    the logic of their position, if the states wanted to take

         5    extraordinary actions to address those conditions, it has the

         6    lawful authority under the Supremacy Clause to do so.

         7              FDA rules have never operated in a situation where

         8    anybody can come in and countermand the expert judgment in

         9    that way.    To be sure, there are labeling requirements, and my

        10    colleague spends a lot of time talking about Wyeth versus

        11    Levine, which I'm very happy to talk about, but I don't think

        12    that case is really on point here because we're not talking

        13    about a labeling challenge.

        14              We're talking about a specialized set of rules under

        15    355-1 that are intended to ensure access while not

        16    burdening -- creating such burdensome safety rules that that

        17    avoids access that Congress thought was important for this

        18    particular class of drugs.

        19              THE COURT:    As I recall, I think it was a year or two

        20    after this act, that Congress passed the medical device act,

        21    and they had explicit, express preemption language.            Is that

        22    not of some significance here where you're saying that they

        23    intended this comprehensive REMS process for deciding safety,

        24    efficacy, and availability basically?

        25              MR. FREDERICK:    If I could offer this correction to



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA229
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 234 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 33 of 56 PageID #: 874
                                                                                      31


         1    the chronology suggested by the Court.

         2              The medical device amendments was enacted in the

         3    1970s, and there was an express preemption provision as to

         4    certain aspects of the approval of the device.           It didn't

         5    cover all devices.      It depended on when they were in the

         6    various stream and whether or not devices that had been

         7    grandfathered in also would be subject to the express

         8    preemption provision.

         9              And that's why in Medtronic versus Lohr -- I don't

        10    think that's a case cited by any of the parties, but there the

        11    Court did not find preemption regarding a certain class of

        12    drugs.    Now it is true in Riegel versus Medtronic, and that's

        13    another case that I don't think has been cited here, the Court

        14    did find the application of express preemption to nullify the

        15    state lawsuit.

        16              But I think this -- your question, Your Honor, points

        17    exactly to the right problem, which is, what are the words of

        18    Congress, and how do they apply in light of what a state is

        19    seeking to do?       And our point here is that you cannot have

        20    ensuring access and not creating an undue burden on the

        21    healthcare system and a state's functional ban that today

        22    counsel has functionally conceded that's exactly what the

        23    State seeks to do.      And those are not compatible, and that is

        24    why the preemption clause and the preemption provisions of the

        25    Constitution under the Supremacy Clause, we submit, governs



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA230
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 235 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 34 of 56 PageID #: 875
                                                                                      32


         1    here.

         2              THE COURT:    Well, just while we're on the subject,

         3    just so I can keep things clear as I sit down and review all

         4    this to try to decide it, do you still maintain that field

         5    preemption applies?

         6              MR. FREDERICK:    Yes.

         7              THE COURT:    Tell me briefly how you get there.

         8              MR. FREDERICK:    Yes, let me explain the field

         9    preemption argument.      And first let me help by explaining how

        10    the system is designed to work.

        11              So there are a certain class of drugs that have these

        12    risk mitigation strategies, REMS.         Only for a particular

        13    subset of those REMS-approved drugs are there special elements

        14    to assure safe use.

        15              So you start with 20,000 drugs --

        16              THE COURT:    Uh-huh.

        17              MR. FREDERICK:    -- okay, that have been approved by

        18    the FDA and are on the market, a certain subclass have what

        19    are called REMS, and it is only within that subset of the

        20    REMS-approved drugs where the FDA has enacted these elements

        21    to assure safe use.      They're sometimes called ETASU in the

        22    briefs, but that's what these are.

        23              At the time of the enactment of the 2007 act, there

        24    were only 16 that had these elements to assure safe use.

        25    Mifepristone was one of them.



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA231
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 236 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 35 of 56 PageID #: 876
                                                                                      33


         1              Now, if you track through the language of 355-1, what

         2    it says is that if the Secretary, here the FDA, determines

         3    that a REMS drug needs to have these elements to assure safe

         4    use, the Secretary shall impose these additional rules.

         5              Why is that important?      We cite the Locke case in our

         6    brief, and in the Locke case the Secretary of Transportation

         7    was charged under certain ports and waterways acts to deal

         8    with regulations concerning oil tankers.          For some of them,

         9    Congress said it's permissive regulatory authority, the

        10    Secretary may issue certain regulations.          As to those, the

        11    Supreme Court held, if the Secretary issues those rules and

        12    the State conflicts with them, conflict preemption applies.

        13              But there was Title II of the port and waterways act,

        14    and in that title what Congress had said was that the

        15    Secretary shall issue regulations concerning certain topics,

        16    and they had to do with equipment design features of oil

        17    tankers and the like.      And the rationale the Court explained

        18    was that when Congress mandates that the federal agency deal

        19    with certain specific rules, there is not room for states to

        20    come in and offer contrary rules.         The field is preempted

        21    because Congress entrusted that particular field to the

        22    federal agency.

        23              Our field preemption argument, Your Honor, is

        24    relatively modest.      At present, there are only about 58 drugs

        25    that have both the REMS and these special elements to assure



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA232
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 237 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 36 of 56 PageID #: 877
                                                                                      34


         1    safe use.    And as to that specific category, what Congress

         2    said was that FDA shall do a whole range of balancing and

         3    determine whether or not its rules would provide safe access

         4    and not create undue burdens for the system.

         5              So our argument on field preemption flows directly out

         6    of the words of the statute, Congress's intent to mandate that

         7    the FDA, with this very small category of drugs, have very

         8    specialized rules that were designed to balance access with

         9    safety.   Now, why is that important?         Because every year

        10    Congress provided in 355-1, FDA is supposed to update its

        11    rules.

        12              Now, field preemption operates by saying states should

        13    not have a role in that field because it's too important to

        14    entrust for national uniformity purposes.          It would be

        15    impossible for the FDA to update its rules periodically given

        16    how fast states are enacting various issues and laws with

        17    respect to various topics concerning the termination of

        18    pregnancy.     And so it's logical to suppose that Congress

        19    intended for that field to be completely entrusted to the FDA

        20    in that very narrow category where there is both a REMS drug

        21    and drugs that are needed to assure safe use.

        22              So our field preemption argument, Your Honor, is very

        23    narrow, it's highly specialized, but I think it applies when

        24    you track through the monitoring, the evaluation, the periodic

        25    updating, and all of the different things that Congress



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA233
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 238 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 37 of 56 PageID #: 878
                                                                                      35


         1    required the FDA to do with respect to those elements to

         2    assure safe use.

         3              If, however, you were not to agree with me about that

         4    field preemption theory, our conflict preemption theory I

         5    think is rock solid, and it is completely impossible to

         6    imagine Congress's words saying ensure access to this

         7    medication and a state saying not ensure access to the

         8    medication, and that's what is conceded today to be what the

         9    State is seeking to do.

        10              THE COURT:    I know we've bandied these terms about,

        11    functional bans and so forth, but it is a fact that even under

        12    the West Virginia statute, mifepristone can be sold and used

        13    in West Virginia for its intended purpose.

        14              MR. FREDERICK:    Well, only under highly specialized

        15    circumstances that go well beyond restrictions that are

        16    imposed by the FDA.

        17              THE COURT:    Well --

        18              MR. FREDERICK:    And so it is impossible to comply with

        19    the permissive regime authorized by the FDA for the safe use

        20    of the drug and those circumstances where they allege that

        21    mifepristone would be available to deal with certain

        22    exceptions under the state statute.

        23              THE COURT:    Yeah, honestly I have some difficulty

        24    agreeing that that's an impossibility factor.           You're able to

        25    sell it to a point, just not as much as you would like or as



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA234
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 239 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 38 of 56 PageID #: 879
                                                                                         36


         1    much as the label would allow, and that that constitutes

         2    impossibility.

         3              And I admit, these are cases that I haven't finished

         4    reviewing and thinking about, but I don't know that I've seen

         5    a case where it seems to me there is a similar sort of

         6    foundation.

         7              MR. FREDERICK:    Let's take the average person who does

         8    not have a medical emergency or otherwise fit within the

         9    exception.    Under federal law, that woman is able to take

        10    mifepristone under the FDA rules.

        11              Under the State of Virginia's rules --

        12              THE COURT:    West Virginia.

        13              MR. FREDERICK:    I'm sorry.        West Virginia, excuse me.

        14    I'm thinking about Virginia mining, which I do want to talk

        15    about in a minute.

        16              Under West Virginia's rules, that person is not able

        17    to take the drug in that circumstance.           It is impossible for

        18    her to comply in both the West Virginia scheme and what

        19    permissions are afforded to her under federal law.               That is

        20    preemption.    That is the classic form of preemption.            You can

        21    call it impossibility, you can call it inconsistency, you can

        22    call it irreconcilable conflict.        There are many words that

        23    the Supreme Court has used to describe preemption principles

        24    over the years, but I think that the bottom line is the same.

        25              THE COURT:    Okay.



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                              JA235
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 240 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 39 of 56 PageID #: 880
                                                                                       37


         1              MR. FREDERICK:    Now, with respect to obstacle

         2    preemption, which is the concept my colleague spends most of

         3    her time arguing, there is no question that when Congress is

         4    providing FDA authority to regulate these drugs under

         5    particularized systems and rules do not apply to 99.9 percent

         6    of all the drugs, that they're seeking to interfere and create

         7    an obstacle with that system.

         8              And so under obstacle preemption cases, and Geier is

         9    one that is, I think, pretty directly on point -- that has not

        10    been discussed today, but there the question is if the federal

        11    agency provides for an option, it can't be for the state to

        12    come in and interfere with that selection of what option the

        13    federal government made available.            That was a case involving

        14    airbags and seatbelts, so I appreciate that its subject matter

        15    is different.

        16              The point I want to stress, though, is that whether

        17    you look at this problem under any of these three theories of

        18    preemption, the bulk of the situations in which the West

        19    Virginia ban applies run afoul of the federal permission to

        20    allow usage of mifepristone.

        21              Now, Virginia Mining was mentioned.          I want to point

        22    out just one fact, that in that case there was no federal rule

        23    concerning mining, uranium mining on private land, and so the

        24    argument for preemption would have meant that there was no law

        25    available by any sovereign to address uranium mining.            And



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA236
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 241 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 40 of 56 PageID #: 881
                                                                                        38


         1    what Virginia had sought to do was to say, because there is no

         2    federal law here, the State can take action with respect to

         3    uranium mining on private land, and a majority of the Court

         4    said that is not preempted, that is afar afield from what

         5    we're talking about here.

         6              Similarly, my colleague invokes the Harris case.              That

         7    involved actually a holding by the Supreme Court of

         8    preemption.    The Court there held that the Federal Meat

         9    Inspection Act preempted California law regarding

        10    slaughterhouses, so I'm not sure how that helps the State here

        11    in this case.

        12              And then with respect to the PG&E case, the Court held

        13    that there were state statutes regulating economic aspects --

        14              THE COURT:    I have a note, though, on the

        15    slaughterhouse case, that the Court ultimately did say,

        16    though, the State could ban horse meat, it just couldn't

        17    regulate it in a way inconsistent with the federal regulation.

        18              MR. FREDERICK:    Well, it was dicta, and that was

        19    not -- there was no ban at issue in that particular case.               I'm

        20    not sure how far the dicta gets you in a situation like what

        21    we're talking about here, where the express words of the

        22    statute are to ensure access.        I would submit that that just

        23    doesn't help the State here.

        24              And then with respect to PG&E, the states here

        25    obviously retain their traditional authority over economic



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA237
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 242 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 41 of 56 PageID #: 882
                                                                                      39


         1    electric utilities, but that doesn't go to the question we

         2    have here, which is that there is no state role for

         3    FDA-approved drugs in these particular circumstances.

         4              To be sure, as all members of the public can offer

         5    comments when the FDA is reconsidering its rules and

         6    periodically updating them, but the State can't override the

         7    FDA's determination what is necessary for an element to assure

         8    a safe use.

         9              On the major questions doctrine, Congress gave FDA

        10    authority to regulate access to these REMS drugs so that it

        11    can review the scientific and underlying aspects of the

        12    restrictions, and it endorsed with its approval when it did

        13    that in 2007.     That's in Section 909 of the act itself, the

        14    statutes at large version of the act.

        15              And so I think that it's important to say that, unlike

        16    the West Virginia versus EPA case -- what the EPA was seeking

        17    to do was to create a nationwide rule regarding electric power

        18    generation and its climate consequences.          What the FDA did

        19    here was exactly what Congress told it to do, take these drugs

        20    that are subject to the REMS that you have approved under

        21    Subpart H, continue to refine those rules; if they need to be

        22    periodically updated, do that, and make those rules uniform

        23    and applicable nationally.       And to be told otherwise would be

        24    really to create enormous chaos.

        25              And it's not just in the drug industry and the



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA238
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 243 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 42 of 56 PageID #: 883
                                                                                      40


         1    distribution of drugs, but it's in health insurance,

         2    retraining for providers, the effects on interstate commerce

         3    regarding when particular drugs are available and when they

         4    are not.

         5               And the State just simply refuses to acknowledge that

         6    in 355-1 itself, Congress said to do these rules in a way that

         7    do not unduly burden the system, the healthcare system, and

         8    that's exactly what this functional ban is trying to do.

         9               Now, flipping over to the Commerce Clause, let me

        10    address the Pike balancing because that is what we are seeking

        11    to do here.

        12               There are interstate effects for the reasons that I've

        13    just outlined, and the court -- the cases properly understood

        14    it's an effort by the State that will have burdensome effects

        15    on interstate commerce, not just in drug delivery, not just

        16    pharmacies, but in all manner of education for providers, for

        17    healthcare delivery, for insurance provision, and all of these

        18    aspects of the healthcare system are interstate in their

        19    dimensions.

        20               And if you were to accept the State's argument here,

        21    you would be opening up exactly the kind of problem that Chief

        22    Justice Roberts noted in his separate opinion in National

        23    Pork, which is to take what should be a national common market

        24    and fragment it so that states are each issuing their own

        25    rules in a way that would alter the balances that are intended



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA239
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 244 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 43 of 56 PageID #: 884
                                                                                       41


         1    to be struck by having national arguments.

         2              Now, ultimately the State's argument boils down to the

         3    idea that 355-1 applies to most everything except for

         4    pregnancy termination, and that means that there is actually

         5    no limiting principle to what the State is arguing.            Because

         6    if you create judicially an exception to the words of 351 to

         7    apply -- 355-1 to apply to all the drugs that have been

         8    approved by the FDA subject to this limited subset, you're

         9    inviting states to say, well, we think small pox is different,

        10    we think vaccines are different, we think that acne is

        11    different, we think that polio is different.

        12              These are all drugs on the list of 16 that, when

        13    Congress enacted the 2007 act, it expressly incorporated and

        14    deemed them to have in effect REMS subject to the FDA's

        15    considered judgment.

        16              And I would submit that I'm not aware of any case --

        17    and I've argued many cases involving preemption -- that has

        18    been decided solely on the basis of a presumption against

        19    preemption.    And the reason why is because the whole concept

        20    behind the presumption is to try to understand what did

        21    Congress mean in particular circumstances, what was the scope

        22    of its intent and effect on state law.          But here, where the

        23    other side doesn't even talk about the statute that Congress

        24    enacted with any kind of detail, you can't simply, I would

        25    submit respectfully, decide, well, the presumption applies and



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA240
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 245 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 44 of 56 PageID #: 885
                                                                                      42


         1    so, therefore, the State can do what it wants notwithstanding

         2    the enactment that Congress made.

         3               Let me address the telemedicine question that you

         4    posed.    We do think --

         5               THE COURT:   Before you do, let me ask you another

         6    question about National Pork.        And I admit I've struggled with

         7    trying to figure out -- I appreciate the thoughtfulness with

         8    which each side briefed the issues, as it does seem clear to

         9    me from reading Judge Gorsuch's opinion that the Court agreed

        10    that Pike should still be applied.

        11               But I'm troubled that throughout that part of his

        12    decision, which was joined by the other judges, it's clearly

        13    part of the majority, that he often, I think three or four

        14    times, made reference to the fact that, in his view, the

        15    states still had the authority to enact laws and regulations

        16    that pertain to health and welfare, things like that -- and

        17    I'm sorry I don't have the language right in front of me.

        18               But, as I read it, he said Pike is still good law, but

        19    it doesn't go as far as maybe some would argue -- have been

        20    arguing.    But that in any event, even when we examine Pike, we

        21    have a setting where states are still traditionally able to

        22    set laws and regulations pertaining to healthcare.

        23               MR. FREDERICK:   Your Honor, I think that the proper

        24    way to understand Justice Gorsuch's opinion is in context

        25    where I think six justices disagreed with his way of limiting



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA241
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 246 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 45 of 56 PageID #: 886
                                                                                      43


         1    Pike balancing.       And so there is a certain quality of the

         2    Supreme Court's National Pork decision which you have to kind

         3    of create a chart and then figure out which justice fits into

         4    which bucket.

         5               The way we've outlined it in our brief, our

         6    supplemental brief is to try to explain that Pike balancing

         7    can apply and has applied in situations where you're comparing

         8    straight economic considerations with considerations that, on

         9    their face, do not appear to be economic.

        10               But where the Chief Justice's opinion is particularly

        11    helpful for our side, we believe, is in dealing with what are

        12    called derivative harms.       And that's where if you were to take

        13    the idea of safety as an extant value that you wanted to

        14    promote through a state law, there actually is an economic

        15    consequence.

        16               And as we pointed out in our supplemental brief, to

        17    force a woman to carry to term is 14 times higher mortality

        18    rate than to have a safe termination of pregnancy.             There are

        19    economic consequences to the medical care system, to the drug

        20    delivery system by having that forced pregnancy all the way to

        21    term, and those economic consequences do have interstate

        22    effects.

        23               Now, it is true that in our complaint we didn't plead,

        24    you know, fully elaborately.        What we said is that we believe

        25    that the State through the ban does have these interstate



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA242
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024     Pg: 247 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 46 of 56 PageID #: 887
                                                                                      44


         1    effects.    I think it's sufficient for pleading purposes,

         2    especially as amplified by the briefing and argument today.

         3    But for purposes of accepting our allegations to be true, I

         4    think we're at a stage here where we easily should be

         5    surmounting a motion to dismiss where the allegations in the

         6    complaint are assumed to be true.

         7               And where you take that kind of derivative harm

         8    allegation and you do apply certain economic consequences to

         9    that kind of what is called a safety rationale, there are

        10    economic forces on both sides to balance.           And if you were

        11    just talking about safety in one realm, you have to understand

        12    what those consequences might be.

        13               THE COURT:   All right.    I interrupted you when you

        14    were talking about --

        15               MR. FREDERICK:   I just wanted to say on the

        16    telemedicine ban, we agree with Your Honor that that is still

        17    in effect, that West Virginia does ban and that this is a

        18    direct conflict -- we talk about this in paragraph 73(c) of

        19    our complaint, where the FDA specifically considered and

        20    rejected an in-person requirement.            That we allege at

        21    paragraph 88 of our complaint.

        22               And so when you look at the FDA's rejection of an

        23    in-person requirement, the State's ban on telemedicine, I

        24    think you are drawn to the conclusion that West Virginia says

        25    you can only do this in person whereas the federal government



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA243
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 248 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 47 of 56 PageID #: 888
                                                                                      45


         1    has said that's not necessary, and that is a conflict

         2    directly.

         3               THE COURT:   All right.

         4               MR. FREDERICK:    If the Court has no further

         5    questions --

         6               THE COURT:   I do have one sort of general question,

         7    and that is, as you noted here, we're at a motion to dismiss

         8    stage.    So in your view, if I deny this motion, what sort of

         9    discovery fact development do you believe will ensue?

        10               MR. FREDERICK:    Your Honor, the way we would envision

        11    the progress of the case is that, upon your denial of the

        12    motion to dismiss, the parties would confer.           We believe that

        13    within 45 days we could offer cross motions for summary

        14    judgment that would be based on affidavits.          I think the

        15    preemption arguments are law-based arguments, they are not

        16    fact-based arguments.       We could probably do preemption just

        17    simply on the basis of what the legal requirements are.

        18               I appreciate from Your Honor's standing ruling that

        19    there are facts that we would submit through affidavit to

        20    support our standing, and that by Commerce Clause

        21    argumentation, we would likely submit those through affidavits

        22    as well.

        23               I don't think there is going to ultimately be

        24    questions where there are disputed issues of fact.             We are

        25    certainly open to working with the State to try to develop an



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA244
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 249 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 48 of 56 PageID #: 889
                                                                                       46


         1    undisputed statement of facts through affidavits that we would

         2    share and exchange in advance.        But our hope is that if the

         3    motion to dismiss were denied, we could move with alacrity to

         4    develop what would be a case that would fully satisfy Your

         5    Honor's earlier ruling and the necessities.

         6              We all appreciate this case is going to go up on

         7    appeal, and our objective would be to provide an ample record

         8    so that a ruling that would invalidate the State's criminal

         9    abortion ban would be sustained on appeal.

        10              THE COURT:    All right.    Thank you.

        11              All right.    Ms. Hawley, do you want to reply?

        12              MS. HAWLEY:    Thank you, Your Honor.        A couple of

        13    things here.

        14              First, Your Honor, West Virginia in no way concedes

        15    that its state law that protects unborn children is in any way

        16    directed at mifepristone or the healthcare system.

        17              West Virginia has been clear in its pleading, in its

        18    state law and argument today that what West Virginia law does

        19    is seek to protect unborn children, maternal health, things

        20    that Dobbs expressly said were within the province of states

        21    and their elected representatives.            So in no way do we concede

        22    that West Virginia is trying to interfere with the healthcare

        23    system.

        24              With respect to --

        25              THE COURT:    But the law is aimed only at doctors.           It



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA245
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 250 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 49 of 56 PageID #: 890
                                                                                      47


         1    doesn't make it a crime or other sanction for a woman who

         2    decides to have an abortion, does it?

         3              MS. HAWLEY:    Well, Your Honor, I think that's

         4    recognizing that the State believes there are two victims of

         5    abortion, both the unborn child and often the woman who

         6    obtains one.    So I think the State is being cognizant that

         7    women are sometimes in difficult situations and instead of

         8    saying that, in these situations, we're not going to go after

         9    the woman who may be suffering or in a strait, but instead

        10    we're going to say that providers cannot provide that.

        11              For that reason, Your Honor, I think the impossibility

        12    claim absolutely follows.       There is no case that I'm aware, my

        13    counsel on the other side didn't cite any, in which

        14    impossibility preemption is found when it's -- when the

        15    parties regulated are different parties.

        16              Counsel on the other side mentioned, you know, a woman

        17    might be able to have one federally, have an abortion but not

        18    have an abortion in West Virginia, but that is not how

        19    impossibility preemption works.        It looked at whether in Wyeth

        20    the drug company's label was acceptable under federal law and

        21    under state law.     Here, the drug company, GenBioPro, has no

        22    impossibility of complying both with federal and state law.

        23              In addition, Your Honor, counsel for the opposing side

        24    talked a lot about chaos.       But to be clear, were this Court to

        25    find that the REMS provision did preempt state law, that would



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA246
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 251 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 50 of 56 PageID #: 891
                                                                                      48


         1    be a sea change.     REMS provisions have been around since 2007.

         2    Complimentary to those REMS provisions, states have long

         3    required things like in-person visits.

         4              If you're going to prescribe an opioid, it's not

         5    unusual for a state to say you need to do that in person so

         6    the doctor can explain the severe risks --

         7              THE COURT:    Are they covered by the --

         8              MS. HAWLEY:    They are, Your Honor.      Yes, sir.

         9              THE COURT:    -- by the elements intended to ensure safe

        10    use as well?

        11              MS. HAWLEY:    I believe so, Your Honor.       And so we're

        12    talking about drugs here that, again, are a particular narrow

        13    category of drugs that have a grave risk.

        14              Counsel on the other side talked a lot about this

        15    statute, and that's exactly where Your Honor should focus.              If

        16    we look at Section 355-1, again, we do think the presumption

        17    against preemption applies here precisely because it requires

        18    in this area that has traditionally been governed by the

        19    states for this Court to find a clear indication that Congress

        20    intended access.     That is nowhere in that statute.

        21              Section 355-1 does talk about access, but it talks

        22    about access with respect to what FDA itself may do.            FDA may

        23    not unnecessarily impede access.        It in no way suggests that

        24    states will be stripped of their traditional authority to

        25    compliment the FDCA and the FDA's authority, Your Honor.



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA247
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 252 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 51 of 56 PageID #: 892
                                                                                      49


         1               Also, I think that one thing that's sort of striking

         2    and missing from our discussion here is the Biden

         3    Administration, HHS, the Department of Justice has been

         4    forthright in its pursuit of abortion availability to the

         5    extent that complies with law.        But, Your Honor, the FDA is

         6    not here today.       And on pages 16 and 17 of our brief, we cite

         7    FDA questions and answers that establish that the FDA has long

         8    recognized that state law does in fact control some of the

         9    things that are regulated by the REMS.

        10               In particular, the FDA concedes that, whereas the REMS

        11    allow for nonphysician providers, the FDA tells providers go

        12    and check with your state.       Your state might have other

        13    regulations that compliment these REMS, and you need to abide

        14    by them.    I think the indication from the FDA here is that

        15    states are able to do what they've always been able to do

        16    under the FDCA, and that's to compliment.

        17               Just a few words, Your Honor, on field preemption.           I

        18    think rather than being a narrow argument, it's quite a broad

        19    argument to say that anytime Congress says shall to an agency,

        20    that means that any complimentary state law is preempted.

        21               With respect -- Locke was a ports and waterways case.

        22    Here we're talking about health and safety, which is a

        23    traditional area of state concern, whereas ports, of course,

        24    are a traditional area of federal concern.          So I don't think

        25    that case helps a lot.      Nor does the shall language.



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA248
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 253 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 52 of 56 PageID #: 893
                                                                                      50


         1               With respect to impossibility, we've talked about

         2    that.     We've got different -- different actors here, so

         3    impossibility preemption doesn't apply.

         4               And when you get to obstacle preemption, Your Honor,

         5    in my colleague on the other side's brief, they note that

         6    purpose doesn't matter, but that is not correct under Supreme

         7    Court law.     If you look at PG&E, if you look at Virginia

         8    Uranium mining, if you look at Harris, all of those cases

         9    plainly say that when you're looking at the sort of purpose

        10    requirement for preemption, you can look at why the state did

        11    what it did.

        12               When we look at West Virginia, what West Virginia did

        13    here was say we want to protect unborn life.           We don't care

        14    how.    We don't care if it's chemical abortion drugs.          We're

        15    not messing with the healthcare system.          We want to protect

        16    unborn life.     And that really distinguishes the situation from

        17    Geier, Your Honor.

        18               I think Geier is probably the outer bounds of this

        19    sort of purpose preemption doctrine.          And what Geier

        20    specifically found was that the regulation there offered the

        21    manufacturers a choice among passive restraints, and state

        22    tort law came in and said, no, you have to have seatbelts.              In

        23    that, there was a conflict that the Court found, almost a

        24    direct conflict, but one that certainly doesn't exist here

        25    where you had different purposes.         You've got the federal



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA249
USCA4 Appeal: 23-2194     Doc: 32       Filed: 02/07/2024   Pg: 254 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 53 of 56 PageID #: 894
                                                                                      51


         1    safety purpose, and you've got the state law protection for

         2    life purpose.

         3               As Your Honor noted, Harris I think is very helpful

         4    here.     It may be dicta, but in Virginia, the uranium mining

         5    case, the majority cited Harris for the proposition that

         6    slaughtering horses -- a ban on slaughtering horses would be

         7    permissible notwithstanding the nationwide regulation of

         8    slaughterhouses in general.

         9               Similar for Virginia Mining and PG&E, those cases are

        10    really clear that when you have a state directed to a

        11    different purpose, as is West Virginia's law, that survives

        12    purpose preemption.

        13               And just a few words, Your Honor, on Pike balancing.

        14    As you mentioned, it's kind of hard to dissect, you know, what

        15    garners a majority for what parts of the opinion, but were --

        16    are clear that five justices found that the allegations in

        17    that case were insufficient under the dormant Commerce Clause.

        18    I think those allegations vastly outweigh the interstate

        19    economic effects that GenBioPro has alleged here.

        20               As we mentioned, Chief Justice Roberts, my colleague

        21    on the other side relies a lot on his opinion.           I'd encourage

        22    you to look at pages 20 through 22 of that opinion.            On those

        23    pages, he expressly says that the harms must be economic, and

        24    they must be interstate.       And he in no way carves out

        25    healthcare, Your Honor.



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA250
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 255 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 54 of 56 PageID #: 895
                                                                                      52


         1              That would really flip federalism on its head to say

         2    an area, as in Wyeth, notes time and again -- or go back to

         3    Jones v. Rath or Santa Fe Railroad, or all of these cases in

         4    which the Supreme Court has noted that the state's traditional

         5    authority is to protect for health and safety, that would be

         6    flipped on its head if we could sort of say, well, this is a

         7    healthcare case, and so a dormant Commerce Clause could just

         8    run wild and preempt or undo all these sorts of state laws.

         9    So that would really be flipping on its head.

        10              In summary, Your Honor, just to quote the Chief

        11    Justice, we really sort of need sweeping extraterritorial

        12    effects under Pike balancing, and those simply don't exist

        13    here.

        14              THE COURT:    All right.    Thank you.

        15              MS. HAWLEY:    Thank you.

        16              THE COURT:    All right.    Well, I appreciate your

        17    arguments.    I'm going to take all this under advisement, of

        18    course.

        19              I think when you were here arguing standing, I was

        20    able to tell you that I thought I would have a decision within

        21    a couple of weeks.      I can tell you here, without question, it

        22    will not be in a couple of weeks, it will be considerably

        23    longer.

        24              I'm actually going to be unavailable for a while in

        25    the next few weeks, but I'll be working on this periodically,



                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA251
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024    Pg: 256 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 55 of 56 PageID #: 896
                                                                                       53


         1    and I certainly hope to get to it with some dispatch.            I

         2    appreciate how serious this issue is and how important it is

         3    to not just the litigants here, but to others as well, so I

         4    will give that considerable weight in trying to make time on

         5    my schedule to make sure that I address this as thoroughly as

         6    I can and as quickly as I can.

         7              Is there anything else that you folks need to bring to

         8    my attention today?

         9              MS. HAWLEY:    No, Your Honor.

        10              THE COURT:    If not, again, thank you for your

        11    excellent briefing and your really high-quality presentations

        12    today.    It's helpful, and I appreciate it.

        13              If there is nothing else, we'll stand adjourned.

        14              THE COURT SECURITY OFFICER:         All rise.   Court is now

        15    adjourned.

        16              THE COURT:    Thank you, folks.

        17              MR. FREDERICK:    Thank you, Your Honor.

        18              MS. HAWLEY:    Thank you, sir.

        19               (Proceedings were concluded at 2:40 p.m.)

        20                                   ---o0o---

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                                             JA252
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024   Pg: 257 of 344

          Case 3:23-cv-00058 Document 62 Filed 05/30/23 Page 56 of 56 PageID #: 897



         1    CERTIFICATION:

         2              I, Kathy L. Swinhart, CSR, certify that the foregoing

         3    is a correct transcript from the record of proceedings in the

         4    above-entitled matter as reported on May 23, 2023.

         5

         6

         7    May 30, 2023
              DATE
         8

         9    /s/ Kathy L. Swinhart
              KATHY L. SWINHART, CSR
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                 KATHY L. SWINHART, Official Court Reporter (304) 528-2244



                                             JA253
USCA4 Appeal: 23-2194        Doc: 32             Filed: 02/07/2024   Pg: 258 of 344

            Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 1 of 36 PageID #: 1036




                          IN THE UNITED STATES DISTRICT COURT FOR
                          THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        HUNTINGTON DIVISION


       GENBIOPRO, INC.,

                                    Plaintiff,

       v.                                                   CIVIL ACTION NO. 3:23-0058

       MARK A. SORSAIA, in his official capacity
       as Prosecuting Attorney of Putnam County and
       PATRICK MORRISEY, in his official capacity
       as Attorney General of West Virginia,

                                    Defendants.

                                MEMORANDUM OPINION AND ORDER

               Pending before the Court are Defendant Mark A. Sorsaia and Defendant Patrick

       Morrisey’s Motions to Dismiss. ECF Nos. 17 & 19. For the following reasons, the Motions to

       Dismiss are GRANTED, in part, and DENIED, in part.



                                             I. BACKGROUND

               Plaintiff GenBioPro, Inc. (“GenBioPro”) is the only United States manufacturer of

       generic mifepristone. Pl.’s Opp’n to Def. Morrisey’s Mot. to Dismiss at 1, ECF No. 35.

       Mifepristone is a Food and Drug Administration (“FDA”) approved and regulated medication

       which is commonly prescribed as step one in a two-step medication abortion regimen.

       Compl. ¶ 2, ECF No. 1. Mifepristone and misoprostol—the other medication abortion drug—are

       Plaintiff’s “sole source of revenue.” Id. ¶ 23. Mifepristone has been approved for nationwide use

       and sale by the FDA, and GenBioPro sells the drug throughout a national market. Id. ¶ 77.




                                                      JA254
USCA4 Appeal: 23-2194        Doc: 32             Filed: 02/07/2024         Pg: 259 of 344

             Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 2 of 36 PageID #: 1037




                On June 24, 2022, the Supreme Court decided Dobbs v. Jackson Women’s Health

         Organization, reversing Roe v. Wade 1 and “return[ing] the issue of abortion to the people and

         their elected representatives.” 142 S. Ct. 2228, 2279 (2022). Following this grant of authority,

         West Virginia passed the Unborn Child Protection Act (“UCPA”) in September 2022.

         W. Va. Code § 16-2R-1 et seq. The act of performing, inducing, or attempting to perform or

         induce an abortion is now illegal in the State, subject to a limited series of exceptions. 2

         W. Va. Code § 16-2R-3. The UCPA expressly includes abortions performed or induced via

         “medicine” or “drug.” W. Va. Code § 16-2R-2. The Act defines the prohibited “attempt to

         perform or induce an abortion” as “an act or the omission of an act that, under the circumstances

         as the person so acting or omitting to act believes them to be, constitutes a substantial step in a

         course of conduct intended to culminate in an abortion.” Id. If a licensed medical professional

         “knowingly and willfully performs, induces, or attempts to perform or induce an abortion” with

         the intent to violate the UCPA, “the licensing board shall revoke medical professional's license.”

         W. Va. Code § 16-2R-7. If a formerly licensed medical professional or any other person

         “knowingly and willfully performs, induces, or attempts to perform or induce an abortion,” they

         are guilty of a felony and subject to imprisonment for “not less than three nor more than 10

         years.” W. Va. Code § 61-2-8(a), (b).



         1
           410 U.S. 113 (1973).
         2
           Under the UCPA, “[a]n abortion may not be performed or induced or be attempted to be
         performed or induced unless in the reasonable medical judgment of a licensed medical
         professional: (1) The embryo or fetus is nonviable; (2) The pregnancy is ectopic; or (3) A
         medical emergency exists.” W. Va. Code § 16-2R-3(a). This prohibition does not apply “to an
         adult within the first 8 weeks of pregnancy if the pregnancy is the result of sexual assault . . . or
         incest” and the patient has taken steps to report the assault or incest to law enforcement. W. Va.
         Code § 16-2R-3(b). Likewise, the prohibition does not apply to “a minor or an incompetent or
         incapacitated adult within the first 14 weeks of pregnancy if the pregnancy is the result of sexual
         assault … or incest” and either the patient has taken steps to report the assault or incest to law
         enforcement or has received medical treatment for the same. W. Va. Code § 16-2R-3(c).




                                                        JA255
USCA4 Appeal: 23-2194       Doc: 32           Filed: 02/07/2024        Pg: 260 of 344

            Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 3 of 36 PageID #: 1038




                Prior to the decision in Dobbs and the passage of the UCPA, West Virginia had

         provisions in place which Plaintiff asserts greatly limited the prescription and sale of

         mifepristone. Compl. ¶¶ 87-88. These restrictions required a waiting period and counseling

         before obtaining an abortion. W. Va. Code § 16-2I-2. The UCPA provides that this restriction

         has no effect while the UCPA is in force but would “become immediately effective” again

         should the UCPA “be judicially determined to be unconstitutional.” W. Va. Code § 16-2R-9.

         Further pre-UCPA provisions continue to prohibit providers from prescribing medication

         abortion drugs via telemedicine. W. Va. Code §§ 30-3-13a(g)(5); 30-1-26(b)(9).

                In contrast, the FDA has continually eased restrictions on access to mifepristone. The

         FDA is tasked with promulgating regulations concerning the approval of prescription

         medications for sale under the Food, Drug, and Cosmetic Act (“FDCA”). 21 U.S.C. § 393(b)(1).

         Under regulations known as “Subpart H,” the FDA approves drugs which treat “serious or life-

         threatening illnesses and that provide meaningful therapeutic benefit to patients over existing

         treatments” subject to “restrictions to assure safe use.” 21 C.F.R. §§ 314.500, 314.520;

         Compl. ¶ 36. According to the Complaint, in 2000, Danco Laboratories, LLC’s Mifeprex—

         name-brand mifepristone—was approved under the Subpart H regulatory scheme, which

         imposed certain restrictions on prescription and administration of the drug to assure safe use.

         Compl. ¶¶ 38-39. In 2007, Congress enacted the Food and Drug Administration Amendments

         Act (“FDAAA”), requiring that drugs formerly approved under Subpart H be re-approved under

         a new regulatory scheme, entitled the Risk Evaluation and Mitigation Strategy (“REMS”). See

         21 U.S.C. §§ 355-1(a), (g)(4)(B), (h); Compl. ¶ 41. If the FDA determines that a drug may cause

         an “adverse drug experience,” then the agency must design and implement a REMS. § 355-1(a),

         (b)(1). However, any restrictions imposed under the regulatory scheme must “not be unduly




                                                     JA256
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024         Pg: 261 of 344

             Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 4 of 36 PageID #: 1039




         burdensome on patient access to the drug.” § 355-1(f)(2)(C). The FDA must reassess a drug’s

         REMS periodically. § 355-1(d).

                Following the passage of the FDAAA and the implementation of the REMS schema, the

         manufacturer of Mifeprex proposed a REMS for its product to the FDA. Compl. ¶ 55. The FDA

         approved the proposed REMS in 2011. Id. The 2011 REMS 3 allowed Mifeprex to be prescribed

         by certified physicians up to 49 days of pregnancy, dispensed in certain healthcare facilities, and

         taken in the provider’s clinic. Id. ¶ 56. In 2016, the FDA revised the Mifeprex REMS, 4

         increasing the gestational age through which the drug is indicated, expanding those who could be

         certified to prescribe Mifeprex from “physicians” to “healthcare providers,” and reducing the

         number of required patient visits to their healthcare providers. Id. ¶ 58. In April 2019, the FDA

         approved GenBioPro’s generic version of mifepristone, subject to the same REMS as Mifeprex. 5

         Id. ¶¶ 60-61. In response to the COVID-19 pandemic two years later, the FDA announced it

         would stop enforcing the in-person dispensation requirement of the mifepristone REMS. Id. ¶ 62.

         On January 3, 2023, 6 the FDA promulgated a new REMS 7 for mifepristone which no longer

         limits dispensation of the drug to healthcare settings, thereby allowing patients to receive the



         3
           U.S. Food & Drug Admin., NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg, Risk
         Evaluation and Mitigation Strategy (REMS) (June 2011), https://perma.cc/3S5M-WMQ6.
         4
           U.S. Food & Drug Admin., NDA 020687 MIFEPREX (mifepristone) Tablets, 200 mg, Risk
         Evaluation and Mitigation Strategy (REMS) (Mar. 2016), https://perma.cc/KC6Z-NQUA.
         5
           U.S. Food & Drug Admin., Mifepristone Tablets, 200 mg, Risk Evaluation and Mitigation
         Strategy (REMS) Single Shared System for Mifepristone 200mg (Apr. 2019),
         https://perma.cc/2XSU-3HYT.
         6
           The Court notes that while the REMS was most recently updated in March 2023 “to add space
         to allow for additional contact information on the forms” and “correct a typographical error,” the
         last significant modification was in January 2023. See Update History, Mifepristone, Shared
         System REMS, U.S. Food & Drug Admin., https://perma.cc/RE9X-NUJF (last accessed Aug. 9,
         2023).
         7
           U.S. Food & Drug Admin., Mifepristone Tablets, 200 mg, Risk Evaluation and Mitigation
         Strategy (REMS) Single Shared System for Mifepristone 200mg (Mar. 2023),
         https://perma.cc/224Y-KFLE [hereinafter 2023 REMS].




                                                       JA257
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024         Pg: 262 of 344

             Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 5 of 36 PageID #: 1040




         medication either by mail or from certified pharmacies and no longer requiring in-person visits to

         healthcare providers. 8 Id. ¶ 66.

                 The FDA made these changes to the REMS in response to overwhelming evidence of the

         safety and efficacy of mifepristone. Id. ¶ 38, 58-59, 62-64. Decades of usage of the drug—both

         in the United States and abroad—as well as a rigorous agency and pharmaceutical industry

         review process have demonstrated that the FDA may promulgate REMS allowing for increased

         access without risking patient safety. See, e.g., U.S. Food & Drug Admin., Questions & Answers

         on Mifepristone for Med. Termination of Pregnancy Through Ten Weeks Gestation (Jan. 4, 2023)

         (discussing safety and access determinations made by the agency), https://perma.cc/6TDS-F9FL

         (last accessed Aug. 9, 2023). As summarized by Food and Drug Law and Health Law Scholar

         amici, “mifepristone has been subject to more regulatory and congressional scrutiny than perhaps

         any other prescription drug.” ECF No. 40-1, at 5. Each time the REMS were altered, the FDA

         “used an internal team of experts . . . to conduct medical, chemistry, pharmacology, statistical,

         clinical pharmacology, and biopharmaceutrics reviews of all data” in accordance with the FDCA

         and agency practice. Id. at 10. The result of this heightened scrutiny and extensive review is a

         REMS which unambiguously assures the safety of the drug without any additional safeguards




         8
           On the eve of entry of this Opinion, the Fifth Circuit issued its decision affirming a stay of the
         2016 REMS and the FDA’s 2021 non-enforcement decision, later codified in the 2023 REMS.
         All. for Hippocratic Med. v. FDA, — F.4th —, 2023 WL 5266026 (5th Cir. Aug. 16, 2023). The
         Court has reviewed the Fifth Circuit decision and does not find its primary determinations to be
         persuasive. Nevertheless, the Court notes the direct effect of that decision on this case, as
         mifepristone is currently subject to the “conditions for use that existed in 2016” pending the
         litigation of Alliance for Hippocratic Medicine. Id. at *1-2. However, the Fifth Circuit noted that
         its “holding is subject to the prior order of the Supreme Court, which stayed the district court’s
         order pending resolution of this appeal and disposition of any petition for writ of certiorari.” Id.
         at * 4. Regardless, 2023 REMS remains law, and the Court will consider Plaintiff’s claims as to
         those restrictions.




                                                       JA258
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024         Pg: 263 of 344

            Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 6 of 36 PageID #: 1041




         from the States. Defendants have not disputed the safety of the mifepristone REMS, nor could

         they.

                 Confronted with West Virginia’s additional barriers to prescribing its product, Plaintiff

         filed suit in this Court on January 25, 2023, alleging that the UCPA and prior restrictions violate

         the Supremacy and Commerce Clauses by limiting the sale of mifepristone in West Virginia.

         Prosecuting Attorney of Putnam County Mark Sorsaia and Attorney General of West Virginia

         Patrick Morrisey were named as defendants in their official capacities. Both Defendants have

         filed motions to dismiss. ECF Nos. 17 & 19. Each Defendant disputes GenBioPro’s standing, as

         well as Plaintiff’s interpretation of the Supremacy and Commerce Clauses. The Court heard oral

         argument on the issue of standing on April 24, 2023, and subsequently issued a Memorandum

         Opinion and Order finding that Plaintiff had standing on behalf of itself and on behalf of third-

         party vendees. ECF No. 54. On May 23, 2023, the Court heard oral argument on the remainder

         of the Motions to Dismiss. Accordingly, the matter is now ripe for adjudication.



                                             II. LEGAL STANDARD

                 To survive a motion to dismiss, a complaint must contain “a short and plain statement of

         the claim showing [the plaintiff] is entitled to relief.” Fed. R. Civ. P. 8(a)(2). While the facts

         alleged in the complaint need not be probable, the statement must contain “enough facts to state

         a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

         (2007). A claim has facial plausibility when “the plaintiff pleads factual content that allows the

         court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

         Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). In considering the plausibility of a

         plaintiff’s claim, the Court accepts all well-pleaded factual allegations in the complaint as true.




                                                       JA259
USCA4 Appeal: 23-2194         Doc: 32             Filed: 02/07/2024          Pg: 264 of 344

            Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 7 of 36 PageID #: 1042




         Id. Still, “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

         statements, do not suffice.” Id. (citation omitted).

                 Determining whether a complaint states a plausible claim is a “context-specific task that

         requires the reviewing court to draw on its judicial experience and common sense.” Id. at 679. If

         the court finds from its analysis that “the well-pleaded facts do not permit the court to infer more

         than the mere possibility of misconduct, the complaint has alleged—but it has not ‘show[n]’—

         ‘that the pleader is entitled to relief.’” Id. (quoting, in part, Fed. R. Civ. P. 8(a)(2)). Nonetheless,

         a plaintiff need not show that success is probable to withstand a motion to dismiss. Twombly,

         550 U.S. at 556 (“[A] well-pleaded complaint may proceed even if it strikes a savvy judge that

         actual proof of those facts is improbable, and that a recovery is very remote and unlikely.”).



                                                  III. DISCUSSION

             A. Major Questions Doctrine

             In his Motion to Dismiss, Defendant Morrisey argues that this is a major questions case. Def.

         Morrisey’s Mem. of Law in Supp. of Mot. to Dismiss at 8-10, ECF No. 20. The Supreme Court

         inaugurated the so-called “major questions doctrine” in West Virginia v. EPA, 142 S. Ct. 2587

         (2022). “Under that doctrine's terms, administrative agencies must be able to point to clear

         congressional authorization when they claim the power to make decisions of vast economic and

         political significance.” Id. at 2616 (Gorsuch, J., concurring) (cleaned up); see also Util. Air

         Regulatory Grp. v. EPA, 573 U.S. 302, 324 (2014) (“When an agency claims to discover in a

         long-extant statute an unheralded power to regulate a significant portion of the American

         economy, we typically greet its announcement with a measure of skepticism.” (internal quotation

         omitted)). Relying on a concatenation of caselaw in which agencies were found to lack the




                                                         JA260
USCA4 Appeal: 23-2194        Doc: 32           Filed: 02/07/2024        Pg: 265 of 344

            Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 8 of 36 PageID #: 1043




         authority to regulate broadly under ambiguous delegation provisions, West Virginia invalidated

         the Environmental Protection Agency’s interpretation of a broad provision in the Clean Air Act

         as granting the agency comprehensive authority to regulate national energy systems. 142 S. Ct. at

         2610-14; see also Biden v. Nebraska, 143 S. Ct. 2355, 2374 (2023) (“[W]hile the major

         questions ‘label’ may be relatively recent, it refers to ‘an identifiable body of law that has

         developed over a series of significant cases’ spanning decades.” (quoting West Virginia, 142 S.

         Ct. at 2609)). In doing so, West Virginia held that courts must “presume that Congress intends to

         make major policy decisions itself, not leave those decisions to agencies.” 142 S. Ct. at 2609

         (internal quotation omitted). As abortion is one such major policy decision, Defendant Morrisey

         argues that this Court must conclude Congress did not intend to delegate the authority to the

         FDA to decide access issues for mifepristone. See Def. Morrisey’s Mem. of Law in Supp. of

         Mot. to Dismiss at 9.

            The Court does not dispute the serious social, ethical, economic, and political issues

         implicated by abortion. There is no doubt that “terminating a pregnancy is an issue with

         ‘profound moral and spiritual implications even at its earliest stage.’” Def. Morrisey’s Mem. of

         Law in Supp. of Mot. to Dismiss at 9 (quoting Planned Parenthood of Se. Penn. v. Casey, 505

         U.S. 833, 850 (1992)) (cleaned up). And yet, the Court disagrees that either the FDA’s

         promulgation of the mifepristone REMS or GenBioPro’s arguments concerning those REMS

         implicate those major questions. The seminal major questions cases all involved novel agency

         interpretations of long-standing ambiguous regulatory provisions as major grants of authority to

         reconfigure large aspects of the economy. See West Virginia, 142 S. Ct. at 2602-04; Air Utility,

         573 U.S. at 323-24; Biden v. Nebraska, 143 S. Ct. at 2373 (involving attempted broad student

         loan forgiveness under a limited grant of emergency loan waiver authority); FDA v. Brown &




                                                      JA261
USCA4 Appeal: 23-2194        Doc: 32               Filed: 02/07/2024     Pg: 266 of 344

            Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 9 of 36 PageID #: 1044




         Williamson Tobacco Corp., 529 U.S. 120, 160 (2000) (involving attempted regulation of

         cigarettes as “drug delivery devices”).

            In contrast, here the FDA is acting narrowly pursuant to an explicit grant of authority as to a

         single prescription medication—the FDAAA’s express command that the FDA promulgate a

         REMS for Subpart H-approved drugs (including mifepristone), subject to certain delineated

         principles, including ensuring accessibility. FDAAA, Section 909(b)(1); 21 U.S.C.

         § 355-1(f)(2)(C). That is all; the FDA is not making any novel claims to any broader authority

         hidden within the FDCA or the FDAAA amendments. In other words, the FDA’s mifepristone

         REMS simply does not “effect a fundamental revision of the statute, changing it from one sort of

         scheme of regulation into an entirely different kind.” Biden v. Nebraska, 143 S. Ct. at 2373

         (quoting West Virginia, 142 S. Ct. at 2612) (cleaned up). Instead, the promulgation of the REMS

         was a routine regulatory action.

            Nor is GenBioPro claiming that either the FDCA or the FDAAA amendments contain

         previously unstated broad abortion authority. GenBioPro’s preemption argument can be

         characterized as: (1) the FDAAA commanded the FDA to consider access in promulgating a

         REMS for mifepristone; (2) pursuant to that authority, the REMS the FDA promulgated

         determined a standard of accessibility for the drug; and (3) West Virginia’s abortion laws

         conflict with this standard. See Pl.’s Opp’n to Def. Morrisey’s Mot. to Dismiss at 8-19. The

         Court will consider the cognizability of this preemption argument separately, below. But

         regardless of its validity, GenBioPro’s argument does not allege an elephant hidden in a

         mousehole.

            Defendant Morrisey argues that the FDCA “does not so much as mention abortion.” Def.

         Morrisey’s Mem. in Supp. of Mot. To Dismiss at 9. True—but nor does it mention any other




                                                        JA262
USCA4 Appeal: 23-2194        Doc: 32           Filed: 02/07/2024        Pg: 267 of 344

             Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 10 of 36 PageID #: 1045




         specific procedure, device, cosmetic, or medication it instructs the FDA to regulate. See, e.g.,

         21 U.S.C. § 321(h)(1) (defining “medical devices” the FDA may regulate without specifying any

         particular device). Defendant misunderstands the purpose and scope of the statutory grants of

         agency authority by demanding that Congress have listed every possible medical condition and

         procedure when it instructed the FDA to regulate prescription medicine generally. For

         example—imagine if Congress were forced to list every endangered species for the Endangered

         Species Act (“ESA”) to grant the Fish and Wildlife Service (“FWS”) authority to protect any

         specific at-risk organism. See 16 U.S.C. § 1531 et seq. Calling this a “major questions case” and

         demanding the FDA refrain from treating abortion medications on par with other medications

         under the FDCA would make just as much sense as demanding the FWS refrain from listing the

         snail darter as an endangered species under the ESA. See Tennessee Valley Auth. v. Hill,

         437 U.S. 153 (1978). If Defendant wishes to bring a delegation challenge, he will have to find

         standing to bring another suit.

              But, significantly, Congress did specify that drugs previously approved under Subpart H

         would be deemed in effect to have a REMS in the 2007 FDAAA amendments. 9 FDAAA,

         Section 909(b)(1). Shortly thereafter, the FDA issued a notice indicating that mifepristone was

         one of these previously approved drugs. Dept. Health & Human Servs., Identification of Drug &

         Biological Prods. Deemed to Have Risk Evaluation & Mitigation Strategies for Purposes of the

         Food & Drug Admin. Amendments Act of 2007, 73 Fed. Reg. 16313-01, 16313 (Mar. 27, 2008).

         The fact that Congress did not specify that mifepristone is to be used for abortion when it

         incorporated the drug into the REMS scheme is of no more import than its lack of specification



         9
           This is not a case where the regulatory agency relied upon an implied grant of authority. This
         list consisted of only 17 previously approved drugs and Congress undoubtedly knew that one,
         mifepristone, was used only for medication abortion.




                                                      JA263
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024          Pg: 268 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 11 of 36 PageID #: 1046




         as to isotretinoin’s usage as an acne medication. See id. Each medicine listed in the FDA’s 2008

         Notice was approved for an indicated use via Subpart H, and Congress stated that those

         approvals were to be carried over into the new REMS schema (subject to eventual FDA re-

         evaluation). An order to regulate an express list of prescription medicines under a second list of

         articulated criteria is about as granular a grant of authority as Congress ever gives an agency.

            Accordingly, the Court finds that this is not a major questions case, and the major questions

         doctrine does not bar Plaintiff’s arguments as to preemption and the dormant Commerce Clause.

         Whether the UCPA or prior restrictions violate either the Supremacy or Commerce Clause is a

         different question and is considered below.



            B. Preemption

            The Supremacy Clause provides that federal law “shall be the supreme Law of the Land; and

         the Judges in every State shall be bound thereby, any Thing in the Constitution or Laws of any

         state to the Contrary notwithstanding.” U.S. Const., art. VI, cl. 2. It follows inexorably that

         “Congress has the power to preempt state law.” Arizona v. United States, 567 U.S. 387, 399

         (2012) (citing Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000); Gibbons v.

         Ogden, 9 Wheat. 1, 210–211, 6 L.Ed. 23 (1824)). Accordingly, “the purpose of Congress is the

         ultimate touchstone in every preemption case.” Medtronic, Inc. v. Lohr, 518 U.S. 470, 485

         (1996) (internal quotation omitted). “Congress may indicate pre-emptive intent through a

         statute's express language or through its structure and purpose.” Altria Grp., Inc. v. Good, 555

         U.S. 70, 76 (2008). However, there is a presumption against preemption, especially in a field

         traditionally occupied by the States. Wyeth v. Levine, 555 U.S. 555, 565 (2009).




                                                        JA264
USCA4 Appeal: 23-2194        Doc: 32              Filed: 02/07/2024       Pg: 269 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 12 of 36 PageID #: 1047




            Generally, there are three types of preemption: (1) express preemption, (2) conflict

         preemption, and (3) field preemption. Murphy v. Nat’l Collegiate Athletic Ass’n, 138 S. Ct. 1461,

         1480 (2018); Mayor & City Council of Balt. v. BP P.L.C., 31 F.4th 178, 198 n.2 (4th Cir. 2022).

         Both “conflict” and “field” are considered types of implied preemption. Kurns v. Railroad

         Friction Prods. Corp., 565 U.S. 625, 630-31 (2012). On occasion, the Supreme Court has

         delineated further, treating “impossibility” and “obstacle” preemption as two separate entities

         within “conflict” preemption. See Arizona, 567 U.S. at 399-400. The Court has admitted that it

         “sometimes use[s] different labels” but that “these categories are not rigidly distinct.” Va.

         Uranium, Inc. v. Warren, 139 S. Ct. 1894, 1901 (2019) (quoting Crosby, 530 U.S. at 372, n.6).

         This Opinion considers both whether the challenged state provisions “conflict” with or provide

         an “obstacle” to federal law, treating these as one form of “conflict” preemption, in accordance

         with e.g., Murphy, 138 S. Ct. at 1480.

            The FDCA does not include an express preemption provision. See Wyeth, 555 U.S. at 574

         (“If Congress thought state-law suits posed an obstacle to its objectives, it surely would have

         enacted an express preemption provision at some point during the FDCA's 70–year history.”)

         The 1962 Amendments to the FDCA, however, include an express preemption saving clause. See

         Drug Amendments of 1962, § 202, 76 Stat. 793 (“Nothing in the amendments made by this Act

         to the Federal Food, Drug, and Cosmetic Act shall be construed as invalidating any provision of

         State law . . . unless there is a direct and positive conflict between such amendments and such

         provision of State law”). Of further import, regulation of health and safety is a field that States

         have traditionally occupied. Hillsborough Cnty., Fla. v. Automated Med. Labs., Inc.,

         471 U.S. 707, 716 (1985). The Supreme Court has made it clear that regulating abortion is a

         matter of health and safety upon which States may appropriately exercise their police power. See




                                                       JA265
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024         Pg: 270 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 13 of 36 PageID #: 1048




         Dobbs, 142 S. Ct. at 2279. Regulation of medical professionals—which the UCPA directly

         accomplishes—is arguably a field in which the States have an even stronger interest and history

         of exercising authority. See id. at 2284 (emphasizing the States’ interest in “the preservation of

         the integrity of the medical profession”); Dent v. West Virginia, 129 U.S. 114 (1889) (holding

         that West Virginia has the authority to regulate medical licensure).

            Keeping these principles in mind, the Court will consider the arguments as to implied

         preemption.

            a. Conflict Preemption

            As an antecedent matter, the Court cannot find any evidence of Congressional intent in the

         FDCA or FDAAA amendments to preempt state laws of the type challenged here. Again, “the

         purpose of Congress is the ultimate touchstone in every preemption case.” Wyeth, 555 U.S. at

         565 (quoting Medtronic, 518 U.S. at 485). Congressional intent must be determined in context,

         as “our interpretation of [statutory] language does not occur in a contextual vacuum.” Medtronic,

         518 U.S. at 485.

            In determining the purpose of the contested FDAAA “access” provisions, the Court “begin[s]

         by analyzing the statutory language” as “[w]e must enforce plain and unambiguous statutory

         language according to its terms.” Hardt v. Reliance Standard Life Ins. Co., 560 U.S. 242, 251

         (2010). The relevant portion of the statute reads as follows:

                (f) Providing safe access for patients to drugs with known serious risks that
                would otherwise be unavailable

                (1) Allowing safe access to drugs with known serious risks

                The Secretary, in consultation with the offices described in subsection (c)(2), may
                require that the risk evaluation and mitigation strategy for a drug include such
                elements as are necessary to assure safe use of the drug, because of its inherent
                toxicity or potential harmfulness, if the Secretary determines that—




                                                       JA266
USCA4 Appeal: 23-2194     Doc: 32            Filed: 02/07/2024             Pg: 271 of 344

             Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 14 of 36 PageID #: 1049




                        (A) the drug, which has been shown to be effective, but is
                        associated with a serious adverse drug experience, can be approved
                        only if, or would be withdrawn unless, such elements are required
                        as part of such strategy to mitigate a specific serious risk listed in
                        the labeling of the drug; and

                        (B) for a drug initially approved without elements to assure safe
                        use, other elements under subsections (c), (d), and (e) are not
                        sufficient to mitigate such serious risk.

                 (2) Assuring access and minimizing burden

                 Such elements to assure safe use under paragraph (1) shall—

                        (A) be commensurate with the specific serious risk listed in the
                        labeling of the drug;

                        (B) within 30 days of the date on which any element under
                        paragraph (1) is imposed, be posted publicly by the Secretary with
                        an explanation of how such elements will mitigate the observed
                        safety risk;

                        (C) considering such risk, not be unduly burdensome on patient access to
                        the drug, considering in particular—

                                (i) patients with serious or life-threatening diseases or
                                conditions;

                                (ii) patients who have difficulty accessing health care (such
                                as patients in rural or medically underserved areas); and

                                (iii) patients with functional limitations; and

                        (D) to the extent practicable, so as to minimize the burden on the health
                        care delivery system—

                                (i) conform with elements to assure safe use for other drugs
                                with similar, serious risks; and

                                (ii) be designed to be compatible with established
                                distribution, procurement, and dispensing systems for
                                drugs.

                 21 U.S.C. § 355-1(f) (italics added, bold in original).




                                                     JA267
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024         Pg: 272 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 15 of 36 PageID #: 1050




                Plaintiff argues that this language—repeatedly emphasizing ensuring access and

         minimizing undue burden—shows Congressional intent to designate access determinations for

         drugs subject to a REMS with elements to assure safe use to the FDA, thus preempting any

         conflicting state access determinations. Admittedly, Section 355-1(f)(2) requires the FDA to

         consider patient access and burden. However, this requirement is plainly a limitation on the

         FDA’s own restrictions on a drug, rather than a command that the FDA assure access for all

         patients: “[s]uch elements to assure safe use under paragraph (1) shall” not be “unduly

         burdensome.” Accordingly, Congress’s purpose in directing the FDA to consider burden and

         access when promulgating REMS with elements to assure safe use was to ensure that the

         elements themselves would not be unduly burdensome upon patient access.

            The context in which the FDAAA was passed confirms this interpretation. At the time

         Congress passed the FDAAA in 2007, mifepristone was approved for usage up to 49 days of

         pregnancy under the Subpart H regulatory scheme. Compl. ¶¶ 39, 58. In 2007, Planned

         Parenthood v. Casey’s “undue burden” or “substantial obstacle” standard was the touchstone for

         assessment of the constitutionality of abortion restrictions, and the Court recognized “the right of

         the woman to choose to have an abortion before viability.” 505 U.S. at 846; see Stenberg v.

         Carhart, 530 U.S. 914, 921 (2000) (providing that “a law designed to further the State's interest

         in fetal life which imposes an undue burden on the woman's decision before fetal viability is

         unconstitutional” (internal quotation marks omitted)); Cincinnati Women’s Servs., Inc. v. Taft,

         468 F.3d 361, 367-69 (6th Cir. 2006) (discussing and applying Casey). While debate over the

         ethics of abortion roiled the nation, no Congressperson in 2007 could have credibly doubted that

         abortion was legal up to 49 days of pregnancy, long before the point of viability. In fact, in 2006,

         the Sixth Circuit upheld a district court’s preliminary injunction on an Ohio ban of off-label




                                                       JA268
USCA4 Appeal: 23-2194        Doc: 32           Filed: 02/07/2024         Pg: 273 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 16 of 36 PageID #: 1051




         usage of mifepristone as unconstitutional under Casey and Carhart. Planned Parenthood

         Cincinnati Region v. Taft, 444 F.3d 502, 508-09, 518 (6th Cir. 2006). Consequently, while

         Congress deemed mifepristone to have in effect a REMS, and included language concerning

         access in the REMS scheme, it is not plausible to infer an intent from this language to preclude

         state abortion law by granting mifepristone access decisions to the FDA. In 2007, the issue of

         access to abortion up to 49 days of pregnancy was conclusively determined (so we thought) by

         the Supreme Court, and an appellate court had applied that standard to mifepristone. Absent

         express language to the contrary, the Court finds it difficult to conclude that Congress intended

         for the FDAAA access language to preempt state abortion restrictions which would have been

         unconstitutional at the time the FDAAA was passed.

            Therefore, the Court finds that the UCPA and abortion restrictions do not pose an

         “unacceptable obstacle to the accomplishment and execution of the full purposes and objectives

         of Congress.” Wyeth, 555 U.S. at 563-64 (internal quotation omitted); Hines v. Davidowitz, 312

         U.S. 52, 67 (1941) (seminal case finding obstacle preemption). As discussed above, “conflict”

         preemption has been variously deconstructed into “conflict,” “impossibility,” and “obstacle”

         preemption. Some Supreme Court decisions have elevated obstacle preemption to sit alongside

         field and conflict preemption, treating the later as synonymous with “impossibility” preemption,

         while others conflate “obstacle” and “conflict” preemption. Compare, e.g., Virginia Uranium,

         139 S. Ct. at 1907 (treating “conflict” and “obstacle” preemption as synonymous), with Arizona,

         567 U.S. at 399 (delineating two types of “conflict” preemption as “impossibility” and

         “obstacle” preemption). Regardless of taxonomies, both parties treat “conflict” or “impossibility”

         preemption and “obstacle” preemption as distinct pathways to an implied preemption holding,




                                                      JA269
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024         Pg: 274 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 17 of 36 PageID #: 1052




         and the Court will consider those claims as they have arisen before it. See Def. Morrisey’s Mem.

         of Law in Supp. of Mot. to Dismiss at 11; Pl.’s Opp’n to Def. Morrisey’s Mot. to Dismiss at 14.

            The Court finds that while the FDAAA requires the FDA to consider accessibility in making

         REMS determinations, the plain language of the statute indicates that “access” considerations are

         made with regards to the FDA’s own limitations it imposes upon obtaining medications subject

         to a REMS, rather than broadly legislating geographical access to the entire population. The

         context in which the FDAAA was passed confirms this interpretation of the objectives of

         Congress. Any additional or incidental burden West Virginia has placed upon patients wishing to

         obtain mifepristone does not provide an unconstitutional “obstacle” to the FDAAA’s

         unambiguous directive to the FDA.

            Congruently, the Court rejects Plaintiff’s assertion of “direct” or “impossibility” type conflict

         preemption. Conflict preemption may occur when “compliance with both federal and state

         regulations is a physical impossibility.” Arizona, 567 U.S. at 399 (quoting Fla. Lime & Avocado

         Growers, Inc. v. Paul, 373 U.S. 132, 142-143 (1963)). The Supreme Court has “long recognized

         that state laws that conflict with federal law are ‘without effect.’” Altria Group, 555 U.S. at 76

         (quoting Maryland v. Louisiana, 451 U.S. 725, 746 (1981)). Theoretically—regardless of the

         intent of the FDAAA—the mifepristone REMS could directly conflict with West Virginia’s

         restrictions, thereby creating a system in which individuals regulated by both federal and state

         law could not comply with both mandates. See Mut. Pharm. Co. v. Bartlett, 570 U.S. 472, 486-

         87 (2013) (finding preemption due to direct conflict between state tort law and FDCA labelling

         requirements); PLIVA, Inc. v. Mensing, 564 U.S. 604, 624 (2011) (same).

            Yet, the Court finds that GenBioPro is not subject to a catch-22, whereby it may either

         comply with the UCPA or the REMS regulations. In fact, GenBioPro is not regulated by the




                                                       JA270
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024       Pg: 275 of 344

              Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 18 of 36 PageID #: 1053




         UCPA at all. The UCPA regulates “licensed medical professionals,” defined as persons licensed

         under either West Virginia Code § 30-3-1 et seq. or § 30-14-1 et seq., which govern licensure of

         the practice of medicine, surgery, podiatry, and osteopathic medicine or surgery for physicians

         and physicians’ assistants. W. Va. Code §§ 16-2R-2; 16-2R-3. As discussed above, the UCPA

         prohibits licensed medical professionals from performing, inducing, or attempting to perform or

         induce an abortion by any means, subject to a limited series of exceptions. W. Va. Code § 16-

         2R-3. The prohibited act is further defined as “an act or the omission of an act that, under the

         circumstances as the person so acting or omitting to act believes them to be, constitutes a

         substantial step in a course of conduct intended to culminate in an abortion.” W. Va. Code § 16-

         2R-2. Whether this definition could include GenBioPro’s sale of mifepristone to doctors and

         pharmacies is debatable, but the Court need not decide that question today, as GenBioPro is not a

         “licensed medical professional” under either West Virginia Code § 30-3-1 et seq. or § 30-14-1 et

         seq. Accordingly, GenBioPro is not caught between obeying state and federal law in a manner

         which would offend the Supremacy Clause. 10

               However, this Court has found that GenBioPro may assert the interests of its vendees, who

         are subject to the strictures of the UCPA. Mem. Op. & Order at 18-22, ECF No. 54. GenBioPro

         sells to doctors and pharmacies nationwide and would like to sell to those same vendees in West

         Virginia. Compl. ¶¶ 77-79. While the Court’s previous opinion focused on the ability of

         GenBioPro to represent the interests of its vendees who fall outside the UCPA’s definition of

         “licensed medical professional,” there is no doubt that many of GenBioPro’s vendees would be

         “licensed medical professionals” under the UCPA. See Mem. Op. & Order at 21-22;



         10
            As an aside, the Court rejects Defendants’ argument that GenBioPro may simply choose to
         stop selling mifepristone in West Virginia, and thus avoid any conflict between state and federal
         law. See Bartlett, 570 U.S. at 488 (rejecting a “stop-selling rationale”).




                                                       JA271
USCA4 Appeal: 23-2194        Doc: 32             Filed: 02/07/2024        Pg: 276 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 19 of 36 PageID #: 1054




         Compl. ¶ 71. So, the question remains: does the UCPA conflict with the REMS such that

         licensed medical professionals cannot lawfully comply with both?

            The REMS specify the methods by which mifepristone may be prescribed. For example, the

         REMS indicate which providers may prescribe the drug, whether it may be prescribed remotely

         or in person, and what diagnostic criteria is appropriate for prescribing mifepristone.

         2023 REMS; see also 21 U.S.C. § 355-1(f)(3) (indicating which elements to assure safe use may

         be included in a REMS). The UCPA, on the other hand, instructs licensed medical professionals

         in the State of West Virginia to only perform abortions when certain extrinsic criteria are

         present—both medical and non-medical—such as an ectopic pregnancy, or reported rape or

         incest. W. Va. Code § 16-2R-3(a), (b). The additional state law restrictions include an active

         prohibition on telemedicine prescription of mifepristone and a dormant set of restrictions mostly

         involving informational disclosure requirements. See W. Va. Code §§ 16-2I-2; 16-2R-9; 30-3-

         13a(g)(5); 30-1-26(b)(9). A licensed medical professional in West Virginia, therefore, must

         surmount several hurdles to prescribe mifepristone: first ascertaining whether a patient may

         obtain an abortion under the UCPA, then whether mifepristone is appropriate for that patient

         under the REMS, and finally, the method by which mifepristone may be prescribed to the patient

         in consideration of both the REMS and the West Virginia restrictions. This scheme coheres with

         traditional conceptions of the practice of medicine and the scope of physicians’ authority as state

         matters. See, e.g., Dent, 129 U.S. at 122 (describing the “time immemorial” power of the State to

         regulate the practice of physicians).

            Accordingly, the Court finds that the UCPA is a restriction on the incidence of abortion,

         rather than a state directive in direct conflict with the logistical REMS regulations. The Supreme

         Court has repeatedly indicated that similarly broad state regulations are not preempted by




                                                       JA272
USCA4 Appeal: 23-2194        Doc: 32             Filed: 02/07/2024        Pg: 277 of 344

              Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 20 of 36 PageID #: 1055




         intricate federal regulatory systems. For instance, in Virginia Uranium, mining companies and

         owners of uranium-rich land sued Virginia, alleging that a state law preventing uranium mining

         was preempted by the federal Atomic Energy Act’s regulations on the practice of uranium

         mining. Virginia Uranium, 139 S. Ct. at 1901. As the decision to disallow uranium mining is

         separate from the regulations on the act of mining itself—and in an area of authority traditionally

         left to the States—the Court found that the Atomic Energy Act did not preempt state bans on

         uranium mining. Id. at 1903, 1907-08. Similarly, the Court has found that state bans on

         horsemeat are not preempted by the federal regulatory scheme dictating how horses are to be

         slaughtered. Nat’l Meat Ass’n v. Harris, 565 U.S. 452, 467 (2012). 11 Here, West Virginia’s

         UCPA has limited when an abortion may be performed, without touching how medication

         abortion is to be performed. The mifepristone REMS only concern themselves with the latter.12

         As the Court found States may ban uranium mining despite a federal scheme of uranium mining

         regulation, or horsemeat in the face of a federal scheme of horse slaughter regulation, so this

         Court is compelled to find that federal regulation of medication abortion prescription does not

         conflict with severe state limitations on abortion.




         11
            While National Meat Association v. Harris decided that the Federal Meat Inspection Act
         (FMIA) preempted a California law regulating the slaughter of non-ambulatory pigs, the Court
         emphasized that its holding on the pigs did not imply that state laws banning horse meat would
         be similarly preempted by the FMIA, stating: “A ban on butchering horses for human
         consumption works at a remove from the sites and activities that the FMIA most directly
         governs. When such a ban is in effect, no horses will be delivered to, inspected at, or handled by
         a slaughterhouse, because no horses will be ordered for purchase in the first instance.” 565 U.S.
         at 467. The Court has reiterated this dictum as to the legality of bans on horse slaughter in
         subsequent cases. Virginia Uranium, 139 S. Ct. at 1914 (Ginsburg, J., concurring); see also Nat’l
         Pork Prod. Council v. Ross, 143 S. Ct. 1142, 1163 (2023) (discussing state horsemeat bans).
         12
            The Court is aware that the REMS do dictate “when” an abortion may be performed with
         mifepristone, in the sense of gestational limits and locations. But there are different kinds of
         “when.” West Virginia creates pre-requisites to accessing abortion care, while the REMS
         delineate logistical safety standards once a patient has sought medication abortion.




                                                        JA273
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024         Pg: 278 of 344

              Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 21 of 36 PageID #: 1056




               b. Field Preemption

               Likewise, the Court rejects Plaintiff’s arguments as to field preemption.

               Field preemption precludes States from “regulating conduct in a field that Congress, acting

         within its proper authority, has determined must be regulated by its exclusive governance.”

         Arizona, 567 U.S. at 399 (citing Gade v. Nat’l Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 115

         (1992) (Souter, J., dissenting)). To put it another way, field preemption “occurs when federal law

         occupies a ‘field’ of regulation ‘so comprehensively that it has left no room for supplementary

         state legislation.’” Murphy, 138 S. Ct. at 1480 (quoting R.J. Reynolds Tobacco Co. v. Durham

         Cty., 479 U.S. 130, 140 (1986)). Where Congress has made this determination, States may not

         regulate in the same “field,” even where those regulations might be “parallel to federal

         standards.” Arizona, 567 U.S. at 401.

               Plaintiff has argued that Congress occupied the field specifically as to drugs subject to a

         REMS which include “elements to assure safe use.” Pl.’s Opp’n to Def. Morrisey’s Mot. to

         Dismiss at 9. 13 A subset of REMS must contain “elements to assure safe use,” if the Secretary

         determines that the regulated drug requires such elements “as part of [a] strategy to mitigate a

         specific serious risk listed in the labeling of the drug.” 21 U.S.C. § 355-1(f)(1). These drugs,

         Plaintiff asserts, are subject to a more “pervasive framework” than other drugs regulated under

         the FDCA, utilizing the imperative “shall” when instructing the FDA to consider patient “access”

         in making REMS determinations. Pl.’s Opp’n to Def. Morrisey’s Mot. to Dismiss at 9.

         Essentially, once the FDA concludes a REMS including such elements is necessary for a drug,

         the FDA is required to take a series of steps in promulgating a REMS including elements to


         13
           While Plaintiff’s Opposition appears to argue that Congress occupied the field as to all drugs
         subject to a REMS, at oral argument GenBioPro clarified that its field preemption argument is
         only as to drugs subject both to a REMS and to additional elements to assure safe use. See Tr. of
         Proceedings at 34-35, ECF No. 62.




                                                         JA274
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024         Pg: 279 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 22 of 36 PageID #: 1057




         assure safe use. See 21 U.S.C. §§ 355-1(a), (c), (f), (h). Plaintiff believes this requirement is

         sufficient to demonstrate that Congress has “occupied the field” when it comes to such drugs.

             In reply, Defendant Morrisey points to the FDCA’s 1962 express saving clause,

         demonstrating Congressional intent for state law to play a complementary role in the field. Reply

         in Supp. of Mot. to Dismiss at 6, ECF No. 45. Defendant Morrisey notes that “the presence of a

         savings provision ‘is fundamentally incompatible with complete field preemption.’” Id. (quoting

         Farina v. Nokia Inc., 625 F.3d 97, 121 (3d Cir. 2010); Aldridge v. Miss. Dept. of Corr., 990 F.3d

         868, 874-75 (5th Cir. 2021); In re NOS Commc’ns, 495 F.3d 1052, 1058 (9th Cir. 2007)).

         Included in the 1962 Amendments to the FDCA, the saving clause has been interpretated to

         allow for state tort law’s complementary role in shaping safety standards for products regulated

         under the FDCA. See Wyeth, 555 U.S. 555. Accordingly, the Court agrees that the 1962 saving

         clause has foreclosed any argument for complete field preemption. However, Plaintiff has been

         clear in its assertion that Congress has only occupied the field as to a subsection of drugs subject

         to a REMS with elements to assure safe use. See Pl.’s Opp’n to Def. Morrisey’s Mot. to Dismiss

         at 9.

             Nevertheless, Plaintiff’s argument fails for want of Congressional intent in the FDAAA

         amendments, as discussed in depth above. Where Congress acts in a field traditionally occupied

         by the States, the presumption against preemption is strongest. Wyeth, 555 U.S. at 565. There is

         no disputing that health, medicine, and medical licensure are traditional areas of state authority.

         See, e.g., Hillsborough, 471 U.S. at 716. Furthermore, the Supreme Court has repeatedly held

         that the FDCA does not preempt state action in the field of healthcare or medicine, absent a

         direct conflict. Compare Wyeth, 555 U.S. at 581 (not finding preemption because state tort law

         did not directly conflict with FDCA), with Bartlett, 570 U.S. at 486-87 (finding preemption due




                                                       JA275
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024          Pg: 280 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 23 of 36 PageID #: 1058




         to direct conflict between state tort law and FDCA labelling requirements). While the Supreme

         Court has yet to address the wrinkles of the REMS provision, Plaintiff has not advanced a

         convincing argument that the Court would treat that statutory subsection differently than any

         other portion of the FDCA.

            To that end, Plaintiff cites United States v. Locke, 529 U.S. 89 (2000). In Locke, Washington

         State passed more stringent regulations on oil tankers than existed under the national regulatory

         scheme. See id. at 97. Washington’s personnel qualifications for oil tanker employees were

         found to be preempted by federal requirements, given historical federal occupation of the field.

         Id. at 112-15. In reaching this conclusion, the Locke Court emphasized that the Coast Guard was

         given non-discretionary authority to ensure oil tanker personnel met the minimum federal

         requirements. Id. at 115-16. Here, Plaintiff argues that the FDA is subject to a similarly non-

         discretionary requirement that it ensure drugs which require both a REMS and elements to assure

         safe use consider access in promulgating those elements. See Pl.’s Opp’n to Def. Morrisey’s

         Mot. to Dismiss at 9; 21 U.S.C. § 355-1(f)(1)-(3). Therefore, just as the Locke Coast Guard only

         must ensure oil tanker employees meet minimum qualification requirements, GenBioPro asserts

         that the FDA has been commanded to ensure mifepristone is available subject only to its REMS.

            However, Locke is distinguishable for several reasons. First, the Locke Court repeatedly

         emphasized that regulating interstate navigation is historically an area of federal concern, dating

         back to the Constitutional Convention; here, the Court has found the opposite is true. Id. at 99-

         100; see Hillsborough, 471 U.S. at 716; Dobbs, 142 S. Ct. at 2248-55 (discussing the history of

         abortion laws). Second, much of Locke circled around a preemption savings clause in the Oil

         Pollution Act of 1990, which indicated Congress only intended to leave room for complementary

         state action in a specified area of discretionary federal authority. 529 U.S. at 105-06. In contrast,




                                                        JA276
USCA4 Appeal: 23-2194          Doc: 32           Filed: 02/07/2024        Pg: 281 of 344

              Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 24 of 36 PageID #: 1059




         the Supreme Court has found the 1962 FDCA saving clause to contain breadth, given the general

         language of the clause, the historical state police powers implicated, and the fact Congress

         included express preemption provisions in a different amendment to the FDCA. Wyeth, 555 U.S.

         at 567. Conversely, Locke found that a particular sub-field of an area of historical federal

         concern had been fully occupied by Congress, given the existence of a separate preemption

         saving clause indicating a differing sub-field would permit complementary state action. The

         limited language in the Locke opinion focusing on the Coast Guard command must be read in

         this broader context, which stands in stark contrast to the manner in which the Court has treated

         how traditional state authority over healthcare has been affected by the FDCA.

               Accordingly, the Court finds that Congress has not expressed an intent to occupy the field of

         drugs subject to a REMS in a manner which would preempt West Virginia’s abortion

         restrictions.

               c. Telemedicine Restriction

               There is one provision which is unambiguously preempted by the 2023 REMS: the prior

         restriction on prescribing mifepristone via telemedicine. See W. Va. Code §§ 30-3-13a(g)(5); 30-

         1-26(b)(9). Unlike the other prior restrictions, the telemedicine provision is still in effect. See

         W. Va. Code § 16-2R-9. Accordingly, the Court’s finding that the UCPA is not preempted by the

         REMS is irrelevant to consideration of the telemedicine restriction. The 2023 REMS reflects a

         determination by the FDA that when mifepristone is prescribed, it may be prescribed via

         telemedicine. 14



         14
            Again, the Court notes that the Fifth Circuit’s recent decision in Alliance for Hippocratic
         Medicine stayed the 2023 REMS and the 2021 FDA decision to allow prescription of
         mifepristone via telemedicine. See 2023 WL 5266026, at *1-2. Therefore, this Court’s decision
         as to the West Virginia telemedicine restriction will not change the current Fifth Circuit
         injunction prohibiting telemedicine, subject to the Supreme Court’s order. See id. at 4.




                                                        JA277
USCA4 Appeal: 23-2194        Doc: 32             Filed: 02/07/2024        Pg: 282 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 25 of 36 PageID #: 1060




            The telemedicine restriction is not “upstream” from the REMS, in the manner of the UCPA.

         Rather than indicating what procedures are allowed in West Virginia, the telemedicine restriction

         dictates the manner in which mifepristone may be prescribed. This is a determination which

         Congress has allocated to the FDA. 21 U.S.C. § 355-1(f)(3)(C) (stating that a REMS may

         include a restriction specifying that “the drug be dispensed to patients only in certain health care

         settings, such as hospitals.”). The FDA has evaluated the criteria Congress designated and has

         come to the reasoned conclusion that mifepristone may be prescribed via telemedicine. 2023

         REMS. This conflict between the REMS and the state statute creates the kind of impossibility

         preemption discussed above—a licensed medical professional prescribing mifepristone could not

         comply with both the access determination made by the FDA and the access determination made

         by West Virginia as to telehealth.

            The other prior restrictions might be likewise preempted by direct conflict with the REMS, as

         they similarly dictate the way mifepristone may be prescribed. See W. Va. Code § 16-2I-2.

         Regardless, the Court has not found that the UCPA is unconstitutional. As none of these prior

         restrictions are currently in effect, this Court may not issue an advisory opinion as to the

         constitutionality of a law not presently operative.

            Accordingly, Defendants’ Motions to Dismiss Count I are DENIED, as to the telemedicine

         restriction, and GRANTED, as to the UCPA and other prior restrictions.



            C. Dormant Commerce Clause

            The Commerce Clause grants Congress the power to regulate interstate commerce. U.S.

         Const. Art. I, § 8, cl. 3. The Supreme Court has long recognized that the Commerce Clause

         contains a corollary command, “effectively forbidding the enforcement of certain state economic




                                                        JA278
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 283 of 344

              Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 26 of 36 PageID #: 1061




         regulations even when Congress has failed to legislate on the subject.” Nat’l Pork Prod. Council

         v. Ross, 143 S. Ct. 1142, 1152 (2023) (quoting Okla. Tax Comm'n v. Jefferson Lines, Inc., 514

         U.S. 175, 179 (1995)) (cleaned up). Known as the “dormant Commerce Clause,” this doctrine

         has previously been characterized as forbidding States from enacting laws which either

         discriminate against interstate commerce or regulate extraterritorially. See, e.g., Ass’n for

         Accessible Medicines v. Frosh, 887 F.3d 664, 667-69 (4th Cir. 2018) (relying on Healy v. Beer

         Inst., 491 U.S. 324, 335–36 (1989); Brown-Forman Distillers Corp. v. N.Y. State Liquor Auth.,

         476 U.S. 573, 582–83 (1986); Edgar v. MITE Corp., 457 U.S. 624, 642–43 (1982) (plurality

         opinion); Baldwin v. G.A.F. Seelig, Inc., 294 U.S. 511, 521 (1935)). Even if a law did not

         discriminate or regulate extraterritorially, it could still fail the “balancing test” announced in Pike

         v. Bruce Church, 397 U.S. 137 (1970). Under this standard, if plaintiffs can demonstrate that the

         challenged law burdens interstate commerce, then the Court determines “whether the State's

         interest is legitimate and whether the burden on interstate commerce clearly exceeds the local

         benefits.” Id. at 142; see Nat’l Pork, 143 S. Ct. at 1165-66 (Sotomayor, J., concurring)

         (discussing the threshold burden requirement for Pike balancing).

               On May 11, 2023, the Supreme Court issued its decision in National Pork Producers Council

         v. Ross, 143 S. Ct. 1142 (2023). National Pork affirmed a lower court decision to dismiss a pork

         industry plaintiff’s challenge to a California law limiting the sale of certain kinds of pork in the

         State. The pork plaintiffs argued that the law violated the dormant Commerce Clause by forcing

         them to broadly change their business practices. Id. at 1151. As a preliminary matter, the Court

         rejected plaintiff’s interpretation of Healy, Brown-Forman, Edgar, and Baldwin as engendering

         an “almost per se rule” against extraterritoriality. 15 Id. at 1154-57. Accordingly, this Court finds



         15
              The Court appeared to limit dormant Commerce Clause extraterritoriality claims to statutes




                                                         JA279
USCA4 Appeal: 23-2194         Doc: 32              Filed: 02/07/2024       Pg: 284 of 344

              Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 27 of 36 PageID #: 1062




         that to whatever extent the Fourth Circuit’s dormant Commerce Clause jurisprudence employed

         a similar “principle against extraterritoriality” founded in those same cases, it has been abrogated

         by National Pork. See Ass’n for Accessible Med., 887 F.3d at 667-69. While Justice Gorsuch’s

         majority opinion could not come to a consensus on the application of the Pike balancing test to

         the pork industry group’s claims, in three partial concurrences a minimum of six Justices 16

         upheld some form of Pike balancing. See id. at 1165-72. At least a plurality held that “derivative

         harms” of legislation may be considered when employing the Pike balancing test. Id. at 1169

         (Roberts, C.J., concurring in part); see id. at 1165-66 (Sotomayor, J., concurring in part)

         (potentially supporting usage of derivative harms as a factor in Pike analysis). Throughout, the

         opinions emphasize that an “antidiscrimination principle lies at the ‘very core’ of our dormant

         Commerce Clause jurisprudence,” forbidding States from enacting statutes “driven by economic

         protectionism.” Id. at 1153 (majority).

               In its Opposition to Defendant Morrisey’s Motion to Dismiss, Plaintiff argues that the

         challenged statutes “violate the Clause by imposing an undue burden on interstate commerce, by

         regulating extraterritorially, and by functionally banning an article of commerce.” Pl.’s Opp’n to

         Def. Morrisey’s Mot. to Dismiss at 23. However, following the decision in National Pork, this


         that discriminate against interstate commerce by tying in-state prices to out-of-state prices. Id. at
         1154-55 (relying on Healy, 491 U.S. 324).
         16
           As this Court reads National Pork, Justices Sotomayor and Kagan upheld Pike’s balancing test
         with no further elaboration, stating only that plaintiff had failed to meet the threshold
         requirement for consideration under Pike. Id. at 1165-66. Chief Justice Roberts and Associate
         Justices Alito, Kavanaugh, and Jackson applied Pike to the facts of the case, further interpreting
         the balancing test. Id. at 1167-72.

         Justices Gorsuch, Barrett, and Thomas’s view might be interpreted as upholding Pike as applying
         only to cases in which commensurate values could be balanced. Id. at 1159-61; 1166-67 (Barrett,
         J., concurring). Whether one considers that view to be upholding traditional Pike balancing or as
         partially overturning Pike likely depends on whether one agrees with the arguments made by
         those Justices. Regardless, this opinion is clearly the minority and will not be applied here.




                                                        JA280
USCA4 Appeal: 23-2194          Doc: 32             Filed: 02/07/2024         Pg: 285 of 344

              Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 28 of 36 PageID #: 1063




         Court ordered the parties to file supplemental briefing addressing how National Pork’s holding

         applied to the instant allegations. ECF No. 55. GenBioPro’s Supplemental Brief admits that

         National Pork forecloses the Complaint’s argument that West Virginia has violated the dormant

         Commerce Clause by regulating extraterritorially. Pl.’s Supp. Br. at 14-15, ECF No. 58. This

         Brief further re-categorizes GenBioPro’s argument that the Clause was violated by “functionally

         banning an article of commerce” as a factor of consideration under the Pike balancing test, rather

         than as an independent means by which West Virginia could have violated the Clause. Compare

         Pl.’s Opp’n to Def. Morrisey’s Mot. to Dismiss at 27, with Pl. Supp. Br. at 11-12. Therefore, the

         Court will only consider whether the Complaint has plausibly alleged that the challenged laws

         fail the Pike balancing test, in light of any recent refinement of Pike by National Pork.

               Post-National Pork, Plaintiff asserts that West Virginia’s laws fail that test for three reasons:

         “(1) they intrude on an area in which Congress requires nationally uniform regulation; (2) they

         functionally ban a product for its indicated use; and (3) they inflict ‘derivative harms’ by

         imperiling the health and safety of pregnant West Virginians and the national market for

         medications.” Pl.’s Supp. Br. at 7. The Court will consider each asserted ground in turn. 17 But

         first, the Court notes that National Pork made clear that Pike balancing is meant to “serve[] as an

         important reminder that a law's practical effects may also disclose the presence of a

         discriminatory purpose.” 143 S. Ct. at 1157. While the Court recognized that “a small number of

         our cases have invalidated state laws that appear to have been genuinely nondiscriminatory,”


         17
             The Court acknowledges Defendant Morrisey’s analysis of the potentially conflicting
         concurrences in National Pork, and their implications to the present dispute. See Def.’s Supp.
         Br., ECF No. 59. In fact, Defendant’s Supplemental Brief contains a more prudent
         jurisprudential approach to applying National Pork to Plaintiff’s Complaint. However, at the
         Motion to Dismiss stage, the Court takes care to draw all reasonable inferences in favor of the
         non-moving party and therefore employs Plaintiff’s proffered post-Pork approach in dismissing
         its claims. Accordingly, Defendant Morrisey’s crisp application of conflicting doctrine is valued
         but not utilized here.




                                                          JA281
USCA4 Appeal: 23-2194         Doc: 32             Filed: 02/07/2024            Pg: 286 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 29 of 36 PageID #: 1064




         they referred to ferreting out discriminatory laws as the “heartland” of the Pike test. Id.

         GenBioPro’s claim falls far outside of this heartland, declining to assert that West Virginia was

         motivated by economic protectionism or that it had a discriminatory intent in passing the UCPA.

         As with the pork plaintiffs, this “is not an auspicious start.” Id.

             a. Required Nationally Uniform Regulation

             Plaintiff distinguishes the holding in National Pork, arguing that while the pork plaintiff was

         merely concerned with the “cost of compliance,” GenBioPro is concerned about “an area where

         there is a compelling need for national uniformity.” Pl.’s Supp. Br. at 8 (quoting Yamaha, 401

         F.3d at 572).

             Yet again, regulation of health, medicine, and the medical profession are areas in which the

         States have traditionally exercised authority. E.g., Hillsborough, 471 U.S. at 716. Accordingly,

         the Supreme Court has repeatedly found that there is a complementary role for state law, even

         where Congress has acted to regulate health and medicine. E.g., Wyeth, 555 U.S. at 581. If

         Congress had created a system mandating national uniformity, the Court would expect to see

         some evidence of intent to preempt historical complementary state action. As analyzed in depth

         above, here there is no such expressed intent to occupy the field. A “compelling need for national

         uniformity” could exist absent field preemption, of course, but GenBioPro has not plausibly

         alleged any such need.

             Most importantly, it’s unclear where National Pork or its predecessors indicate that a

         “compelling need for national uniformity” entails a dormant Commerce Clause violation

         pursuant to Pike. Plaintiff points to language in the Chief Justice’s concurrence. See Nat’l Pork,

         143 S. Ct. at 1170 (“The Pike balance may well come out differently when it comes to interstate

         transportation, an area presenting a strong interest in ‘national uniformity.’”). However, the




                                                         JA282
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024         Pg: 287 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 30 of 36 PageID #: 1065




         majority opinion dispensed of this interpretation. Id. at 1158 n.2. (“[T]his Court has only rarely

         held that the Commerce Clause itself pre-empts an entire field from state regulation, and then

         only when a lack of national uniformity would impede the flow of interstate goods.” (internal

         quotation marks omitted, emphasis in original)). There is no argument that the UCPA or other

         restrictions impede the flow of mifepristone nationally.

            b. Banning an Article of Commerce

            GenBioPro’s argument that the UCPA fails the Pike test by functionally banning an article of

         commerce is misplaced. In making this argument, Plaintiff leans heavily upon an 1898 case in

         which the Court found that the dormant Commerce Clause forbids States from banning

         “oleomargarine” as an “article of commerce.” Pl.’s Supp. Br. at 11 (citing Schollenberger v.

         Pennsylvania, 171 U.S. 1 (1898)). In Schollenberger, the Court stated that

                The general rule to be deduced from the decisions of this court is that a lawful
                article of commerce cannot be wholly excluded from importation into a state from
                another state where it was manufactured or grown. A state has power to regulate
                the introduction of any article, including a food product, so as to insure [sic]
                purity of the article imported, but such police power does not include the total
                exclusion even of an article of food.

            171 U.S. at 12. Be that as it may, the Court finds that National Pork put to rest any debate

         over whether States may enact product bans under their police power. Without acknowledging

         the existence of the oleomargine case, the various fractured opinions in National Pork made it

         clear that state bans of products as diverse as horsemeat, fireworks, and plastic bags do not

         offend the United States Constitution. 143 S. Ct. at 1163 (plurality); 1171 (Roberts, C.J.,

         concurring) (responding to the plurality by arguing the broader market is affected by California’s

         economy, rather than arguing a per se rule against banning products); 1150 (majority) (“While

         the Constitution addresses many weighty issues, the type of pork chops California merchants

         may sell is not on that list.”). Circuit Courts have upheld both partial and full bans of foie gras,




                                                       JA283
USCA4 Appeal: 23-2194           Doc: 32          Filed: 02/07/2024        Pg: 288 of 344

              Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 31 of 36 PageID #: 1066




         horsemeat, and shark fins in the face of dormant Commerce Clause challenges. See Ass’n des

         Eleveurs de Canards et d’Oies du Quebec v. Harris, 729 F.3d 937 (9th Cir. 2013) (foie gras);

         Cavel Int’l, Inc. v. Madigan, 500 F.3d 551 (7th Cir. 2007) (horsemeat); Chinatown

         Neighborhood Ass’n v. Harris, 794 F.3d 1136 (9th Cir. 2015) (shark fins). Relevant to the instant

         case is the fact that many of the bans upheld by the Appellate Courts and name-checked by the

         Supreme Court plurality were enacted under state police power to regulate the health and

         morality of the community—the same authority under which the UCPA and other provisions

         were enacted. See, e.g., Cavel Int’l, 500 F.3d at 555, 557 (finding a ban on horsemeat to be

         within the state’s power to regulate animal welfare); Nat’l Pork, 143 S. Ct. at 1163 (plurality;

         citing Cavel Int’l).

               Plaintiff attempts to distinguish product bans which National Pork found acceptable from the

         “ban” of mifepristone, 18 arguing that “(1) the products involved are not necessities,” “(2) they

         often cause severe harms or offer little public benefit, and (3) Congress did not subject these

         items to an integrated, and inherently national, system . . . much less limit ‘burdens’ on that

         system.” Pl.’s Supp. Br. at 11. First, the Court finds that the determination that any given product

         is a “necessity” invites the Court to engage in second-guessing of state legislatures, with no

         limiting principle. Second, and similarly, the conclusion that any given product causes “severe

         harms or offer[s] little public benefit” is surely one for the legislative body enacting any given

         statutory ban—not for this Court. Furthermore, at oral argument in National Pork, the plaintiff

         pressed the Court to distinguish bans enacted for health and safety from bans enacted solely

         pursuant to a State’s moral authority; the Court declined. See Nat’l Pork, 143 S. Ct. at 1160.


         18
           Plaintiff characterizes the UCPA and other restrictions as a “functional ban” of mifepristone.
         Pl.’s Supp. Br. at 11-12. Given the exceptions enumerated within the UCPA (and the fact
         mifepristone is not regulated directly by any of the challenged provisions), the Court is skeptical
         of this claim. See W. Va. Code § 16-2R-3(a) & (b).




                                                        JA284
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 289 of 344

              Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 32 of 36 PageID #: 1067




         Finally, while Plaintiff claims “[h]orsemeat and shark fins fit those three criteria,” this is

         incorrect; both animal products are subject to an “inherently national system,” demonstrating that

         such products may be subject to state bans. See, e.g., FMIA, 21 U.S.C. § 601 et seq. (regulating

         horsemeat); Shark Conservation Act of 2010, Pub. L. 111–348; 124 Stat. 3668 (regulating shark

         fins). 19 More fundamentally, the Court cannot find any support in National Pork for the

         proposition that any of these criteria should be considered when considering state law limitations

         on the sale of consumer goods.

               Accordingly, the Court finds that impeding the sale of an “article of commerce” is not an

         intrinsic violation of the dormant Commerce Clause, and that Schollenberger has been

         abrogated. 20 If West Virginia has “functionally banned” mifepristone, it was well within its

         rights to do so.

               c. Derivative Harms

               Next, Plaintiff argues that, under Pike, non-economic “derivative harms” caused by the

         UCPA and challenged restrictions should be weighed against the putative benefits or interests of

         the State in enacting the legislation. Pl.’s Supp. Br. at 12-14.


         19
            The Shark Conservation Act of 2010 (“SCA”) amended the High Seas Driftnet Fishing
         Moratorium Protection Act and the Magnuson-Stevens Fishery Conservation and Management
         Act (“MSA”) to require all sharks caught in the United States be brought to shore with their fins
         naturally attached. Pub. L. 111–348; 124 Stat. 3668. The SCA is the most recent in a series of
         actions taken by the federal government to regulate shark finning. See, e.g., The Shark Finning
         Prohibition Act of 2000, Pub. L. 106-557; 114 Stat. 2772. The caselaw referenced by Plaintiff
         found that a ban on possession of shark fins—even when those fins were obtained legally
         pursuant to the federal finning scheme—was neither preempted by the MSA nor in violation of
         the dormant Commerce Clause. See Chinatown Neighborhood Association, 794 F.3d 1136. As
         might be inferred, the parallels between Chinatown and the instant case are not particularly
         favorable to GenBioPro.
         20
            This is not the first Court to conclude that a literal interpretation of Schollenberger would be
         anomalous and out-of-step with modern dormant Commerce Clause jurisprudence. See
         Association des Eleveurs, 729 F.3d at 949-50 (implicitly interpreting Schollenberger to apply
         only where a “nationally uniform business” and national system of regulation are implicated).




                                                         JA285
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024          Pg: 290 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 33 of 36 PageID #: 1068




            GenBioPro asserts derivative harms “to pregnant West Virginians by depriving them of

         essential medicine.” Pl.’s Supp. Br. at 13. First, while this Court has granted Plaintiff third-party

         standing to pursue the interests of its vendees, it has not granted GenBioPro third-party standing

         as to “pregnant West Virginians.” Nor has Plaintiff petitioned the Court to consider these

         interests prior to this Supplemental Brief. The Court does not doubt, however, that there are

         substantial derivative harms to pregnant West Virginians caused by a decrease in access to

         mifepristone.

            Unfortunately, the Court cannot consider any such holistic derivative harms to pregnant West

         Virginians under Pike balancing. As fractured as National Pork is, the scant emphasis on

         “derivative harms” within the concurring opinion clarifies that—in the context of the dormant

         Commerce Clause—such harms are primarily economic in nature. See 143 S. Ct. at 1169 (“Our

         precedents have long distinguished the costs of complying with a given state regulation from

         other economic harms to the interstate market.” (emphasis added)). The concurrence focused on

         harms to interstate commerce and interstate trade generally—such as difficulties in interstate

         shipping and employment—rather than harms to individuals within the challenged State. Id.

         (discussing Bibb v. Navajo Freight Lines, Inc., 359 U.S. 520 (1959)). Again, in discussing

         application of Pike, the Chief Justice’s concurrence emphasizes that these are derivative “harms

         to the interstate market” which are “in no sense noneconomic.” Id. (internal quotation marks

         omitted). Accordingly, this Court concludes that derivative harms to pregnant West Virginians

         are not the type of harm it may consider when employing the Pike balancing test.

            Plaintiff also argues that the UCPA and restrictions “upend the national market for drugs.”

         Pl.’s Supp. Br. at 13. A state law which spawned chaos in the national prescription drug market

         would likely cause the type of derivative economic and interstate harm which could be




                                                        JA286
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024         Pg: 291 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 34 of 36 PageID #: 1069




         considered under the Pike balancing test. But the Court is not convinced that Plaintiff has

         plausibly pled facts to support any “upending” of the national market for mifepristone caused by

         West Virginia’s legislation. Further, as alluded to above, many States restrict abortion in a

         manner which likely limits the sale of mifepristone. See, e.g., Miss. Code Ann. § 97-3-3(1)

         (banning abortion with very limited exceptions). Plaintiff has not alleged that the national

         prescription drug market has been upended by the incidental restriction of mifepristone in many

         States.

            d. Pike Threshold Showing

            The Court appreciates the gravity of Plaintiff’s claims and has taken pains to address them at

         length above—but even if Plaintiff were correct that national uniformity, functionally banning an

         article of commerce, and the various alleged derivative harms were sufficient to swing the Pike

         balance in GenBioPro’s favor, the Court remains skeptical that Plaintiff could meet the threshold

         burden necessary to invoke Pike. Admittedly, it’s unclear what exactly a party would need to do

         to meet the threshold to be considered under the Pike balancing test, as muddled by National

         Pork. Justice Sotomayor’s concurrence in National Pork averred that the pork producers had

         failed to meet this threshold burden, without elaboration into the facts of the case. 143 S. Ct. at

         1165. This confusion is another reason the Court has considered the Pike claims at length above.

            Regardless of whether it met the threshold burden, the pork producer plaintiff in National

         Pork plausibly alleged significant disruption to the national pork industry. See id. at 1151-52.

         Due to the size of the California market, the national producers of pork alleged they would be

         compelled to alter their national production standards in order to continue to sell within

         California. Id. And yet, it appears a majority of the Justices found this insufficient to meet the

         threshold “burden on interstate commerce” required under Pike. Here, Plaintiff has undoubtedly




                                                       JA287
USCA4 Appeal: 23-2194          Doc: 32         Filed: 02/07/2024         Pg: 292 of 344

           Case 3:23-cv-00058 Document 66 Filed 08/24/23 Page 35 of 36 PageID #: 1070




         alleged less of a burden on interstate commerce than was alleged by the pork producers. None of

         West Virginia’s laws require Plaintiff to alter its national production methods in order to access

         the State’s market. Nor will compliance with the UCPA and other restrictions entail broad re-

         working of the entire pharmaceutical industry. At most, Plaintiff has plausibly alleged that one

         prescription medication will be prescribed less for one indicated purpose within one State.

            Another comparison: in Association for Accessible Medicine v. Frosh, the Fourth Circuit

         found that a Maryland statute regulating pharmaceutical price-gouging burdened interstate

         commerce in prescription drugs in violation of the dormant Commerce Clause. 887 F.3d at 673.

         There, the Court of Appeals found that the challenged statute “set[] prescription drug prices in a

         way that ‘interfere[s] with the natural function of the interstate market’ by superseding market

         forces that dictate the price of a good.” Id. (quoting McBurney v. Young, 569 U.S. 221, 235

         (2013)). Accordingly, if many States adopted laws analogous to the Maryland act, there was the

         potential to create “the kind of competing and interlocking local economic regulation that the

         Commerce Clause was meant to preclude.” Id. at 674 (quoting Healy, 491 U.S. at 337). There is

         no such potential here. The UCPA can hardly be characterized as an economic regulation, and

         even if every State adopted a differing regulation on when abortion is permissible—and, to be

         frank, this has already happened—it would not entail competition on mifepristone pricing

         between the States.

            States enact laws pursuant to their police power to regulate public health and morality.

         Morality-based laws often curtail the sale of goods. The vendors of curtailed goods may lose

         sales opportunities. Outraged, vendors can feel the laws must somehow be unconstitutional. And

         yet, the Supreme Court and Courts of Appeals have repeatedly affirmed that morality-based




                                                       JA288
USCA4 Appeal: 23-2194   Doc: 32   Filed: 02/07/2024   Pg: 293 of 344




                                       JA289
USCA4 Appeal: 23-2194        Doc: 32        Filed: 02/07/2024     Pg: 294 of 344

                 Case 3:23-cv-00058 Document 68 Filed 09/11/23 Page 1 of 3 PageID #: 1072




                           IN THE UNITED STATES DISTRICT COURT FOR
                           THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                     HUNTINGTON DIVISION


            GENBIOPRO, INC.,

                           Plaintiff,

            v.
                                                            Civil Action No. 3:23-cv-00058
            KRIS RAYNES, in her official                    Hon. Robert C. Chambers
            capacity as Prosecuting Attorney of
            Putnam County, and PATRICK MORRISEY,
            in his official capacity as Attorney General
            of West Virginia,

                           Defendants.


                    PLAINTIFF GENBIOPRO, INC.’S NOTICE OF SUBSTITUTION

                    GenBioPro, Inc. gives notice that Mark A. Sorsaia resigned as Prosecuting

           Attorney of Putnam County effective August 1, 2023 and, that by appointment of

           the Putnam County Commission, effective August 31, 2023, Kris Raynes is now

           serving as Prosecuting Attorney of Putnam County. Pursuant to Rule 25(d) of the

           Federal Rules of Civil Procedure, Ms. Raynes is automatically substituted as a

           party defendant and all further proceedings should be in her name.




                                                  JA290
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024         Pg: 295 of 344

              Case 3:23-cv-00058 Document 68 Filed 09/11/23 Page 2 of 3 PageID #: 1073




            Dated: September 11, 2023                      Respectfully submitted,

                                                           GENBIOPRO, INC.
                                                           By Counsel

            David C. Frederick (pro hac vice)              s/ Anthony J. Majestro________________
            Ariela M. Migdal (pro hac vice)                Anthony J. Majestro (WVSB 5165)
            Eliana Margo Pfeffer (pro hac vice)            Christina L. Smith (WVSB 7509)
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                                                JA291
USCA4 Appeal: 23-2194     Doc: 32          Filed: 02/07/2024      Pg: 296 of 344

            Case 3:23-cv-00058 Document 68 Filed 09/11/23 Page 3 of 3 PageID #: 1074




                                    CERTIFICATE OF SERVICE

                I hereby certify that on this 11th day of September, 2023, I electronically filed

          the foregoing “PLAINTIFF GENBIOPRO, INC.’S NOTICE OF

          SUBSTITUTION” with the Clerk of the Court and served all parties using the

          CM/ECF system.



                                                 s/ Anthony J. Majestro
                                                 Anthony J. Majestro (WVSB 5165)




                                                    3




                                                 JA292
USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024          Pg: 297 of 344

            Case 3:23-cv-00058 Document 73 Filed 10/18/23 Page 1 of 5 PageID #: 1085




                               IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                       HUNTINGTON DIVISION


         GENBIOPRO, INC.,
                                Plaintiff,

                          v.
                                                                        Civil Action No.: 3:23-cv-00058
         KRISTINA RAYNES, in her official capacity                         (Hon. Robert C. Chambers)
         as Prosecuting Attorney of Putnam County,
         AND PATRICK MORRISEY, in his official
         capacity as Attorney General of West Virginia,
                                Defendants.


                                       MOTION TO AMEND COMPLAINT
                                         AND JOINT STIPULATION

                 Plaintiff GenBioPro, Inc., moves for leave to amend its complaint, Dkt. No. 1, under

         Federal Rule of Civil Procedure 15(a)(2) by filing Plaintiff’s First Amended Complaint, attached

         as Exhibit A. Plaintiff’s purpose in amending its complaint is to bring proceedings in this Court

         to a close and to facilitate an appeal of the remaining issues in this litigation.

                 Plaintiff GenBioPro, Inc., and Defendants Kristina Raynes, in her official capacity as

         Prosecuting Attorney for Putnam County, and Patrick Morrisey, in his official capacity as Attorney

         General of the State of West Virginia, stipulate and consent to the filing of Plaintiff’s First

         Amended Complaint under Federal Rule of Civil Procedure 15(a)(2). The Amended Complaint,

         attached as Exhibit A, no longer brings a federal preemption challenge to West Virginia’s laws

         prohibiting providers from prescribing mifepristone via telemedicine, W. Va. Code §§ 30-1-

         26(b)(9), 30-3-13a(g)(5). Other than this change, the Amended Complaint is substantively

         identical to the Original Complaint Plaintiff filed on January 25, 2023, Dkt. No. 1. A redline

         comparison showing differences between the Original Complaint and Amended Complaint is




                                                          JA293
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024        Pg: 298 of 344

            Case 3:23-cv-00058 Document 73 Filed 10/18/23 Page 2 of 5 PageID #: 1086




         attached for the Court’s convenience as Exhibit B.

                Plaintiff has met and conferred with Defendants, and all parties consent to this motion.

         Defendants agree to waive notice and service of the Amended Complaint.

                The parties jointly stipulate and agree that Plaintiff will no longer challenge West Virginia

         Code sections 30-1-26(b)(9) and 30-3-13a(g)(5) — the statutes governing prescribing mifepristone

         by telemedicine — as federally preempted. Plaintiff dismisses its preemption challenge to sections

         30-1-26(b)(9) and 30-3-13a(g)(5) with prejudice.

                As to the remaining claims, the parties stipulate that the Amended Complaint presents no

         new bases for relief. The parties stipulate that the Court’s memorandum opinions and orders on

         the motions to dismiss, Dkt. Nos. 54, 66, apply to the claims in the Amended Complaint. The

         parties preserve all objections and their rights to appeal.

                WHEREFORE, the parties jointly stipulate that:

                        1. Plaintiff’s First Amended Complaint shall be the operative complaint in

                            this case;

                        2. Plaintiff dismisses with prejudice its federal preemption challenge to

                            West Virginia Code sections 30-1-26(b)(9) and 30-3-13a(g)(5); and

                        3. Because the Amended Complaint presents no new bases for relief, the

                            Court’s memorandum opinions and orders on the motions to dismiss,

                            Dkt. Nos. 54, 66, apply to the Amended Complaint.




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                                                         JA294
USCA4 Appeal: 23-2194      Doc: 32     Filed: 02/07/2024       Pg: 299 of 344

             Case 3:23-cv-00058 Document 73 Filed 10/18/23 Page 3 of 5 PageID #: 1087




           Dated: October 18, 2023         Respectfully submitted,

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                                            West Virginia Attorney General

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                                           GENBIOPRO, INC.

                                           /s/ Anthony J. Majestro
                                           Anthony J. Majestro (WV Bar # 5165)
                                           Christina L. Smith (WV Bar # 7509)

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                                             JA295
USCA4 Appeal: 23-2194   Doc: 32       Filed: 02/07/2024      Pg: 300 of 344

            Case 3:23-cv-00058 Document 73 Filed 10/18/23 Page 4 of 5 PageID #: 1088




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                                            JA296
USCA4 Appeal: 23-2194       Doc: 32             Filed: 02/07/2024        Pg: 301 of 344

              Case 3:23-cv-00058 Document 73 Filed 10/18/23 Page 5 of 5 PageID #: 1089




                                IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                        HUNTINGTON DIVISION


            GENBIOPRO, INC.,
                                  Plaintiff,

                            v.
                                                                         Civil Action No.: 3:23-cv-00058
            KRISTINA RAYNES, in her official capacity                       (Hon. Robert C. Chambers)
            as Prosecuting Attorney of Putnam County,
            AND PATRICK MORRISEY, in his official
            capacity as Attorney General of West Virginia,
                                  Defendants.




                                               CERTIFICATE OF SERVICE

                  I hereby certify that, on this 18th day of October, 2023, I electronically filed the

           foregoing stipulation with the Clerk of Court and all parties using the CM/ECF System.



                                                                 /s/ Anthony J. Majestro
                                                                    Anthony J. Majestro




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                                                      JA297
USCA4 Appeal: 23-2194   Doc: 32   Filed: 02/07/2024   Pg: 302 of 344




                                       JA298
USCA4 Appeal: 23-2194           Doc: 32          Filed: 02/07/2024         Pg: 303 of 344

           Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 1 of 33 PageID #: 1161




                                    IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                            HUNTINGTON DIVISION


          GENBIOPRO, INC.,
                                 Plaintiff,

                           v.
                                                                        Civil Action No.: 3:23-cv-00058
          KRISTINA RAYNES, in her official capacity as                    (Hon. Robert C. Chambers)
          Prosecuting Attorney of Putnam County, AND
          PATRICK MORRISEY, in his official capacity                    FIRST AMENDED COMPLAINT
          as Attorney General of West Virginia,
                                 Defendants.


                                               INTRODUCTION

                1.      This case is about a federally approved medication that Congress subjected to a

         substantial and detailed federal regulatory program with which West Virginia law interferes.

         That state law must give way to the comprehensive federal regime Congress enacted and the

         Food and Drug Administration (“FDA”) implemented.

                2.      Plaintiff GenBioPro, Inc. (“GenBioPro”) is a private company that spent almost a

         decade developing a generic version of the drug mifepristone to give patients a safe, effective,

         non-invasive medication option for terminating a pregnancy. Mifepristone is the first drug in a

         two-drug regimen FDA approved that facilitates a medication abortion: (1) mifepristone

         interrupts early pregnancy by blocking the effect of progesterone, a hormone necessary to

         maintain a pregnancy, and (2) misoprostol causes uterine contractions, leading to the contents of

         the uterus being expelled.

                3.      Since 2019, when it received approval from FDA to sell generic mifepristone,

         GenBioPro has marketed and sold approximately 850,000 units of generic mifepristone



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USCA4 Appeal: 23-2194             Doc: 32          Filed: 02/07/2024        Pg: 304 of 344

             Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 2 of 33 PageID #: 1162




          throughout the United States. Between 2017 and 2020 (a year after GenBioPro began marketing

          its product), the number of medication abortions in the United States increased by 45 percent,

          even as the number of abortions overall has declined significantly since the 1990s.1 Medication

          abortion now accounts for the majority of pregnancy terminations in the United States, despite

          the fact that people can use medication only to terminate early pregnancies.2

                  4.        Medical termination of pregnancy offers patients significant advantages. Patients

          can take the medication at home, at a time of their choosing, and in complete privacy.

          Medication abortions do not require administration of anesthesia; many patients use over-the-

          counter analgesics like Advil to relieve the period-like cramps patients typically experience.3

          Medical termination often costs less than a surgical termination, too.4

                  5.        FDA approved branded mifepristone (“Mifeprex”) for sale in 2000 and, in doing

          so, imposed specific restrictions it determined were necessary to assure the drug’s safe use. For

          example, in that early period FDA required that mifepristone be prescribed by a qualified

          physician, and be dispensed to patients by their physician, rather than at a pharmacy.

          Mifepristone joined the ranks of just fifteen other drugs that FDA had determined to warrant

          special restrictions.


                  1
                   Rachel K. Jones, Marielle Kirstein & Jesse Philbin, Abortion Incidence and Service
          Availability in the United States, 2020, 54 Persps. on Sexual & Reprod. Health 128, 136 (Dec.
          2022).
                  2
                      Id.
                  3
                   Univ. of Cal. S.F. Health (“UCSF”), Aspiration Versus Medication Abortion,
          https://www.ucsfhealth.org/education/aspiration-versus-medication-abortion (last visited Jan. 22,
          2023); Am. College of Obstetricians & Gynecologists, Medication Abortion Up to 70 Days of
          Gestation, 136 Obstetrics & Gynecology e31, e37 (Oct. 2020, reaffirmed 2023), https://www.
          acog.org/clinical/clinical-guidance/practice-bulletin/articles/2020/10/medication-abortion-up-to-
          70-days-of-gestation.
                  4
                   Allison McCann, What It Costs to Get an Abortion Now, N.Y. Times (Sept. 28, 2022),
          https://www.nytimes.com/interactive/2022/09/28/us/abortion-costs-funds.html.

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                                                          JA300
USCA4 Appeal: 23-2194         Doc: 32             Filed: 02/07/2024         Pg: 305 of 344

             Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 3 of 33 PageID #: 1163




                  6.     In 2007, Congress enacted the Food and Drug Administration Amendments Act

          of 2007 (“FDAAA”), Pub. L. No. 110-85, 121 Stat. 823, codifying many of FDA’s risk

          management regulations into law, and authorizing FDA to design and implement risk evaluation

          and mitigation strategies for drugs moving forward.

                  7.     As part of the FDAAA, Congress specified that the 16 drugs FDA had already

          approved with “elements to assure safe use” — including mifepristone — would immediately be

          “deemed to have in effect an approved risk evaluation and mitigation strategy.”5 Id. § 909(b)(1),

          121 Stat. 950-51, reprinted at 21 U.S.C. § 331 note. In other words, Congress approved of how

          FDA regulated medications that previously had been approved with “elements to assure safe

          use.”

                  8.     The FDAAA requires FDA to ensure that any elements to assure safe use of drugs

          subject to a risk evaluation and mitigation strategy “[p]rovid[e] safe access for patients” while

          “assur[ing the drug’s] safe use.” Id. § 505-1(f), 121 Stat. 926, 930 (codified at 21 U.S.C. § 355-

          1(f ) ). Restrictions may “not be unduly burdensome on patient access to the drug” and must

          “minimize the burden on the health care delivery system.” Id. § 505-1(f)(2)(C)-(D), 121 Stat.

          930 (codified at 21 U.S.C. § 355-1(f)(2)(C)-(D)).

                  9.     Since Congress “deemed” mifepristone to have a risk evaluation and mitigation

          strategy in effect in 2007, FDA has regulated mifepristone under the FDAAA’s special

          congressional mandate. As required by statute, FDA regularly reevaluates whether mifepristone

          should remain subject to this strategy and updates the restrictions on the drug in light of its



                  5
                   FDA identified those 16 drugs by name in a list published in the Federal Register.
          Identification of Drug and Biological Products Deemed to Have Risk Evaluation and Mitigation
          Strategies for Purposes of the Food and Drug Administration Amendments Act of 2007, 73 Fed.
          Reg. 16313 (Mar. 27, 2008).

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                                                         JA301
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 306 of 344

             Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 4 of 33 PageID #: 1164




          assessment of evolving scientific evidence. Most recently, on January 3, 2023, FDA updated the

          REMS elements on mifepristone to enable patients to receive it through certified pharmacies.

                 10.     Despite that federal statutory and regulatory regime, which carefully balances

          patient access and safety, West Virginia officials banned mifepristone.

                 11.     In September 2022, in the wake of the Supreme Court’s holding in Dobbs v.

          Jackson Women’s Health Organization, 142 S. Ct. 2228 (2022), West Virginia’s Legislature

          enacted the Unborn Child Protection Act (the “Criminal Abortion Ban” or the “Ban”). This law

          prohibits abortion in almost all cases, at any stage of pregnancy. W. Va. Code § 16-2R-1 et seq.;

          id. § 61-2-8. The Criminal Abortion Ban severely constricted the market for mifepristone

          statewide.

                 12.     Even before the Ban took effect, West Virginia law restricted the provision of

          mifepristone. See id. §§ 16-2I-2 (requiring a waiting period and counseling before an abortion

          procedure); 30-3-13a(g)(5) (prohibiting providers from prescribing mifepristone via

          telemedicine); see also id. § 30-1-26(b)(9) (providing for a rule banning prescribing mifepristone

          via telemedicine) (collectively “Restrictions”).

                 13.     The Ban declares that some of these Restrictions (such as the waiting period and

          counseling requirement) have “no effect” while the Ban is in force. But if a court rules the Ban

          statute is unconstitutional, the limitations on abortion the Ban paused will again “become

          immediately effective.” Id. § 16-2R-9 (articles 2F, 2I, 2M, 2O, 2P, and 2Q of chapter 16 and

          article 42 of chapter 33).6 Once back in effect, these Restrictions will obstruct West Virginia



                 6
                   Article 2F contains provisions requiring parental notification before a minor undergoes
          an abortion procedure. W. Va. Code § 16-2F-1 et seq. Article 2I contains counseling and
          waiting period requirements patients must fulfill before obtaining an abortion. Id. § 16-2I-1 et
          seq. Article 2M prohibited providers from performing abortions after 20 weeks of gestation. Id.


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                                                        JA302
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 307 of 344

             Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 5 of 33 PageID #: 1165




          residents’ access to mifepristone and stifle GenBioPro’s ability to conduct business in West

          Virginia.

                 14.     Other restrictions, such as West Virginia’s prohibitions on providers using

          telemedicine to prescribe mifepristone, are in force. Id. § 30-3-13a(g)(5); see id. § 30-1-

          26(b)(9).

                 15.     Federal law preempts West Virginia’s Ban and waiting period and counseling

          requirements. These laws impermissibly restrict patients’ access to mifepristone and

          GenBioPro’s opportunity and ability to market, promote, and sell the medication in the State. In

          “deem[ing]” mifepristone to be one of the few drugs subject to heightened FDA regulation,

          Congress authorized FDA, and only FDA, to impose restrictions on access to mifepristone.

          Before FDA may impose any restrictions, Congress requires the agency to determine that they

          are necessary for patient safety and will not unduly burden patient access. The Ban and waiting

          period and counseling requirements frustrate and conflict with that congressional mandate. West

          Virginia cannot override FDA’s determinations about the appropriate restrictions on a

          medication that FDA approved for use and Congress subjected to this enhanced regulatory

          regime.

                 16.     West Virginia’s Ban and Restrictions also burden the healthcare delivery system

          in violation of the Supremacy Clause of the U.S. Constitution. U.S. Const. art. VI, cl. 2. The

          Ban and Restrictions make it impossible for providers to prescribe and dispense — and in turn,



          § 16-2M-1 et seq. Article 2O prohibited abortions using the dilation and evacuation method. Id.
          § 16-2O-1. Article 2P contains steps providers had to follow if an attempted abortion procedure
          resulted in a live birth. Id. § 16-2P-1. Article 2Q banned abortions sought because of fetal
          disability. Id. § 16-2Q-1. Article 42 of chapter 33 prohibited “partial-birth” abortions, defined
          as “abortion[s] in which the person performing the abortion partially vaginally delivers a living
          fetus before killing the fetus and completing the delivery.” Id. § 33-42-3(3); see id. § 33-42-1 et
          seq.

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                                                        JA303
USCA4 Appeal: 23-2194           Doc: 32           Filed: 02/07/2024          Pg: 308 of 344

             Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 6 of 33 PageID #: 1166




          make it nearly impossible for GenBioPro to market, promote, and sell — mifepristone for its

          indicated use.

                  17.      West Virginia’s Ban and Restrictions also violate the Commerce Clause of the

          U.S. Constitution. U.S. Const. art. I, § 8, cl. 3. Congress determined that mifepristone, a drug

          subject to a REMS, should be subject to FDA’s determinations that balance risks against access.

          Individual state regulation of mifepristone destroys the national common market and conflicts

          with the strong national interest in ensuring access to a federally approved medication to end a

          pregnancy, resulting in the kind of economic fracturing the Framers intended the Clause to

          preclude. A State’s police power does not extend to functionally banning an article of interstate

          commerce — the Constitution leaves that to Congress.

                  18.      This Court should declare West Virginia’s Ban and Restrictions invalid and

          enjoin their enforcement because they adversely affect the sale and use of mifepristone within

          the State.

                                            JURISDICTION AND VENUE

                  19.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

          §§ 1331 and 1343(a)(3) because GenBioPro’s claims present federal questions that arise under

          the laws of the United States, including the Supremacy and Commerce Clauses of the U.S.

          Constitution, Article VI, Clause 2 and Article I, Section 8, Clause 3, 21 U.S.C. § 355-1, and 42

          U.S.C. § 1983.

                  20.      This Court has authority to grant declaratory and injunctive relief under 42 U.S.C.

          § 1983 and the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202.

                  21.      This Court has jurisdiction and equitable power to enjoin actions by state officials

          that are preempted by federal law. See Ex parte Young, 209 U.S. 123, 150-51 (1908).



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USCA4 Appeal: 23-2194          Doc: 32             Filed: 02/07/2024          Pg: 309 of 344

             Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 7 of 33 PageID #: 1167




                  22.     Venue is proper in this district under 28 U.S.C. § 1391(b) because all Defendants

          maintain an office and conduct official duties in this judicial district and because a substantial

          part of the events giving rise to the claims at issue occurred in this district.

                                                        PARTIES

                  23.     Plaintiff GenBioPro, Inc. is a Nevada corporation headquartered at 651 Lindell

          Road, Suite D1041 (P.O. Box 32011), Las Vegas, Nevada 89103. GenBioPro holds an approved

          abbreviated new drug application for generic mifepristone, No. 091178, and sells the drug

          nationwide. GenBioPro sells only generic mifepristone and misoprostol. Both drugs are used in

          medication abortions, and their sales are the company’s sole source of revenue.

                  24.     Defendant Kristina Raynes is the Prosecuting Attorney for Putnam County, West

          Virginia, and maintains an office at 12093 Winfield Road, Winfield, West Virginia 25213.

          Defendant Raynes has authority to prosecute violations of the Criminal Abortion Ban and other

          criminal restrictions on abortion in Putnam County. See W. Va. Code § 7-4-1(a). In 2022, the

          Prosecuting Attorney for Putnam County was quoted as stating publicly that “[a]s prosecutors we

          have a clear obligation to enforce the laws of our state. I believe if abortion is illegal then no

          responsible medical provider will be doing them.”7 This Complaint is brought against Defendant

          Raynes in her official capacity.

                  25.     Defendant Patrick Morrisey is the Attorney General and chief legal officer of

          West Virginia and maintains an office at 1900 Kanawha Boulevard E., Charleston, West Virginia

          25305. As Attorney General and chief legal officer, Defendant Morrisey has responsibility for

          enforcing the laws of West Virginia. Attorney General Morrisey recently signed a public letter


                  7
                  Rachel Pellegrino, West Virginia Lawmakers to Provide Clarity on Roe v. Wade,
          WOWK (July 1, 2022), https://www.wowktv.com/news/local/west-virginia-lawmakers-to-
          provide-clarity-on-roe-v-wade.

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                                                           JA305
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024         Pg: 310 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 8 of 33 PageID #: 1168




          calling FDA’s determinations with respect to mifepristone “illegal and dangerous” and evincing

          his intent to stand by state law imposing restrictions on mifepristone notwithstanding FDA’s

          determinations pursuant to its congressional mandate.8 The Attorney General has the authority

          to enforce restrictions on abortion at the request of the Governor. See W. Va. Code § 5-3-1.

          This Complaint is brought against Defendant Morrisey in his official capacity.

                 26.     This Court has equitable authority to enjoin these Defendants from enforcing

          unconstitutional state laws. See Ex parte Young, 209 U.S. at 150-51.

                                           FACTUAL ALLEGATIONS

                 A.      Congress Authorized FDA To Approve Drugs Like Mifepristone For
                         Distribution And Sale In The United States

                 27.     Congress first authorized FDA to regulate food and drugs more than a century ago

          in the Pure Food and Drugs Act, Pub. L. No. 59-384, 34 Stat. 768 (1906) (repealed 1938).

                 28.     In 1938, Congress created the modern framework for FDA’s regulation of

          prescription drugs in the Federal Food, Drug, and Cosmetic Act (“FDCA”), Pub. L. No. 75-717,

          52 Stat. 1040 (1938) (codified at 21 U.S.C. § 301 et seq.). The FDCA authorized the agency to

          develop a comprehensive regulatory scheme governing medications sold in the United States and

          to promote the public health by reviewing clinical research promptly and taking appropriate

          action on applications for marketing those drugs. 21 U.S.C. § 393(b)(1). The FDCA prohibited

          a drug manufacturer from distributing a drug until it submitted a new drug application to FDA

          for review, and authorized FDA to reject an application if it determined the drug was unsafe.

          FDCA § 505(a), (d)-(e), 52 Stat. 1040, 1052 (codified at 21 U.S.C. § 355).



                 8
                  See Letter from Att’ys Gen., to Robert Califf, Comm’r, U.S. Food & Drug Admin. (Jan.
          13, 2023) (“Letter from Att’ys Gen.”), https://www.alabamaag.gov/Documents/news/Letter
          _from_Ala_Atty_Gen_Steve_Marshall_et_al_to_FDA.pdf.

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                                                       JA306
USCA4 Appeal: 23-2194         Doc: 32              Filed: 02/07/2024        Pg: 311 of 344

             Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 9 of 33 PageID #: 1169




                 29.     In 1951, Congress amended the FDCA to define a new category of drugs — drugs

          that must be prescribed by a healthcare provider (as opposed to drugs that patients could obtain

          over the counter). Act of Oct. 26, 1951, Pub. L. No. 82-215, 65 Stat. 648. These “prescription”

          drugs included medications that required medical supervision to ensure their safe use. Id.

                 30.     In 1962, Congress amended the FDCA to further strengthen FDA’s mandate “[t]o

          protect the public health” and “assure the safety, effectiveness, and reliability of drugs.” Drug

          Amendments of 1962, Pub. L. No. 87-781, pmbl., 76 Stat. 780, 780. Before 1962, Congress

          required FDA to demonstrate that a drug was harmful to deny an application and keep the drug

          from entering interstate commerce; after the amendment, Congress required manufacturers to

          prove to FDA that their products were safe and effective. Once FDA approved a manufacturer’s

          application, it authorized that manufacturer to sell and distribute its product nationwide.

                 31.     The 1962 amendments included a provision stating: “Nothing in the amendments

          made by this Act . . . shall be construed as invalidating any provision of State law which would

          be valid in the absence of such amendments unless there is a direct and positive conflict between

          such amendments and such provision of State law.” Id. § 202, 76 Stat. 780, 793. When there is

          such a conflict, state law must yield.

                 32.     In the half century since then, Congress has enacted additional statutes and

          amendments enhancing FDA’s mandate to ensure safe and effective drugs are available to

          patients in the United States. E.g., Drug Price Competition and Patent Term Restoration Act of

          1984, Pub. L. No. 98-417, §§ 101(j)(1), 202(e)(1), 98 Stat. 1585, 1603 (Sept. 24, 1984) (codified

          at 21 U.S.C. §§ 271(e)(1), 355(j)(1)) (establishing an expedited approval process for generic

          drugs along with incentives for generic manufacturers to make generic drugs available on the




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                                                         JA307
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 312 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 10 of 33 PageID #: 1170




          market quickly)9; 21 U.S.C. § 393(b)(1), (2) (enacted in 1997) (requiring FDA to “promptly and

          efficiently review[ ] clinical research and tak[e] appropriate action on the marketing of regulated

          products in a timely manner”); id. § 360bbb(b), (c) (enacted in 1997) (authorizing FDA to

          “[e]xpand[ ] access to unapproved therapies and diagnostics,” by allowing access to

          “investigational drug[s]” under certain circumstances); Food and Drug Administration

          Modernization Act of 1997, Pub. L. No. 105-15, § 101(1), 111 Stat. 2296, 2298 (Nov. 21, 1997),

          reprinted at 21 U.S.C. § 379g note (stating that “prompt approval of safe and effective new

          drugs and other therapies is critical to the improvement of the public health so that patients may

          enjoy the benefits provided by these therapies to treat and prevent illness and disease”); 21

          U.S.C. § 356c(g) (enacted in 2012) (requiring FDA to mitigate and prevent shortages of certain

          drugs), id. § 356c-1 (enacted in 2012) (requiring FDA to report annually to Congress its actions

          to prevent or mitigate drug shortages).

                 33.     The FDCA also requires manufacturers to label drugs with adequate instructions

          for their safe use, prescribing information, and the treatment for which that drug is approved (the

          “indication”). 21 U.S.C. §§ 352(f ), 355(a); see also 21 C.F.R. § 201.57(c).

                         1.      For The Past Forty Years, FDA Has Developed And Implemented
                                 Strategies For Ensuring The Safety Of Certain Drugs

                 34.     While Congress charges FDA with assessing drug safety, FDA’s determination

          that a drug is safe for use for an indication does not mean that the drug is completely risk free.

          All drugs, even over-the-counter drugs, carry some risk. Rather, FDA approves a drug if its

          benefits to patients outweigh those risks. Furthermore, FDA can impose special regulatory



                 9
                    See also Andrx Pharms., Inc. v. Biovail Corp. Int’l, 256 F.3d 799, 809 (D.C. Cir. 2001)
          (explaining that the purpose of the 1984 amendments was to “get generic drugs into the hands of
          patients at reasonable prices — fast” (citation omitted)).

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                                                         JA308
USCA4 Appeal: 23-2194          Doc: 32           Filed: 02/07/2024          Pg: 313 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 11 of 33 PageID #: 1171




          programs to mitigate a drug’s risks that facilitate regulatory approval of the drug and its

          availability to patients.

                  35.     FDA began developing risk management programs to mitigate drug risks in the

          1980s. One early example is FDA’s risk management program for isotretinoin (then sold as

          “Accutane”), a drug that treats severe acne. After approving Accutane in 1982, FDA determined

          that, if taken by a pregnant person, Accutane could affect fetal development. To minimize the

          risk that a pregnant person might take Accutane, FDA created special package inserts and

          developed educational programs to warn providers and patients.

                  36.     By the 1990s, FDA had promulgated regulations enabling it to approve drugs that

          treat “serious or life-threatening illnesses and that provide meaningful therapeutic benefit to

          patients over existing treatments” subject to certain “restrictions to assure safe use.” See 21

          C.F.R. §§ 314.500, 314.520. These regulations (known as “Subpart H”) limited any restriction

          FDA could impose to those “commensurate with the specific safety concerns presented by the

          drug product.” Id. § 314.520.

                  37.     Under Subpart H, FDA implemented risk management programs with “elements

          to assure safe use” for only 16 drugs and biologics.10 One of those drugs was mifepristone.

                          2.      After Determining That It Was Safe And Effective, FDA Approved
                                  Branded Mifepristone Under Subpart H

                  38.     French pharmaceutical company Roussel Uclaf developed mifepristone in 1980.

          Since its development, more than eighty countries have approved mifepristone’s use in




                  10
                    The 16 drugs and biologics included: abarelix, alosetron, ambrisentan, bosentan,
          clozapine, dofetilide, eculizumab, fentanyl PCA, fentanyl citrate, isotretinoin, lenalidomide,
          mifepristone, natalizumab, the smallpox vaccine, sodium oxybate, and thalidomide.

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                                                         JA309
USCA4 Appeal: 23-2194            Doc: 32            Filed: 02/07/2024         Pg: 314 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 12 of 33 PageID #: 1172




          medication abortions.11 The United States joined those ranks in 2000, when FDA approved a

          new drug application for Mifeprex — the brand name for mifepristone as distributed and

          marketed by Danco Laboratories, LLC (“Danco”) — for the medical termination of intrauterine

          pregnancy through 49 days’ gestation.

                 39.        In approving Mifeprex for sale, FDA determined that it treats a serious or life-

          threatening condition (i.e., unwanted or unintended pregnancies), and provides a “meaningful

          therapeutic benefit to some patients over surgical abortion.”12 According to FDA, “unwanted

          pregnancy, like a number of illnesses or conditions, can be serious for certain populations or

          under certain circumstances.”13 FDA recognized that, despite being associated with some risks,

          mifepristone conferred important therapeutic benefits and therefore approved Mifeprex subject to

          certain restrictions under Subpart H.

                       3. In The FDAAA, Congress Authorized FDA To Create Risk Evaluation And
                          Mitigation Strategies And Imposed A Strategy On Mifepristone

                 40.        In 2007, Congress enacted the FDAAA to require FDA to ensure patient access to

          medications for which there is a potential risk of a serious adverse drug experience. 21 U.S.C.

          § 355-1. The FDAAA functionally codified FDA’s risk management regulations and instructed

          FDA to continue regulating access to particular drugs to ensure that they remain available, and

          that any restrictions do not unduly burden patient access or the healthcare delivery system.




                 11
                   U.S. Food & Drug Admin., Questions and Answers on Mifepristone for Medical
          Termination of Pregnancy Through Ten Weeks Gestation (Jan. 4, 2023), https://perma.cc/AB7X-
          64A5.
                 12
                      Id.
                 13
                  See Letter from Janet Woodcock, Dir., Ctr. for Drug Evaluation & Rsch., U.S. Food &
          Drug Amin., to Donna Harrison, Executive Dir., Am. Ass’n of Pro Life Obstetricians &
          Gynecologists, Gene Rudd, Sr. Vice Pres., Christian Med. & Dental Ass’ns, & Penny Young
          Nance, CEO & Pres., Concerned Women for Am. (Mar. 29, 2016) (“Woodcock Letter”).

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                                                           JA310
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 315 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 13 of 33 PageID #: 1173




                 41.     To do so, Congress authorized FDA to implement a program called a Risk

          Evaluation and Mitigation Strategy (“REMS”). A REMS represents a determination by FDA

          that when a drug is prescribed or administered in a particular manner, that drug’s benefits

          outweigh the risk of a serious adverse drug experience. See id. § 355-1(a).

                 42.     After amending the FDCA with the FDAAA, Congress directed that drugs FDA

          had previously approved with restrictions under Subpart H — including Mifeprex — would be

          “deemed to have in effect” an approved REMS. FDAAA § 909(b)(1), 121 Stat. 950-51.

          Congress thereby codified the restrictions FDA had imposed under Subpart H on this group of

          drugs, including Mifeprex. See id.

                 43.     As part of the FDAAA, Congress required those 16 drugs’ sponsors to submit

          new REMS to FDA for the agency’s consideration. Id. The FDAAA authorized FDA to modify,

          or even remove, the REMS for those drugs. E.g., 21 U.S.C. § 355-1(g)(4)(B), (h).

                 44.     The FDAAA specifies how FDA must assess whether a REMS is appropriate. It

          requires FDA first to determine whether a REMS is necessary and evaluate “[t]he seriousness of

          any known or potential adverse events that may be related to the drug.” Id. § 355-1(a). If FDA

          concludes the drug poses a risk of an “adverse drug experience” and determines a REMS is

          necessary to ensure that the drug’s benefits outweigh its risks, FDA must design and implement a

          REMS. Id. An adverse drug experience includes “any adverse event associated with the use of a

          drug . . . whether or not” the adverse event is “considered drug related.” Id. § 355-1(b)(1).

                 45.     In imposing a REMS, FDA can require drug companies to include medication

          guides or inserts for patients, implement communications plans (which may include sending

          letters to healthcare providers), or dispense the drug in special packaging to ensure patients use

          the drug safely. Id. § 355-1(e).



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                                                         JA311
USCA4 Appeal: 23-2194           Doc: 32            Filed: 02/07/2024           Pg: 316 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 14 of 33 PageID #: 1174




                  46.     The statute authorizes FDA to impose additional REMS elements “necessary to

          assure safe use of the drug” (also referred as “ETASU”). These elements may be imposed only

          if FDA determines the drug is “associated with a serious adverse drug experience” and requires a

          REMS to mitigate that “specific serious risk.” Id. § 355-1(f )(1). A “serious risk” or “serious

          adverse drug experience” includes adverse drug experiences that could result in “inpatient

          hospitalization” or a “substantial disruption of the ability to conduct normal life functions.” Id.

          § 355-1(b)(4), (5).

                  47.     The elements FDA imposes must be “commensurate with the specific serious risk

          listed” on the drug’s label. Id. § 355-1(f )(2)(A). For example, FDA may restrict dispensing of

          the drug to certain settings, like hospitals. Id. § 355-1(f )(1), (3).

                  48.     If FDA determines that it can approve a drug only with a REMS that incorporates

          such additional elements to assure safe use, Congress directs FDA to ensure that these elements

          “[p]rovid[e] safe access for patients to [these] drugs.” Id. § 355-1(f ).

                  49.     In a provision entitled, “Assuring access and minimizing burden,” Congress

          mandates that these elements to assure safe use, considering the drug’s risk, “not be unduly

          burdensome on patient access to the drug,” taking into account three considerations: patients

          with serious or life-threatening conditions, patients with difficulty accessing healthcare (such as

          patients in “rural or medically underserved areas”), and patients with functional limitations. Id.

          § 355-1(f ) (2)(A), (C)(i)-(iii). Congress requires any additional elements or restrictions to be

          compatible with the requirements for similar drugs and compatible with established drug

          distribution systems, “so as to minimize the burden on the health care delivery system.” Id.

          § 355-1(f )(2)(D).




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                                                           JA312
USCA4 Appeal: 23-2194          Doc: 32             Filed: 02/07/2024      Pg: 317 of 344

           Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 15 of 33 PageID #: 1175




                50.        In creating a REMS, FDA must seek input from patients and healthcare providers

         in evaluating the restrictions to ensure they are not “unduly burdensome on patient access to the

         drug,” id. § 355-1(f )(5), and minimize the “burden on the health care delivery system,” id.

         § 355-1(f )(2)(D). In other words, Congress mandated that FDA balance two competing values:

         the safety of the drug and patient access to the drug.

                51.        Any person can petition FDA to amend a drug’s REMS by submitting a citizen

         petition pursuant to 21 C.F.R. § 10.30.

                52.        Section 355-1 requires FDA to reassess a drug’s REMS periodically. 21 U.S.C.

         § 355-1(d). After each reassessment, FDA may eliminate a REMS — or a component of a

         REMS — if it determines that the REMS elements are no longer necessary to ensure a

         medication’s benefits outweigh its risks.

                53.        Congress provided that, although either a drug’s manufacturer or FDA can

         propose a modification to a REMS, any such modification requires prior FDA approval. Without

         that approval, the existing REMS remains in effect. Id. § 355-1(g)(1), (h)(1), (h)(2)(A)-(B).

                54.        Of the more than 20,000 prescription drugs FDA has approved for marketing in

         the United States, the agency has subjected only 301 to a REMS.14 FDA has subjected 97 of

         those drugs to additional elements to assure safe use.15




                14
                  U.S. Food & Drug Admin., FDA Risk Evaluation and Mitigation Strategy (REMS)
         Public Dashboard (Jan. 17, 2023), https://fis.fda.gov/sense/app/ca606d81-3f9b-4480-9e47-
         8a8649da6470/sheet/994e7e67-d815-4204-8758-095c2abe2eda/state/analysis.
                15
                     Id.

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                                                        JA313
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 318 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 16 of 33 PageID #: 1176




                 B.      FDA Determined That Mifepristone Requires A REMS With Additional
                         Elements To Assure Safe Use

                         1.      The Early Mifeprex REMS

                 55.     After Congress mandated that Mifeprex be “deemed to have in effect” an

          approved REMS in the FCAAA, in September 2008, Danco submitted a supplemental new drug

          application proposing a REMS for Mifeprex. FDA approved the proposed REMS in June 2011.

                 56.     As approved, the 2011 REMS required that only certified physicians prescribe

          Mifeprex; specified that Mifeprex be dispensed only in certain healthcare settings such as clinics

          (known as the “in-person dispensing requirement”) and taken in a provider’s clinic; and required

          Danco to ensure that every doctor prescribing Mifeprex was specially certified.

                 57.     In approving these REMS, FDA “determined that a REMS [wa]s necessary” for

          Mifeprex “to ensure the benefits of the drug outweigh[ed] the risks of serious complications by

          requiring prescribers to certify that they [were] qualified to prescribe” the drug, and could

          “assure patient access to appropriate medical facilities to manage any complications.”16

                 58.     In 2015, Danco submitted a supplemental new drug application to FDA to revise

          Mifeprex’s label and REMS. FDA approved almost all of Danco’s proposed modifications to

          the label and REMS, including: increasing the gestational age through which Mifeprex is

          indicated from 49 days to 70 days; reducing the number of patient visits to a clinic; and

          expanding those who could be certified to prescribe Mifeprex to include “healthcare providers,”

          rather than just “physicians.”




                 16
                   Letter from Ctr. for Drug Evaluation & Rsch., U.S. Food & Drug Admin., to Danco
          Labs., LLC 1 (June 8, 2011), https://www.accessdata.fda.gov/drugsatfda_docs/appletter/
          2011/020687s014ltr.pdf.

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                                                        JA314
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024        Pg: 319 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 17 of 33 PageID #: 1177




                 59.     FDA determined that the remaining REMS requirements, such as the in-person

          dispensing requirement, “remain[ed] necessary to ensure that the drug’s benefits outweigh its

          risks”17 and to assure Mifeprex’s safe use.18

                         2.      FDA Approved GenBioPro’s Generic Mifepristone

                 60.     GenBioPro spent almost a decade bringing a generic version of mifepristone to

          market. On April 11, 2019, FDA approved GenBioPro’s application to manufacture and market

          generic mifepristone within the United States. As required by section 355, GenBioPro’s generic

          mifepristone and Danco’s Mifeprex have substantively identical labels. See 21 U.S.C.

          § 355(j)(2)(A)(v), (j)(4)(G).

                 61.      FDA subjected GenBioPro’s generic mifepristone to a REMS pursuant to 21

          U.S.C. § 355-1(i). FDA determined that the branded and generic mifepristone should share a

          single REMS, to be called the “Mifepristone REMS Program.”

                         3.      FDA Halted Enforcement Of, And Reevaluated Part Of, The
                                 Mifepristone REMS

                 62.     In April 2021, FDA announced it would stop enforcing the in-person dispensing

          requirement of the Mifepristone REMS Program. The agency determined that requiring a patient

          to visit a clinic during the COVID-19 public health emergency could pose serious risks to

          patients and healthcare personnel and that new clinical data demonstrated that the in-person

          dispensing requirement was not necessary to ensure mifepristone remained safe for patients.




                 17
                   Letter from Ctr. for Drug Evaluation & Rsch., U.S. Food & Drug Admin., to Danco
          Labs., LLC 2 (Mar. 29, 2016), https://www.accessdata.fda.gov/drugsatfda_docs/appletter/
          2016/020687Orig1s020ltr.pdf.
                 18
                   See U.S. Gov’t Accountability Off., GAO-18-292, Food and Drug Administration:
          Information on Mifeprex Labeling Changes and Ongoing Monitoring Efforts 12 (2018).

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                                                          JA315
USCA4 Appeal: 23-2194           Doc: 32           Filed: 02/07/2024         Pg: 320 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 18 of 33 PageID #: 1178




                 63.       FDA continued its review of the Mifepristone REMS Program during the

          COVID-19 pandemic. In addition to analyzing newly published scientific literature, FDA

          evaluated safety information submitted to the agency during the COVID-19 public health

          emergency, reports of adverse events related to the drug, the first REMS assessment report for

          the Mifepristone REMS Program, and other information provided by the public. In December

          2021, FDA announced its determination that certain elements of the Mifepristone REMS

          Program remained necessary to assure the drug’s safe use, while other elements would need to be

          modified “to reduce burden on patient access and the health care delivery system and to ensure

          the benefits of [mifepristone] outweigh [its] risks.”19

                 64.       After completing that review, FDA instructed Danco and GenBioPro to modify

          the Mifepristone REMS Program by removing the requirement that mifepristone be dispensed

          only in certain healthcare settings and adding a requirement that pharmacies dispensing

          mifepristone be specially certified.

                 65.       In December 2021, FDA responded to a Citizen’s Petition from American

          Association of Pro Life Obstetricians and Gynecologists, the Christian Medical Association, and

          Concerned Women for America, rejecting their requests to impose additional burdens on access

          to mifepristone, including (1) limiting mifepristone’s indication to 49 days’ gestation;

          (2) requiring physicians, and not other providers, to prescribe mifepristone; (3) requiring patients

          to make three different office visits to their physicians as part of the REMS; and (4) requiring

          that mifepristone be dispensed only in certain healthcare settings.20



                 19
                   U.S. Food & Drug Admin., Questions and Answers on Mifepristone for Medical
          Termination of Pregnancy Through Ten Weeks Gestation (Dec. 16, 2021), https://perma.
          cc/V7RX-ZUAX.
                 20
                      See Woodcock Letter, supra note 13, at 5, 9, 13-15, 18-19, 25.

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                                                         JA316
USCA4 Appeal: 23-2194            Doc: 32          Filed: 02/07/2024        Pg: 321 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 19 of 33 PageID #: 1179




                            4.     FDA Updated The Mifepristone REMS Program, Expanding Methods
                                   By Which Patients May Access Mifepristone

                 66.        On January 3, 2023, FDA published a new, shared system REMS for mifepristone

          (the “2023 REMS”) covering both Mifeprex and generic mifepristone.21 Consistent with FDA’s

          December 2021 statements, the 2023 REMS no longer limits mifepristone dispensing to certain

          healthcare settings; patients may receive mifepristone by mail or from a specially certified

          pharmacy.

                 67.        The 2023 REMS requires patients to sign a Patient Agreement Form before

          receiving a prescription for mifepristone.22 This form includes a section in which patients

          acknowledge having “decided to take “mifepristone and misoprostol to end [their] pregnancy”

          and agreeing to “follow [their] healthcare provider’s advice about when to take each drug and

          what to do in an emergency.”23 The form requires patients to assert that they “understand” that

          they “will take mifepristone” and then “the misoprostol tablets 24 to 48 hours after” taking

          mifepristone.24 FDA determined that these new REMS “continue to ensure the benefits of

          mifepristone for medical abortion outweigh the risks while minimizing the burden imposed by

          the REMS on healthcare providers and patients.”25




                 21
                   U.S. Food & Drug Admin., Risk Evaluation and Mitigation Strategy (REMS) Single
          Shared System for Mifepristone 200mg (Jan. 2023), https://www.accessdata.fda.gov/drugsatfda_
          docs/rems/Mifepristone_2023_01_03_REMS_Full.pdf.
                 22
                   U.S. Food & Drug Admin., Patient Agreement Form (Jan. 2023), https://www.
          accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2023_01_03_REMS_Full.pdf.
                 23
                      Id.
                 24
                      Id.
                 25
                      Id.

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USCA4 Appeal: 23-2194          Doc: 32            Filed: 02/07/2024           Pg: 322 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 20 of 33 PageID #: 1180




                  C.     West Virginia Law Restricts Patients’ Access To Mifepristone And Regulates
                         How The Healthcare Delivery System Provides Mifepristone

                  68.    On September 13, 2022, the West Virginia governor signed the “Unborn Child

          Protection Act,” banning abortion at all stages of pregnancy except in limited circumstances. See

          W. Va. Code § 16-2R-1 et seq.; id. § 61-2-8. The law also declared that several provisions of the

          West Virginia Code related to abortion, including the counseling and waiting period

          requirements, would have “no force or effect unless any provision of the . . . Act is judicially

          determined to be unconstitutional.” 2022 W. Va. H.B. 302. The legislature amended the Act’s

          severability provision in March 2023, revising it to state that if a court invalidates the Act in its

          entirety, those restrictions are reactivated. W. Va. Code § 16-2I-9.

                  69.    The Ban states that “[a]n abortion may not be performed or induced or be

          attempted to be performed or induced unless in the reasonable medical judgment of a licensed

          medical professional: (1) The embryo or fetus is nonviable; (2) The pregnancy is ectopic; or

          (3) A medical emergency exists.” Id. § 16-2R-3(a).26 As a result, West Virginians no longer

          have a meaningful choice about whether to carry a pregnancy to term or to terminate using

          medication abortion. Id. §§ 16-2R-3, 16-2R-7.

                  70.    The Ban amends mifepristone’s indication by changing the time for which

          mifepristone is indicated from a period spanning 70 days’ gestation, to no time at all for most

          patients.

                  71.    While the Ban does not punish patients who terminate their pregnancies, it

          subjects certain healthcare providers who perform abortions to loss of their professional license,


                  26
                     The Ban also includes limited exceptions for a pregnancy that is within eight weeks’
          gestation (or, if a minor or incompetent or incapacitated adult, 14 weeks) and is the result of
          sexual assault or incest that the patient has reported to law enforcement. W. Va. Code § 16-2R-
          3(b), (c).

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USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024         Pg: 323 of 344

           Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 21 of 33 PageID #: 1181




         id. § 16-2R-7, and makes it a felony punishable by imprisonment for any other “person” to

         induce an abortion, id. § 61-2-8(a). The Ban imposes criminal penalties on some healthcare

         providers eligible to prescribe mifepristone under the 2023 REMS if they prescribe mifepristone

         to induce an abortion. Id. (defining “licensed medical professional” to exclude certain REMS-

         authorized providers); see id. § 16-2R-2.

                72.     In imposing the Ban, West Virginia officials eliminated access to mifepristone in

         the State in almost all circumstances. Even before the Ban, however, West Virginia regulated

         access to mifepristone in a manner restricting GenBioPro’s ability to distribute its FDA-approved

         product to West Virginians who qualified for access to it in compliance with FDA requirements.

                73.     As part of these Restrictions, West Virginia:

                        (a)   required providers to obtain “informed consent” from patients at least 24

                              hours before having a medication abortion, delaying care when, medically, it

                              should be provided as soon as possible to ensure safety and effectiveness

                              and avoid forcing patients out of the 70-day window in which mifepristone

                              is indicated for use. Id. § 16-2I-2(a). The law enacting the Ban provides

                              that this waiting-period requirement “is of no force or effect unless” a court

                              rules any provision of the Ban (§ 16-2R-1 et seq.) unconstitutional. Id. § 16-

                              2I-9.

                          (b) required providers to communicate specific information to patients that is

                              not part of the Mifepristone REMS Program, including that: “[s]ome

                              suggest that it may be possible to counteract the intended effects of a

                              mifepristone chemical abortion by taking progesterone if the female changes

                              her mind, before taking the second drug,” id. § 16-2I-2(a)(4)(A); and “the



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USCA4 Appeal: 23-2194            Doc: 32            Filed: 02/07/2024          Pg: 324 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 22 of 33 PageID #: 1182




                                 father, if his identity can be determined, is liable to assist in the support of

                                 her child,” id. § 16-2I-2(b)(2). The law enacting the Ban provides that this

                                 counseling requirement “is of no force or effect unless” a court rules any

                                 provision of the Ban (§ 16-2R-1 et seq.) is unconstitutional. Id. § 16-2I-9.

                           (c)   bans providers from using telemedicine to prescribe mifepristone, which

                                 means patients must visit a provider in person to obtain a prescription. Id.

                                 § 30-3-13a(g)(5) (stating that a “physician or health care provider may not

                                 prescribe any drug with the intent of causing an abortion” via telemedicine);

                                 see id. § 30-1-26(b)(9).

                 74.       These Restrictions, which are in force or would become operative again if the Ban

          is judicially determined to be unconstitutional, constrict GenBioPro’s ability to market its FDA-

          approved product to West Virginians who need it. The Ban makes such commercial

          opportunities virtually impossible.

                 75.       On January 13, 2023, shortly after FDA issued the 2023 REMS, Defendant

          Morrisey, the Attorney General of West Virginia, joined a letter in which a number of state

          attorneys general proclaimed to FDA that they “will not yield” to FDA’s federally based

          authority to approve drugs and to strike the optimal regulatory balance between risk mitigation

          and ensuring patient access because, in their view, the 2023 REMS fail “to protect women’s

          health and safety.” Defendant Morrisey and his co-signers wrote that “[t]o be crystal clear,”

          FDA “ha[s] not negated any of our laws that forbid the remote prescription, administration, and

          use of abortion-inducing drugs” and “[n]othing in the FDA’s recent changes affects” how they

          will enforce those laws.27


                 27
                      Letter from Att’ys Gen., supra note 8, at 3.

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                                                            JA320
USCA4 Appeal: 23-2194           Doc: 32            Filed: 02/07/2024       Pg: 325 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 23 of 33 PageID #: 1183




                 D.         West Virginia’s Abortion Ban And Restrictions Harm GenBioPro And
                            Prevent Patients From Accessing A Federally Approved Medication

                 76.        More than eighty countries have approved mifepristone’s use in medication

          abortions, and many patients in the United States use mifepristone.28 In 2020, approximately

          492,210 medication abortions occurred in the United States, up from approximately 339,650 just

          three years earlier.29 The market for mifepristone is strong and sales have grown over time, even

          as the number of total U.S. abortions (including surgical) has declined.30 Medication abortions

          account for more than half of U.S. abortions, despite the fact that FDA approves of

          mifepristone’s use only up to 70 days’ gestation.31




                 28
                   U.S. Food & Drug Admin., Questions and Answers on Mifepristone for Medical
          Termination of Pregnancy Through Ten Weeks Gestation (Jan. 4, 2023), https://perma.cc/AB7X-
          64A5.
                 29
                      Rachel K. Jones et al., supra note 1, at 135.
                 30
                      Id.
                 31
                    Id.; Laurel Wamsley, How Medication Abortion Works and What the End of Roe v.
          Wade Could Mean for It, NPR (May 13, 2022), https://www.npr.org/2022/05/13/1098000879/
          abortion-pills-medication-abortion-roe-v-wade.

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                                                          JA321
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024         Pg: 326 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 24 of 33 PageID #: 1184




                 77.     Although Congress and FDA granted GenBioPro authority to sell mifepristone

          nationwide, West Virginia’s severe abortion Restrictions and Criminal Abortion Ban make it

          impossible for GenBioPro to promote and market its product in West Virginia as it does in other

          states. The State has long had only a single clinic providing abortions.

                 78.     Major national pharmacy chains, including Walgreens and CVS, which operate

          stores in Hurricane and Winfield, have indicated publicly that they intend to sell mifepristone

          now that the REMS permits them to do so.32 Providing mifepristone through such pharmacies

          would enable GenBioPro to serve more patients with its product. West Virginia’s Ban and

          Restrictions, however, block GenBioPro from providing mifepristone through these integral

          healthcare distribution mechanisms in West Virginia. HoneyBee Health, which ships

          prescription drugs nationwide, is also prevented by West Virginia’s Ban and Restrictions from

          providing mifepristone to patients in West Virginia.33

                 79.     West Virginia’s Criminal Abortion Ban and Restrictions have caused significant,

          ongoing economic injury to GenBioPro in the form of lost sales, customers, and revenue.

          Defendants’ enforcement of the Ban and Restrictions severely constricts GenBioPro’s pool of

          potential customers — including healthcare providers that purchase from GenBioPro and

          certified pharmacies — and impermissibly constrains GenBioPro’s ability to market its product

          in West Virginia.




                 32
                    Spencer Kimball & Bertha Coombs, CVS and Walgreens Plan to Sell Abortion Pill
          Mifepristone at Pharmacies After FDA Rule Change, CNBC (Jan. 5, 2023),
          https://www.cnbc.com/2023/01/05/abortion-cvs-and-walgreens-will-sell-mifepristone-in-
          pharmacies.html.
                 33
                    Celine Castronuovo, Abortion Pill Access to Ease with First FDA-Certified Pharmacy,
          Bloomberg News (Jan. 3, 2023), https://news.bloomberglaw.com/health-law-and-
          business/abortion-pill-access-to-ease-with-first-fda-certified-pharmacy.

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                                                        JA322
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 327 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 25 of 33 PageID #: 1185




                 80.     GenBioPro further alleges that, based on the foregoing, healthcare providers in

          West Virginia would prescribe mifepristone to their patients and purchase that mifepristone from

          GenBioPro, and that pharmacies in West Virginia would dispense GenBioPro’s mifepristone to

          their customers, but do not because of the Ban and the Restrictions.

                 E.      West Virginia’s Abortion Ban And Other Restrictions Conflict With Federal
                         Law And Regulate Access To Mifepristone, A Function Congress Delegated
                         Exclusively To FDA

                 81.     West Virginia’s Ban and abortion Restrictions frustrate and conflict with

          Congress’s determination that FDA must exercise regulatory authority through REMS and

          elements to assure safe use under 21 U.S.C. § 355-1(f) that States are not free to second-guess or

          override. Developing such a REMS requires FDA to first determine that restrictions are

          necessary to ensure that the drug’s benefits outweigh its risks, and then to impose restrictions

          that address the drug’s risks while minimizing the burden on patients’ access to the drug and on

          the healthcare delivery system. See 21 U.S.C. § 355-1(f )(2).

                 82.     Section 355-1(f )(2) requires FDA to balance competing obligations, to maximize

          safety while minimizing burden, and to regulate patients’ access to, and the healthcare delivery

          system’s distribution of, mifepristone. The statute delegates to FDA exclusive authority to

          conduct that balancing, deploying its unique expertise in determining whether scientific evidence

          demonstrates that a serious adverse experience is associated with a drug, and how best to

          mitigate that risk while ensuring that its efforts do not unduly burden patient access to the drug.

          FDA’s REMS therefore necessarily establishes both a “floor” and “ceiling” on permissible

          regulation of mifepristone. The elements FDA determined are necessary to ensure

          mifepristone’s safety are the only restrictions that may be imposed on a patient’s access to, and

          the healthcare delivery system’s distribution of, mifepristone. Just as a state may not pass a law

          purporting to remove one of the REMS requirements (such as waiving the requirement of a
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                                                         JA323
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 328 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 26 of 33 PageID #: 1186




          Patient Agreement Form), it also may not impose any other elements restricting access. Doing

          so would disturb the balancing that Congress required FDA to conduct in regulating access to

          mifepristone via the Mifepristone REMS Program.

                 83.     West Virginia’s Ban prevents almost all patients from accessing mifepristone,

          including those who otherwise would be eligible to receive the drug under the 2023 REMS. In

          so doing, it functionally displaces FDA’s judgment in approving mifepristone and imposing a

          REMS. West Virginia’s Ban also prevents the healthcare delivery system from distributing

          mifepristone to patients for whom providers would otherwise prescribe the drug. It burdens both

          the patient’s access to mifepristone and the healthcare delivery system by imposing criminal and

          professional penalties on the prescription and distribution of mifepristone. See W. Va. Code

          § 16-2R-1 et seq.; id. § 61-2-8.

                 84.     The State’s laws interfere with and seek to contradict Congress’s directive to FDA

          to determine what elements will assure safe use of a REMS drug without being “unduly

          burdensome on patient access” and “minimiz[ing] the burden on the health care delivery

          system.” 21 U.S.C. § 355-1(f )(2)(C), (D).

                 85.     The Ban and Restrictions conflict with FDA’s determinations pursuant to section

          355-1(f )(2). The Ban and Restrictions make it impossible for GenBioPro to market and

          distribute mifepristone in West Virginia in accordance with FDA’s requirements and

          determinations as to the balance Congress mandated between safety-based restrictions and

          patient access to the drug.

                 86.     Even if the Ban is invalidated or repealed, the telemedicine ban will be in force

          and the counseling and waiting period requirements would again come into force. Each of these

          Restrictions conflicts with the 2023 REMS and regulates in an arena that Congress left to FDA.



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                                                        JA324
USCA4 Appeal: 23-2194         Doc: 32           Filed: 02/07/2024          Pg: 329 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 27 of 33 PageID #: 1187




                 87.     West Virginia’s waiting period and counseling requirements, W. Va. Code § 16-

          2I-2, require providers to obtain “informed consent” from patients at least 24 hours before

          prescribing mifepristone and require providers to communicate specific information to patients

          that is not part of the counseling required by the Mifepristone REMS Program. The prescriber

          agreement in the REMS requires only that a physician review the Patient Agreement Form,

          “fully explain[ ]” the “risks of the mifepristone treatment regimen,” answer any “questions the

          patient may have,” and ensure the patient receives and signs the Patient Agreement Form.34

                 88.     West Virginia’s telemedicine restrictions, id. § 30-3-13a(g)(5); see id. § 30-1-

          26(b)(9), purport to bar healthcare providers from prescribing any abortion drug via

          telemedicine. The Mifepristone REMS Program does not prohibit providers from using

          telemedicine to prescribe mifepristone. In 2019, several advocacy groups asked FDA to add a

          requirement to the REMS that a provider prescribe mifepristone in person, rather than by

          telemedicine or over the Internet. FDA specifically considered and rejected the proposed

          requirement as unnecessary to ensure mifepristone’s safety. West Virginia’s Restriction

          conflicts with this FDA determination.

                 89.     West Virginia’s Ban and Restrictions conflict with mifepristone’s label and

          indication. FDA determined that mifepristone is indicated for use up to 70 days’ gestation, but

          West Virginia law conflicts with that determination by banning use of mifepristone by nearly all

          patients at any stage of pregnancy and limiting mifepristone to emergency use.

                 90.     By enacting the FDCA and its amendments, Congress authorized FDA to approve

          drugs in the United States and determine whether a manufacturer can sell its product in interstate



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                   U.S. Food & Drug Admin., Patient Agreement Form (Jan. 2023), https://www.
          accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2023_01_03_REMS_Full.pdf.

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                                                        JA325
USCA4 Appeal: 23-2194         Doc: 32             Filed: 02/07/2024          Pg: 330 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 28 of 33 PageID #: 1188




          commerce. See, e.g., Act of Oct. 10, 1962, Pub. L. No. 87-781, § 104, 76 Stat. 780, 784; 21

          U.S.C. § 393(b)(1). A state ban like West Virginia’s constitutes a determination on the part of

          state legislators that a manufacturer cannot sell its product in the State, creating a direct conflict

          with federal law. See Act of Oct. 10, 1962, Pub. L. No. 87-781, § 102, 76 Stat. 780, 781.

                  91.    A favorable decision from this Court declaring the Ban and waiting period and

          counseling restrictions invalid as applied to the sale and distribution of mifepristone and

          enjoining their enforcement by state officials due to their constitutional infirmities will remedy

          these conflicts and redress GenBioPro’s economic injury by enabling West Virginians to access

          its product.

          92.     Settled preemption and Commerce Clause principles govern states’ efforts to restrict

          access to an FDA-approved medication. The Supreme Court’s decision in Dobbs did not

          displace Congress’s and FDA’s roles in protecting the public health by deciding whether drugs

          are safe and effective, determining which precautions — if any — are necessary to ensure a

          drug’s safe use, and ensuring safe and effective drugs are available to the public. Dobbs

          addressed only the underlying personal constitutional privacy right as it pertains to abortion; it

          did not speak to federal law regulating a drug maker’s sale and distribution of, or a patient’s

          access to, medication that is FDA-approved for distribution nationwide.

                                                CLAIMS FOR RELIEF

                                                        COUNT I
                          Declaratory and Injunctive Relief — 42 U.S.C. § 1983 —
                Federal Law Preempts West Virginia’s Ban and Waiting Period and Counseling
                                              Requirements

                  93.    GenBioPro re-alleges and incorporates by reference each of the preceding

          paragraphs.



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                                                         JA326
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024         Pg: 331 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 29 of 33 PageID #: 1189




                 94.     The U.S. Constitution’s Supremacy Clause makes federal laws enacted under the

          authority of the United States the “supreme Law of the Land.” U.S. Const. art. VI, cl. 2. Under

          the Clause, federal law preempts any state regulation to the contrary. See Gade v. Nat’l Solid

          Wastes Mgmt. Ass’n, 505 U.S. 88, 108 (1992).

                 95.     West Virginia’s Ban, W. Va. Code §§ 16-2R-1 et seq., 61-2-8, and waiting period

          and counseling requirements, id. §§ 16-2I-2, 16-2I-9, are preempted by the FDCA as amended,

          21 U.S.C. § 355-1. States may not restrict access to FDA-approved drugs in ways that

          countermand the agency’s specific safety considerations or restrictions.

                 96.     West Virginia’s Ban and waiting period and counseling requirements conflict

          with that mandate, including by imposing the burden of criminal penalties on REMS-eligible

          providers’ prescription of mifepristone. The Ban and waiting period and counseling

          requirements frustrate FDA’s determinations about how mifepristone should be regulated and

          invade an area Congress determined only FDA may occupy. See, e.g., Mut. Pharm. Co. v.

          Bartlett, 570 U.S. 472, 479-80 (2013); Arizona v. United States, 567 U.S. 387, 403 (2012); Geier

          v. Am. Honda Motor Co., 529 U.S. 861, 873 (2000). The Ban and waiting period and counseling

          requirements further stand as an obstacle to FDA’s determination that GenBioPro’s mifepristone

          is safe and effective, and GenBioPro may distribute it to patients pursuant to the REMS.

                 97.     Federal law therefore preempts Article 2R, Chapter 16 of the West Virginia Code

          and Section 61-2-8, insofar as these statutes ban patients from using mifepristone in almost all

          instances.

                 98.     Federal law preempts West Virginia Code §§ 16-2I-2, 16-2I-9 insofar as it

          requires patients seeking mifepristone to fulfill waiting period and counseling requirements.




                                                              29




                                                        JA327
USCA4 Appeal: 23-2194         Doc: 32             Filed: 02/07/2024          Pg: 332 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 30 of 33 PageID #: 1190




                 99.      Section 1983 of Title 42 of the United States Code provides that “Every person

          who, under color of any statute, ordinance, regulation, custom, or usage, of any State . . . ,

          subjects, or causes to be subjected, any citizen of the United States or other person within the

          jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by the

          Constitution and laws, shall be liable to the party injured in an action at law, suit in equity, or

          other proper proceeding for redress . . . .”

                 100.     West Virginia’s Ban and waiting period and counseling requirements conflict

          with the rights, privileges, or immunities secured by FDA approval of mifepristone under Title

          21 of the United States Code and the REMS to market and distribute its FDA-approved product

          in West Virginia subject only to those regulations and restrictions FDA imposed pursuant to its

          mandate under the FDCA as amended, 21 U.S.C. § 355-1.

                                                         COUNT II
                             Declaratory and Injunctive Relief — 42 U.S.C. § 1983 —
                        West Virginia’s Ban and Restrictions Violate the Commerce Clause

                 101.     GenBioPro re-alleges and incorporates by reference each of the preceding

          paragraphs.

                 102.     The Commerce Clause grants Congress alone the power to “regulate Commerce

          . . . among the several States.” U.S. Const. art. I, § 8, cl. 3. It prevents a state from taking any

          action that may impede the free flow of trade in the national common market or create an undue

          burden on access to an article of commerce that requires uniform national regulation.

                 103.     The Commerce Clause renders invalid state laws that impose “undue burdens” on

          interstate commerce, including by regulating articles of commerce Congress determined require

          a uniform system of regulation at the national level. South Dakota v. Wayfair, Inc., 138 S. Ct.

          2080, 2091 (2018). The Clause likewise invalidates state laws, such as West Virginia’s Ban and


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                                                          JA328
USCA4 Appeal: 23-2194         Doc: 32            Filed: 02/07/2024          Pg: 333 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 31 of 33 PageID #: 1191




          Restrictions, that preclude the use of a drug manufactured out of state for use in the State to

          terminate a pregnancy, see Healy v. Beer Inst., 491 U.S. 324, 336 (1989) (laws that, if imposed

          by several states, would have the “practical effect” of regulating commerce outside the state

          violate the Commerce Clause), or of banning an article of commerce, see Schollenberger v.

          Pennsylvania, 171 U.S. 1, 13 (1898).

                 104.    Section 1983 of Title 42 of the United States Code provides a remedy for any

          person who suffers deprivation of rights, privileges, and immunities secured by the U.S.

          Constitution, including the Commerce Clause.

                 105.    West Virginia’s Ban, W. Va. Code § 16-2R-1 et seq.; id. § 61-2-8, and

          Restrictions, id. §§ 16-2I-2, 16-2I-9, 30-1-26(b)(9), 30-3-13a(g)(5), interfere with the uniform

          regulation of mifepristone, a drug subject to extensive federal regulation at the national level,

          thereby destroying the common market for mifepristone.

                 106.    Article 2R, Chapter 16 of the West Virginia Code and § 61-2-8 violate the

          Commerce Clause by, in effect, banning an article of commerce and preventing GenBioPro from

          developing a market for its product, mifepristone, in West Virginia.

                 107.    West Virginia Code § 16-2I-2 violates the Commerce Clause by forcing patients

          to fulfill waiting period and counseling requirements before accessing mifepristone. This State

          law disrupts FDA’s federal regulatory scheme and undermines the need for national uniformity

          in the regulation of REMS drugs such as mifepristone.

                 108.    West Virginia Code § 30-3-13a(g)(5) violates the Commerce Clause by

          preventing providers from prescribing mifepristone via telemedicine, meaning that patients are

          required to visit a healthcare professional in person to obtain a prescription. See id. § 30-1-




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                                                         JA329
USCA4 Appeal: 23-2194        Doc: 32            Filed: 02/07/2024         Pg: 334 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 32 of 33 PageID #: 1192




          26(b)(9). This State law disrupts FDA’s federal regulatory scheme and undermines the need for

          national uniformity in the regulation of mifepristone, as subject to the FDA’s REMS.

                 109.   Each of these Restrictions and West Virginia’s Ban constrict the market for

          GenBioPro’s product, excessively burden interstate commerce, and vitiate the national common

          market the Framers envisioned.

                 110.   West Virginia’s Ban and Restrictions conflict with the rights, privileges, or

          immunities secured by FDA approval of mifepristone under Title 21 of the United States Code

          and the REMS to market and distribute the drug under applicable federal rules. As such,

          42 U.S.C. § 1983 provides a cause of action and remedy for such violations.

                                             PRAYER FOR RELIEF

                 WHEREFORE, Plaintiff respectfully requests that this Court enter an order and judgment

          as follows:

                 A.     A declaratory judgment, pursuant to 28 U.S.C. § 2201, that West Virginia Code

                        §§ 16-2R-1 et seq., 16-2I-2, 16-2I-9, and 61-2-8 are invalid and unenforceable

                        because they violate both the Supremacy Clause and the Commerce Clause of the

                        U.S. Constitution;

                 B.     A declaratory judgment, pursuant to 28 U.S.C. § 2201, that West Virginia Code

                        §§ 30-1-26(b)(9) and 30-3-13a(g)(5) are invalid and unenforceable because they

                        violate the Commerce Clause of the U.S. Constitution;

                 C.     Such further relief as permitted under 28 U.S.C. § 2202, including a permanent

                        injunction enjoining Defendants from enforcing the challenged provisions;

                 D.     Injunctive relief under this Court’s equitable power to enjoin enforcement of

                        unconstitutional state laws;



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                                                       JA330
USCA4 Appeal: 23-2194       Doc: 32            Filed: 02/07/2024        Pg: 335 of 344

            Case 3:23-cv-00058 Document 75 Filed 10/19/23 Page 33 of 33 PageID #: 1193




                E.      An order awarding GenBioPro its costs and attorneys’ fees pursuant to 42 U.S.C.

                        § 1988; and

                F.      Such other and further relief as the Court deems just and proper.




           Dated: October 18, 2023                    Respectfully submitted,
                                                      /s/ Anthony J. Majestro
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                                                      JA331
USCA4 Appeal: 23-2194          Doc: 32          Filed: 02/07/2024          Pg: 336 of 344

            Case 3:23-cv-00058 Document 76 Filed 11/03/23 Page 1 of 4 PageID #: 1194




                              IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                      HUNTINGTON DIVISION


         GENBIOPRO, INC.,
                                Plaintiff,

                          v.
                                                                     Civil Action No.: 3:23-cv-00058
         KRISTINA RAYNES, in her official capacity                      (Hon. Robert C. Chambers)
         as Prosecuting Attorney of Putnam County,
         AND PATRICK MORRISEY, in his official
         capacity as Attorney General of West Virginia,
                                Defendants.


             JOINT STIPULATION AND JOINT MOTION TO ENTER FINAL JUGDMENT

                Plaintiff GenBioPro, Inc., and Defendants Kristina Raynes, in her official capacity as

         Prosecuting Attorney for Putnam County, and Patrick Morrisey, in his official capacity as Attorney

         General of the State of West Virginia, stipulate that all claims in Plaintiff’s First Amended

         Complaint were decided in the Court’s memorandum opinions and orders on the motions to

         dismiss, Dkt. Nos. 54, 66, and further stipulate that the Court should enter a separate order of

         judgment on Plaintiff’s First Amended Complaint, Dkt. No. 75, as required by Federal Rule of

         Civil Procedure 58, for the reasons stated in Dkt. Nos. 54, 66.

                The parties therefore move the Court to enter a separate order of judgment on its First

         Amended Complaint, Dkt. No. 75, as required by Federal Rule of Civil Procedure 58, for the

         reasons stated in Dkt. Nos. 54, 66. The parties preserve all objections and rights to appeal.




                                                       JA332
USCA4 Appeal: 23-2194   Doc: 32   Filed: 02/07/2024   Pg: 337 of 344




                                       JA333
USCA4 Appeal: 23-2194   Doc: 32       Filed: 02/07/2024      Pg: 338 of 344

            Case 3:23-cv-00058 Document 76 Filed 11/03/23 Page 3 of 4 PageID #: 1196




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                                            JA334
USCA4 Appeal: 23-2194        Doc: 32             Filed: 02/07/2024        Pg: 339 of 344


             Case 3:23-cv-00058 Document 76 Filed 11/03/23 Page 4 of 4 PageID #: 1197




                              IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                      HUNTINGTON DIVISION


           GENBIOPRO, INC.,
                                 Plaintiff,

                           v.
                                                                       Civil Action No.: 3:23-cv-00058
           KRISTINA RAYNES, in her official capacity                      (Hon. Robert C. Chambers)
           as Prosecuting Attorney of Putnam County,
           AND PATRICK MORRISEY, in his official
           capacity as Attorney General of West Virginia,
                                 Defendants.




                                              CERTIFICATE OF SERVICE

                 I hereby certify that, on this 3rd day of November, 2023, I electronically filed the

          foregoing stipulation with the Clerk of Court and all parties using the CM/ECF System.



                                                               /s/ Anthony J. Majestro
                                                                  Anthony J. Majestro




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                                                       JA335
USCA4 Appeal: 23-2194       Doc: 32               Filed: 02/07/2024     Pg: 340 of 344

             Case 3:23-cv-00058 Document 76-1 Filed 11/03/23 Page 1 of 1 PageID #: 1198



                                IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                        HUNTINGTON DIVISION


           GENBIOPRO, INC.,
                                 Plaintiff,

                           v.
                                                                      Civil Action No.: 3:23-cv-00058
           KRISTINA RAYNES, in her official capacity                     (Hon. Robert C. Chambers)
           as Prosecuting Attorney of Putnam County,
           AND PATRICK MORRISEY, in his official
           capacity as Attorney General of West Virginia,
                                 Defendants.



                     ORDER REGARDING JOINT STIPULATION AND JOINT MOTION

                  For the reasons stated in the Court’s memorandum opinions and orders, Dkt. Nos. 54,

           66, the First Amended Complaint is hereby dismissed, judgment is entered in favor of

           Defendants, and this case is closed.

                  The Clerk is directed to send copies of this Order to those counsel of record who have

           registered to receive an electronic NEF.

                  IT IS SO ORDERED this                 day of November, 2023.




                                                         Robert C. Chambers
                                                         United States District Judge




                                                       JA336
USCA4 Appeal: 23-2194    Doc: 32        Filed: 02/07/2024     Pg: 341 of 344


               Case 3:23-cv-00058 Document 77 Filed 11/06/23 Page 1 of 1 PageID #: 1199




                                              JA337
USCA4 Appeal: 23-2194   Doc: 32   Filed: 02/07/2024   Pg: 342 of 344




                                       JA338
USCA4 Appeal: 23-2194     Doc: 32         Filed: 02/07/2024         Pg: 343 of 344

              Case 3:23-cv-00058 Document 78 Filed 11/09/23 Page 2 of 2 PageID #: 1201




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                                    Counsel for Plaintiff GenBioPro, Inc.




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                                                 JA339
USCA4 Appeal: 23-2194   Doc: 32      Filed: 02/07/2024     Pg: 344 of 344




                             CERTIFICATE OF SERVICE

              I hereby certify that, on February 7, 2024, I electronically filed the

        foregoing Joint Appendix with the Clerk of the Court for the United

        States Court of Appeals for the Fourth Circuit using the appellate

        CM/ECF system.

              Participants in the case who are registered CM/ECF users will be

        served by the appellate CM/ECF system.



                                                         V 'DYLG & )UHGHULFN
                                                         David C. Frederick
